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                             E x hi bit I
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                                                                    M E N T A L H E A L T H S E R VI C E S D E LI V E R Y S Y S T E M ( M H S D S)
                                                                     M A N A G E M E N T I N F O R M A TI O N S U M M A R Y ( MI S) R E P O R T
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                                                                                                                  2/ 2 4/ 2 0 2 0
                                                                                                                                           M AL E S                                                               F E M AL E S
L e v el of
                                                  H o u si n g Pr o gr a m                                                                                    A w aiti n g                                                                  A w aiti n g
   C ar e                                                                                                         C a p a cit y        C e ns us 1                                       C a p a cit y              C e ns us 1
                                                                                                                                                            Pl a c e m e nt 2                                                             Pl a c e m e nt 2
C orr e cti o n al Cli ni c al C a s e M a n a g e m e nt S yst e m ( C C C M S)                                   2 7, 0 0 0           2 5, 1 1 9                                          2, 2 5 0                  2, 0 8 8
               R e c e pti o n C e nt er ( R C)                                                                                          2, 3 0 9                                                                      244
               G e n er al P o p ul ati o n ( G P)                                                                                      2 0, 9 3 3                                                                    1, 7 1 9
               E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                                        90                                                                            0
               M e nt al H e alt h Crisis B e d ( M H C B)                                                                                  3                                                                            1
               Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                          0                                                                            0
               S p e ci ali z e d M e di c al B e ds H o usi n g                                                                          539                                                                           20
 C C C M S A d mi nistr ati v e S e gr e g ati o n U nit ( A S U)                                                                         239                                                                           63
               Conde mned                                                                                                                 130                                                                           16
               L o n g T er m R estri ct e d H o usi n g U nit ( L T R H)                                             130                 224                                                                            0
               N o n- Dis ci pli n ar y S e gr e g ati o n ( N D S)                                                                         0                                                                            0
               Ps y c hi atri c S er vi c es U nit ( P S U)                                                                                13                                                                            0
               S e c urit y H o usi n g U nit ( S H U)                                                                                      0                                                                           25
               S h ort T er m R estri ct e d H o usi n g U nit ( S T R H)                                           1, 1 2 5              639                                                                            0
E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                                7, 0 7 5             6, 5 5 9                                             225                      189
               R e c e pti o n C e nt er ( R C)                                                                                           162                                                                            1
               G e n er al P o p ul ati o n ( G P)                                                                                         60                                                                           48
               E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                 6, 3 1 8             5, 5 2 4                                             195                      119
               M e nt al H e alt h Crisis B e d ( M H C B)                                                                                  7                                                                            1
               Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                         21                                                                            0
               S p e ci ali z e d M e di c al B e ds H o usi n g                                                                          178                                                                            3
    E OP       A d mi nistr ati v e S e gr e g ati o n U nit ( A S U)                                                 585                 390                       34                         20                       14                          0
               Conde mned                                                                                                                  59                                                                            0
               L o n g T er m R estri ct e d H o usi n g U nit ( L T R H)                                                                   0                                                                            0
               N o n- Dis ci pli n ar y S e gr e g ati o n ( N D S)                                                                         0                                                                            0
               Ps y c hi atri c S er vi c es U nit ( P S U)                                                           172                 126                       10                         10                        3                          0
               S e c urit y H o usi n g U nit ( S H U)                                                                                      0                                                                            0
               S h ort T er m R estri ct e d H o usi n g U nit ( S T R H)                                                                  32                                                                            0

                                                                                                                                                     1
                                                                                                                                                              A w aiti n g                                                                  A w aiti n g
                                               L e v el of C ar e                                                 C a p a cit y        C e ns us                                         C a p a cit y              C e ns us 1
                                                                                                                                                            Pl a c e m e nt 2                                                             Pl a c e m e nt 2

M e nt al H e alt h Cri si s B e d ( M H C B)                                                                         407                  323                      12                         41                        31                         3
Ps y c hi atri c I n p ati e nt Pr o gr a m s:
                                                                                                                    1, 1 3 1             1, 0 6 2                  103
I nt er m e di at e C ar e F a cilit y (I C F)
L o w C ust o d y                                                                                                     390                  360                      32
                At as c a d er o St at e H os pit al ( A S H)                                                         256                  237                      22
                C o ali n g a St at e H os pit al ( C S H)                                                             50                   48                       2
                C alif or ni a M e di c al F a cilit y ( C M F)                                                        84                   75                       8
Hi g h C ust o d y                                                                                                    741                  702                      71
                C alif or ni a H e alt h C ar e F a cilit y ( C H C F)                                                331                  322                      21
                C M F Si n gl e C ells                                                                                 94                   90                      22
                C M F M ulti C ells                                                                                    70                   52                       8
                S V P P Si n gl e C ells                                                                              202                  195                      17
                S ali n as V all e y Ps y c hi atri c Pr o gr a m ( S V P P) M ulti C ells                             44                   43                       3
A c ut e Ps y c hi atri c Pr o gr a m ( A P P)                                                                        421                  388                      36
                AS H                                                                                                   0                    0                        0
                C H CF                                                                                                203                  193                      17
                C MF                                                                                                  218                  195                      19
Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                    40                   29                       1                         75                        48                         5
                C alif or ni a I nstit uti o n f or W o m e n ( CI W)                                                                                                                          45                        35                         3
                P att o n St at e H os pit al ( P S H)                                                                                                                                         30                        13                         2
                SQ                                                                                                     30                  27                        1
                S Q ( N o n- c o n d e m n e d) ⁶                                                                      10                   2                        0
                                            5
P e n al C o d e 2 9 7 4 s ( P ar ol e es)                                                                                                  2
                M etr o St at e H os pit al ( M S H)                                                                                        0
                N a p a St at e H os pit al ( N S H)                                                                                        2
                P att o n St at e H os pit al ( P S H)                                                                                      0
                                                           T O T A L S ( e x cl u di n g P ar ol e es)             3 6, 0 7 4           3 3, 4 8 0                 196                      2, 5 9 1                  2, 3 5 6                      8
                                                                                                                                                                                                                   CE NS US PE R CE NT A GES
                                                                                                                     T ot al             T ot al          T ot al A w aiti n g T ot al O v er
                                                                                                                                                 1
                                                                                                                  C a p a cit y        C e ns us            Pl a c e m e nt 2  Ti m efr a m es 3                  % M HS DS                  % C DCR
                                                                                                                                                                                                                                                           4


                                                                                                 C C C MS          2 9, 2 5 0           2 7, 2 0 7                                                                  7 5. 9 2 %                2 2. 0 7 %
                                                                                                      E OP          6, 5 1 3             6, 1 8 3                                                                   1 7. 2 5 %                 5. 0 2 %
                                                                            E O P- A S U / N D S / S T R H           605                   436                     34                           6                    1. 2 2 %                  0. 3 5 %
                                                                             E O P- P S U / L T R H / S H U          182                   129                     10                           0                    0. 3 6 %                  0. 1 0 %
                                                                                                  M HCB              448                   354                     15                           0                    0. 9 9 %                  0. 2 9 %
                                                                      P S Y C HI A T RI C I N P A TI E N T          1, 6 6 7             1, 5 2 7                  145                          3                    4. 2 6 %                  1. 2 4 %
                                                                                      G R A N D T O T AL           3 8, 6 6 5           3 5, 8 3 6                 204                          9                  1 0 0. 0 0 %               2 9. 0 7 %
              1 C e ns us s o ur c es:  H C O D S f or C C C M S, E O P; H E A R T f or M H C B; RI P A r e p orts f or I C F, A P P, a n d PI P pr o gr a ms.
              2 A w aiti n g Pl a c e m e nt   = T h e s u m of i n m at es w aiti n g t o b e pl a c e d i n a b e d at a s p e cifi c l e v el of c ar e. T h os e a w aiti n g pl a c e m e nt t o I C F, A P P, a n d PI P i n cl u d e
                r ef err als t h at h a v e b e e n c ust o di all y r e vi e w e d b y H C P O P a n d ar e a w aiti n g b e d a v ail a bilit y, i n p ati e nt pr o gr a m a c c e pt a n c e, or tr a nsf er t o t h e i n p ati e nt pr o gr a m
                as of t h e r e p orti n g d at e ( b as e d o n t h e R ef err als t o I n p ati e nt Pr o gr a ms A p pli c ati o n ( RI P A)).

              3 T ot al   O v er Ti m efr a m es = T h e n u m b er of r ef err als t h at ar e b e y o n d M e nt al H e alt h Pr o gr a m G ui d e tr a nsf er ti m efr a m es: E O P- A S U i n cl u d es c as es i n n o n- h u bs
                w aiti n g > 3 0 d a ys, P S U i n cl u d es c as es wit h a n ori gi n al C S R e n d ors e m e nt d at e > 6 0 d a ys, M H C B i n cl u d es r ef err als > 2 4 h o urs, Ps y c hi atri c I n p ati e nt i n cl u d es
                I nt er m e di at e r ef err als > 3 0 d a ys a n d A c ut e r ef err als > 1 0 d a ys.
              4 C D C R p o p as of 2/ 1 9/ 2 0 ( OI S B). B as e d o n T ot al I n- St at e I nstit uti o n P o p ul ati o n a n d O ut of St at e ( C O C F).
              5 C e ns us n u m b ers ar e tr a c k e d a n d u p d at e d b y D e p art m e nt of St at e H os pit al ( D S H).
              ⁶ S Q f or n o n- c o n d e m n e d h as t w o M H C B pl a c e m e nts.
                                                                                                                                                                                C C H C S, H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m
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                             E x hi bit J
                                         M E N T A L H E A L T H S E R VI C E S D E LI V E R Y S Y S T E M ( M H S D S)
                                          M A N A G E M E N T I N FDocument
                        Case 2:90-cv-00520-KJM-SCR                  O R M A TI O N 6768-1
                                                                                    S U M M A R Y ( Filed
                                                                                                     MI S) R E07/15/20
                                                                                                               P O RT                                                                             Page 7 of 113
                                                                                                                    7/ 6/ 2 0 2 0
                                                                                                                                             M AL E S                                                                 F E M AL E S
 L e v el of
                                                  H o usi n g Pr o gr a m                                                                              1        A w aiti n g                                                                    A w aiti n g
    C ar e                                                                                                         C a p a cit y         C e ns us                                           C a p a cit y              C e ns us 1
                                                                                                                                                              Pl a c e m e nt 2                                                               Pl a c e m e nt 2
C orr e cti o n al Cli ni c al C as e M a n a g e m e nt S yst e m ( C C C M S)                                      2 7, 0 0 0           2 3, 1 8 9                                            2, 2 5 0                  1, 9 0 3
                R e c e pti o n C e nt er ( R C)                                                                                           1, 1 8 3                                                                        120
                G e n er al P o p ul ati o n ( G P)                                                                                       2 0, 0 5 6                                                                      1, 6 5 5
                E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                                         99                                                                              0
                M e nt al H e alt h Crisis B e d ( M H C B)                                                                                   5                                                                              0
                Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                           2                                                                              0
                S p e ci aliz e d M e di c al B e ds H o usi n g                                                                             562                                                                            29
  C C C M S A d mi nistr ati v e S e gr e g ati o n U nit ( A S U)                                                                           419                                                                            70
                Conde mned                                                                                                                   142                                                                            14
                L o n g T er m R estri ct e d H o usi n g U nit ( L T R H) ⁶                                           270                   157                                                                             0
                N o n- Dis ci pli n ar y S e gr e g ati o n ( N D S)                                                                          1                                                                              0
                Ps y c hi atri c S er vi c es U nit ( P S U)                                                                                  5                                                                              0
                S e c urit y H o usi n g U nit ( S H U)                                                                                       0                                                                             15
                S h ort T er m R estri ct e d H o usi n g U nit ( S T R H) ⁶                                          1, 1 2 5               558                                                                             0
E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                                  7, 0 7 5             6, 4 7 2                                               225                      164
                R e c e pti o n C e nt er ( R C)                                                                                             76                                                                              1
                G e n er al P o p ul ati o n ( G P)                                                                                          149                                                                            36
                E n h a n c e d O ut p ati e nt Pr o gr a m ( E O P)                                                  6, 3 1 8             5, 3 1 6                                               195                      112
                M e nt al H e alt h Crisis B e d ( M H C B)                                                                                  20                                                                              0
                Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                          24                                                                              0
                S p e ci aliz e d M e di c al B e ds H o usi n g                                                                             192                                                                             1
    E OP        A d mi nistr ati v e S e gr e g ati o n U nit ( A S U)                                                 585                   439                    113                            20                       11                         0
                Conde mned                                                                                                                   62                                                                              0
                L o n g T er m R estri ct e d H o usi n g U nit ( L T R H)                                                                    0                                                                              0
                N o n- Dis ci pli n ar y S e gr e g ati o n ( N D S)                                                                          0                                                                              0
                Ps y c hi atri c S er vi c es U nit ( P S U)                                                           172                   115                     59                            10                        3                         1
                S e c urit y H o usi n g U nit ( S H U)                                                                                       0                                                                              0
                S h ort T er m R estri ct e d H o usi n g U nit ( S T R H)                                                                   79                                                                              0
                                                                                                                                                                A w aiti n g                                                                    A w aiti n g
                                             L e v el of C ar e                                                    C a p a cit y       C e ns us 1, 7                                        C a p a cit y            C e ns us 1, 7
                                                                                                                                                              Pl a c e m e nt 2                                                               Pl a c e m e nt 2
M e nt al H e alt h Crisis B e d ( M H C B) ⁷                                                                          424                  262                       3                            41                        14                       0
Ps y c hi atri c I n p ati e nt Pr o gr a m s:
                                                                                                                      1, 1 6 5             1, 0 3 7                  56
I nt er m e di at e C ar e F a cilit y (I C F)
L o w C ust o d y                                                                                                      390                  335                       9
                At as c a d er o St at e H os pit al ( A S H)                                                          256                  224                       9
                C o ali n g a St at e H os pit al ( C S H)                                                             50                   46                        0
                C alif or ni a M e di c al F a cilit y ( C M F)                                                        84                   65                        0
Hi g h C ust o d y                                                                                                     775                  702                      47
                C alif or ni a H e alt h C ar e F a cilit y ( C H C F)                                                 356                  350                      15
                C M F Si n gl e C ells                                                                                 105                  103                       6
                C M F M ulti C ells                                                                                    68                   45                        1
                S V P P Si n gl e C ells                                                                               202                  168                      20
                S ali n as V all e y Ps y c hi atri c Pr o gr a m ( S V P P) M ulti C ells                             44                   36                        5
A c ut e Ps y c hi atri c Pr o gr a m ( A P P)                                                                         368                  290                      22
                AS H                                                                                                    0                    0                        0
                C H CF                                                                                                 161                  100                      18
                C MF                                                                                                   207                  190                       4
Ps y c hi atri c I n p ati e nt Pr o gr a m ( PI P)                                                                    40                   30                        0                            75                        39                        0
                C alif or ni a I nstit uti o n f or W o m e n ( CI W)                                                                                                                              45                        29                        0
                P att o n St at e H os pit al ( P S H)                                                                                                                                             30                        10                        0
                SQ                                                                                                      30                   23                       0
                S Q ( N o n- c o n d e m n e d)                                                                         10                    7                       0
P e n al C o d e 2 9 7 4s ( P ar ol e e s) 5                                                                                                  2
                M etr o St at e H os pit al ( M S H)                                                                                          0
                N a p a St at e H os pit al ( N S H)                                                                                          2
                P att o n St at e H os pit al ( P S H)                                                                                        0
                                                            T O T A L S ( e x cl u di n g P ar ol e e s)             3 6, 0 7 2           3 1, 2 8 0                253                         2, 5 9 1                 2, 1 2 0         1
                                                                                                                      T ot al              T ot al         T ot al A w aiti n g T ot al O v er                         CE NS US PE R CE NT A GES
                                                                                                                   C a p a cit y         C e ns us 1         Pl a c e m e nt 2  Ti m efr a m e s 3                    % M HS DS                    % C DCR 4
                                                                                                    C C C MS         2 9, 2 5 0           2 5, 0 9 2                                                                    7 5. 1 3 %                 2 2. 1 5 %
                                                                                                         E OP         6, 5 1 3             5, 9 8 9                                                                     1 7. 9 3 %                  5. 2 9 %
                                                                             E O P- A S U / N D S / S T R H             605                 529                     113                            72                    1. 5 8 %                   0. 4 7 %
                                                                              E O P- P S U / L T R H / S H U            182                 118                     60                             25                    0. 3 5 %                   0. 1 0 %
                                                                                                   M HCB                465                 276                      3                             1                     0. 8 3 %                   0. 2 4 %
                                                                       P S Y C HI A T RI C I N P A TI E N T           1, 6 4 8             1, 3 9 6                 78                             35                    4. 1 8 %                   1. 2 3 %
                                                                                       G R A N D T O T AL            3 8, 6 6 3          3 3, 4 0 0                 254                           133                  1 0 0. 0 0 %                2 9. 4 8 %
               1  C e ns us s o ur c es: H C O D S f or C C C M S, E O P; H E A R T f or M H C B; RI P A r e p orts f or I C F, A P P, a n d PI P pr o gr a ms.
               2 A w aiti n g Pl a c e m e nt = T h e s u m of i n m at es w aiti n g t o b e pl a c e d i n a b e d at a s p e cifi c l e v el of c ar e. T h os e a w aiti n g pl a c e m e nt t o I C F, A P P, a n d PI P i n cl u d e

                  r ef err als t h at h a v e b e e n c ust o di all y r e vi e w e d b y H C P O P a n d ar e a w aiti n g b e d a v ail a bilit y, i n p ati e nt pr o gr a m a c c e pt a n c e, or tr a nsf er t o t h e i n p ati e nt pr o gr a m
                  as of t h e r e p orti n g d at e ( b as e d o n t h e R ef err als t o I n p ati e nt Pr o gr a ms A p pli c ati o n ( RI P A)).
               3 T ot al O v er Ti m efr a m es = T h e n u m b er of r ef err als t h at ar e b e y o n d M e nt al H e alt h Pr o gr a m G ui d e tr a nsf er ti m efr a m es: E O P- A S U i n cl u d es c as es i n n o n- h u bs

                  w aiti n g > 3 0 d a ys, P S U i n cl u d es c as es wit h a n ori gi n al C S R e n d ors e m e nt d at e > 6 0 d a ys, M H C B i n cl u d es r ef err als > 2 4 h o urs, Ps y c hi atri c I n p ati e nt i n cl u d es
                  I nt er m e di at e r ef err als > 3 0 d a ys a n d A c ut e r ef err als > 1 0 d a ys.
               4 C D C R p o p as of 7/ 1/ 2 0 ( OI S B). B as e d o n T ot al I n- St at e I nstit uti o n P o p ul ati o n a n d O ut of St at e ( C O C F).
               5 C e ns us n u m b ers ar e tr a c k e d a n d u p d at e d b y D e p art m e nt of St at e H os pit al ( D S H).
               6 L T R H a n d S T R H c a p a cit y n u m b ers o bt ai n e d fr o m t h e P M U W e e kl y P o p ul ati o n S u m m ar y R e p ort d at e d M ar c h 6, 2 0 2 0.
                ⁷ I n r es p o ns e t o C D C R C O VI D- 1 9 G ui d eli n es s o m e p ati e nts m a y b e h o us e d o utsi d e of t h eir l e v el of c ar e a n d/ or i n a T e m p or ar y M e nt al H e alt h U nit.

                                                                                                                                                                          C C H C S, H e alt h C ar e Pl a c e m e nt O v er si g ht Pr o gr a m
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                         E x hi bit K
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                     E O P T ot al P o p ul ati o n                                                 C D C R T ot al P o p ul ati o n
8, 0 0 0                                                                         1 8 0, 0 0 0

7, 0 0 0                                                                         1 6 0, 0 0 0          1 6 5, 6 3 0
                                                       6, 7 4 8
                                                                                 1 4 0, 0 0 0
6, 0 0 0

                                                                                 1 2 0, 0 0 0
5, 0 0 0                                                                                                                                   1 2 3, 1 2 3

                4, 7 4 2                                                         1 0 0, 0 0 0
4, 0 0 0
                                                                                  8 0, 0 0 0
3, 0 0 0
                                                                                  6 0, 0 0 0

2, 0 0 0
                                                                                  4 0, 0 0 0

1, 0 0 0                                                                          2 0, 0 0 0

      0                                                                                    0
           A u g u st 2 0 0 9                    F e br u ar y 2 0 2 0                              A u g u st 2 0 0 9                 F e br u ar y 2 0 2 0
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                         E x hi bit M
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                                                                                                 A u g ust 2 01 7




                                C alif or ni a D e p art m e nt
                                of C orr e cti o n s a n d
                                R e h a bilit ati o n
                                It M ust I n cr e as e Its E ﬀ orts t o Pr e v e nt a n d R es p o n d t o
                                I n m at e S ui ci d es


                                R e p ort 2 01 6-1 31




                                    C O M MI T M E N T
                                                             I N T E G RI T Y
                                                                 L E A D E R S HI P
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                                                                  C A LI F O R NI A S T A T E A U DI T O R
                                                                  6 21 C a pit ol M all, S uit e 12 0 0 | S a cr a m e nt o | C A | 9 5 81 4


                                                                  91 6. 4 4 5. 0 2 5 5 | T T Y 91 6. 4 4 5. 0 0 3 3



                                                                  F or c o m pl ai nts of st at e e m pl o y e e mis c o n d u ct,
                                                                  c o nt a ct us t hr o u g h t h e W histl e bl o w er H otli n e :
                                                                  1. 8 0 0. 9 5 2. 5 6 6 5



                                 D o n’t w a nt t o miss a n y of o ur r e p orts? S u bs cri b e t o o ur e m ail list at                              a u dit or. c a. g o v




 F or q u esti o ns r e g ar di ng t h e c o nt e nts of t his r e p ort, pl e as e c o nt act                   M ar g arit a F er n á n d e z, C hi ef of P u bli c A ﬀ airs, at 91 6. 4 4 5. 0 2 5 5
T his r e p ort is als o a v ail a bl e o nli n e at w w w. a u dit or.c a. g o v | Alt er n at e f or m at r e p orts a v ail a bl e u p o n r e q u est | P er missi o n is gr a nt e d t o r e pr o d uc e r e p orts
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                                                                                                                                 El ai n e M. H o wl e St at e A u dit or
                                                                                                                                   D o u g C or di n er C hi ef D e p ut y




   A u g ust 1 7, 2 01 7                                                                                                                                    2 01 6-1 31

   Th e G o v er n or of C alif or ni a
   Pr esi d e nt pr o Te m p or e of t h e S e n at e
   S p e a k er of t h e Ass e m bl y
   St at e C a pit ol
   S a cr a m e nt o, C alif or ni a 9 5 81 4

   D e ar G o v er n or a n d L e gisl ati v e L e a d ers:

   As r e q u est e d b y t h e J oi nt L e gisl ati v e A u dit C o m mitt e e, t h e C alif or ni a St at e A u dit or pr es e nts t his a u dit
   r e p ort c o n c er ni n g t h e C alif or ni a D e p art m e nt of C orr e cti o ns a n d R e h a bilit ati o n’s ( C orr e cti o ns) p oli ci es,
   pr o c e d ur es, a n d pr a cti c es f or s ui ci d e pr e v e nti o n a n d r e d u cti o n, wit h a p arti c ul ar e m p h asis o n t h e r e c e ntl y
   el e v at e d s ui ci d e r at e at t h e C alif or ni a I nstit uti o n f or W o m e n. Alt h o u g h f e m al e i n m at es a c c o u nt f or
   a b o ut 4 p er c e nt of C orr e cti o ns’ t ot al i n m at e p o p ul ati o n, t h e y a c c o u nt e d f or 11 p er c e nt of i n m at e s ui ci d es
   fr o m 2 01 4 t hr o u g h 2 01 6. This r e p ort c o n cl u d es t h at C orr e cti o ns s h o ul d pr o vi d e i n cr e as e d o v ersi g ht a n d
   l e a d ers hi p t o e ns ur e t h at pris o ns f oll o w its p oli ci es r el at e d t o s ui ci d e pr e v e nti o n a n d r es p o ns e.

   We i d e nti ﬁ e d si g ni ﬁ c a nt w e a k n ess es i n pris o ns’ s ui ci d e pr e v e nti o n a n d r es p o ns e pr a cti c es at t h e f o ur pris o ns
   w e r e vi e w e d. S p e ci ﬁ c all y, w e f o u n d t h at t h e pris o ns f ail e d t o c o m pl et e s o m e r e q uir e d e v al u ati o ns t o ass ess
   i n m at es’ ris k f or s ui ci d e a n d t h os e t h at t h e pris o ns di d c o m pl et e w er e oft e n i n a d e q u at e. Th e i n a d e q u a ci es
   i n cl u d e d l e a vi n g s e cti o ns of t h e ris k e v al u ati o ns bl a n k, f aili n g t o a p pr o pri at el y j ustif y t h e d et er mi n ati o ns of
   ris k, f aili n g t o d e v el o p a d e q u at e pl a ns f or tr e at m e nt t o r e d u c e t h e i n m at es’ ris k, a n d r el yi n g o n i n c o nsist e nt
   i nf or m ati o n a b o ut i n m at es t o d et er mi n e ris k. Als o, t h e pris o ns w e r e vi e w e d di d n ot pr o p erl y m o nit or
   i n m at es w h o w er e at ris k of c o m mitti n g s ui ci d e. F or e x a m pl e, w e f o u n d t h at st a ﬀ w er e n ot st a g g eri n g
   b e h a vi or c h e c k s or c o n d u cti n g c h e c k s i n t h e r e q uir e d 1 5- mi n ut e i nt er v als. Fi n all y, w e f o u n d t h at s o m e
   st a ﬀ m e m b ers at t h e pris o ns w e visit e d h a d n ot c o m pl et e d r e q uir e d tr ai ni n gs r el at e d t o s ui ci d e pr e v e nti o n
   a n d r es p o ns e. Th es e c o n diti o ns m a y h a v e c o ntri b ut e d t o el e v at e d s ui ci d e a n d att e m pt e d s ui ci d e r at es at
   C alif or ni a pris o ns.

   C orr e cti o ns als o l a c k s ass ur a n c e t h at pris o ns ar e i m pl e m e nti n g its p oli ci es t o a d dr ess s eri o us iss u es. F or
   m a n y y e ars, a c o urt- a p p oi nt e d s p e ci al m ast er, w or ki n g wit h C orr e cti o ns t o a d dr ess i n m at e m e nt al h e alt h
   c ar e, i d e nti ﬁ e d m a n y of t h e s a m e iss u es w e dis c uss i n t his r e p ort. I n 2 01 3 C orr e cti o ns b e g a n d e v el o pi n g
   a n a u dit pr o c ess t o r e vi e w pris o ns’ c o m pli a n c e wit h its p oli ci es a n d pr o c e d ur es, i n cl u di n g t h os e it iss u e d
   i n r es p o ns e t o t h e s p e ci al m ast er’s r e p orts; h o w e v er, t h at pr o c ess is still i n d e v el o p m e nt. I n a d diti o n,
   C orr e cti o ns c o ul d pr o vi d e a d diti o n al l e a d ers hi p t o pris o ns r e g ar di n g t h e c o m m u ni c ati o n of b est pr a cti c es
   r el at e d t o s ui ci d e pr e v e nti o n e ﬀ orts. Fi n all y, C orr e cti o ns’ p oli ci es r e q uir e it t o c o m pl et e a t h or o u g h r e vi e w
   of a pris o n’s c o m pli a n c e wit h p oli ci es a n d pr o c e d ur es f oll o wi n g a n i n m at e’s s ui ci d e, b ut C orr e cti o ns d o es
   n ot c o m pl et e s u c h r e vi e ws f or s ui ci d e att e m pts. This hi n d ers C orr e cti o ns’ a bilit y t o i d e ntif y pr o bl e ms wit h
   a pris o n’s c o m pli a n c e wit h cr u ci al p oli ci es a n d pr o c e d ur es u ntil aft er a n i n m at e di es.

   R es p e ctf ull y s u b mitt e d,



   E L AI N E M. H O W L E, C P A
   St at e A u dit or


 6 2 1 C a pi t ol M all, S ui t e 1 2 0 0   S a c r a m e n t o, C A 9 5 8 1 4   9 1 6. 4 4 5. 0 2 5 5    9 1 6. 3 2 7. 0 0 1 9 f a x       w w w. a u di t o r. c a. g o v
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                          S el e ct e d A b br e vi ati o ns Us e d i n T his R e p ort

                           C C WF                         C e ntr al C alif or ni a W o m e n’s F a cilit y

                           CI W                           C alif or ni a I nstit uti o n f or W o m e n

                           C orr e cti o ns               C alif or ni a D e p art m e nt of C orr e cti o ns a n d R e h a bilit ati o n

                           h e alt h c ar e di visi o n   C orr e cti o ns’ Di visi o n of H e alt h C ar e S er vi c es

                           RJ D                           Ri c h ar d J. D o n o v a n C orr e cti o n al F a cilit y

                           SAC                            C alif or ni a St at e Pris o n, S a cr a m e nt o

                           VSP W                          V all e y St at e Pris o n f or W o m e n
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     Bl a n k p a g e i ns ert e d f or r e pr o d u cti o n p ur p os es o nl y.
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     S u m m ar y

     R es ults i n Bri ef                                                                                           A u dit Hi g hli g hts . . .

     D es pit e t h e f a ct t h at t h e r at es of i n m at e s ui ci d e i n C alif or ni a’s pris o ns          O ur a u dit of Correctio ns’ policies a n d
     h as b e e n hi g h er o n a v er a g e t h a n t h os e of all U. S. st at e pris o ns f or                   practices for i n m ate s uici de preve ntio n
     s e v er al y e ars, t h e C alif or ni a D e p art m e nt of C orr e cti o ns a n d                           a n d res po nse hi g hli g ht t he follo wi n g:
     R e h a bilit ati o n ( C orr e cti o ns) h as f ail e d t o pr o vi d e t h e l e a d ers hi p a n d
                                                                                                                    » T he avera ge s uici de rate i n Correctio ns’
     o v ersi g ht n e c ess ar y t o e ns ur e t h at its pris o ns f oll o w its p oli ci es r el at e d
                                                                                                                      priso ns was s u bst a nti ally hi g her t h a n t he
     t o i n m at e s ui ci d e pr e v e nti o n a n d r es p o ns e. C orr e cti o ns is r es p o nsi bl e
                                                                                                                      avera ge of U.S. st ate priso ns.
     f or pr o vi di n g m e nt al h e alt h s er vi c es t o its i n m at es w h o ar e u n a bl e t o
     f u n cti o n wit hi n t h e us u al c orr e cti o n al e n vir o n m e nt b e c a us e of m e nt al           » T he rates of fe m ale i n m ates w ho
     ill n ess. H o w e v er, fr o m 2 0 0 5 t hr o u g h 2 01 3, t h e a v er a g e s ui ci d e r at e               co m mitte d s uici de w hile i n Correctio ns’
     i n C orr e cti o ns’ pris o ns w as 2 2 p er 1 0 0, 0 0 0 i n m at es —s u bst a nti all y                      priso ns h ave so are d i n rece nt ye ars.
     hi g h er t h a n t h e a v er a g e r at e of 15. 6 6 p er 1 0 0, 0 0 0 i n U. S. st at e pris o ns
     d uri n g t h e s a m e p eri o d. F urt h er, i n r e c e nt y e ars, t h e r at es of f e m al e             » We fo u n d si g ni ﬁca nt we ak nesses i n
     i n m at es w h o c o m mitt e d s ui ci d e w hil e i n C orr e cti o ns’ pris o ns h a v e                     co m pli a nce wit h s uici de preve ntio n a n d
     s o ar e d: fr o m 2 01 4 t hr o u g h 2 01 6, f e m al e i n m at es m a d e u p o nl y a b o ut                res po nse policies w he n we revie we d
     4 p er c e nt of C orr e cti o ns’ t ot al i n m at e p o p ul ati o n, y et t h e y a c c o u nt e d            4 0 ﬁles o n i n m ates w ho co m mitte d or
     f or a b o ut 11 p er c e nt of its i n m at e s ui ci d es. Th es e st atisti cs, c o m bi n e d                atte m pte d s uici de at fo ur priso ns.
     wit h t h e si g ni ﬁ c a nt d e ﬁ ci e n ci es w e i d e nti ﬁ e d w h e n w e r e vi e w e d
                                                                                                                       • Priso ns faile d to co m plete or co m plete d
     s ui ci d e pr e v e nti o n a n d r es p o ns e pr a cti c es at f o ur pris o ns, r ais e
                                                                                                                         i na deq uate risk eval uatio ns for ma ny of
     q u esti o ns r e g ar di n g C orr e cti o ns’ l e a d ers hi p o n t his criti c al iss u e.
                                                                                                                         t hose i n mates w ho re q uire d t he m.

     W h e n w e r e vi e w e d t h e C alif or ni a I nstit uti o n f or W o m e n ( CI W);                           • Priso ns di d not co m plete or cre ate d
     C alif or ni a St at e Pris o n, S a cr a m e nt o ( S A C); C e ntr al C alif or ni a                              i n a de q uate tre at me nt pl a ns for so me
     W o m e n’s F a cilit y ( C C W F); a n d Ri c h ar d J. D o n o v a n C orr e cti o n al                           i n m ates — pl a ns di d not al ways
     F a cilit y ( RJ D), o n e ar e a i n w hi c h w e i d e nti ﬁ e d si g ni ﬁ c a nt                                 s pecify me dicatio n dos a ge a n d
     w e a k n ess es w as t h e f o ur pris o ns’ e v al u ati o ns of i n m at es’ s ui ci d e                         freq ue ncy, treat me nt met hods, provider
     ris k. S p e ci ﬁ c all y, f or v ari o us r e as o ns, i n cl u di n g w h e n i n m at es                         infor mation, or follo w-up upon discharge.
     att e m pt s ui ci d e, e x pr ess s ui ci d al t h o u g hts, or e n g a g e i n s elf- h ar m,
     C orr e cti o ns’ p oli c y r e q uir es t h at pris o n m e nt al h e alt h st a ﬀ ( m e nt al                   • Priso ns di d not pro perly mo nitor
     h e alt h st a ﬀ ) c o m pl et e s ui ci d e ris k e v al u ati o ns (ris k e v al u ati o ns)                      i n m ates w ho were at risk of
     t o ass ess a n i n m at e’s ris k f or s ui ci d e. Th es e ris k e v al u ati o ns ar e                           co m mitti n g s uici de.
     criti c al t o s u c c essf ul s ui ci d e pr e v e nti o n b e c a us e t h e y h el p m e nt al
     h e alt h st a ﬀ i d e ntif y i n m at es w h o ar e li k el y t o att e m pt s ui ci d e a n d                » Alt ho u g h Correctio ns h as k no w n a bo ut
     t h e tr e at m e nts n e e d e d t o pr e v e nt t h e m fr o m d oi n g s o. N o n et h el ess,                m a ny of t he iss ues rel ate d to s uici de
     o v er t h e p ast s e v er al y e ars, c o urt- a p p oi nt e d m e nt al h e alt h e x p erts                  preve ntio n a n d res po nse policies a n d
     h a v e r e p e at e dl y n oti ﬁ e d C orr e cti o ns of pr o bl e ms r el at e d t o its ris k                 practices t h at we fo u n d for a n u m ber
     e v al u ati o ns. F urt h er, w h e n w e e x a mi n e d ris k e v al u ati o ns f or t h e                     of ye ars, it h as not f ully i m ple me nte d
     3 6 of 4 0 i n m at es w e r e vi e w e d w h o r e q uir e d t h e m, w e f o u n d t h at                      processes to a d dress t he iss ues t h at h ave
     t h e pris o ns f ail e d t o c o m pl et e at l e ast o n e r e q uir e d ris k e v al u ati o n                bee n raise d.
     f or 1 0 of t h e i n m at es a n d c o m pl et e d i n a d e q u at e ris k e v al u ati o ns f or            » Correctio ns co ul d t ake a more pro active
     2 6 of t h e i n m at es. Th e i n a d e q u a ci es w e n ot e d i n cl u d e d l e a vi n g                    le a ders hi p role i n i de ntifyi n g pro gra ms
     s e cti o ns of t h e ris k e v al u ati o ns bl a n k, f aili n g t o a p pr o pri at el y j ustif y            or best practices a n d revie wi n g a
     t h e d et er mi n ati o ns of ris k, f aili n g t o d e v el o p a d e q u at e pl a ns f or                    priso n’s practices follo wi n g a n i n m ate’s
     tr e at m e nt t o r e d u c e t h e i n m at es’ ris k, a n d r el yi n g o n i n c o nsist e nt or             s uici de atte m pt.
     i n c o m pl et e i nf or m ati o n a b o ut t h e i n m at es t o d et er mi n e ris k.
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                                                I n 2 01 3 C orr e cti o ns est a blis h e d a ris k e v al u ati o n tr ai ni n g, as
                                                w ell as a m e nt ori n g pr o gr a m t o ass ess, e v er y t w o y e ars, w h et h er
                                                m e nt al h e alt h st a ﬀ a d e q u at el y c o m pl et e d ris k e v al u ati o ns a n d t o
                                                pr o vi d e tr ai ni n g as n e e d e d. C orr e cti o ns e n h a n c e d t h e m e nt ori n g
                                                pr o gr a m i n 2 01 6 b y r e q uiri n g pris o ns t o a u dit m e nt al h e alt h
                                                st a ﬀ’s ris k e v al u ati o ns t wi c e e a c h y e ar a n d t o h a v e t h es e st a ﬀ
                                                u n d er g o m e nt ori n g if t h e y f ail e d t h e a u dit; h o w e v er, t h e r es ults
                                                of o ur r e vi e w d e m o nstr at e t h at t his pr o gr a m h as n ot r es ol v e d t h e
                                                pr o bl e ms. Th e f ail ur e m a y b e d u e i n p art t o C orr e cti o ns all o wi n g
                                                m e nt al h e alt h st a ﬀ t o i m pr o p erl y c o m pl et e si g ni ﬁ c a nt s e cti o ns of
                                                t h e ris k e v al u ati o ns a n d still p ass C orr e cti o ns’ a u dit. A c c or di n g t o
                                                C orr e cti o ns’ cli ni c al s u p p ort c hi ef, C orr e cti o ns d o es n ot e x p e ct
                                                p erf e cti o n fr o m its m e nt al h e alt h st a ﬀ. S h e als o st at e d t h at d es pit e
                                                t h eir tr ai ni n g, s o m e m e nt al h e alt h st a ﬀ still d o n ot k n o w h o w
                                                t o c o m pl et e ris k e v al u ati o ns, a n d t h at ot h ers m a y r us h w h e n
                                                c o m pl eti n g t h e m b e c a us e of t h eir h e a v y w or kl o a ds. Alt h o u g h
                                                C orr e cti o ns h as t a k e n s o m e st e ps t o a d dr ess t h es e iss u es, t h e
                                                f a ct t h at t h e pr o bl e ms wit h t h e ris k e v al u ati o ns h a v e c o nti n u e d
                                                s h o ws t h at C orr e cti o ns m ust i n cr e as e its o v ersi g ht.

                                                Si mil arl y, t h e pris o ns w e r e vi e w e d f ail e d t o c o m pl et e r e q uir e d
                                                tr e at m e nt pl a ns f or s o m e i n m at es a n d cr e at e d i n a d e q u at e tr e at m e nt
                                                pl a ns f or ot h ers. Tr e at m e nt pl a ns ar e cr u ci al t o s ui ci d e pr e v e nti o n:
                                                b as e d o n t h e i n m at es’ n e e ds, t h e y s et g o als f or t h e i n m at es’ tr e at m e nt
                                                a n d d et er mi n e t h e s p e ci ﬁ c tr e at m e nt m et h o ds m e nt al h e alt h st a ﬀ
                                                will us e. St at e r e g ul ati o ns a n d C orr e cti o ns’ p oli c y r e q uir e t h at
                                                pris o ns c o m pl et e a pl a n f or i niti al tr e at m e nt (i niti al tr e at m e nt pl a n)
                                                wit hi n 2 4 h o urs of a n i n m at e’s a d missi o n t o a m e nt al h e alt h crisis
                                                b e d ( crisis b e d) a n d a m or e c o m pr e h e nsi v e pl a n wit hi n 7 2 h o urs
                                                of a d missi o n ( 7 2- h o ur tr e at m e nt pl a n). I niti al tr e at m e nt pl a ns ar e
                                                i m p ort a nt b e c a us e t h e y pr es cri b e tr e at m e nt f or t h e ﬁrst f e w d a ys
                                                of a n i n m at e’s crisis- b e d st a y. N o n et h el ess, w h e n w e r e vi e w e d t h e
                                                ﬁl es of 2 6 i n m at es w h o r e q uir e d t h e m, w e f o u n d t h at CI W, C C W F,
                                                a n d RJ D di d n ot c o m pl et e i niti al tr e at m e nt pl a ns f or s o m e i n m at es.
                                                F urt h er, 2 5 i n m at es als o r e q uir e d 7 2- h o ur tr e at m e nt pl a ns, b ut
                                                o n e pris o n di d n ot c o m pl et e s u c h pl a ns f or t w o i n m at es. Fi n all y,
                                                all 2 3 of t h e r e m ai ni n g 7 2- h o ur tr e at m e nt pl a ns w e r e vi e w e d f ail e d
                                                t o m e et t h e r e q uir e m e nts o utli n e d i n st at e r e g ul ati o ns. Th e m ost
                                                c o m m o n pr o bl e ms w e i d e nti ﬁ e d w er e t h at t h e pl a ns di d n ot s p e cif y
                                                m e di c ati o n d os a g e a n d fr e q u e n c y, tr e at m e nt m et h o ds, t h e pr o vi d ers
                                                r es p o nsi bl e f or t h e tr e at m e nts, or t h e f oll o w- u p tr e at m e nts f or t h e
                                                i n m at es w h o w er e dis c h ar g e d.

                                                Th e f o ur pris o ns als o di d n ot pr o p erl y m o nit or i n m at es w h o w er e
                                                at ris k of c o m mitti n g s ui ci d e. C orr e cti o ns’ p oli ci es r e q uir e pris o ns
                                                t o c o n d u ct st a g g er e d b e h a vi or c h e c ks at i nt er v als n ot t o e x c e e d
                                                e v er y 1 5 mi n ut es of i n m at es w h o ar e at hi g h ris k of s elf-i nj ur y b ut
                                                n ot i n i m m e di at e d a n g er. H o w e v er, w h e n w e r e vi e w e d r e c or ds f or
                                                2 5 s u c h i n m at es, w e f o u n d t h at t h e pris o ns e x c e e d e d 1 5- mi n ut e
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     i nt er v als f or c h e c ks o n 1 7 i n m at es, di d n ot st a g g er c h e c ks f or
     1 9 i n m at es, a n d a p p e ar e d t o h a v e pr e ﬁll e d or pr e pri nt e d t h e f or ms
     d o c u m e nti n g c h e c ks f or ei g ht i n m at es. C orr e cti o ns s ai d t h at a n e w
     el e ctr o ni c h e alt h r e c or d s yst e m t h at it is c urr e ntl y i m pl e m e nti n g
     s yst e m wi d e will r e d u c e s o m e of t h es e iss u es, as will a pl a n n e d a u dit
     pr o c ess t h at will i n cl u d e a ut o m at e d m o nit ori n g of t h es e c h e c ks.
     N e v ert h el ess, w e still f o u n d pr o bl e ms wit h st a ﬀ n ot st a g g eri n g
     c h e c ks or c o n d u cti n g c h e c ks t h at e x c e e d e d i nt er v als of 1 5 mi n ut es
     at t w o pris o ns t h at i m pl e m e nt e d t h e n e w s yst e m, bri n gi n g i nt o
     q u esti o n w h et h er it will f ull y r es ol v e t h e pr o bl e ms w e i d e nti ﬁ e d.

     Ta k e n as a w h ol e, t h e t y p es of c o m pli a n c e iss u es w e i d e nti ﬁ e d at
     t h e f o ur pris o ns w e r e vi e w e d m a y h a v e c o ntri b ut e d t o C orr e cti o ns’
     c o nti n ui n g hi g h s ui ci d e r at es r el ati v e t o t h os e of pris o n s yst e ms
     i n ot h er st at es. I n a d diti o n, a n u m b er of s p e ci ﬁ c f a ct ors m a y h a v e
     c o ntri b ut e d t o el e v at e d s ui ci d e a n d s ui ci d e att e m pt r at es a m o n g
     C orr e cti o ns’ f e m al e i n m at es. As w e m e nti o n pr e vi o usl y, t h e r at e
     of s ui ci d e a m o n g f e m al e i n m at es h as i n cr e as e d dr a m ati c all y
     si n c e 2 01 4. This i n cr e as e is es p e ci all y pr o n o u n c e d at CI W, w h er e
     si x of t h e s e v e n s ui ci d es b y f e m al e i n m at es fr o m 2 01 4 t hr o u g h 2 01 6
     o c c urr e d. O ﬃ ci als at C orr e cti o ns a n d CI W i d e nti ﬁ e d a n u m b er
     of r e as o ns w h y t h e s ui ci d e r at e at CI W m a y h a v e i n cr e as e d d uri n g
     t his p eri o d, i n cl u di n g d o m esti c vi ol e n c e i n i nt er p ers o n al
     r el ati o ns hi ps, dr u g i n v ol v e m e nt, a n d dr u g tr a ﬃ c ki n g. O ﬃ ci als at
     CI W f urt h er cit e d a c h a n g e i n pris o n c ult ur e r es ulti n g fr o m t h e
     c o n v ersi o n of Vall e y St at e Pris o n f or W o m e n t o a m e n’s i nstit uti o n
     a n d t h e s u bs e q u e nt tr a nsf er of hi g h-s e c urit y-l e v el i n m at es t o CI W.

     I n a d diti o n, w e f o u n d t h at s o m e st a ﬀ m e m b ers at CI W a n d t h e
     ot h er pris o ns w e visit e d h a d n ot c o m pl et e d r e q uir e d tr ai ni n gs
     r el at e d t o s ui ci d e pr e v e nti o n a n d r es p o ns e. C orr e cti o ns’ p oli ci es
     r e q uir e pris o n st a ﬀ t o p arti ci p at e i n s p e ci ﬁ c tr ai ni n gs o n iss u es
     s u c h as pr e v e nti n g s ui ci d e, ass essi n g i n m at es’ s ui ci d e ris k, a n d
     d e v el o pi n g tr e at m e nt pl a ns. H o w e v er, w h e n w e r e vi e w e d r e c or ds
     f or 2 0 st a ﬀ m e m b ers at CI W, w e f o u n d t h at t h e pris o n c o ul d n ot
     pr o vi d e e vi d e n c e t h at t h e st a ﬀ m e m b ers att e n d e d all r e q uir e d
     tr ai ni n gs. F or e x a m pl e, t h e pris o n c o ul d n ot d e m o nstr at e t h at
     f o ur of t h e 2 0 st a ﬀ m e m b ers att e n d e d a n n u al r e q uir e d s ui ci d e
     pr e v e nti o n tr ai ni n g i n 2 01 6. F urt h er, C orr e cti o ns’ o ﬃ ci als r e p ort e d
     t h at n ot all st a ﬀ m e m b ers at t h e ot h er t hr e e pris o ns r e c ei v e d
     r e q uir e d tr ai ni n gs i n 2 01 6. C orr e cti o ns’ cli ni c al s u p p ort c hi ef w as
     u n a bl e t o e x pl ai n w h y t h es e st a ﬀ m e m b ers h a d n ot p arti ci p at e d
     i n tr ai ni n gs as r e q uir e d. I nst e a d, s h e st at e d t h at C orr e cti o ns r eli es
     o n t h e pris o ns’ i n-s er vi c e tr ai ni n g u nits t o a d dr ess cli ni c al tr ai ni n g
     n o n c o m pli a n c e iss u es.

     Th e o n g oi n g n at ur e of m a n y of t h e pr o bl e ms w e i d e nti ﬁ e d at t h e
     f o ur pris o ns w e r e vi e w e d is p arti c ul arl y tr o u bli n g. A c o urt- a p p oi nt e d
     s p e ci al m ast er h as o v ers e e n m a n y as p e cts of C orr e cti o ns’ pr o visi o n
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                                                of m e nt al h e alt h c ar e si n c e 1 9 9 5. Si n c e at l e ast 1 9 9 9, t h e s p e ci al
                                                m ast er h as i d e nti ﬁ e d m a n y of t h e s a m e pr o bl e ms w e f o u n d i n o ur
                                                a u dit. I n J a n u ar y 2 015, t h e s p e ci al m ast er ﬁl e d a r e p ort t h at w as
                                                a n a u dit of s ui ci d e pr e v e nti o n pr a cti c es i n e a c h of t h e 3 5 pris o ns,
                                                w hi c h c o nt ai n e d 3 2 r e c o m m e n d ati o ns. C orr e cti o ns r es p o n d e d t o
                                                t h e m aj orit y of t h es e r e c o m m e n d ati o ns t hr o u g h t h e a d o pti o n of n e w
                                                p oli ci es, i m pr o v e m e nts t o its f a ciliti es, c h a n g es t o its tr ai ni n gs, a n d
                                                ot h er a cti o ns. H o w e v er, C orr e cti o ns h as n ot y et f ull y e ns ur e d pris o ns’
                                                c o m pli a n c e wit h c h a n g es r es ulti n g fr o m t h e r e c o m m e n d ati o ns.
                                                A c c or di n g t o C orr e cti o ns, it b e g a n d e v el o pi n g a n a u dit pr o c ess
                                                i n 2 01 3 t o a u dit pris o ns’ c o m pli a n c e wit h p oli ci es a n d pr o c e d ur es, b ut
                                                it h as n ot y et c o m pl et e d t h at pr o c ess n e arl y ﬁ v e y e ars l at er, e x pl ai ni n g
                                                t h at it c o nti n u es t o w or k o n ﬁ n ali zi n g it wit h t h e s p e ci al m ast er.
                                                A bs e nt s u c h m o nit ori n g, C orr e cti o ns l a c ks ass ur a n c e t h at t h e pris o ns
                                                ar e a d dr essi n g t h e s eri o us pr o bl e ms t h e s p e ci al m ast er h as i d e nti ﬁ e d.

                                                F urt h er, C orr e cti o ns c o ul d t a k e a m or e pr o a cti v e l e a d ers hi p
                                                r ol e i n i d e ntif yi n g pr o gr a ms a n d b est pr a cti c es t h at m a y h el p
                                                i n pr e v e nti n g i n m at e s ui ci d e. F or e x a m pl e, w e i d e nti ﬁ e d b est
                                                pr a cti c es at o n e of t h e pris o ns w e visit e d t h at w e b eli e v e c o ul d
                                                b e n e ﬁt c ert ai n i n m at es at ot h er pris o ns. Alt h o u g h C orr e cti o ns
                                                r e c e ntl y c o n d u ct e d a s ui ci d e pr e v e nti o n s u m mit wit h t h e c hi efs of
                                                m e nt al h e alt h a n d ot h er pris o n l e a d ers hi p, at w hi c h it dis c uss e d
                                                b est pr a cti c es r el at e d t o pris o ns’ s ui ci d e pr e v e nti o n e ﬀ orts, its
                                                d o c u m e nt ati o n a n d diss e mi n ati o n of i n n o v ati v e pr o gr a ms a n d b est
                                                pr a cti c es r el at e d t o s ui ci d e pr e v e nti o n h as g e n er all y b e e n li mit e d.
                                                Si mil arl y, C orr e cti o ns h as n ot c o n d u ct e d t h or o u g h r e vi e ws of
                                                t h e cir c u mst a n c es s urr o u n di n g s ui ci d e att e m pts. P urs u a nt t o its
                                                p oli ci es, t h e d e at h of a n i n m at e b y s ui ci d e i niti at es a n i nt e nsi v e
                                                r e vi e w pr o c ess i n w hi c h C orr e cti o ns i d e nti ﬁ es a n y pr o bl e ms wit h
                                                t h e pris o n’s c o m pli a n c e wit h p oli ci es a n d pr o c e d ur es. It t h e n iss u es
                                                a r e p ort c o nt ai ni n g r e c o m m e n d ati o ns t o a d dr ess t h os e pr o bl e ms.
                                                H o w e v er, C orr e cti o ns r e q uir es n o s u c h r e vi e w f or s ui ci d e att e m pts.
                                                C orr e cti o ns’ cli ni c al s u p p ort c hi ef e x pl ai n e d t h at C orr e cti o ns pl a ns
                                                t o i m pl e m e nt a pr o c ess f or e a c h pris o n t o r e vi e w a s el e cti o n of
                                                its i n ci d e nts of i n m at e s elf- h ar m; h o w e v er, w e q u esti o n w h et h er
                                                s u c h r e vi e ws will b e s u ﬃ ci e ntl y i m p arti al a n d criti c al. Wit h o ut a
                                                t h or o u g h a n d u n bi as e d r e vi e w of t h e f a ct ors c o ntri b uti n g t o i n m at e
                                                s ui ci d e att e m pts, C orr e cti o ns is hi n d er e d i n its a bilit y t o i d e ntif y
                                                p ot e nti al pr o bl e ms wit h a pris o n’s s ui ci d e pr e v e nti o n a n d r es p o ns e
                                                pr a cti c es u ntil aft er a n i n m at e di es.
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     S el e ct e d R e c o m m e n d ati o ns


     L e gisl at ur e

     T o pr o vi d e a d diti o n al a c c o u nt a bilit y f or C orr e cti o ns’ e ﬀ orts t o
     r es p o n d t o a n d pr e v e nt i n m at e s ui ci d es a n d att e m pt e d s ui ci d es,
     t h e L e gisl at ur e s h o ul d r e q uir e t h at C orr e cti o ns r e p ort t o it i n
     A pril 2 01 8 a n d a n n u all y t h er e aft er o n t h e f oll o wi n g iss u es:

     • Its pr o gr ess t o w ar d m e eti n g its g o als r el at e d t o t h e c o m pl eti o n of
       s ui ci d e ris k e v al u ati o ns i n a s u ﬃ ci e nt m a n n er.

     • Its pr o gr ess t o w ar d m e eti n g its g o als r el at e d t o t h e c o m pl eti o n of
       7 2- h o ur tr e at m e nt pl a ns i n a s u ﬃ ci e nt m a n n er.

     •      Th e st at us of its e ﬀ orts t o e ns ur e t h at all st a ﬀ r e c ei v e tr ai ni n g
         r el at e d t o s ui ci d e pr e v e nti o n a n d r es p o ns e.

     • Its pr o gr ess i n i m pl e m e nti n g t h e r e c o m m e n d ati o ns m a d e b y
       t h e s p e ci al m ast er r e g ar di n g i n m at e s ui ci d es a n d att e m pts.
       C orr e cti o ns s h o ul d als o i n cl u d e i n its r e p ort t o t h e L e gisl at ur e
       t h e r es ults of a n y a u dits it c o n d u cts as p art of its pl a n n e d a u dit
       pr o c ess t o m e as ur e t h e s u c c ess of c h a n g es it i m pl e m e nts as a
       r es ult of t h es e r e c o m m e n d ati o ns.

     • Its pr o gr ess i n i d e ntif yi n g a n d i m pl e m e nti n g m e nt al h e alt h
       pr o gr a ms at t h e pris o ns t h at m a y a m eli or at e ris k f a ct ors
       ass o ci at e d wit h s ui ci d e.


     C orr ecti o ns

     C orr e cti o ns s h o ul d i m m e di at el y r e q uir e m e nt al h e alt h st a ﬀ t o s c or e
     1 0 0 p er c e nt o n ris k e v al u ati o n a u dits i n or d er t o p ass. If a st a ﬀ
     m e m b er d o es n ot p ass, C orr e cti o ns s h o ul d r e q uir e t h e pris o n t o
     f oll o w its c urr e nt p oli ci es b y r e vi e wi n g a d diti o n al ris k e v al u ati o ns
     t o d et er mi n e w h et h er t h e st a ﬀ m e m b er n e e ds t o u n d er g o
     a d diti o n al m e nt ori n g.

     T o e ns ur e t h at pris o n st a ﬀ c o n d u ct r e q uir e d c h e c ks of i n m at es
     o n s ui ci d e pr e c a uti o n i n a ti m el y m a n n er, C orr e cti o ns s h o ul d
     i m pl e m e nt its a ut o m at e d pr o c ess t o m o nit or t h es e c h e c ks i n its
     el e ctr o ni c h e alt h r e c or d s yst e m b y O ct o b er 2 01 7.

     T o a d dr ess t h e u ni q u e cir c u mst a n c es t h at m a y i n cr e as e its f e m al e
     i n m at es’ r at es of s ui ci d e a n d s ui ci d e att e m pts, C orr e cti o ns s h o ul d
     c o nti n u e t o e x pl or e pr o gr a ms t h at c o ul d a d dr ess t h e s ui ci d e ris k
     f a ct ors f or f e m al e i n m at es.
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                                                T o e ns ur e t h at all pris o n st a ﬀ r e c ei v e r e q uir e d tr ai ni n g r el at e d t o
                                                s ui ci d e pr e v e nti o n a n d r es p o ns e, C orr e cti o ns s h o ul d i m m e di at el y
                                                i m pl e m e nt a pr o c ess f or i d e ntif yi n g pris o ns w h er e st a ﬀ ar e n ot
                                                att e n di n g r e q uir e d tr ai ni n gs a n d f or w or ki n g wit h t h e pris o ns t o
                                                s ol v e t h e iss u es pr e v e nti n g att e n d a n c e.

                                                T o e ns ur e t h at pris o ns c o m pl y wit h its p oli ci es r el at e d t o s ui ci d e
                                                pr e v e nti o n a n d r es p o ns e, C orr e cti o ns s h o ul d c o nti n u e t o d e v el o p
                                                its a u dit pr o c ess a n d i m pl e m e nt it at all pris o ns b y F e br u ar y 2 01 8.
                                                Th e pr o c ess s h o ul d i n cl u d e, b ut n ot b e li mit e d t o, a u dits of t h e
                                                q u alit y of pris o ns’ ris k e v al u ati o ns a n d tr e at m e nt pl a ns.

                                                To e ns ur e t h at all its pris o ns pr o vi d e i n m at es wit h e ﬀ e cti v e m e nt al
                                                h e alt h c ar e, C orr e cti o ns s h o ul d c o nti n u e t o t a k e a r ol e i n c o or di n ati n g
                                                a n d diss e mi n ati n g b est pr a cti c es r el at e d t o m e nt al h e alt h tr e at m e nt
                                                b y c o n d u cti n g a b est pr a cti c es s u m mit at l e ast a n n u all y. Th e s u m mits
                                                s h o ul d f o c us o n all as p e cts of s ui ci d e pr e v e nti o n a n d r es p o ns e,
                                                i n cl u di n g pr o gr a ms t h at s e e k t o i m pr o v e i n m at e m e nt al h e alt h a n d
                                                tr e at m e nt of a n d r es p o ns e t o s ui ci d e att e m pts. C orr e cti o ns s h o ul d
                                                d o c u m e nt a n d diss e mi n at e t his i nf or m ati o n a m o n g t h e pris o ns, assist
                                                pris o ns i n i m pl e m e nti n g t h e b est pr a cti c es t hr o u g h tr ai ni n g a n d
                                                c o m m u ni c ati o n w h e n n e e d e d, a n d m o nit or a n d r e p ort p u bli cl y o n t h e
                                                s u c c ess es a n d c h all e n g es of a d o pt e d pr a cti c es.

                                                I n a n e ﬀ ort t o pr e v e nt f ut ur e i n m at e s ui ci d e att e m pts, C orr e cti o ns
                                                s h o ul d i m pl e m e nt its pl a n t o r e vi e w att e m pts wit h t h e s a m e l e v el
                                                of s cr uti n y t h at it us es d uri n g its s ui ci d e r e vi e ws. C orr e cti o ns
                                                s h o ul d r e q uir e e a c h pris o n t o i d e ntif y f or r e vi e w at l e ast o n e s ui ci d e
                                                att e m pt p er y e ar t h at o c c urr e d at t h at pris o n. T o e ns ur e t h at t h e
                                                r e vi e ws i n cl u d e criti c al a n d u n bi as e d f e e d b a c k, C orr e cti o ns s h o ul d
                                                eit h er c o n d u ct t h es e r e vi e ws its elf or r e q uir e t h e pris o ns t o r e vi e w
                                                e a c h ot h er. Th es e r e vi e ws s h o ul d st art i n S e pt e m b er 2 01 7 a n d
                                                f oll o w t h e s a m e ti m eli n es as t h e s ui ci d e r e vi e ws, wit h t h e ti m eli n e
                                                b e gi n ni n g o n c e t h e t e a m i d e nti ﬁ es a s ui ci d e att e m pt f or r e vi e w.


                                                A g e n c y C o m m e nts

                                                C orr e cti o ns st at e d it w o ul d a d dr ess t h e s p e ci ﬁ c r e c o m m e n d ati o ns
                                                i n a c orr e cti v e a cti o n pl a n wit hi n t h e ti m eli n es o utli n e d i n t h e
                                                r e p ort. We l o o k f or w ar d t o C orr e cti o ns’ 6 0- d a y r es p o ns e t o
                                                o ur r e c o m m e n d ati o ns.
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   I ntr o d u cti o n
   B a c k gr o u n d

   Th e C alif or ni a D e p art m e nt of C orr e cti o ns a n d R e h a bilit ati o n
   ( C orr e cti o ns) is r es p o nsi bl e f or pr ot e cti n g t h e p u bli c b y s af el y a n d
   s e c ur el y s u p er visi n g a d ult a n d j u v e nil e o ﬀ e n d ers, pr o vi di n g e ﬀ e cti v e
   r e h a bilit ati o n a n d tr e at m e nt, a n d i nt e gr ati n g o ﬀ e n d ers s u c c essf ull y i nt o
   t h e c o m m u nit y. It o p er at es t w o a d ult w o m e n’s pris o ns a n d 3 3 a d ult
   m e n’s pris o ns a cr oss t h e St at e. 1 A c c or di n g t o a r e p ort C orr e cti o ns iss u e d
   i n 2 01 7, 1 2 3, 5 4 0 m al e i n m at es a n d 5, 8 7 6 f e m al e i n m at es w er e i n c ar c er at e d
   wit hi n its f a ciliti es as of D e c e m b er 31, 2 01 6. Fi g ur e 1 o n t h e f oll o wi n g p a g e
   s h o ws t h e l o c ati o ns of C orr e cti o ns’ pris o ns a n d hi g hli g hts t h e f o ur pris o ns
   w e s el e ct e d f or r e vi e w d uri n g t h e c o urs e of o ur a u dit w or k.

   C orr e cti o ns is r es p o nsi bl e f or t h e pr o visi o n of m e nt al h e alt h c ar e t o
   all of its i n m at es, i n cl u di n g r e c ei vi n g, e v al u ati n g, h o usi n g, tr e ati n g,
   a n d r ef erri n g t h os e i n m at es w h o ar e u n a bl e t o a p pr o pri at el y f u n cti o n
   wit hi n t h e c o nstr ai nts of t h e us u al c orr e cti o n al e n vir o n m e nt b e c a us e
   of m e nt al ill n ess es. Its Di visi o n of H e alt h C ar e S er vi c es ( h e alt h c ar e
   di visi o n) pr o vi d es m e nt al h e alt h s er vi c es t hr o u g h its M e nt al H e alt h
   S er vi c es D eli v er y S yst e m ( m e nt al h e alt h s yst e m), t h e missi o n of w hi c h
   is “t o pr o vi d e i n m at es wit h a n a p pr o pri at e l e v el of tr e at m e nt a n d t o
   pr o m ot e i n di vi d u al f u n cti o ni n g wit hi n t h e cli ni c all y l e ast r estri cti v e
   e n vir o n m e nt c o nsist e nt wit h t h e s af et y a n d s e c urit y n e e ds of b ot h [t h e
   i n m at es a n d pris o ns].” C orr e cti o ns e m pl o ys n u m er o us i n di vi d u als, s u c h as
   ps y c hi atrists, ps y c h ol o gists, s o ci al w or k ers, a n d n urs es, t o pr o vi d e m e nt al
   h e alt h s er vi c es t o i n m at es ( m e nt al h e alt h st a ﬀ ). Pris o n st a ﬀ m a y r ef er
   i n m at es t o t h e pris o n’s m e nt al h e alt h pr o gr a m, or i n m at es m a y s u b mit
   r e q u ests f or s er vi c es t o t h e pris o n’s m e nt al h e alt h st a ﬀ f or t h eir a p pr o v al.

   D es pit e t h e m e nt al h e alt h s er vi c es t h at C orr e cti o ns pr o vi d es, t h e r at e
   at w hi c h its i n m at es c o m mit s ui ci d e h as g e n er all y b e e n hi g h er t h a n
   t h e r at es i n m ost ot h er st at es. Ta bl e 1 o n p a g e 9 s h o ws t h e n u m b er
   of att e m pt e d s ui ci d es a n d s ui ci d es fr o m 2 01 2 t hr o u g h 2 01 6 at t h e
   f o ur pris o ns w e r e vi e w e d, a n d A p p e n di x A pr es e nts t h es e d at a f or all
   t h e St at e’s pris o ns. A c c or di n g t o a 2 01 6 r e p ort b y a m e nt al h e alt h e x p ert
   a p p oi nt e d b y a U. S. distri ct c o urt, t h e a v er a g e s ui ci d e r at e i n C orr e cti o ns
   w as 2 2 p er 1 0 0, 0 0 0 i n m at es fr o m 2 0 0 5 t hr o u g h 2 01 3, si g ni ﬁ c a ntl y
   hi g h er t h a n t h e a v er a g e r at e of 15. 6 6 p er 1 0 0, 0 0 0 i n m at es i n U. S. st at e
   pris o ns d uri n g t h e s a m e p eri o d. Alt h o u g h C orr e cti o ns’ 2 01 4 i n m at e
   s ui ci d e r at e of 1 6. 9 7 p er 1 0 0, 0 0 0 i n m at es w as l o w er t h a n t h e 2 01 4 r at e
   of 2 0 p er 1 0 0, 0 0 0 i n m at es f or all U. S. st at e pris o ns, C orr e cti o ns’ i n m at e
   s ui ci d e r at es h a v e b e e n hi g h er o n a v er a g e t h a n t h os e of U. S. st at e pris o ns
   si n c e 1 9 9 9.



   1    C orr e cti o ns h o us es w o m e n wit hi n ot h er f a ciliti es, i n cl u di n g s o m e m e di c al f a ciliti es a n d a s m all
       f a cilit y at F ols o m St at e Pris o n. I n a d diti o n, V all e y St at e Pris o n h o us e d w o m e n b ef or e C orr e cti o ns
       c o n v ert e d it t o a m e n’s f a cilit y i n 2 01 3.
8           C alifCase
                  or ni a St at2:90-cv-00520-KJM-SCR
                                e A u dit or R e p ort 2 0 1 6- 1 3 1        Document 6768-1          Filed 07/15/20   Page 24 of 113
            A u g u st 2 0 1 7




    Fi g ur e 1
    M a p of A d ult C orr e cti o n al I nstit uti o ns a n d t h e F o ur Pris o ns W e Visit e d




    S o urc e: C orr e cti o ns.
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                                                                                                                                                                     e A u dit or25
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                                                                                                                                                                                        ort 2113
                                                                                                                                                                                             0 1 6- 1 3 1    9
                                                                                                                                                                                        A u g u st 2 0 1 7




    Th e s ui ci d e r at e of C orr e cti o ns’ m al e i n m at es r e m ai n e d r el ati v el y
    st ati c fr o m 2 01 2 t hr o u g h 2 01 6; h o w e v er, t h e s ui ci d e r at e of its f e m al e
    i n m at es i n cr e as e d. I n 2 01 2 f e m al e i n m at es a c c o u nt e d f or a b o ut
    5 p er c e nt of C orr e cti o ns’ i n m at e p o p ul ati o n a n d f or 4 p er c e nt of its
    s ui ci d es. H o w e v er, alt h o u g h f e m al e i n m at es m a d e u p a b o ut 4 p er c e nt of
    C orr e cti o ns’ i n m at e p o p ul ati o n fr o m 2 01 4 t hr o u g h 2 01 6, t h e y a c c o u nt e d
    f or a b o ut 11 p er c e nt of t h e s ui ci d es. Al m ost all of t h e s ui ci d es d uri n g t his
    p eri o d o c c urr e d at t h e C alif or ni a I nstit uti o n f or W o m e n ( CI W). I n f a ct,
    c o n c er n a b o ut CI W’s hi g h s ui ci d e r at e w as t h e i m p et us f or t his a u dit.


    T a bl e 1
    S ui ci d es a n d S ui ci d e Att e m pts at t h e F o ur Pris o ns W e Visit e d,
    Fr o m 2 0 1 2 T hr o u g h 2 0 1 6
                                                       W O M E N’ S P RI S O N S                                    M E N’ S P RI S O N S

                                C E N T R A L C A LI F O R NI A                               RI C H A R D J. D O N O V A N       C A LI F O R NI A S T A T E
                                  W O M E N’ S F A CI LI T Y                                       C O R R E C TI O N A L      P RI S O N, S A C R A M E N T O
                                            C C W F                               CI W            F A CI LI T Y  R J D                   S A C

     2012
       P o p ul ati o n *                   2, 9 3 1                               1, 6 4 2              3, 5 3 9                           2, 6 9 8
       S ui ci d es                            0                                      1                     0                                  1
       Att e m pts                             5                                     13                    28                                 22
     2013
       P o p ul ati o n *                   3, 5 3 1                               2, 0 8 2              3, 3 6 4                           2, 2 4 6
       S ui ci d es †                          0                                      1                     3                                  1
       Att e m pts                             8                                     15                    33                                 32
     2014
       P o p ul ati o n *                   3, 6 4 8                               2, 0 0 5              3, 0 7 0                           2, 2 1 8
       S ui ci d es                            0                                      2                     1                                  2
       Att e m pts                             6                                     15                    22                                 11
     2015
       P o p ul ati o n *                   3, 0 0 2                               1, 8 8 2              3, 0 9 6                           2, 2 3 7
       S ui ci d es †                          0                                      2                     2                                  3
       Att e m pts                            11                                     34                    51                                 12
     2016
       P o p ul ati o n *                   2, 8 6 5                               1, 8 6 3              3, 0 9 4                           2, 3 2 7
       S ui ci d es †                          1                                      2                     0                                  3
       Att e m pts                            25                                     24                    59                                  8
         T ot al s
          P o p ul ati o n *               3, 1 9 5                                1, 8 9 5              3, 2 3 3                           2, 3 4 5
          S ui ci d es †                       1                                      8                     6                                 10
          Att e m pts                         55                                    101                   193                                 85

    S o urc es: C alif or ni a St at e A u dit or’s a n al ysis of C orr ecti o ns’ C O M P S T AT m etrics fr o m 2 0 1 2 t hr o u g h 2 0 1 6,
    a n d t h e a v er a g e d ail y p o p ul ati o n f or e ac h pris o n as r e p ort e d b y C orr ecti o ns.
    * P o p ul ati o n is b as e d o n C orr e cti o ns’ a v er a g e d ail y p o p ul ati o n. T h e t ot al r e pr es e nts t h e a v er a g e of
        t h e ﬁ v e y e ars’ p o p ul ati o ns.
    † T h e n u m b ers w e pr es e nt h er e r e ﬂ e ct o ur a m e n d m e nts t o C orr e cti o ns’ C O M P S T AT d at a. As w e
        dis c uss i n C h a pt er 3, o ur r e vi e w of v ari o us r e c or ds fr o m i n di vi d u al pris o ns r e v e al e d t h at C O M P S T AT
        h as c o nsist e ntl y u n d err e p ort e d t h e n u m b er of s ui ci d es i n C alif or ni a pris o ns. W e h a v e t h er ef or e
        a dj ust e d t h e n u m b er of s ui ci d es i n 2 0 1 3, 2 0 1 5, a n d 2 0 1 6 t o i n cl u d e t hr e e s ui ci d es t h at w e
        i d e nti ﬁ e d at CI W, RJ D, a n d S A C; h o w e v er, w e c a uti o n t h at t h es e n u m b ers m a y still n ot b e a cc ur at e.
10   C alifCase
           or ni a St at2:90-cv-00520-KJM-SCR
                         e A u dit or R e p ort 2 0 1 6- 1 3 1          Document 6768-1                                   Filed 07/15/20   Page 26 of 113
     A u g u st 2 0 1 7




                                                 C o urt- Or d er e d O v ersi g ht of C orr e cti o ns’ M e nt al H e alt h S er vi c es

                                                 As Fi g ur e 2 s h o ws, f e d er al c o urts h a v e m o nit or e d C orr e cti o ns’
                                                 d eli v er y of m e nt al h e alt h s er vi c es t o its i n m at es f or o v er
                                                 t w o d e c a d es, as a r es ult of a d e cisi o n o n a l a ws uit t h at b e g a n i n
                                                 1 9 9 0 —C ol e m a n v. Br o w n (C ol e m a n ).2 This f e d er al cl ass a cti o n
                                                 l a ws uit all e g e d t h at C orr e cti o ns f ail e d t o pr o vi d e c o nstit uti o n all y
                                                 a d e q u at e m e nt al h e alt h c ar e t o m e nt all y ill i n m at es. Th e c o urt
                                                 i d e nti ﬁ e d t h at C orr e cti o ns h a d f ail e d t o pr o vi d e ti m el y a c c ess
                                                 t o n e c ess ar y c ar e, w hi c h e x a c er b at e d i n m at es’ s u ﬀ eri n g a n d
                                                 ill n ess es. I n a d diti o n t h e c o urt f o u n d t h at C orr e cti o ns h a d a n
                                                 i n a d e q u at e s cr e e ni n g s yst e m f or m e nt al ill n ess es, d e ﬁ ci e nt
                                                 m e di c al r e c or d k e e pi n g, i m pr o p er a d mi nistr ati o n of m e di c ati o n,
                                                 a n d i ns u ﬃ ci e nt st a ﬃ n g. I n D e c e m b er 1 9 9 5, t h e c o urt i n C ol e m a n
                                                 a p p oi nt e d a s p e ci al m ast er t o o v ers e e a n d w or k wit h C orr e cti o ns
                                                 t o a d dr ess t h e c o nstit uti o n al vi ol ati o ns, m o nit or i m pl e m e nt ati o n of
                                                 c o urt- or d er e d r e m e di al pl a ns, a n d s u b mit r e p orts o n C orr e cti o ns’
                                                 pr o gr ess i n i m pl e m e nti n g i m pr o v e m e nts. O v er t h e n e xt d e c a d e,
                                                 t h e s p e ci al m ast er s u b mitt e d 1 5 r e p orts t o t h e c o urt, w hi c h n ot e d
                                                 t h at alt h o u g h C orr e cti o ns h a d m a d e s o m e pr o gr ess, it still h a d n ot
                                                 m et its c o nstit uti o n al o bli g ati o n t o pr o vi d e i n m at es wit h a d e q u at e
                                                 m e nt al h e alt h c ar e d uri n g t h at ti m e. F urt h er, t h e s p e ci al m ast er’s
                                                 ﬁft e e nt h r e p ort i n J a n u ar y 2 0 0 6 i n di c at e d a r e v ers al i n C orr e cti o ns’
                                                 pr o gr ess. S p e ci ﬁ c all y, t his r e p ort n ot e d s yst e m wi d e i n cr e as es i n
                                                 st a ﬃ n g v a c a n c y r at es a n d r at es of i n m at e s ui ci d e.

                                                 I n A pril 2 0 01, a n ot h er cl ass a cti o n l a ws uit, Pl at a v. Br o w n (Pl at a ),
                                                 all e g e d c o nstit uti o n al vi ol ati o ns i n C orr e cti o ns’ d eli v er y of m e di c al
                                                 c ar e t o i n m at es t h at r es ult e d i n u n n e c ess ar y p ai n, i nj ur y, a n d d e at h. 3
                                                 Th es e vi ol ati o ns i n cl u d e d d el a ys i n or f ail ur e t o pr o vi d e a c c ess t o
                                                 m e di c al c ar e, u nti m el y r es p o ns es t o m e di c al e m er g e n ci es, a n d t h e
                                                 i nt erf er e n c e of c ust o di al st a ﬀ wit h t h e pr o visi o n of m e di c al c ar e.
                                                 Aft er t h e pl ai nti ﬀs ﬁl e d t h e l a ws uit, t h e y a n d C orr e cti o ns a gr e e d
                                                 t h at C orr e cti o ns w o ul d i m pl e m e nt c ert ai n p oli ci es a n d pr o c e d ur es
                                                 t o i m pr o v e its d eli v er y of m e di c al c ar e, w hi c h t h e c o urt e nt er e d as
                                                 a n or d er i n 2 0 0 2. H o w e v er, i n 2 0 0 5 t h e f e d er al c o urt d et er mi n e d
                                                 t h at C orr e cti o ns h a d y et t o e ns ur e t h at its m e di c al s yst e m m et
                                                 c o nstit uti o n al st a n d ar ds. As a r es ult, t h e c o urt a p p oi nt e d a r e c ei v er
                                                 i n F e br u ar y 2 0 0 6 t o pr o vi d e l e a d ers hi p a n d e x e c uti v e m a n a g e m e nt
                                                 of C orr e cti o ns’ m e di c al h e alt h c ar e d eli v er y s yst e m. This
                                                 r e c ei v ers hi p is still i n pl a c e.




                                                 2   W h e n t his c as e w as ﬁl e d, it w as c all e d C ol e m a n v. Wils o n .
                                                 3   W h e n t his c as e w as ﬁl e d, it w as c all e d Pl at a v. D a vis .
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                                                                                                                                                                                                                                                                           C alif or ni a St at Page
                                                                                                                                                                                                                                                                                                e A u dit or27
                                                                                                                                                                                                                                                                                                             R e p of
                                                                                                                                                                                                                                                                                                                   ort 2113
                                                                                                                                                                                                                                                                                                                        0 1 6- 1 3 1                                                                            11
                                                                                                                                                                                                                                                                                                                                                                         A u g u st 2 0 1 7




     Fi g ur e 2
     Ti m eli n e of C o urt- Or d er e d O v ersi g ht of C orr e cti o ns



                                                                          A pril 1 9 9 0                                                                                                                                       1990
     C ole m a n , a cl ass acti o n l a ws uit, is ﬁl e d, all e gi n g c o nstit uti o n al
                vi ol ati o ns d u e t o l ack of a d e q u at e m e nt al h e alt h c ar e.




                                                                                                                                                                                                                               1995                                                                               S e pt e m b er 1 9 9 5
                                                                 D e c e m b er 1 9 9 5
                 C o urt or d er e d a s p e ci al m ast er t o d e v el o p a pl a n t o                                                                                                                                                                                                                         C o urt r ul es i n f a v or of pl ai nti ﬀ, st ati n g C orr e cti o ns’
                         a d dr ess c o nstit uti o n al vi ol ati o ns a n d m o nit or                                                                                                                                                                                                                          d eli v er y of m e nt al h e alt h c ar e vi ol at e d t h e C o nstit uti o n.
                                C orr e cti o ns’ i m pl e m e nt ati o n of t h e pl a n.
                                                                                                S P E CI A L M A S T E R O V E R S E E S C O R R E C TI O N S’ M E N T A L H E A LT H C A R E D E LI V E R Y ( C ol e m a n)




                                                                                                                                                                                                                               2001                                                                               A pril 2 0 0 1
                                                                                                                                                                                                                                                                                                                  Pl at a, a cl ass acti o n l a ws uit, is ﬁl e d, all e gi n g c o nstit uti o n al
                                                                                                                                                                                                                                                                                                                  vi ol ati o ns i n C orr e cti o ns’ d eli v er y of m e dic al c ar e t o its i n m at es.




                                                                     J a n u ar y 2 0 0 6
                       S p e ci al m ast er ﬁl es r e p orts, n oti n g a r e v ers al i n                                                                                                                                     2006                                                                               F e br u ar y 2 0 0 6
                            C orr e cti o ns’ pr o gr ess of its r e m e di al e ﬀ orts.                                                                                                                                                                                                                          C o urt a p p oi nts r e c ei v er t o pr o vi d e l e a d ers hi p a n d
                                                                                                                                                                                                                                                                                                                  e x e c uti v e m a n a g e m e nt of C orr e cti o ns’ m e di c al
                                                                                                                                                                                                                                      F E D E R A L R E C EI V E R S HI P O V E R S E E S C O R R E C TI O N S’




                                                                                                                                                                                                                                                                                                                  h e alt h c ar e d eli v er y s yst e m.
                                                                                                                                                                                                                                                   M E DI C A L C A R E D E LI V E R Y ( Pl at a)




                                                                      A u g ust 2 0 0 9                                                                                                                                        2009
           C o urt ﬁ n ds t h at C orr e cti o ns’ pris o n p o p ul ati o n r e a c h e d
             a hi g h of m or e t h a n 17 0, 0 0 0 i n m at es i n O ct o b er 2 0 0 6.
                          C o urt or d ers C orr e cti o ns t o r e d u c e its pris o n
                                 p o p ul ati o n t o 13 7. 5 p erc e nt of c a p a cit y.



                                                                                                                                                                                                                               2013
                                                                                                                                                                                                                                                                                                                  N o v e m b er 2 0 1 3
                                                                     J a n u ar y 2 0 1 5                                                                                                                                                                                                                         S ui ci d e e x p ert b e gi ns his a u dit o n C orr e cti o ns’ pris o ns.
                  S ui ci d e e x p ert ﬁl es his c o m pl et e d a u dit o n s ui ci d e
                            pr e v e nti o n pr a cti c es at C orr e cti o ns’ pris o ns,
                                     w hi c h r es ults i n 3 2 r e c o m m e n d ati o ns.
                                                                                                                                                                                                                               2015
                                                                                                                                                                                                                                                                                                                  J a n u ar y 2 0 1 6
                                                                      A u g ust 2 0 1 6                                                                                                                                        2016                                                                               S ui ci d e e x p ert c o m pl et es a f oll o w- u p a u dit o n pris o ns’
                    T h e J oi nt L e gisl ati v e A u dit C o m mitt e e a p pr o v es a                                                                                                                                                                                                                         i m pl e m e nt ati o n of t h e r e c o m m e n d ati o ns.
                    r e q u est f or t h e St at e A u dit or t o c o n d u ct a n a u dit
                    of C orr e cti o ns’ s ui ci d e pr e v e nti o n p oli ci es d u e t o
                    c o nc er ns r el at e d t o t h e n u m b er of s uici d es at CI W.



     S o urc es: R e p orts fr o m t h e s p e ci al m ast er’s s ui ci d e e x p ert i n 2 0 1 5 a n d 2 0 1 6, c o urt d o c u m e nts, a n d mi n ut es of t h e C alif or ni a St at e L e gisl at ur e’s J oi nt
     L e gisl ati v e A u dit C o m mitt e e.
12   C alifCase
           or ni a St at2:90-cv-00520-KJM-SCR
                         e A u dit or R e p ort 2 0 1 6- 1 3 1     Document 6768-1                       Filed 07/15/20                 Page 28 of 113
     A u g u st 2 0 1 7




                                                 I n 2 0 0 7 t h e c o urts i n C ol e m a n a n d Pl at a r e c o m m e n d e d t h at
                                                 b ot h c as es b e assi g n e d t o a t hr e e-j u d g e p a n el t o a d dr ess pris o n
                                                 o v er cr o w di n g. I n A u g ust 2 0 0 9, t h e t hr e e-j u d g e p a n el n ot e d t h at
                                                 i n 2 0 0 6 —t h e s a m e y e ar t h at t h e C ol e m a n s p e ci al m ast er’s r e p ort
                                                 n ot e d a r e v ers al i n C orr e cti o ns’ d eli v er y of m e nt al h e alt h s er vi c es
                                                 a n d t h e c o urt i n Pl at a a p p oi nt e d t h e r e c ei v er — C alif or ni a’s pris o n
                                                 p o p ul ati o n r e a c h e d a hist ori c hi g h of m or e t h a n 1 7 0, 0 0 0 i n m at es.
                                                 This hist ori c hi g h l e d t o u n pr e c e d e nt e d o v er cr o w di n g of C alif or ni a’s
                                                 pris o ns. Th e t hr e e-j u d g e p a n el f o u n d o v er cr o w di n g t o b e t h e
                                                 pri m ar y c a us e of m a n y of t h e iss u es r el ati n g t o i n a d e q u at e m e nt al
                                                 h e alt h a n d m e di c al c ar e i n C alif or ni a’s pris o ns. Th er ef or e, t h e
                                                 t hr e e-j u d g e p a n el or d er e d C orr e cti o ns t o d e v el o p a pl a n t o r e d u c e
                                                 its pris o n p o p ul ati o n, w hi c h at t h at ti m e w as at a b o ut 1 9 0 p er c e nt
                                                 of c a p a cit y, t o 1 3 7. 5 p er c e nt of c a p a cit y. I n 2 011 t h e L e gisl at ur e
                                                 p ass e d v ari o us l a ws t h at r e ali g n e d t h e cri mi n al j usti c e s yst e m,
                                                 w hi c h r e d u c e d o v er cr o w di n g b y all o wi n g f or i n m at es w h o w er e
                                                 n ot c o n vi ct e d of s eri o us or vi ol e nt cri m es, or f el o ni es r e q uiri n g
                                                 r e gistr ati o n as a s e x o ﬀ e n d er, t o s er v e t h eir s e nt e n c es i n c o u nt y j ails
                                                 i nst e a d of st at e pris o ns.

                                                 Alt h o u g h t h es e e ﬀ orts r es ult e d i n t h e r e d u cti o n of C orr e cti o ns’
                                                 i n m at e p o p ul ati o n, a M ar c h 2 01 3 C ol e m a n s p e ci al m ast er’s r e p ort
                                                 i d e nti ﬁ e d c o nti n ui n g i n a d e q u a ci es i n C orr e cti o ns’ d eli v er y of
                                                 m e nt al h e alt h s er vi c es. Th e s p e ci al m ast er h a d r e p e at e dl y i d e nti ﬁ e d
                                                 m a n y of t h es e i n a d e q u a ci es i n e arli er r e p orts, s u c h as C orr e cti o ns’
                                                 f ail ur e t o e nf or c e its o w n p oli ci es r e g ar di n g t h e d eli v er y of m e nt al
                                                 h e alt h s er vi c es a n d t h e pris o ns’ f ail ur e t o pr o vi d e a d e q u at e
                                                 e m er g e n c y r es p o ns es t o s ui ci d es. I n r es p o ns e t o t h e r e p ort, t h e
                                                 c o urt i n C ol e m a n or d er e d C orr e cti o ns t o est a blis h a s ui ci d e
                                                 pr e v e nti o n a n d m a n a g e m e nt w or k gr o u p c o nsisti n g of m e m b ers
                                                 of C orr e cti o ns’ cli ni c al, c ust o d y, a n d a d mi nistr ati v e st a ﬀ; e x p erts
                                                 a p p oi nt e d b y t h e s p e ci al m ast er; a n d ot h ers. Th e w or k gr o u p
                                                 e n g a g e d a n ati o n all y r e c o g ni z e d s ui ci d e pr e v e nti o n e x p ert (s ui ci d e
                                                 e x p ert) t o c o n d u ct a r e vi e w of t h e s ui ci d e pr e v e nti o n pr a cti c es
                                                 at e a c h of C orr e cti o ns’ pris o ns. I n J a n u ar y 2 01 5, t h e s ui ci d e
                                                 e x p ert ﬁl e d his r e p ort, w hi c h c o nt ai n e d 3 2 r e c o m m e n d ati o ns t o
                                                 C orr e cti o ns. Th e s ui ci d e e x p ert iss u e d a n u p d at e t o t his r e p ort
                                                 i n J a n u ar y 2 01 6, i n w hi c h h e e v al u at e d C orr e cti o ns’ pr o gr ess i n
                                                 i m pl e m e nti n g t h e r e c o m m e n d ati o ns t hr o u g h a r e vi e w of 1 8 pris o ns.
                                                 We dis c uss t h e s ui ci d e e x p ert’s r e p ort a n d u p d at e i n C h a pt er 3.
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     S ui ci d e Pr e v e nti o n a n d R es p o ns e

     As w e m e nti o n e arli er, t h e g o al of C orr e cti o ns’ m e nt al h e alt h
     s yst e m is t o pr o vi d e a p pr o pri at e l e v els of m e nt al h e alt h tr e at m e nt
     t o s eri o usl y m e nt all y ill i n m at es i n t h e l e ast r estri cti v e e n vir o n m e nt.
     As pr es e nt e d i n Fi g ur e 3, C orr e cti o ns pr o vi d es es c al ati n g l e v els
     of m e nt al h e alt h c ar e t o i n m at es, u p t o a n d i n cl u di n g r ef err als t o
     D e p art m e nt of St at e H os pit als’ f a ciliti es if C orr e cti o ns c a n n ot m e et
     i n m at es’ m e nt al h e alt h n e e ds.


     Fi g ur e 3
     L e v els of C ar e i n C orr e cti o ns’ M e nt al H e alt h S yst e m



                                                                   I n p ati e nt C ar e
                                                                   Pr o vi d es c ar e at D e p art m e nt of St at e H os pit als’ f aciliti es f or i n m at es w h os e
                                                                   c o n diti o ns c a n n ot b e s ucc essf ull y tr e at e d i n t h e o ut p ati e nt s etti n g or i n
                                                                   s h ort-t er m m e nt al h e alt h crisis- b e d (crisis b e d) st ays. C orr ecti o ns pr o vi d es t his
                                                        4          l e v el of c ar e f or f e m al e i n m at es i n t h e Ps yc hi atric I n p ati e nt Pr o gr a m at CI W.


                                                         Cri si s B e d s
                                                         Pr ovi d es car e t o i n mat es wit h mark e d i m pair m e nt a n d dysf u ncti o n r e q uiri n g 2 4- h o ur
                                                         n ursi n g car e, i n mat es w h o pr es e nt a da n g er t o ot h ers as a c o ns e q u e nc e of s eri o us
                                                         m e ntal dis or d ers, a n d i n mat es w h o pr es e nt a da n g er t o t h e ms elv es f or a ny r eas o n.
                                            3

                                             E n h a n c e d O ut p ati e nt Pr o gr a m
                                             Pr o vi d es c ar e t o i n m at es wit h m e nt al dis or d ers w h o w o ul d b e n e ﬁt fr o m t h e
                                             str uct ur e of a t h er a p e utic e n vir o n m e nt t h at is l ess r estricti v e t h a n a n
                                             i n p ati e nt s etti n g a n d w h o d o n ot r e q uir e c o nti n u o us n ursi n g c ar e.
                               2             T h e pr o gr a m is l oc at e d i n a d esi g n at e d li vi n g u nit at e ac h pris o n.



                                C orr e cti o n al Cli ni c al C a s e M a n a g e m e nt S y st e m
                                Pr o vi d es c ar e t o i n m at es w h os e c o n diti o ns ar e r el ati v el y st a bl e a n d w h os e
                                s y m pt o ms ar e c o ntr oll e d or ar e i n p arti al r e missi o n as a r es ult of tr e at m e nt.
                   1


     S o urc es: C orr e cti o ns’ 2 0 0 9 M e nt al H e alt h Pr o gr a m G ui d e ( pr o gr a m g ui d e) a n d 2 0 1 4 A n n u al Acc o m plis h m e nts r e p ort.
     N ot e: N ot all i nstit uti o ns c o nt ai n all l e v els of c ar e.
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                                                                                                 A pri m ar y c o m p o n e nt of C orr e cti o ns’ m e nt al
                  T er ms R el at e d t o I n m at e S ui ci d e                                 h e alt h s yst e m is crisis i nt er v e nti o n, w hi c h is
                                                                                                 tr e at m e nt f or r a pi d- o ns et or w ors e ni n g s y m pt o ms
     S ui ci d al i d e ati o n: T h o u g hts of s uici d e or d e at h. S uc h
                                                                                                 of m e nt al ill n ess i n i n m at es. S u c h s y m pt o ms m a y
     t h o u g hts m ay b e eit h er s p eci ﬁc or v a g u e a n d m ay i ncl u d e
     t h e d esir e t o b e d e a d.
                                                                                                 i n cl u d e t h o u g hts of s ui ci d e. C orr e cti o ns h as
                                                                                                 i d e nti ﬁ e d f a ct ors t h at c a n l e a d i n m at es t o
     S ui ci d al i nt e nt: T h e i nt e nti o n t o d eli b er at el y e n d o n e’s lif e.    e x p eri e n c e m e nt al h e alt h cris es w hil e i n pris o n,
     S elf- h ar m wit h o ut i nt e nt: A n act of p ur p os ef ul s elf- h ar m                i n cl u di n g t h e l oss of a n e xisti n g s u p p ort s yst e m
     wit h o ut s uici d al i nt e nt.                                                           o utsi d e of pris o n, t h e r estri cti o ns of i n c ar c er ati o n,
                                                                                                 a n d f e ars of b ei n g u n a bl e t o c o p e wit h t h e o utsi d e
     S ui ci d e att e m pt: A n act of p ur p os ef ul s elf- h ar m wit h t h e
     i nt e nt t o di e.
                                                                                                 w orl d u p o n r el e as e. C orr e cti o ns’ p oli c y st at es t h at
                                                                                                 st a ﬀ m ust r ef er i n m at es w h o ar e d a n g ers t o
     S ui ci d e: A n act of p ur p os ef ul s elf- h ar m t h at c a us es or l e a ds          t h e ms el v es t o crisis b e ds, a n i n p ati e nt tr e at m e nt
     t o o n e’s o w n d e at h.                                                                 s etti n g f or i n m at es w h o h a v e a c ut e s y m pt o ms of
     S o urc es: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e a n d s ui ci d e ris k          s eri o us m e nt al dis or d ers or ar e s u ﬀ eri n g fr o m
     e v al u ati o n tr ai ni n g d o c u m e nts.                                              si g ni ﬁ c a nt or lif e-t hr e at e ni n g dis a biliti es. If n o crisis
                                                                                                 b e ds ar e a v ail a bl e at a pris o n, st a ﬀ m ust pl a c e a n
                                                                                                 i n m at e i n a t e m p or ar y h o usi n g l o c ati o n i n t h e
                                                                                                 pris o n — k n o w n as alter n ati ve h o usi ng — p e n di n g
                                                                        a d missi o n t o a crisis b e d. U n d er t h es e cir c u mst a n c es, p oli c y r e q uir es
                                                                        pris o ns t o tr a nsf er a n i n m at e t o a crisis b e d at a n ot h er pris o n if t h e
                                                                        ot h er pris o n c a n pr o vi d e t h e s a m e l e v el of c ust o d y a n d s e c urit y.

                                                           C orr e cti o ns’ p oli ci es o utli n e s p e ci ﬁ c st e ps pris o n st a ﬀ m ust t a k e
                                                           w h e n t h e y b e c o m e a w ar e of i n m at es’ s ui ci d al i d e ati o n, s ui ci d al i nt e nt,
                                                           or s elf- h ar m, w hi c h t h e t e xt b o x d e ﬁ n es. If pris o n st a ﬀ b e c o m e
                                                           a w ar e of a n y of t h es e c o n diti o ns, C orr e cti o ns’ p oli c y r e q uir es t h at
                                                           t h e y pl a c e i n m at es u n d er o bs er v ati o n u ntil m e nt al h e alt h st a ﬀ c a n
                                                           c o n d u ct a s ui ci d e ris k e v al u ati o n (ris k e v al u ati o n). As w e dis c uss i n
                                                           C h a pt er 1, m e nt al h e alt h st a ﬀ us e t h es e e v al u ati o ns t o d et er mi n e
                                                           i n m at es’ ris k of s ui ci d e a n d t o m a k e s p e ci ﬁ c r e c o m m e n d ati o ns
                                                           r e g ar di n g t h e l e v el of c ar e r e q uir e d.

                                                           C orr e cti o ns als o h as a p oli c y t h at pris o n st a ﬀ m ust f oll o w w h e n st a ﬀ
                                                           dis c o v er i n m at es w h o ar e att e m pti n g s ui ci d e. W h e n r es p o n di n g t o
                                                           a s ui ci d e att e m pt i n pr o gr ess, C orr e cti o ns’ p oli c y r e q uir es pris o n
                                                           st a ﬀ t o s o u n d a n al ar m t o s u m m o n a d diti o n al p ers o n n el, r es p o n d
                                                           a p pr o pri at el y w h e n bl o o d is pr es e nt, n e utr ali z e a n y si g ni ﬁ c a nt
                                                           s e c urit y t hr e ats t o t h e ms el v es or ot h ers, a n d i niti at e lif e-s a vi n g
                                                           m e as ur es c o nsist e nt wit h tr ai ni n g. W h e n m e di c al p ers o n n el
                                                           arri v e, t h e y t a k e o v er r es p o nsi bilit y f or t h e m e di c al tr e at m e nt a n d
                                                           lif e-s a vi n g m e as ur es.

                                                           F oll o wi n g t h e a d missi o n of i n m at es t o crisis b e ds as a r es ult of
                                                           s ui ci d e att e m pts, i d e ati o n, or s elf- h ar m, pris o n st a ﬀ m ust c o m pl et e
                                                           v ari o us st e ps i n or d er t o pr o vi d e tr e at m e nt. Fi g ur e 4 pr o vi d es a
                                                           s u m m ar y of t h es e st e ps. F or e x a m pl e, w hil e i n m at es ar e i n crisis
                                                           b e ds, pris o n st a ﬀ m ust k e e p t h e m u n d er o bs er v ati o n. D e p e n di n g
                                                           o n w h et h er i n m at es ar e i n i m m e di at e d a n g er, st a ﬀ m ust eit h er
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     m ai nt ai n c o nti n u o us vis u al c o nt a ct wit h t h e m or p erf or m c h e c ks
     at st a g g er e d i nt er v als n ot e x c e e di n g o n c e e v er y 1 5 mi n ut es. F urt h er,
     w hil e i n m at es ar e i n crisis b e ds, pris o n st a ﬀ m ust c o m pl et e
     tr e at m e nt pl a ns. A c c or di n g t o C orr e cti o ns’ p oli ci es, crisis- b e d st a ys
     ar e s u p p os e d t o l ast f or u p t o 1 0 d a ys, alt h o u g h i n m at es m a y st a y
     l o n g er wit h t h e a p pr o v al of a pris o n’s c hi ef of m e nt al h e alt h.


     Fi g ur e 4
     C orr e cti o ns’ Pr o c ess f or I n m at es’ A d missi o n t o a n d Dis c h ar g e Fr o m Crisis B e ds


     S UI CI D E AT T E M PT, S ELF- H A R M, O R
                S UI CI D AL I D E ATI O N                      A D MI S SI O N T O C RI SI S B E D            C RI SI S- B E D T R E AT M E NT            R EL E A S E A N D F OLL O W- U P


     Mental health sta ﬀ co mplete evaluation             Wit hi n 24 ho urs of a d missio n, me ntal   Wit hi n 72 ho urs of a d missio n, me ntal   I n mate disc harged w he n stabilized a nd
     to assessin mate’s suicide risk.                     healt h sta ﬀ co m plete a n i nitial         healt h sta ﬀ co m plete a 72- ho ur          able to fu nctio ni n a lo wer level of care.
                                                          treat me nt pla n.                            treat me nt pla n.                            Mental health sta ﬀ co mplete evaluation
     Ifin mateis at signiﬁcant risk of suicide,                                                         Policies statein mates should spend no        to assessin mate’s suicide risk and,if the
     mental health sta ﬀinitiate procedure for            Suicide observatio ns:                        more than 10 daysin a crisis bed.             in mateis nolonger ati m minent risk of
     ad mittingin mate to a crisis bed.                    • Ifin mateisini m mediate danger and                                                      suicide, develop a treat ment plan
                                                              placed on suicide watch, a sta ﬀ                                                        for discharge.
                                                                                                        Mental health sta ﬀ checkin within mate
                                                              me mberis posted to maintain visual       daily and note progress to ward
     A psychiatrist orlicensed psychologist                   eye contact 24/7 and docu ment the
     screens thein mate and ad mits to a crisis                                                         treat ment goals.                             24 hours post- disc harge:
                                                              in mate’s behavior every 15 minutes.
     bedif thein mateis either of the follo wing:                                                                                                     Correctional o ﬃcers conduct welfare
                                                           • Ifin mateis notini m mediate danger                                                      checks every 30 minutes.
     1. I mpaired or dysfunctional such that the              and placed on suicide precaution, sta ﬀ   Ifin mate requires additionalinpatient
         in mate requires 24-hour nursing care.               me mbers conduct staggered checks         treat ment, mental health sta ﬀ can refer
     2. A danger to self or others because of a               on thein mate atleast every               thein mate to a higherlevel of care such      Five days post- disc harge:
        serious mental disorder.                              15 minutes and docu ment the              as psychiatricinpatient care.
                                                                                                                                                      Mental health sta ﬀ meet face-to-face
                                                              in mate’s behavior.                                                                     with thein mate each day and read mit
                                                                                                                                                      thein mate to a crisis bedif necessary.



     S o urc es: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e a n d r el at e d p oli c y m e m os.




     C orr e cti o ns h as t a k e n c ert ai n a cti o ns t o e ns ur e t h at t h e pris o ns
     c o m pl y wit h its p oli ci es a n d t o i d e ntif y a d diti o n al w a ys t o pr e v e nt
     i n m at e d e at hs d u e t o s ui ci d e. F or e x a m pl e, C orr e cti o ns h as
     est a blis h e d its o w n S ui ci d e Pr e v e nti o n a n d R es p o ns e F o c us e d
     I m pr o v e m e nt Te a m (s ui ci d e pr e v e nti o n t e a m) a n d est a blis h e d
     s ui ci d e pr e v e nti o n t e a ms at e a c h pris o n. Th e p ur p os e of t h es e
     t e a ms is t o pr o vi d e st a ﬀ wit h tr ai ni n g a n d g ui d a n c e wit h r e g ar d t o
     s ui ci d e pr e v e nti o n, r es p o ns e, r e p orti n g, a n d r e vi e w. Th e s ui ci d e
     pr e v e nti o n t e a ms at e a c h pris o n ar e als o r es p o nsi bl e f or m o nit ori n g
     a n d tr a c ki n g all s elf- h ar m i n ci d e nts, s ui ci d e att e m pts, a n d d e at hs,
     as w ell as r e vi e wi n g t h e pris o n’s p oli ci es t o e ns ur e c o nsist e n c y
     wit h C orr e cti o ns’ p oli ci es. A c c or di n g t o C orr e cti o ns’ p oli ci es,
     t h es e t e a ms m ust b e c o m p os e d of c ert ai n pris o n st a ﬀ r e pr es e nti n g
     m ulti pl e dis ci pli n es, s u c h as t h e c hi ef ps y c h ol o gist a n d c hi ef
     ps y c hi atrist, a n d m ust m e et o n c e p er m o nt h.
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                                                 I n a d diti o n, f oll o wi n g e a c h s ui ci d e, C orr e cti o ns c o m pl et es a r e vi e w
                                                 of t h e pris o n’s c o m pli a n c e wit h p oli ci es a n d pr o c e d ur es, i n cl u di n g
                                                 e x a mi ni n g t h e hist or y of t h e i n m at e’s m e nt al h e alt h c ar e w hil e
                                                 i n c ar c er at e d a n d t h e pris o n’s e m er g e n c y r es p o ns e t o t h e s ui ci d e. It
                                                 d es cri b es t h e r es ults of its r e vi e w i n a r e p ort (s ui ci d e r e p ort) t h at
                                                 it pr o vi d es t o t h e pris o n. W h e n w arr a nt e d, C orr e cti o ns m a k es
                                                 r e c o m m e n d ati o ns t o t h e pris o n t o i m pr o v e t h e q u alit y of c ar e a n d
                                                 e ns ur e c o m pli a n c e wit h its p oli ci es a n d pr o c e d ur es.
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     C h a pt er 1
     P RI S O N S H A V E N O T F O L L O W E D C O R R E C TI O N S’ P O LI CI E S
     W H E N R E S P O N DI N G T O I N M A T E S W H O H A V E A T T E M P T E D
     O R A R E A T RI S K O F A T T E M P TI N G S UI CI D E

     Th e f o ur pris o ns w e r e vi e w e d f ail e d t o c o nsist e ntl y f oll o w
     C orr e cti o ns’ p oli ci es f or r es p o n di n g t o, tr e ati n g, a n d o bs er vi n g
     i n m at es w h o h a d att e m pt e d or w er e at ris k of att e m pti n g s ui ci d e.
     F or e x a m pl e, w e f o u n d m a n y i nst a n c es i n w hi c h pris o ns eit h er
     di d n ot p erf or m or di d n ot a d e q u at el y c o m pl et e r e q uir e d ris k
     e v al u ati o ns, e v e n t h o u g h m e nt al h e alt h st a ﬀ us e t h es e criti c al
     d o c u m e nts t o d et er mi n e t h e tr e at m e nt i n m at es s h o ul d r e c ei v e. I n
     a d diti o n, w e i d e nti ﬁ e d n u m er o us i nst a n c es i n w hi c h pris o ns di d
     n ot i n cl u d e n e c ess ar y i nf or m ati o n i n i n m at es’ tr e at m e nt pl a ns,
     p ot e nti all y a ﬀ e cti n g t h e n at ur e a n d ti m eli n ess of t h e c ar e t h e
     i n m at es r e c ei v e d. I n f a ct, C orr e cti o ns’ r e vi e ws of i n m at e s ui ci d es
     a n d its o w n a u dits of t h e q u alit y of b ot h ris k e v al u ati o ns a n d
     tr e at m e nt pl a ns h a v e f o u n d t h at pris o ns di d n ot c o m pl et e t h es e
     d o c u m e nts t o its r e q uir e d st a n d ar ds. F urt h er, t h e f o ur pris o ns
     m a y h a v e pl a c e d i n m at es at ris k of d e at h b y i ns u ﬃ ci e ntl y
     m o nit ori n g t h e m f oll o wi n g s ui ci d e att e m pts, a n d s o m e pris o ns
     f ail e d t o r es p o n d t o s ui ci d e att e m pts i n a c c or d a n c e wit h
     C orr e cti o ns’ p oli ci es.

                                                                                                E x a m pl es of I n m at e S ui ci d e Ris k F a ct ors
     T h e Pris o ns W e R e vi e w e d Di d N ot Pr o p erl y E v al u at e
     S o m e I n m at es’ S ui ci d e Ris k                                             C hr o ni c ris k f a ct ors
                                                                                           •     Hist or y of s uici d e att e m pts
     Ris k e v al u ati o ns ar e criti c al t o s u c c essf ul s ui ci d e               •     Hist or y of e m oti o n al, p hysic al, or s ex u al a b us e
     pr e v e nti o n b e c a us e t h e y h el p pris o ns i d e ntif y                   • C hr o nic p ai n pr o bl e m
     i n m at es w h o ar e li k el y t o att e m pt s ui ci d e a n d                     • L o n g or lif e s e nt e nc e
     d et er mi n e t h e tr e at m e nts n e e d e d t o pr e v e nt
                                                                                           •     Hist or y of d e pr essi v e or ps yc h otic dis or d ers
     t h e m fr o m d oi n g s o. Th e pr o p er c o m pl eti o n of
                                                                                           •     Hist or y of c ert ai n m e nt al ill n ess es
     a ris k e v al u ati o n c a n t h er ef or e b e t h e di ﬀ er e n c e
     b et w e e n lif e or d e at h f or a n i n m at e. C orr e cti o ns’                 •     Hist or y of s u bst a nc e a b us e
     p oli ci es r e q uir e t h at m e nt al h e alt h st a ﬀ c o m pl et e            Ac ut e ris k f a ct ors
     ris k e v al u ati o ns u n d er a n u m b er of cir c u mst a n c es,                • S uici d al t h o u g hts
     i n cl u di n g w h e n i n m at es h a v e i niti al f a c e-t o-f a c e
                                                                                           • R ec e nt tr a u m a
     e v al u ati o ns f or s ui ci d al t h o u g hts, t hr e ats, att e m pts,
                                                                                           • R ec e nt b a d n e ws
     or s elf- h ar m, as w ell as b ef or e t h eir dis c h ar g e fr o m
     crisis b e ds. W h e n c o m pl eti n g ris k e v al u ati o ns,                      • A git ati o n or a n g er
     m e nt al h e alt h st a ﬀ ar e t o e x a mi n e i n m at es’ m e nt al               •     H o p el ess n ess or h el pl ess n ess
     st at us a n d d et er mi n e t h e pr es e n c e or a bs e n c e of                  • I ncr e asi n g i nt er p ers o n al is ol ati o n
     c hr o ni c a n d a c ut e ris k f a ct ors f or s ui ci d e. Th e                    • Si n gl e c ell pl ac e m e nt
     t e xt b o x i n cl u d es e x a m pl es of s u c h ris k f a ct ors.
     Th e y m ust als o r e vi e w a n y pr ot e cti v e f a ct ors t h at              S o urc es: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e a n d s ui ci d e ris k
                                                                                        e v al u ati o n f or m.
     m a y miti g at e i n m at es’ ris k of s ui ci d e, s u c h as
     r eli gi o us b eli efs, f a mil y s u p p ort, a n d p arti ci p ati o n
18          C alifCase
                  or ni a St at2:90-cv-00520-KJM-SCR
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                                                             i n gr o u p a cti viti es. Fi n all y, m e nt al h e alt h st a ﬀ m ust d o c u m e nt
                                                             w h et h er i n m at es ar e at hi g h, m o d er at e, or l o w ris k f or s ui ci d e a n d
                                                             m a k e s p e ci ﬁ c r e c o m m e n d ati o ns r e g ar di n g t h e a p pr o pri at e l e v el of
                                                             c ar e. M e nt al h e alt h st a ﬀ m ust als o a d dr ess h o w t h e tr e at m e nt pl a n
                                                             will b e i m pl e m e nt e d a n d a n y r e q uir e d f oll o w- u p pr o c e d ur es.

     D es pit e t h e critic al r ol e ris k                 D es pit e t h e criti c al r ol e ris k e v al u ati o ns s er v e, all f o ur pris o ns w e
     e v al u ati o ns s er v e, all f o ur pris o ns w e    r e vi e w e d f ail e d t o c o m pl et e at l e ast o n e r e q uir e d ris k e v al u ati o n.
     r e vi e w e d f ail e d t o c o m pl et e at l e ast   S p e ci ﬁ c all y, f or a s el e cti o n of 4 0 i n m at es w h o att e m pt e d or
     o n e r e q uir e d ris k e v al u ati o n.             c o m mitt e d s ui ci d e fr o m 2 01 4 t hr o u g h 2 01 6, w e r e vi e w e d t h e ris k
                                                             e v al u ati o ns t h e pris o ns c o n d u ct e d j ust b ef or e or i m m e di at el y
                                                             f oll o wi n g t h e s ui ci d e att e m pt or s ui ci d e, a n d t h e s ui ci d e r e p orts
                                                             C orr e cti o ns c o m pl et e d f oll o wi n g t h e s ui ci d es. We i d e nti ﬁ e d t h at
                                                             t h e pris o ns s h o ul d h a v e c o m pl et e d ris k e v al u ati o ns f or 3 6 of t h es e
                                                             4 0 i n m at es. H o w e v er, as Ta bl e 2 s h o ws, 1 0 of t h e 3 6 i n m at es
                                                             w er e missi n g at l e ast o n e r e q uir e d ris k e v al u ati o n. Alt h o u g h t h e
                                                             f o ur pris o ns o ﬀ er e d a n u m b er of r e as o ns f or t h e missi n g ris k
                                                             e v al u ati o ns, t h e y g e n er all y a gr e e d t h at t h e y h a d f ail e d t o c o m pl y
                                                             wit h C orr e cti o ns’ p oli ci es. F or e x a m pl e, t h e c hi ef of m e nt al h e alt h
                                                             of C C W F st at e d t h at ris k e v al u ati o ns ar e n ot al w a ys n e c ess ar y
                                                             f or i n m at es dis c h ar g e d t o a hi g h er l e v el of c ar e b e c a us e t h e
                                                             r e c ei vi n g i nstit uti o ns will c o m pl et e t h e m o n a d missi o n. H o w e v er,
                                                             s h e a c k n o wl e d g e d t h at C orr e cti o ns’ p oli ci es r e q uir e pris o ns
                                                             t o c o m pl et e ris k e v al u ati o ns u n d er t h es e cir c u mst a n c es, a n d
                                                             C orr e cti o ns’ cli ni c al s u p p ort c hi ef a ﬃr m e d t h at c o n d u cti n g ris k
                                                             e v al u ati o ns o n dis c h ar g e t o a hi g h er l e v el of c ar e is h el pf ul f or
                                                             c o nti n uit y of c ar e.

                                                             I n a d diti o n t o f aili n g t o c o m pl et e c ert ai n ris k e v al u ati o ns, t h e
                                                             f o ur pris o ns c o m pl et e d i n a d e q u at e ris k e v al u ati o ns f or 2 6 of
                                                             t h e 3 6 i n m at es w e r e vi e w e d. E a c h of t h es e 2 6 i n m at es r e c ei v e d at
                                                             l e ast o n e i n a d e q u at e ris k e v al u ati o n, a n d 1 3 r e c ei v e d m or e t h a n o n e.
                                                             Th e t y p es of pr o bl e ms w e i d e nti ﬁ e d v ari e d. F or e x a m pl e, m e nt al
                                                             h e alt h st a ﬀ l eft bl a n k s e cti o ns of t h e ris k e v al u ati o ns f or 1 0 i n m at es,
                                                             i n cl u di n g s e cti o ns d et aili n g t h eir c o nsi d er ati o n of s o m e ris k f a ct ors
                                                             a n d i d e ntif yi n g w h et h er t h e i n m at es h a d a d esir e or pl a n t o di e.
                                                             Th es e bl a n k s p a c es s u g g est t h at t h e m e nt al h e alt h st a ﬀ m a y n ot h a v e
                                                             c o nsi d er e d all r el e v a nt i nf or m ati o n w h e n d et er mi ni n g t h e li k eli h o o d
                                                             of t h e i n m at es att e m pti n g s ui ci d e, w hi c h c o ul d h a v e c a us e d t h e m t o
                                                             u n d er esti m at e t h e i n m at es’ s ui ci d e ris k l e v el.

                                                             F urt h er, f or 1 8 of t h e 3 6 i n m at es, m e nt al h e alt h st a ﬀ di d n ot
                                                             a d e q u at el y j ustif y t h eir d et er mi n ati o ns of t h e i n m at es’ s ui ci d e ris k
                                                             l e v els. S p e ci ﬁ c all y, eit h er t h e y di d n ot i n c or p or at e ris k f a ct ors w h e n
                                                             j ustif yi n g t h eir d et er mi n ati o ns or t h e y si m pl y list e d i n m at es’ ris k
                                                             f a ct ors wit h o ut c o nsi d eri n g t h eir b e h a vi ors or s y m pt o ms. I n s o m e
                                                             c as es, m e nt al h e alt h st a ﬀ n ot e d t h e pr es e n c e of s e v er al ris k f a ct ors
                                                             a n d w ar ni n g si g ns of i m mi n e nt s ui ci d e ris k, y et t h e y still c o n cl u d e d
                                                             t h at i n m at es w er e at l o w a c ut e ris k, w hi c h r ef ers t o s h ort-t er m
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     ﬂ u ct u ati o ns i n i n m at es’ ris k of att e m pti n g s ui ci d e, wit h o ut
     a d e q u at el y d o c u m e nti n g t h e r ati o n al e f or t h eir d et er mi n ati o ns.
     F or e x a m pl e, o n e m e nt al h e alt h st a ﬀ m e m b er at S A C i n di c at e d
     t h at a n i n m at e w as at l o w a c ut e ris k f or s ui ci d e, d es pit e n oti n g t h at
     h e d e m o nstr at e d ﬁ v e of t h e 1 0 w ar ni n g si g ns of i m mi n e nt s ui ci d e
     ris k. Th e m e nt al h e alt h st a ﬀ m e m b er di d n ot i n cl u d e a n y of t h es e
     w ar ni n g si g ns i n t h e j usti ﬁ c ati o n of ris k, b ut r at h er n ot e d t h at t h e
     i n m at e d e ni e d a d esir e t o c o m mit s ui ci d e. H o w e v er, t h e m e nt al
     h e alt h st a ﬀ m e m b er als o i n di c at e d t h at t h e i n m at e st at e d t h at t al ki n g
     a b o ut his s ui ci d al i d e ati o n w as di ﬃ c ult b e c a us e h e h a d n o i nt e nti o n
     of e v er g oi n g t o a crisis b e d. Th e i n a d e q u at e j usti ﬁ c ati o n f or t his
     i n m at e’s ris k d et er mi n ati o n s u g g ests t h at t h e m e nt al h e alt h st a ﬀ
     m e m b er m a y n ot h a v e c o nsi d er e d all ris k f a ct ors a n d t h er ef or e m a y
     h a v e i n c orr e ctl y esti m at e d t h e i n m at e’s ris k of s ui ci d e — a pr o bl e m
     t h at w e f o u n d r e p e at e dl y i n t h e ris k e v al u ati o ns w e r e vi e w e d.


     T a bl e 2
     T h e F o ur Pris o ns W e R e vi e w e d C o m pl et e d I n a d e q u at e Ris k E v al u ati o ns

                             N U M B E R O F I N M A T E S R E VI E W E D W H O                   N U M B E R O F I N M A T E S MI S SI N G                    N U M B E R O F I N M A T E S WI T H O N E O R M O R E
        P RI S O N      R E Q UI R E D O N E O R M O R E RI S K E V A L U A TI O N S     A T L E A S T O N E R E Q UI R E D RI S K E V A L U A TI O N                I N A D E Q U A T E RI S K E V A L U A TI O N S

        CCW F                                         9                                                                7                                                                     7
        CI W                                          8                                                                1                                                                     4
        R JD                                          9                                                                1                                                                     6
        SAC                                         10                                                                 1                                                                     9
         T ot als                                   36                                                               10                                                                    26



                                                                                                                              S P E CI FI C P R O B L E M S WI T H T H E RI S K E V A L U A TI O N S *
                                                                                                                                                 B Y N U M B E R O F I N M A T E S

                                                                                                                                                               T R E AT M E N T PL A N              S T A F F U S E D I N C O N SI S T E N T O R
                                                                                           S E C TI O N S I N              J U S TI FI C A TI O N O F           T O R E D U C E RI S K                I N C O M P L E T E I N F O R M A TI O N
                                                                                       RI S K E V A L U A TI O N        RI S K D E T E R MI N A TI O N            W A S MI S SI N G                       A B O U T T H EI N M AT E T O
                                                                      P RI S O N           WE RE BL A N K                 W ASI N C O M PLETE †                O RI N C O M PLETE †                     D E T E R MI N E S UI CI D E RI S K

                                                                      CCW F                         5                                  5                                    3                                             2
                                                                      CI W                          2                                  2                                    2                                             1
                                                                      R JD                         0                                   4                                    5                                            3
                                                                      SA C                         3                                   7                                    8                                             4
                                                                        T ot als                 10                                  18                                   18                                            10



     S o urc es: C alif or ni a St at e A u dit or’s r e vi e w a n d a n al ysis of h e alt h r e c or ds f or 1 0 i n m at es at e a c h of t h e f o ur pris o ns, C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e,
     a n d ot h er C orr e cti o ns’ p oli ci es.
     * W e pr es e nt t h e n u m b er of i n m at es w h o h a d ris k e v al u ati o ns wit h t h e pr o bl e m list e d. S o m e i n m at es h a d m ulti pl e i n a d e q u at e ris k e v al u ati o ns, a n d
         s o m e h a d ris k e v al u ati o ns t h at h a d m or e t h a n o n e of t h e pr o bl e ms list e d.
     † W e d et er mi n e d w h et h er t h e j usti ﬁ c ati o ns a n d ris k r e d u cti o n pl a ns i n t h e ris k e v al u ati o ns w er e c o m pl et e b as e d o n w h et h er t h e y co nt ai n e d all
         r e q uir e d el e m e nts n a m e d i n C orr e cti o ns’ s ui ci d e ris k e v al u ati o n a u dits a n d m e nt ori n g d o c u m e nts.
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                                                             Th e f o ur pris o ns als o f ail e d t o d e v el o p a d e q u at e pl a ns f or tr e at m e nt
                                                             wit hi n t h e ris k e v al u ati o ns f or h alf of t h e i n m at es w e r e vi e w e d.
                                                             W h e n c o m pl eti n g ris k e v al u ati o ns, m e nt al h e alt h st a ﬀ m ust
                                                             d o c u m e nt tr e at m e nts t ar g eti n g m o di ﬁ a bl e ris k f a ct ors, s u c h as
                                                             f e eli n gs of a git ati o n, a n g er, or h o p el ess n ess. Th es e tr e at m e nts s h o ul d
                                                             b e as s p e ci ﬁ c as p ossi bl e, l e a vi n g littl e r o o m f or misi nt er pr et ati o n
                                                             or c o nf usi o n. H o w e v er, m e nt al h e alt h st a ﬀ f ail e d t o d o c u m e nt s u c h
                                                             s p e ci ﬁ c tr e at m e nts i n t h e ris k e v al u ati o ns f or 1 8 of t h e 3 6 i n m at es w e
                                                             r e vi e w e d. F or e x a m pl e, CI W’s ris k e v al u ati o n f or a n i n m at e t h at h a d
                                                             j ust att e m pt e d s ui ci d e i n di c at e d t h at s h e d e m o nstr at e d s e v e n a c ut e
                                                             ris k f a ct ors, i n cl u di n g d e pr essi o n a n d a git ati o n or a n g er. H o w e v er,
                                                             t h e m e nt al h e alt h st a ﬀ m e m b er di d n ot pr es cri b e tr e at m e nt, n oti n g
     Pris o ns ar e n ot li k el y t o b e a bl e t o        o nl y t h at t h e i n m at e s h o ul d b e o bs er v e d a n d s h o ul d c o nti n u e h er
     pr e v e nt i n m at es fr o m att e m pti n g          c urr e nt m e di c ati o n. Pris o ns ar e n ot li k el y t o b e a bl e t o pr e v e nt
     s uici d e wit h o ut a d dr essi n g t h e f act ors   i n m at es fr o m att e m pti n g s ui ci d e wit h o ut a d dr essi n g t h e f a ct ors t h at
     t h at i ncr e as e t h eir ris k of d oi n g s o.      i n cr e as e t h eir ris k of d oi n g s o.

                                                             F urt h er, f or 1 0 of t h e i n m at es w e r e vi e w e d, m e nt al h e alt h st a ﬀ
                                                             c o m pl et e d ris k e v al u ati o ns b as e d o n i n c o nsist e nt or i n c o m pl et e
                                                             i nf or m ati o n. F or e x a m pl e, a c c or di n g t o t h e s ui ci d e r e p ort
                                                             C orr e cti o ns c o m pl et e d f oll o wi n g o n e i n m at e’s s ui ci d e at S A C,
                                                             m e nt al h e alt h st a ﬀ h a d c o m pl et e d f or t h e i n m at e t hr e e di ﬀ er e nt
                                                             ris k e v al u ati o ns, w hi c h st at e d t h at h e h a d c ert ai n pr ot e cti v e f a ct ors
                                                             i n pl a c e t o r e d u c e his ris k of s ui ci d e, i n cl u di n g f a mil y s u p p ort a n d
                                                             g o o d c o pi n g s kills. H o w e v er, a r e vi e w of ot h er d o c u m e nts i n t h e
                                                             i n m at e’s ﬁl e s h o w e d t h at h e di d n ot h a v e t h es e pr ot e cti v e f a ct ors.
                                                             C orr e cti o ns st at e d i n t h e s ui ci d e r e p ort t h at si mil ariti es a m o n g
                                                             t h e t hr e e ris k e v al u ati o ns s u g g est t h at m e nt al h e alt h st a ﬀ c o pi e d t h e
                                                             ris k a n d pr ot e cti v e f a ct ors fr o m pr e vi o us e v al u ati o ns, r es ulti n g i n a n
                                                             i n a c c ur at e pi ct ur e of t h e i n m at e’s m e nt al h e alt h. Si mil arl y, a n ot h er
                                                             o n e of C orr e cti o ns’ s ui ci d e r e p orts st at e d t h at t h e ﬁ n al ris k e v al u ati o n
                                                             CI W c o m pl et e d b ef or e a n i n m at e’s s ui ci d e f ail e d t o n ot e t h at s h e h a d
                                                             a hist or y of s ui ci d e att e m pts — a criti c al d et er mi n a nt of f ut ur e s ui ci d e
                                                             ris k. A c c or di n g t o t h e s ui ci d e r e p ort, t h e m e nt al h e alt h st a ﬀ m e m b er
                                                             a p p e ar e d t o a c c e pt t h e i n m at e’s d e ni al of a n y pri or s ui ci d e att e m pts
                                                             a n d di d n ot r e vi e w t h e s ui ci d e att e m pt hist or y d o c u m e nt e d i n a
                                                             pr e vi o us ris k e v al u ati o n.

                                                             C orr e cti o ns o ﬀ er e d s o m e r e as o ns f or t h e pris o ns’ f ail ur e t o
                                                             c o m pl et e a d e q u at e ris k e v al u ati o ns. S p e ci ﬁ c all y, its cli ni c al s u p p ort
                                                             c hi ef e x pl ai n e d t h at m e nt al h e alt h st a ﬀ h a v e h e a v y c as el o a ds,
                                                             w hi c h t h e f o ur pris o ns w e r e vi e w e d g e n er all y als o i n di c at e d is a
                                                             c o ntri b uti n g f a ct or. Th e cli ni c al s u p p ort c hi ef st at e d t h at if pris o n
                                                             m a n a g e m e nt h as n ot s et cl e ar e x p e ct ati o ns t h at s ui ci d e ris k
                                                             e v al u ati o ns s h o ul d b e pri oriti z e d, m e nt al h e alt h st a ﬀ m a y r us h t o
                                                             c o m pl et e ris k e v al u ati o ns. S h e s ai d pris o n m a n a g e m e nt s h o ul d
                                                             h el p m e nt al h e alt h st a ﬀ b y r e dir e cti n g t h eir w or kl o a ds t o all o w
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     t h e m t o d e v ot e t h e n e c ess ar y att e nti o n t o c o m pl et e a d e q u at e ris k
     e v al u ati o ns. S h e als o st at e d t h at, d es pit e e xisti n g tr ai ni n g, m e nt al
     h e alt h st a ﬀ ar e still u ns ur e of h o w t o c o m pl et e ris k e v al u ati o ns.

     D es pit e its a bilit y t o p oi nt t o r e as o ns f or d e ﬁ ci e n ci es i n ris k
     e v al u ati o ns, o ur r e vi e w d e m o nstr at es t h at C orr e cti o ns h as n ot
     a d e q u at el y a d dr ess e d t h os e f a ct ors, j e o p ar di zi n g its a bilit y t o
     pr e v e nt i n m at e s ui ci d e att e m pts. I n f a ct, f or y e ars m e nt al h e alt h                 F or y e ars m e nt al h e alt h e x p erts o n
     e x p erts o n s ui ci d e h a v e c all e d o n C orr e cti o ns t o a d dr ess m a n y                     s uici d e h a v e c all e d o n C orr ecti o ns t o
     of t h e s a m e pr o bl e ms w e i d e nti ﬁ e d i n o ur r e vi e w. F or e x a m pl e,                    a d dr ess m a n y of t h e s a m e pr o bl e ms
     a 2 01 3 s p e ci al m ast er’s r e p ort st at e d t h at f or h alf of t h e s ui ci d e                   w e i d e nti ﬁ e d i n o ur r e vi e w.
     c as es i n 2 011, pris o ns eit h er di d n ot c o m pl et e ris k e v al u ati o ns
     or c o n cl u d e d t h at i n m at es h a d a l o w or “ n o a p pr e ci a bl e” ris k of
     s ui ci d e wit h o ut a d e q u at e c o nsi d er ati o n of ris k f a ct ors, p ast hist or y,
     or m e di c al r e c or ds. Cli ni c al e x p erts t h at t h e s p e ci al m ast er
     e n g a g e d n ot e d si mil ar pr o bl e ms wit h ris k e v al u ati o ns e a c h y e ar
     t hr o u g h 2 01 4, w h e n t h e y c o n cl u d e d t h at t h e pris o ns h a d eit h er
     f ail e d t o c o n d u ct or h a d i n a d e q u at el y c o m pl et e d ris k e v al u ati o ns
     i n al m ost 7 0 p er c e nt of t h e s ui ci d e c as es t h at o c c urr e d t h at y e ar.
     F urt h er, b e gi n ni n g i n N o v e m b er 2 01 3 a n d c o nti n ui n g t hr o u g h
     J ul y 2 01 4, t h e s ui ci d e e x p ert r e vi e w e d e a c h pris o n’s s ui ci d e
     pr e v e nti o n pr a cti c es a n d f o u n d t h at m e nt al h e alt h st a ﬀ oft e n di d
     n ot c o m pl et e r e q uir e d ris k e v al u ati o ns a n d t h at t h e q u alit y of ris k
     e v al u ati o ns w as fr e q u e ntl y pr o bl e m ati c. S p e ci ﬁ c all y, t h e s ui ci d e
     e x p ert’s r e vi e w of h u n dr e ds of ris k e v al u ati o ns f o u n d t h at m a n y
     c o nt ai n e d ris k f a ct ors a n d pr ot e cti v e f a ct ors t h at di d n ot ali g n wit h
     t h e m e nt al h e alt h st a ﬀ’s ass ess m e nts of t h e i n m at es’ ris k l e v els.

     Alt h o u g h C orr e cti o ns h as t a k e n a cti o ns i n r es p o ns e t o t h es e
     ﬁ n di n gs, t h os e a cti o ns h a v e n ot r es ult e d i n si g ni ﬁ c a nt c h a n g e.
     F or e x a m pl e, i n 2 01 3 C orr e cti o ns iss u e d p oli ci es r e q uiri n g m e nt al
     h e alt h st a ﬀ t o att e n d a s e v e n- h o ur tr ai ni n g a n d, e v er y t w o y e ars,
     u n d er g o a m e nt ori n g pr o gr a m t h at f o c us es o n a d mi nist eri n g ris k
     e v al u ati o ns. Th e m e nt ori n g pr o gr a m i n v ol v es tr ai n e d m e nt ors
     o bs er vi n g m e nt al h e alt h st a ﬀ c o n d u cti n g o n e or m or e ris k
     e v al u ati o ns, ass essi n g t h eir s kills, a n d w h e n n e e d e d, pr o vi di n g
     tr ai ni n g o n t h e pr o p er t e c h ni q u es f or c o m pl eti n g ris k e v al u ati o ns.
     H o w e v er, as t h e r e p orts cit e d d e m o nstr at e, n eit h er t h e tr ai ni n g
     n or t h e m e nt ori n g pr o gr a m e ns ur e d t h at m e nt al h e alt h st a ﬀ
     a d e q u at el y c o m pl et e d ris k e v al u ati o ns. Th e s ui ci d e e x p ert n ot e d
     t h at m e nt al h e alt h st a ﬀ w er e r e q uir e d t o c o m pl et e o nl y t w o ris k
     e v al u ati o ns u n d er t h e s u p er visi o n of a m e nt or a n d t h at t h e y
     r e c ei v e d n o a d diti o n al criti q u es u ntil t h e y h a d t o u n d er g o t h e
     m e nt ori n g pr o gr a m t w o y e ars l at er. B as e d o n his r e c o m m e n d ati o ns,
     C orr e cti o ns m o di ﬁ e d its p oli c y i n e arl y 2 01 6 t o, a m o n g ot h er
     t hi n gs, r e q uir e t h at pris o ns a u dit ris k e v al u ati o ns f or e a c h m e nt al
     h e alt h st a ﬀ m e m b er t wi c e e a c h y e ar, a n d t o r e q uir e t h at t h os e w h o
     f ail e d t h e a u dit r e p e at t h e m e nt ori n g pr o gr a m.
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                                                 Alt h o u g h w e a gr e e t h at t his c h a n g e w as n e c ess ar y t o i m pr o v e
                                                 o v ersi g ht of ris k e v al u ati o ns, r o o m f or f urt h er i m pr o v e m e nt i n
                                                 b ot h t h e p oli c y a n d its i m pl e m e nt ati o n r e m ai ns. S p e ci ﬁ c all y,
                                                 C orr e cti o ns’ ris k e v al u ati o n a u dits p er mit a d e gr e e of f ail ur e.
                                                 Fi g ur e 5 s h o ws t h e pr o c ess pris o ns us e w h e n c o m pl eti n g t h e a u dits
                                                 t o d et er mi n e w h et h er m e nt al h e alt h st a ﬀ m e m b ers n e e d a d diti o n al
                                                 m e nt ori n g. D uri n g t h e a u dit, pr o gr a m s u p er vis ors r e vi e w
                                                 s e v e n it e ms — w hi c h Ta bl e 3 lists —t h at m ust b e i n a ris k e v al u ati o n.
                                                 C orr e cti o ns’ p oli c y r e q uir es t h at m e nt al h e alt h st a ﬀ c orr e ctl y
                                                 c o m pl et e si x of t h e s e v e n it e ms t o p ass t h e a u dit.


                                                 Fi g ur e 5
                                                 C orr e cti o ns’ Pr o c ess f or D et er mi ni n g W h et h er M e nt al H e alt h St a ﬀ R e q uir e
                                                 A d diti o n al M e nt ori n g o n C o m pl eti n g Ris k E v al u ati o ns




                                                                   T wi c e e a c h y e ar t h e pri s o n a u dit s o n e r a n d o ml y s el e ct e d s ui ci d e ri s k
                                                                    e v al u ati o n f or e v er y st a ﬀ m e m b er w h o c o m pl et e s ri s k e v al u ati o n s.
                                                                               T h e a u dit r e vi e ws s e v e n it e ms, a n d t h e st a ﬀ m e m b er
                                                                                    m ust a d e q u at el y c o m pl et e at l e ast si x t o p ass.




                                                                                P ASS                                                                 F AI L



                                                                                                         T h e pris o n a u dits a
                                                                                                s e c o n d s ui ci d e ris k e v al u ati o n.




                                                                                P ASS                                                                 F AI L



                                                                                                         T h e pris o n a u dits a
                                                                                                  t hir d s ui ci d e ris k e v al u ati o n.




                                                                                P ASS                                                                 F AI L


                                                                   N o f urt h er a cti o n is t a k e n                        T h e pris o n r ef ers t h e st a ﬀ m e m b er
                                                                   u ntil t h e n e xt a u dit c y cl e.                        t o r e p e at t h e m e nt ori n g pr o gr a m.


                                                 S o urc es: C orr ecti o ns’ h e alt h c ar e di visi o n’s M arc h 1 5, 2 0 1 6, m e m or a n d u m re visi n g its ris k e v al u ati o n
                                                 m e nt ori n g pr o gr a m a n d C orr e cti o ns’ i nstr u cti o ns f or c o m pl eti n g t h e ris k e v al u ati o n a u dit.
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     H o w e v er, as a r es ult, a m e nt al h e alt h st a ﬀ m e m b er c o ul d f ail t o
     c o m pl et e a n i m p ort a nt s e cti o n i n a ris k e v al u ati o n, s u c h as d et aili n g
     t h e i n m at e’s hist or y of s ui ci d e att e m pts or d es cri bi n g t h e ris k
     r e d u cti o n pl a n, a n d still p ass. C orr e cti o ns’ cli ni c al s u p p ort c hi ef s ai d
     t h at C orr e cti o ns d o es n ot r e q uir e t h at m e nt al h e alt h st a ﬀ o bt ai n
     1 0 0 p er c e nt b e c a us e it d o es n ot e x p e ct p erf e cti o n a n d b e c a us e
     if t o o m a n y f ail e d t h e a u dit, it w o ul d n ot h a v e e n o u g h m e nt ors
     t o c o m pl et e t h e n e c ess ar y m e nt ori n g. S h e als o i d e nti ﬁ e d all b ut
     o n e it e m i n t h e a u dit —t h e i d e nti ﬁ c ati o n of s o ur c es of i nf or m ati o n —
     as criti c al. N e v ert h el ess, listi n g t h e s o ur c es of i nf or m ati o n is
     i m p ort a nt t o e ns ur e t h at m e nt al h e alt h st a ﬀ ar e c o nsi d eri n g all
     criti c al s o ur c es of i nf or m ati o n w h e n e v al u ati n g a n i n m at e’s ris k
     f a ct ors. I n r es p o ns e t o o ur c o n c er ns, C orr e cti o ns’ cli ni c al s u p p ort
     c hi ef e x pl ai n e d t h at C orr e cti o ns c o ul d m a k e p assi n g c ert ai n it e ms
     wit hi n t h e a u dit m a n d at or y. H o w e v er, b e c a us e of t h e i m p ort a n c e
     of e a c h s e cti o n of t h e ris k e v al u ati o n, w e b eli e v e r e q uiri n g m e nt al
     h e alt h st a ﬀ t o a d e q u at el y c o m pl et e all s e cti o ns is ess e nti al f or
     r e d u ci n g t h e ris k of i n m at e s ui ci d e.


     T a bl e 3
     It e ms of a Ris k E v al u ati o n a n d C orr e cti o ns’ C orr es p o n di n g A u dit Crit eri a

                                                                                               RI S K E V A L U A TI O N A U DI T C RI T E RI A

                          RI S K E V A L U A TI O N I T E M                 A U DI T I T E M                          D E S C RI P TI O N

      C h ec k b ox es i n dic ati n g t h e pr es e nc e or a bs e nc e           1            Ar e all ris k f a ct or b o x es c h e c k e d?
      of c hr o ni c a n d a c ut e s ui ci d e ris k f a ct ors.
      C h ec k b ox es i n dic ati n g t h e pr es e nc e or a bs e nc e           2            Ar e all pr ot ecti v e f act or b o x es c h ec k e d?
      of pr ot e cti v e f a ct ors t h at miti g at e s ui ci d e ris k.
      C h e c k b o x i n di c ati n g w h et h er i n m at e h as a               3           Is t h e it e m c o m pl et e?
      hist or y of s ui ci d e att e m pts.
      I n cl u d e d et ails of pr e vi o us s ui ci d e att e m pts.                 4        If t h e i n m at e h as a hist or y of s ui ci d e
                                                                                               att e m pts, di d t h e st a ﬀ m e m b er d et ail
                                                                                               t h os e att e m pts?
      I n cl u d e t h e s o urc es of i nf or m ati o n us e d t o                5           Di d t h e st a ﬀ m e m b er d o c u m e nt t h e
      c o m pl et e t h e ris k e v al u ati o n, s u c h as i n m at e                        s o urc es of i nf or m ati o n us e d?
      i nt er vi e w, st a ﬀ i nt er vi e w, or m e nt al h e alt h
      ﬁl e r e vi e w.
      D escri b e t h e j usti ﬁ c ati o n of ris k d et er mi n ati o n.          6           Ar e b ot h c hr o ni c a n d a c ut e ris k l e v els
                                                                                               c h e c k e d a n d j usti ﬁ e d i n t h e n arr ati v e,
                                                                                               citi n g t h e pr es e n c e or a bs e n c e of
                                                                                               i d e nti ﬁ e d ris k f a ct ors, pr ot e cti v e
                                                                                               f a ct ors, a n d w ar ni n g si g ns?
      D es cri b e t h e s af et y/ris k r e d u cti o n pl a n.                  7            Di d t h e st a ﬀ m e m b er i n c or p or at e
                                                                                               t h e i d e nti ﬁ e d m o di ﬁ a bl e ris k f a ct ors,
                                                                                               pr ot e cti v e f a ct ors, a n d w ar ni n g si g ns
                                                                                               i nt o a ris k r e d u cti o n pl a n?


     S o urc es: C orr e cti o ns’ ris k e v al u ati o n f or m a n d its ris k e v al u ati o n a u dit crit eri a.
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                                                       C orr e cti o ns h as si mil arl y s et t h e b ar t o o l o w f or t h e p er c e nt a g e
                                                       of pris o ns’ ris k e v al u ati o ns t h at m ust p ass t h e ris k e v al u ati o n
                                                       a u dit — 9 0 p er c e nt — y et it h as still str u g gl e d t o m e et its o w n
                                                       st a n d ar ds. A c c or di n g t o C orr e cti o ns’ m e nt al h e alt h a d mi nistr at or f or
                                                       q u alit y m a n a g e m e nt a n d i n p ati e nt f a ciliti es ( q u alit y a d mi nistr at or),
                                                       t h e pris o ns r e p ort t o C orr e cti o ns t h e p er c e nt a g e of m e nt al h e alt h
     Alt h o u g h pris o ns r e p ort e d t h at      st a ﬀ m e m b ers w h o p ass e d t h e ris k e v al u ati o n a u dit e a c h m o nt h. A
     71 p erc e nt of ris k e v al u ati o ns          J u n e 2 01 7 C orr e cti o ns r e p ort s h o ws t h at fr o m D e c e m b er 1, 2 01 6,
     s yst e m wi d e m et t h e a u dit crit eri a    t hr o u g h M a y 31, 2 01 7, pris o ns r e p ort e d t h at 71 p er c e nt of ris k
     fr o m D ec e m b er 1, 2 01 6, t hr o u g h      e v al u ati o ns s yst e m wi d e m et t h e a u dit crit eri a. Alt h o u g h t his is
     M a y 31, 2 01 7, it is still f ar b el o w       a m ar k e d i m pr o v e m e nt fr o m t h e pris o ns’ p erf or m a n c e i n 2 01 4
     C orr ecti o ns’ est a blis h e d g o al of       a n d 2 01 5 — C orr e cti o ns’ r e p orts s h o w t h at o nl y 3 8 p er c e nt of t h e
     9 0 p erc e nt.                                   ris k e v al u ati o ns a u dit e d p ass e d d uri n g t h at t w o- y e ar p eri o d —it is
                                                       still f ar b el o w C orr e cti o ns’ est a blis h e d g o al of 9 0 p er c e nt. H o w e v er,
                                                       e v e n if C orr e cti o ns a c hi e v e d its g o al, m e nt al h e alt h st a ﬀ w o ul d still
                                                       h a v e a d e q u at el y c o m pl et e d o nl y ni n e o ut of 1 0 ris k e v al u ati o ns.
                                                       We b eli e v e t h at t his is a n u n a c c e pt a bl e l e v el of f ail ur e, gi v e n t h e
                                                       p ot e nti al c o ns e q u e n c es of d e ﬁ ci e nt ris k e v al u ati o ns.

                                                       C orr e cti o ns als o s ets its c o m pl eti o n st a n d ar ds t o o l o w f or t h e
                                                       p er c e nt a g e of ris k e v al u ati o ns t h at e a c h pris o n s h o ul d c o m pl et e
                                                       o n ti m e. A c c or di n g t o t h e q u alit y a d mi nistr at or, C orr e cti o ns us es
                                                       a n a ut o m at e d pr o c ess t o tr a c k t h e p er c e nt a g e of ris k e v al u ati o ns
                                                       t h at e a c h pris o n c o m pl et es o n ti m e a n d r e q uir es pris o ns t h at s c or e
                                                       l o w er t h a n 8 5 p er c e nt t o d e v el o p a n a cti o n pl a n f or i m pr o v e m e nt.
                                                       A c c or di n g t o C orr e cti o ns’ r e p orts, fr o m D e c e m b er 1, 2 01 6, t hr o u g h
                                                       M a y 31, 2 01 7, t h e pris o ns c oll e cti v el y a c hi e v e d a s c or e of 9 2 p er c e nt
                                                       f or b ei n g o n ti m e. Th e qu alit y a d mi nistr at or s ai d t h at it s et t h e g o al
                                                       at 8 5 p er c e nt b e c a us e t h at is a st a n d ar d g o al f or h e alt h c ar e pr o c ess es.
                                                       H o w e v er, gi v e n t h at t h e ti m el y c o m pl eti o n of ris k e v al u ati o ns is
                                                       criti c al t o e ns uri n g t h at i n m at es r e c ei v e pr o m pt a n d n e c ess ar y
                                                       tr e at m e nt t o r e d u c e t h eir ris k of s ui ci d e, w e b eli e v e C orr e cti o ns
                                                       s h o ul d ﬁ n d it u n a c c e pt a bl e f or m or e t h a n o n e i n 1 0 i n m at es t o n ot
                                                       r e c ei v e a ris k e v al u ati o n o n ti m e.

                                                       C orr e cti o ns c o ul d i m pr o v e t h e q u alit y of its ris k e v al u ati o ns b y
                                                       u p d ati n g its el e ctr o ni c ris k e v al u ati o n f or m. I n o ur r e vi e w of ris k
                                                       e v al u ati o ns at RJ D, w e f o u n d t h at t h e pris o n h a d i n cl u d e d pr o m pts
                                                       t o ai d t h e m e nt al h e alt h st a ﬀ m e m b er i n c o m pl eti n g t h e f or m. F or
                                                       e x a m pl e, i n t h e s e cti o n f or d o c u m e nti n g t h e tr e at m e nt t o r e d u c e
                                                       t h e i n m at e’s ris k, t h e pris o n i n cl u d e d t e xt i nstr u cti n g m e nt al h e alt h
                                                       st a ﬀ t o d o c u m e nt tr e at m e nt i nt er v e nti o ns f or t h os e ris k f a ct ors t h at
                                                       c a n b e tr e at e d, w hi c h ar e r ef err e d t o as m o di ﬁ a bl e ris k f a ct ors . We
                                                       f o u n d t h at t his ris k e v al u ati o n m et all of t h e r e q uir e m e nts of t h e
                                                       ris k e v al u ati o n a u dit. Alt h o u g h t his w as t h e o nl y ris k e v al u ati o n
                                                       t h at w e r e vi e w e d at RJ D t h at c o nt ai n e d t h es e pr o m pts, a c c or di n g
                                                       t o RJ D’s c hi ef ps y c h ol o gist, t h e pris o n b e g a n i n cl u di n g t h es e
                                                       pr o m pts i n e arl y 2 01 6 a n d s h e b eli e v e d t h at t h e y h a d c o ntri b ut e d
                                                       t o a n i m pr o v e m e nt i n ris k e v al u ati o ns. C o nsist e nt wit h t h e c hi ef’s
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     st at e m e nt, C orr e cti o ns’ ris k e v al u ati o n a u dit r e p orts s h o w e d
     t h at t h e p er c e nt a g e of RJ D’s ris k e v al u ati o ns t h at p ass e d t h e
     a u dit i n cr e as e d fr o m 7 7 p er c e nt i n J a n u ar y 2 01 6 t o 1 0 0 p er c e nt
     i n M ar c h 2 01 7. C orr e cti o ns’ cli ni c al s u p p ort c hi ef a gr e e d t h at
     s u c h pr o m pts w o ul d b e b e n e ﬁ ci al, a n d t h at C orr e cti o ns c o ul d
     i n c or p or at e t h e m i nt o t h e ris k e v al u ati o n f or ms i n its el e ctr o ni c
     h e alt h r e c or d s yst e m.


     Pris o n St a ﬀ F ail e d t o Est a blis h Tr e at m e nt Pl a ns f or S o m e I n m at es, a n d
     t h e Pl a ns T h e y Est a blis h e d f or Ot h ers W er e I n a d e q u at e

     A c c or di n g t o t h e s ui ci d e e x p ert, tr e at m e nt pl a n ni n g is a criti c al
     el e m e nt of a n y c orr e cti o n al s yst e m’s s ui ci d e pr e v e nti o n pr o gr a m.
     A tr e at m e nt pl a n is b as e d o n a c o m pr e h e nsi v e
     ass ess m e nt of a n i n m at e’s p h ysi c al, m e nt al,
     e m oti o n al, a n d s o ci al n e e ds a n d m ust i n cl u d e                                       S el e ct e d R e q uir e m e nts f or a
     t h e g o als of tr e at m e nt a n d i d e ntif y t h e tr e at m e nt                                     7 2- H o ur Tr e at m e nt Pl a n
     m et h o ds pris o n st a ﬀ will us e. St at e r e g ul ati o ns a n d
     C orr e cti o ns’ p oli ci es r e q uir e t h at t h e a d mitti n g st a ﬀ          • All m e nt al h e alt h di a g n os es.
     d e v el o p a pr o visi o n al di a g n osis a n d a pl a n f or i niti al          • Pr escri b e d m e dic ati o n, d os a g e, a n d fr e q u e nc y
     tr e at m e nt (i niti al tr e at m e nt pl a n) wit hi n 2 4 h o urs                    of a d mi nistr ati o n.
     of a n i n m at e’s a d missi o n t o a crisis b e d. I n a d diti o n,
                                                                                          • Tr e at m e nt g o als wit h i nt er v e nti o ns, acti o ns t o w ar d
     st at e r e g ul ati o ns a n d C orr e cti o ns’ p oli ci es r e q uir e
                                                                                              i m pr ov e m e nt, a n d m e as ur a bl e o bj ectiv es.
     t h at a n i n m at e’s tr e at m e nt t e a m — w hi c h m ust
     i n cl u d e, at a mi ni m u m, a crisis- b e d ps y c hi atrist,                    • Tr e at m e nt m et h o ds t o b e us e d, i ncl u di n g t h e fr e q u e nc y of
     a crisis- b e d cli ni ci a n, n ursi n g st a ﬀ, a c orr e cti o n al                   t h e m et h o ds a n d t h e p ers o ns or disci pli n es r es p o nsi bl e f or
     c o u ns el or, a n d t h e i n m at e if a p pr o pri at e — c o m pl et e              e ac h m et h o d.
     a tr e at m e nt pl a n wit hi n 7 2 h o urs of t h e i n m at e’s                   • G o als f or aft erc ar e a n d a pl a n f or p ost- disc h ar g e f oll o w- u p.
     a d missi o n t o a crisis b e d ( 7 2- h o ur tr e at m e nt pl a n).
                                                                                          S o urc e: C alif or ni a C o d e of R e g ul ati o ns, Titl e 2 2, S e cti o n 7 9 7 4 7.
     Th e t e xt b o x d es cri b es s el e ct e d i nf or m ati o n st at e
     r e g ul ati o ns r e q uir e i n a 7 2- h o ur tr e at m e nt pl a n.

     D es pit e t h e i m p ort a n c e of tr e at m e nt pl a ns, t hr e e of t h e f o ur pris o ns
     w e r e vi e w e d di d n ot al w a ys c o m pl y wit h st at e r e g ul ati o ns a n d
     C orr e cti o ns’ p oli c y t h at r e q uir e pris o n st a ﬀ a d mitti n g i n m at es t o
     crisis b e ds t o d e v el o p a n i niti al tr e at m e nt pl a n wit hi n 2 4 h o urs.
     C orr e cti o ns’ p oli ci es st at e t h at t his i niti al tr e at m e nt pl a n s h o ul d
     c o nt ai n a pr o visi o n al di a g n osis a n d a n i niti al pl a n f or tr e at m e nt.
     Alt h o u g h t his is C orr e cti o ns’ o nl y writt e n r e q uir e m e nt r e g ar di n g
     i niti al tr e at m e nt pl a ns, its cli ni c al s u p p ort c hi ef e x pl ai n e d t h at s h e
     w o ul d e x p e ct a n i niti al tr e at m e nt pl a n t o c o nt ai n a n a d mitti n g
     di a g n osis, r e as o n f or a d missi o n, a d es cri pti o n of s y m pt o ms, a n d
     i m m e di at e i nt er v e nti o ns t o a d dr ess t h os e s y m pt o ms a n d t ar g et
     t h e r e as o n f or a d missi o n. H o w e v er, m e nt al h e alt h st a ﬀ di d n ot
     c o m pl et e s u c h pl a ns f or f o ur of t h e 2 6 i n m at es w h o s h o ul d h a v e
     h a d t h e m at t h e f o ur pris o ns w e r e vi e w e d. B e c a us e C orr e cti o ns’
     p oli ci es st at e t h at i n m at es m ust b e dis c h ar g e d fr o m crisis b e ds
     wit hi n 1 0 d a ys, u nl ess ot h er wis e a p pr o v e d f or a l o n g er st a y, i n m at es
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                                                                              wit h o ut i niti al tr e at m e nt pl a ns m a y n ot h a v e a tr e at m e nt pl a n f or
                                                                              u p t o 3 0 p er c e nt of t h eir st a ys i n crisis b e ds — u ntil t h e 7 2- h o ur
                                                                              tr e at m e nt pl a n is c o m pl et e.

                                                                              I n a d diti o n, o n e of t h e pris o ns w e r e vi e w e d f ail e d t o c o m pl y wit h
                                                                              st at e r e g ul ati o ns a n d C orr e cti o ns’ p oli ci es f or c o m pl eti n g 7 2- h o ur
                                                                              tr e at m e nt pl a ns. As Ta bl e 4 s h o ws, w e r e vi e w e d 2 5 ﬁl es f or i n m at es
                                                                              w h o att e m pt e d or c o m mitt e d s ui ci d e fr o m 2 01 4 t hr o u g h 2 01 6 w h o
                                                                              s h o ul d h a v e h a d 7 2- h o ur tr e at m e nt pl a ns f oll o wi n g t h eir a d missi o n
                                                                              t o crisis b e ds at t h e f o ur pris o ns. We f o u n d t h at m e nt al h e alt h st a ﬀ
                                                                              c o m pl et e d 2 3 of t h es e 7 2- h o ur tr e at m e nt pl a ns. H o w e v er, C C W F’s
                                                                              m e nt al h e alt h st a ﬀ di d n ot c o m pl et e a 7 2- h o ur tr e at m e nt pl a n f or
                                                                              t w o i n m at es, b ut r at h er c o m pl et e d a s e p ar at e s u p pl e m e nt al s e cti o n,
                                                                              w hi c h d o es n ot s er v e as t h e 7 2- h o ur tr e at m e nt pl a n. C C W F’s
                                                                              c hi ef of m e nt al h e alt h a c k n o wl e d g e d t h at w h e n s h e ass u m e d h er
                                                                              p ositi o n i n mi d- 2 01 5, m e nt al h e alt h st a ﬀ w er e n ot c o m pl eti n g all
                                                                              s e cti o ns of t h e 7 2- h o ur tr e at m e nt pl a ns. S h e c o ul d n ot pr o vi d e a n
                                                                              e x pl a n ati o n f or t his d e ﬁ ci e n c y b e c a us e s h e w as n ot f a mili ar wit h
                                                                              t h e g ui d a n c e m e nt al h e alt h st a ﬀ h a d r e c ei v e d at t h at ti m e; h o w e v er,
                                                                              s h e st at e d t h at aft er s h e n oti c e d t h e pr a cti c e, s h e r e mi n d e d m e nt al
                                                                              h e alt h st a ﬀ t h at t h e y n e e d e d t o c o m pl et e all s e cti o ns of t h e 7 2- h o ur
                                                                              tr e at m e nt pl a ns.


     T a bl e 4
     Pr o bl e ms Wit h 7 2- H o ur Tr e at m e nt Pl a ns at t h e F o ur Pris o ns W e R e vi e w e d

                                                                                                                                      P RI S O N

                                                                                                     CC WF                  CI W *                 RJ D                   S AC                 T OT AL

                   N u m b er of i n m at es w h o...
                      ...s h o ul d h a v e h a d a 7 2- h o ur tr e at m e nt pl a n                   9                     7                      5                     4                     25
                      ... di d n ot r e c ei v e a 7 2- h o ur tr e at m e nt pl a n                    2                     0                      0                     0                      2
                      ...r e c ei v e d a 7 2- h o ur tr e at m e nt pl a n                             7                     7                      5                     4                     23
                   Missi n g or i n c o m pl et e it e ms o n t h e tr e at m e nt pl a ns r e vi e w e d
                      M e nt al h e alt h di a g n os es                                                0                     0                      0                     0                      0
                      M e di c ati o n d os a g e a n d fr e q u e n c y                                1                     4                      4                     3                     12
                      Tr e at m e nt g o als wit h i nt er v e nti o ns a n d
                                                                                                        1                     0                      0                     2                      3
                         m e as ur a bl e o bj e cti v es
                      Tr e at m e nt m et h o ds, i n cl u di n g fr e q u e n c y a n d
                                                                                                        7                     4                      5                     4                     20
                         p ers o ns r es p o nsi bl e f or e a c h m et h o d
                      P ost- dis c h ar g e f oll o w- u p pl a n                                       5                     5                      3                     4                     17


     S o urc es: C alif or ni a St at e A u dit or’s a n al ysis of m e nt al h e alt h r e c or ds f or s el e ct e d i n m at es at e a c h of t h e f o ur pris o ns r e vi e w e d , C orr e cti o ns’
     2 0 0 9 pr o gr a m g ui d e, a n d C alif or ni a C o d e of R e g ul ati o ns Titl e 2 2, S e cti o n 7 9 7 4 7.
     * St a ﬀ at CI W c o m pl et e d o n e tr e at m e nt pl a n m or e t h a n 7 2 h o urs aft er t h e i n m at e w as a d mitt e d t o a crisis b e d.
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     M or e o v er, n o n e of t h e 2 3 c o m pl et e d 7 2- h o ur tr e at m e nt pl a ns w e
     r e vi e w e d w er e a d e q u at e b as e d o n t h e el e m e nts st at e r e g ul ati o ns
     r e q uir e. F or e x a m pl e, m a n y of t h e 7 2- h o ur tr e at m e nt pl a ns w er e
     missi n g eit h er t h e tr e at m e nt m et h o ds, t h e fr e q u e n c y at w hi c h t h e
     tr e at m e nt m et h o ds s h o ul d b e c o m pl et e d, or w h o w as r es p o nsi bl e
     f or a d mi nist eri n g t h e m et h o ds. Wit h o ut t his i nf or m ati o n, i n m at es
     m a y n ot r e c ei v e n e c ess ar y tr e at m e nt fr o m t h e c orr e ct pr o vi d ers
     at a p pr o pri at e i nt er v als. I n a d diti o n, m a n y of t h e 7 2- h o ur
     tr e at m e nt pl a ns w e r e vi e w e d h a d missi n g or i n c o m pl et e dis c h ar g e
     f oll o w- u p pl a ns. It is vit al t h at t h e tr e at m e nt t e a ms b e gi n pl a n ni n g f or
     i n m at es’ c ar e f oll o wi n g dis c h ar g e fr o m crisis b e ds as s o o n as p ossi bl e
     b e c a us e C orr e cti o ns’ p oli ci es st at e t h at crisis- b e d st a ys s h o ul d b e
     1 0 d a ys or f e w er, alt h o u g h crisis- b e d st a ys m a y s ur p ass 1 0 d a ys wit h
     t h e a p pr o v al of t h e pris o n’s c hi ef of m e nt al h e alt h or a d esi g n e e.

     F urt h er, s o m e 7 2- h o ur tr e at m e nt pl a ns w e r e vi e w e d h a d m ulti pl e
     d e ﬁ ci e n ci es. F or e x a m pl e, o n e 7 2- h o ur tr e at m e nt pl a n at S A C —f or
     a n i n m at e a d mitt e d t o a crisis b e d aft er a s ui ci d e att e m pt i n 2 01 6 —
     l a c k e d s p e ci ﬁ c tr e at m e nt i nt er v e nti o ns, t h e fr e q u e n c y of tr e at m e nt,
     a n d a dis c h ar g e pl a n. A d diti o n all y, t h e pris o n’s m e nt al h e alt h st a ﬀ
     l eft s e v er al ot h er s e cti o ns of t his pl a n bl a n k, s u c h as a st at e m e nt of
     t h e i n m at e’s m e nt al c o n diti o n a n d d es cri pti o ns of t h e l o n g-t er m
     g o als of t h e i n m at e a n d of t h e i n m at e’s p arti ci p ati o n i n t h e tr e at m e nt
     pl a n ni n g pr o c ess. W h e n w e i n q uir e d, pris o n o ﬃ ci als at S A C st at e d
     t h at t his tr e at m e nt pl a n w as n ot a c c e pt a bl e a n d t h at m a n a g e m e nt
     w o ul d a d dr ess t h e d e ﬁ ci e n ci es wit h t h e m e nt al h e alt h st a ﬀ m e m b er.

     C orr e cti o ns h as b e e n a w ar e f or y e ars t h at its 7 2- h o ur tr e at m e nt                       C orr ecti o ns h as b e e n a w ar e f or y e ars
     pl a ns w er e i n a d e q u at e, b e c a us e m ulti pl e e x p erts h a v e r e a c h e d                    t h at its 7 2- h o ur tr e at m e nt pl a ns w er e
     t his c o n cl usi o n. F or i nst a n c e, a 1 9 9 9 s p e ci al m ast er’s m o nit ori n g                    i n a d e q u at e, b ec a us e m ulti pl e e x p erts
     r e p ort f o u n d t h at s e v er al tr e at m e nt t e a m m e eti n gs f ail e d t o d e v el o p           h a v e r e ac h e d t his c o ncl usi o n.
     r e alisti c a n d m e a ni n gf ul 7 2- h o ur tr e at m e nt pl a ns at o n e pris o n. Th e
     s a m e r e p ort n ot e d t h at a n ot h er pris o n di d n ot h ol d a n y tr e at m e nt
     t e a m m e eti n gs i n t h e crisis- b e d u nit. F urt h er, a s p e ci al m ast er’s
     r e vi e w of i n m at e s ui ci d es t h at o c c urr e d i n t h e s e c o n d h alf of 2 01 2
     d et er mi n e d t h at t h e pris o ns h a d pr o vi d e d i n a d e q u at e 7 2- h o ur
     tr e at m e nt pl a ns f or a b o ut 3 3 p er c e nt of t h e i n m at es w h o c o m mitt e d
     s ui ci d e, w hil e a si mil ar s p e ci al m ast er’s r e vi e w of i n m at e s ui ci d es
     t h at o c c urr e d i n 2 01 4 f o u n d t h at t his n u m b er h a d ris e n t o o v er
     6 5 p er c e nt. Fi n all y, t h e s ui ci d e e x p ert f o u n d c o nti n u e d pr o bl e ms
     wit h t h e a d e q u a c y of tr e at m e nt pl a n ni n g f or p ati e nts i d e nti ﬁ e d
     as s ui ci d al at all 1 8 pris o ns t h at h e r e vi e w e d i n his 2 01 6 r e p ort o n
     s ui ci d e pr e v e nti o n pr a cti c es.

     T o a d dr ess c o n c er ns r el at e d t o tr e at m e nt pl a n ni n g, C orr e cti o ns
     st at e d t h at it i m pl e m e nt e d a n i nt er n al a u dit of t h e q u alit y of
     t h e 7 2- h o ur tr e at m e nt pl a ns b e gi n ni n g i n S e pt e m b er 2 01 3.
     E v er y q u art er, e a c h pris o n m ust a u dit a r a n d o m s a m pl e of 1 5 of its
     7 2- h o ur tr e at m e nt pl a ns p er i nstit uti o n al pr o gr a m, w hi c h i n cl u d es
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                                                         crisis b e ds. I n t h es e a u dits, t h e r e vi e w ers ar e i nstr u ct e d t o e x a mi n e
                                                         1 5 cr u ci al as p e cts of t h e 7 2- h o ur tr e at m e nt pl a ns, i n cl u di n g w h et h er
                                                         t h e i nt er v e nti o ns ar e m e as ur a bl e a n d s p e cif y fr e q u e n c y a n d
                                                         d ur ati o n, as w ell as w h et h er t h e g o als f or t h e i n m at es ar e c orr el at e d
                                                         t o pr o bl e ms a n d i nt er v e nti o ns. A c c or di n g t o C orr e cti o ns’ q u alit y
                                                         a d mi nistr at or, a pl a n m ust m e et 1 3 of t h e 1 5 crit eri a i n or d er f or
                                                         a tr e at m e nt pl a n t o p ass t h e i nt er n al a u dit. S h e als o st at e d t h at if
                                                         t h e a u dits i d e ntif y a s yst e mi c pr o bl e m i n a pr o gr a m or pris o n, t h e
                                                         pris o n m ust w or k wit h C orr e cti o ns’ st a ﬀ t o cr e at e a c orr e cti v e
                                                         a cti o n pl a n t h at t h e pris o n m ust t h e n s u b mit t o C orr e cti o ns.

                                                         Th es e a u dits f o u n d v ar yi n g l e v els of tr e at m e nt pl a n q u alit y
                                                         fr o m 2 01 4 t hr o u g h 2 01 6 at t h e f o ur pris o ns w e r e vi e w e d. A c c or di n g
                                                         t o C orr e cti o ns’ r e p orts, its o v er all m o nt hl y r at e of 7 2- h o ur tr e at m e nt
                                                         pl a ns t h at m et t h e a u dit crit eri a fr o m 2 01 4 t hr o u g h 2 01 5 ﬂ u ct u at e d
                                                         b et w e e n 0 p er c e nt a n d 6 7 p er c e nt, wit h n o tr e at m e nt pl a ns m e eti n g
                                                         t h e a u dit crit eri a f or 1 4 of t h es e 2 4 m o nt hs. A c c or di n g t o t h e q u alit y
                                                         a d mi nistr at or, n o n e of t h e a u dit e d pl a ns m et t h e crit eri a d uri n g
                                                         t h es e m o nt hs b e c a us e t h e a u dits w er e n e w a n d t h e st a n d ar ds w er e
                                                         f airl y hi g h. I n t h e s e c o n d h alf of 2 016, t h e o v er all m o nt hl y r at e of
                                                         tr e at m e nt pl a ns t h at m et a u dit crit eri a ﬂ u ct u at e d fr o m 5 5 p er c e nt
                                                         t o 6 8 p er c e nt. H o w e v er, i n at l e ast o n e m o nt h, all f o ur pris o ns w e
                                                         r e vi e w e d h a d l o w er p er c e nt a g es of tr e at m e nt pl a ns t h at m et t h e
                                                         a u dit crit eri a t h a n C orr e cti o ns’ o v er all r at e. I n f a ct, i n J ul y 2 01 6,
                                                         o nl y 3 3 p er c e nt of S A C’s a u dit e d tr e at m e nt pl a ns m et t h e a u dit
                                                         crit eri a. Th e q u alit y a d mi nistr at or st at e d t h at t h e pris o ns h a v e
                                                         c o nti n u e d t o str u g gl e t o p ass t h e a u dits b e c a us e C orr e cti o ns
                                                         h a d e x a mi n e d o nl y t h e ti m eli n ess of 7 2- h o ur tr e at m e nt pl a ns
                                                         b ef or e 2 01 4. S h e e x pl ai n e d t h at m e nt al h e alt h st a ﬀ s h o ul d n o w
                                                         b e m or e a w ar e of t h e st a n d ar ds as t h e r es ult of s e v er al tr ai ni n gs.
                                                         H o w e v er, C orr e cti o ns h as h a d r e g ul ati o ns i n e ﬀ e ct si n c e 1 9 9 6 t h at
                                                         s p e cif y w h at a 7 2- h o ur tr e at m e nt pl a n s h o ul d i n cl u d e. Th er ef or e,
                                                         C orr e cti o ns’ m e nt al h e alt h st a ﬀ s h o ul d h a v e alr e a d y b e e n a w ar e of
                                                         t h es e r e q uir e m e nts.

                                                         As p art of t his a u dit, w e w er e als o r e q u est e d t o d et er mi n e w h et h er
                                                         CI W all o ws i n m at es i d e nti ﬁ e d as s ui ci d al t o h a v e a c c ess t o i n m at e
     It h a d al w a ys b e e n CI W’s p olic y t o      pr o gr a m a cti viti es or m o v e m e nts, s u c h as y ar d ti m e. Th e c hi ef of
     all o w i n m at es i n crisis b e ds acc ess       m e nt al h e alt h at CI W e x pl ai n e d t h at it h a d al w a ys b e e n CI W’s
     t o y ar d ti m e; h o w e v er, pri or t o t his   p oli c y t o all o w i n m at es i n crisis b e ds a c c ess t o y ar d ti m e; h o w e v er,
     a u dit, pri vil e g es f or i n m at es w o ul d   pri or t o t his a u dit, pri vil e g es f or i n m at es w o ul d o nl y b e d o c u m e nt e d
     o nl y b e d oc u m e nt e d i n tr e at m e nt     i n tr e at m e nt pl a ns if a c c ess t o t h es e pri vil e g es w as r estri ct e d i n a n y
     pl a ns if acc ess t o t h es e pri vil e g es      w a y. H e f urt h er d es cri b e d t h at a n y r e c or ds of y ar d pri vil e g es f or
     w as r estrict e d i n a n y w a y.                 i n m at es i n crisis b e ds w o ul d h a v e b e e n m ai nt ai n e d b y a r e cr e ati o n
                                                         t h er a pist s e p ar at e fr o m t h e tr e at m e nt pl a n; h o w e v er, CI W w as
                                                         u n a bl e t o pr o vi d e t h es e r e c or ds f or t h e si x i n m at es w e r e vi e w e d.
                                                         Th us, w e w er e u n a bl e t o d et er mi n e w h et h er t h es e i n m at es
                                                         h a d a c c ess t o pri vil e g es li k e y ar d ti m e. As a r es ult of o ur a u dit,
                                                         CI W st at e d t h at it h as v er b all y i nstr u ct e d st a ﬀ t o i m pr o v e t h eir
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     d o c u m e nt ati o n r e g ar di n g i n m at e pri vil e g es s u c h as y ar d ti m e b y
     i n di c ati n g i n tr e at m e nt pl a ns w h et h er i n m at es h a v e a c c ess t o s u c h
     pri vil e g es or b y j ustif yi n g w h y t h e i n m at es d o n ot. F urt h er m or e,
     i n r es p o ns e t o t h e s ui ci d e e x p ert’s r e c o m m e n d ati o n, C orr e cti o ns
     u p d at e d its p oli ci es i n J u n e 2 01 6 t o all o w i n m at es i n crisis b e ds t o
     h a v e a c c ess t o p h o n e a n d visit ati o n pri vil e g es e q u al t o t h e pri vil e g es
     t h e i n m at es w o ul d h a v e w h e n n ot i n a crisis b e d — pri vil e g es w hi c h
     i n m at es i n crisis b e ds at CI W w er e pr e vi o usl y n ot all o w e d t o h a v e.

     I n c o n d u cti n g o ur a u dit w or k, w e o bs er v e d t h at s o m e i n m at es f a c e d             I n c o n d ucti n g o ur a u dit w or k, w e
     d el a ys i n b ei n g pl a c e d i n a crisis b e d. S p e ci ﬁ c all y, i n c ert ai n c as es,             o bs er v e d t h at s o m e i n m at es f ac e d
     i n m at es m ust a w ait assi g n m e nt t o crisis b e ds b e c a us e o nl y a li mit e d                  d el a ys i n b ei n g pl ac e d i n a crisis b e d.
     n u m b er of t h es e b e ds ar e a v ail a bl e. C orr e cti o ns’ p oli ci es r e q uir e
     t h at i n m at es a w aiti n g crisis b e ds b e assi g n e d t o alt er n ati v e h o usi n g,
     w hi c h is m e a nt t o b e s h ort-t er m a n d c a n i n cl u d e l ar g e h ol di n g c ells
     or ot h er h o usi n g w h er e c o m pl et e a n d c o nst a nt visi bilit y c a n b e
     m ai nt ai n e d. I n m at es m ust b e tr a nsf err e d o ut of alt er n ati v e h o usi n g
     wit hi n 2 4 h o urs a n d, a c c or di n g t o C C W F’s c hi ef of m e nt al h e alt h,
     alt er n ati v e h o usi n g s h o ul d pr o vi d e a crisis- b e d l e v el of c ar e. Th us,
     w e e x p e ct e d t h at i n m at es w h o r e m ai n i n alt er n ati v e h o usi n g f or
     m or e t h a n 2 4 h o urs w o ul d r e c ei v e t h e s a m e d o c u m e nt ati o n of
     c ar e as i n m at es i n crisis b e ds, i n cl u di n g i niti al a n d —if n e c ess ar y —
     7 2- h o ur tr e at m e nt pl a ns. H o w e v er, C orr e cti o ns’ cli ni c al s u p p ort
     c hi ef f or m e nt al h e alt h st at e d t h at m e nt al h e alt h st a ﬀ c o m pl et e
     tr e at m e nt pl a ns w h e n i n m at es e nt er a n e w l e v el of c ar e a n d t h at
     alt er n ati v e h o usi n g is a t e m p or ar y pl a c e m e nt r at h er t h a n a l e v el of
     c ar e. S h e e x pl ai n e d t h at c o m pl eti n g tr e at m e nt pl a ns f or i n m at es i n
     alt er n ati v e h o usi n g is n ot pr a cti c al f or v ari o us r e as o ns, i n cl u di n g
     t h at m ost alt er n ati v e h o usi n g s etti n gs l a c k s p a c e t o c o n d u ct
     c o n ﬁ d e nti al tr e at m e nt pl a n m e eti n gs a n d n ot all m e m b ers of t h e
     tr e at m e nt t e a m ar e r e q uir e d t o s e e i n m at es i n alt er n ati v e h o usi n g.
     S h e als o st at e d t h at i n m at es r e c ei v e t h eir st a n d ar d m e di c ati o ns
     w hil e i n alt er n ati v e h o usi n g a n d t h at ps y c hi atrists c a n or d er
     a d diti o n al m e di c ati o n as n e c ess ar y. Alt h o u g h t h es e e x pl a n ati o ns
     a p p e ar t o b e r e as o n a bl e, w e r e m ai n c o n c er n e d t h at C orr e cti o ns h as
     n ot al w a ys tr a nsf err e d i n m at es o ut of alt er n ati v e h o usi n g wit hi n
     2 4 h o urs.

     F or e x a m pl e, i n a 2 01 6 m o nit ori n g r e p ort, t h e s p e ci al m ast er
     f o u n d t h at 4 7 p er c e nt of CI W’s alt er n ati v e h o usi n g st a ys a n d
     3 6 p er c e nt of RJ D’s alt er n ati v e h o usi n g st a ys d uri n g t h e r e vi e w
     p eri o d e x c e e d e d 2 4 h o urs. O ur ﬁ n di n gs ar e si mil ar t o t h os e of t h e
     s p e ci al m ast er. S p e ci ﬁ c all y, 1 0 of 4 0 i n m at es w e r e vi e w e d r e m ai n e d
     i n alt er n ati v e h o usi n g f or m or e t h a n 2 4 h o urs. F or i nst a n c e,
     o n e i n m at e w as i n alt er n ati v e h o usi n g f or a p pr o xi m at el y si x d a ys
     f oll o wi n g a s ui ci d e att e m pt b ef or e b ei n g a d mitt e d t o a crisis b e d.
     B e c a us e s h e w as dis c h ar g e d fr o m t h e crisis b e d a b o ut s e v e n d a ys
     aft er h er a d missi o n, n e arl y h alf of h er ti m e at a crisis- b e d l e v el of
     c ar e w as s p e nt i n alt er n ati v e h o usi n g. Of e v e n gr e at er c o n c er n,
30          C alifCase
                  or ni a St at2:90-cv-00520-KJM-SCR
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            A u g u st 2 0 1 7




     T w o i n m at es assi g n e d t o alt er n ati v e   t w o i n m at es assi g n e d t o alt er n ati v e h o usi n g ulti m at el y c o m mitt e d
     h o usi n g ulti m at el y c o m mitt e d             s ui ci d e aft er n ot b ei n g a d mitt e d t o crisis b e ds b as e d o n t h e m e nt al
     s uici d e aft er n ot b ei n g a d mitt e d          h e alt h st a ﬀ’s ass ess m e nts of t h eir m e nt al h e alt h. B ot h of t h es e
     t o crisis b e ds b as e d o n t h e m e nt al        i n m at es c o m mitt e d s ui ci d e wit hi n t w o w e e ks of dis c h ar g e fr o m
     h e alt h st a ﬀ’s ass ess m e nts of t h eir         alt er n ati v e h o usi n g.
     m e nt al h e alt h.
                                                           I n or d er t o a d dr ess t h e f a ct t h at s o m e i n m at es s p e n d m or e t h a n
                                                           2 4 h o urs i n alt er n ati v e h o usi n g w hil e w aiti n g t o tr a nsf er t o a crisis
                                                           b e d, C orr e cti o ns s u b mitt e d a b u d g et c h a n g e pr o p os al f or t h e
                                                           2 01 7 –1 8 ﬁs c al y e ar, r e q u esti n g t h e c o nstr u cti o n of 1 0 0 n e w crisis
                                                           b e ds. It is C orr e cti o ns’ b eli ef t h at a d di n g a d diti o n al crisis b e ds will
                                                           h el p all e vi at e t h e iss u e of i n m at es s p e n di n g m or e t h a n 2 4 h o urs i n
                                                           alt er n ati v e h o usi n g, b e c a us e m a n y of t h e i n m at es t h at s p e n d m or e
                                                           t h a n 2 4 h o urs i n alt er n ati v e h o usi n g d o s o b e c a us e n o crisis b e ds
                                                           ar e a v ail a bl e. Th e L e gisl at ur e a p pr o v e d C orr e cti o ns’ r e q u est f or
                                                           1 0 0 n e w crisis b e ds i n its 2 01 7 –1 8 b u d g et. A c c or di n g t o t h e d e p ut y
                                                           dir e ct or of t h e st at e wi d e m e nt al h e alt h pr o gr a m, t h e 1 0 0 crisis b e ds
                                                           s h o ul d b e s u ﬃ ci e nt; h o w e v er, s u ﬃ ci e n c y ass u m es t h at t h e n e e ds
                                                           of C orr e cti o ns’ i n m at e p o p ul ati o n will n ot c h a n g e i n w a ys t h at will
                                                           r e q uir e a d diti o n al crisis b e ds. Als o, C orr e cti o ns h as t h e a bilit y t o
                                                           m o nit or alt er n ati v e h o usi n g st a ys t h at e x c e e d 2 4 h o urs as a p art of
                                                           its a u dit pr o c ess, w hi c h w e dis c uss i n C h a pt er 3.


                                                           Pris o n St a ﬀ Di d N ot S u ﬃ ci e ntl y M o nit or At- Ris k I n m at es or R es p o n d
                                                           t o S ui ci d e Att e m pts as C orr e cti o ns’ P oli ci es R e q uir e

                                                           At all f o ur pris o ns w e r e vi e w e d, w e o bs er v e d d e ﬁ ci e n ci es i n t h e
                                                           pris o ns’ e ﬀ orts t o m o nit or i n m at es w h o w er e at ris k of c o m mitti n g
                                                           s ui ci d e. St a ﬀ at e a c h of t h e f o ur pris o ns f ail e d t o a p pr o pri at el y
                                                           o bs er v e i n m at es wit hi n t h e r e q uir e d ti m e i nt er v al, gi vi n g i n m at es
                                                           gr e at er o p p ort u niti es t o i nj ur e t h e ms el v es wit h p ot e nti all y l et h al
                                                           r es ults. F urt h er, w e f o u n d i nst a n c es w h er e pris o n st a ﬀ pr e ﬁll e d
                                                           o bs er v ati o n l o gs a n d di d n ot st a g g er t h e ti mi n g of c h e c ks. I n
                                                           a d diti o n, C orr e cti o ns h as d et er mi n e d t h at pris o n st a ﬀ di d n ot
                                                           al w a ys r es p o n d a p pr o pri at el y u p o n dis c o v eri n g t h at i n m at es h a d
                                                           att e m pt e d t o c o m mit s ui ci d e. S p e ci ﬁ c all y, C orr e cti o ns’ r e vi e ws of
                                                           i n m at e s ui ci d es f o u n d t h at pris o n st a ﬀ s o m eti m es f ail e d t o bri n g
                                                           r e q uir e d lif e-s a vi n g e q ui p m e nt t o t h e s c e n e, di d n ot a p pr o pri at el y
                                                           r eli e v e pr ess ur e o n t hr e e h a n g e d i n m at es’ air w a ys, a n d di d
                                                           n ot al w a ys pr o m ptl y s u m m o n m e di c al r es p o n d ers. Alt h o u g h
                                                           C orr e cti o ns a gr e e d t h at t h es e iss u es ar e pr o bl e m ati c, it h as o nl y
                                                           r e c e ntl y t a k e n st e ps t o a d dr ess t h e m.
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     Pris o n St a ﬀ Di d N ot Al w a ys M o nit or I n m at es at Hi g h Ris k of S uici d e as
     C orr ecti o ns’ P olici es R e q uir e

     O ur r e vi e w f o u n d t h at t h e f o ur pris o ns h a v e n ot
     al w a ys p erf or m e d ti m el y a n d a p pr o pri at e c h e c ks
     of i n m at es pl a c e d o n s ui ci d e pr e c a uti o n. As t h e
                                                                                                  S ui ci d e W at c h a n d S ui ci d e Pr e c a uti o n
     t e xt b o x s h o ws, C orr e cti o ns h as est a blis h e d s p e ci ﬁ c
     p oli ci es f or m o nit ori n g i n m at es at ris k of s ui ci d e,             W h e n i n m at es ar e i n crisis b e ds b ec a us e of s uici d e risk a n d
     d e p e n di n g o n w h et h er t h e y ar e i n i m m e di at e                 ar e i n i m m e di at e d a n g er of s elf- h ar m, t h e y ar e pl ac e d o n
     d a n g er of s elf- h ar m. B e c a us e s ui ci d e w at c h e nt ails          s uici d e w atc h, w hic h e nt ails t h e f oll o wi n g:
     c o nti n u o us, dir e ct vis u al o bs er v ati o n of i n m at es, w e            • T h e y ar e all o w e d o nl y a n o-t e ar s m ock or g o w n, a
     c o ul d n ot c o n ﬁr m t hr o u g h a r e vi e w of w at c h l o gs                  s af et y m attr ess, a n d a n o-t e ar bl a nk et. All f ur nit ur e
     w h et h er t his t y p e of o bs er v ati o n o c c urr e d. I nst e a d,             is r e m o v e d.
     w e f o c us e d o ur r e vi e w o n s ui ci d e pr e c a uti o n l o gs,
                                                                                          • St a ﬀ m ust pr o vi d e c o nti n u o us, dir ect vis u al
     w hi c h i n di c at e w h e n pris o n st a ﬀ c o n d u ct e d t h eir
                                                                                            o bs er v ati o n as w ell as n ursi n g c h ecks e v er y
     st a g g er e d b e h a vi or c h e c ks of i n m at es. C orr e cti o ns’
                                                                                            1 5 mi n ut es.
     p oli c y r e q uir es pris o n st a ﬀ t o st a g g er t h eir b e h a vi or
     c h e c ks of i n m at es o n s ui ci d e pr e c a uti o n i n i nt er v als      W h e n i n m at es ar e i n crisis b e ds b ec a us e of a hi g h risk of
     n ot t o e x c e e d 15 mi n ut es. A c c or di n g t o t h e c hi ef             att e m pti n g s elf- h ar m b ut ar e n ot i n i m m e di at e d a n g er,
     n ursi n g e x e c uti v e at C C W F, t h e p ur p os e of                       t h e y ar e pl ac e d o n s uici d e pr ec a uti o n, w hic h e nt ails
                                                                                       t h e f oll o wi n g:
     st a g g eri n g b e h a vi or c h e c ks is t o e ns ur e t h at i n m at es
     ar e n ot a bl e t o a nti ci p at e w h e n c h e c ks will o c c ur a n d          • If t h e y ar e at hi g h er risk, t h e y ar e all o w e d o nl y a
     h urt t h e ms el v es b et w e e n c h e c ks. N o n et h el ess, t h e               n o-t e ar s m ock or g o w n, a s af et y m attr ess, a n d
     r e c or ds f or 1 9 o ut of 2 5 i n m at es w e r e vi e w e d w h o                  a n o-t e ar bl a nk et. If t h e y ar e at l o w er risk, t h e y
     w er e pl a c e d o n s ui ci d e pr e c a uti o n i n di c at e d t h e y             ar e all o w e d c ert ai n cl ot hi n g, r e a di n g a n d writi n g
     di d n ot al w a ys r e c ei v e st a g g er e d b e h a vi or c h e c ks.             m at eri als, a n d t oil etri es. M e nt al h e alt h st a ﬀ m ust
                                                                                            us e t h eir cli nic al j u d g m e nt w h e n all o wi n g i n m at es
     Ta bl e 5 o n t h e f oll o wi n g p a g e pr es e nts t h e pr o bl e ms
                                                                                            acc ess t o t h es e it e ms.
     w e i d e nti ﬁ e d wit h s ui ci d e pr e c a uti o n c h e c ks at t h e
     f o ur pris o ns w e r e vi e w e d. W h e n pris o n st a ﬀ d o                     • St a ﬀ m ust c o n d uct st a g g er e d b e h a vi or c h ecks of t h e
     n ot st a g g er t h e ti mi n g of t h eir b e h a vi or c h e c ks of                i n m at e i n i nt er v als n ot t o exc e e d 1 5 mi n ut es.
     i n m at es o n s ui ci d e pr e c a uti o n, t h e y i n cr e as e t h e
                                                                                       S o urc e: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e.
     ris k t h at i n m at es will b e a bl e t o i nj ur e t h e ms el v es,
     p er h a ps f at all y.

     Ta bl e 5 o n t h e f oll o wi n g p a g e s h o ws t h at t h e pris o ns w e r e vi e w e d
     di d n ot al w a ys c o n d u ct s ui ci d e pr e c a uti o n b e h a vi or c h e c ks i n a
     ti m el y m a n n er a n d t h at, f or s e v er al i n m at es, pris o n st a ﬀ pr e ﬁll e d
     or pr e pri nt e d t h e o bs er v ati o n l o gs. All f o ur pris o ns e x c e e d e d t h e
     m a xi m u m r e q uir e m e nt of 1 5- mi n ut e i nt er v als b et w e e n c h e c ks f or
     s o m e i n m at es, wit h s e v er al i nt er v als at S A C a n d C C W F e x c e e di n g
     2 0 mi n ut es. I n o n e p arti c ul arl y e gr e gi o us e x a m pl e, pris o n st a ﬀ at
     C C W F c h e c k e d o n a n i n m at e o n s ui ci d e pr e c a uti o n 9 0 ti m es, b ut
     e x c e e d e d 1 5 mi n ut es b et w e e n c h e c ks m or e t h a n 3 5 ti m es, wit h
     o n e g a p l asti n g l o n g er t h a n o n e h o ur. F urt h er, w e f o u n d t h at st a ﬀ
     a p p e ar e d t o pr e ﬁll ti m es f or c h e c ks o n o bs er v ati o n l o gs f or ei g ht of
     t h e 1 9 i n m at es o n s ui ci d e pr e c a uti o n t h at w e r e vi e w e d i n pris o ns
     t h at us e d p a p er l o gs, r at h er t h a n el e ctr o ni c l o gs. F or e x a m pl e, w e
     f o u n d s e v er al i nst a n c es of l o gs wit h pr e pri nt e d o bs er v ati o n ti m es
     f or t hr e e i n m at es o n s ui ci d e pr e c a uti o n w h o r e q uir e d st a g g er e d
32            C alifCase
                    or ni a St at2:90-cv-00520-KJM-SCR
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              A u g u st 2 0 1 7




                                                                                   c h e c ks. We als o i d e nti ﬁ e d l o gs t h at list e d o bs er v ati o n ti m es aft er
                                                                                   i n m at es h a d b e e n dis c h ar g e d, s u g g esti n g t h e l o gs w er e pr e ﬁll e d.
                                                                                   This str o n gl y s u g g ests t h at st a ﬀ m a y n ot h a v e a ct u all y c o n d u ct e d
                                                                                   vis u al o bs er v ati o n at t h e ti m es t h e l o gs i n di c at e, a n d m a y n ot h a v e
                                                                                   c o n d u ct e d t h e o bs er v ati o ns at all.


     T a bl e 5
     Pr o bl e ms Wit h M o nit ori n g of I n m at es o n S ui ci d e Pr e c a uti o n at t h e F o ur Pris o ns W e R e vi e w e d

                                                                                                                                                                                                         T OT AL N U M BE R OF
                                                                                                                                                                              N U M BE R OF            S UI CI D E P R E C A U TI O N
                                                                                                                                                                        I N M A T E S WI T H L O G S    R E C O R D S R E VI E W E D
                                                                                                               I N M A T E S O N S UI CI D E P R E C A U TI O N W H O
                                                                                                                                                                          N OT C O M PLETE D            T H AT H A D AT L E A S T
                                                      I N M A T E S O N S UI CI D E P R E C A U TI O N W H O      R E C EI V E D C H E C K S WI T H I N T E R V A L S
                     N U M B E R O FI N M AT E S                                                                                                                           A P P R O P RI A T E L Y      O NE OF T HEISS UES
                                                       DI D N O T R E C EI V E S T A G G E R E D C H E C K S            G R E A T E R T H A N 1 5 MI N U T E S
                           O UT OF 10 O N                                                                                                                                   I. E. P R E FI L L E D          I D E N TI FI E D I N
        P RI S O N   S UI CI D E P R E C A U TI O N        N U M BE R                  PE RCE NTA GE                N U M BE R                  PE RCE NTA GE             O R P R E P RI N T E D              T HI S T A B L E

       C C W F*                     7                            6                            86 %                        6                            86 %                          2*                               7
       CI W *                       7                            6                            86                          2                            29                            1*                               6
       RJ D                         5                            4                            80                          4                            80                            2                                5
       SAC                          6                            3                            50                          5                            83                            3                                6
          T ot als                25                           19                             76 %                      17                             68 %                         8                               24



     S o urc es: C alif or ni a St at e A u dit or’s r e vi e w a n d a n al ysis of h e alt h r e c or ds f or 1 0 i n m at es at e a c h of t h e f o ur pris o ns, C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e,
     a n d C orr e cti o ns’ ot h er p oli ci es.
     * C C W F a n d CI W tr a nsiti o n e d t o a n el e ctr o ni c h e alt h r e c or d s yst e m i n O ct o b er 2 0 1 5, a n d s ui ci d e pr e c a uti o n c h e c ks ar e n o w r e c or d e d el e ctr o ni c all y
         i n t his s yst e m. T h er ef or e, w e c o ul d o nl y t est f or pr e ﬁlli n g/ pr e pri nti n g f or f o ur of t h e s e v e n i n m at es o n s ui ci d e pr e c a uti o n at C C W F a n d si x of t h e
         s e v e n i n m at es o n s ui ci d e pr e c a uti o n at CI W.




                                                                                   O ﬃ ci als at t h e f o ur pris o ns a gr e e d t h at s ui ci d e pr e c a uti o n
                                                                                   o bs er v ati o ns h a v e b e e n pr o bl e m ati c. Th e c hi ef of m e nt al h e alt h at
                                                                                   C C W F st at e d t h at c h e c ks mi g ht h a v e b e e n l at e or n ot a p pr o pri at el y
                                                                                   st a g g er e d i n t h e p ast b e c a us e st a ﬀ di d n ot u n d erst a n d h o w t o
                                                                                   i m pl e m e nt st a g g er e d c h e c ks. S h e als o e x pl ai n e d t h at st a ﬀ s hift
                                                                                   c h a n g es c a n c a us e i nt er v als b et w e e n c h e c ks t h at e x c e e d 1 5 mi n ut es
                                                                                   a n d t h at st a ﬀ ar e s o m eti m es u n a bl e t o c o n d u ct c h e c ks at t h e
                                                                                   r e q uir e d ti m es b e c a us e t h e y ar e e n g a g e d wit h ot h er i n m at es.
                                                                                   Pris o n st a ﬀ at S A C i n di c at e d t h at t h e pris o n us e d pr e pri nt e d f or ms
                                                                                   i n t h e p ast t o h el p n urs es st a g g er t h eir c h e c ks b ut st o p p e d t his
                                                                                   pr a cti c e aft er t h e s ui ci d e e x p ert’s 2 01 5 r e p ort st at e d t h at t h e y w er e
                                                                                   i n a p pr o pri at e. F urt h er, t h e y e x pl ai n e d t h at S A C n o w c o n d u cts s p ot
                                                                                   c h e c ks of its s ui ci d e pr e c a uti o n l o gs.

                                                                                   Alt h o u g h pris o n o ﬃ ci als i n di c at e d t h e i m pl e m e nt ati o n of
                                                                                   C orr e cti o ns’ n e w el e ctr o ni c h e alt h r e c or d s yst e m s h o ul d r e d u c e
                                                                                   s o m e of t h e iss u es w e f o u n d, w e still i d e nti ﬁ e d pr o bl e ms i n
                                                                                   t h e pris o ns t h at h a v e i m pl e m e nt e d t h e s yst e m. A c c or di n g t o
                                                                                   C orr e cti o ns’ J a n u ar y 2 01 6 r e p ort titl e d A n U p d at e t o t h e F ut ur e of
                                                                                   C alif or ni a C orr e cti o ns , t h e el e ctr o ni c h e alt h r e c or d s yst e m all o ws
                                                                                   pr o vi d ers t o m or e e ﬃ ci e ntl y pr es cri b e tr e at m e nt, m ai nt ai n or
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     str e n gt h e n c o nti n uit y of c ar e, w or k c o h esi v el y wit h ot h er tr e at m e nt
     t e a m m e m b ers, a n d m o nit or i n m at e pr o gr ess. B ot h C C W F
     a n d CI W i m pl e m e nt e d t h e s yst e m i n O ct o b er 2 01 5, w h er e as
     C orr e cti o ns’ r e m ai ni n g pris o ns ar e i n v ari o us st a g es of tr a nsiti o ni n g
     t o t h e n e w s yst e m, wit h C orr e cti o ns esti m ati n g t h at all pris o ns
     will h a v e i m pl e m e nt e d it b y O ct o b er 2 01 7. Pris o n o ﬃ ci als at
     C C W F a n d CI W i n di c at e d t h at t h e s hift t o t h e n e w s yst e m h as
     i m pr o v e d c o m pli a n c e wit h t h eir m o nit ori n g of s ui ci d al i n m at es
     b e c a us e pr o vi d ers c a n or d er t h e b e h a vi or c h e c ks a n d s et w h e n
     t h e y ar e d u e. H o w e v er, w e still f o u n d i nst a n c es i n w hi c h st a ﬀ di d
     n ot st a g g er b e h a vi or c h e c ks aft er CI W a n d C C W F i m pl e m e nt e d
     t h e s yst e m, a n d t h e c h e c ks c o nti n u e d t o o c c ur at pr e di ct a bl e
     i nt er v als. C orr e cti o ns’ c hi ef ps y c h ol o gist of q u alit y m a n a g e m e nt
     a n d i nf or m ati cs ass ert e d t h at h e b eli e v e d it is di ﬃ c ult i n pr a cti c e
     f or m e nt al h e alt h st a ﬀ t o m e nt all y tr a c k e v er y p ati e nt t h e y ar e
     m o nit ori n g a n d pl a n t o st a g g er t h e b e h a vi or c h e c ks. Th e c o nti n u e d
     pr o bl e ms w e o bs er v e d wit h st a g g eri n g b e h a vi or c h e c ks s u g g est t h at
     C orr e cti o ns n e e ds t o i n cr e as e tr ai ni n g f or m e nt al h e alt h st a ﬀ o n
     h o w t o pr o p erl y st a g g er s u c h c h e c ks.

     A d diti o n all y, o ut of t h e f o ur pris o ns w e r e vi e w e d, S A C a n d RJ D di d                                                     O ut of t h e f o ur pris o ns w e r e vi e w e d,
     n ot r e g ul arl y c h e c k o n t h e w elf ar e of i n m at es i n c ert ai n h o usi n g                                                     S A C a n d RJ D di d n ot r e g ul arl y
     u nits as r e q uir e d b y C orr e cti o ns’ p oli ci es. Th e p oli ci es r e q uir e t h at                                                   c h ec k o n t h e w elf ar e of i n m at es i n
     pris o n st a ﬀ r e g ul arl y o bs er v e all i n m at es pl a c e d i n c ert ai n h o usi n g                                                 c ert ai n h o usi n g u nits as r e q uir e d b y
     u nits. 4 Th es e c h e c ks, k n o w n as s e c urit y w elf ar e c h e c ks, s h o ul d                                                        C orr ecti o ns’ p olici es.
     o c c ur at st a g g er e d i nt er v als t wi c e a n h o ur, wit h t h e i nt er v als n ot
     e x c e e di n g 3 5 mi n ut es. H o w e v er, t h e s e c urit y w elf ar e c h e c k d at a
     s h o w t h at S A C a n d RJ D di d n ot c o n d u ct t h es e c h e c ks as r e q uir e d.
     F or e x a m pl e, f o ur of t h e 1 0 i n m at es w e r e vi e w e d at S A C w er e
     i n s e gr e g at e d h o usi n g u nits, y et n o n e a p p e ar e d t o h a v e r e c ei v e d
     ti m el y s e c urit y w elf ar e c h e c ks o n t h e d a ys t h e y eit h er c o m mitt e d
     or att e m pt e d t o c o m mit s ui ci d e. F or o n e of t h es e i n m at es, S A C
     c o ul d n ot pr o vi d e a n y e vi d e n c e d e m o nstr ati n g t h e w elf ar e c h e c ks
     o c c urr e d at all. F or a n ot h er i n m at e, t h e s e c urit y w elf ar e c h e c k l o g
     s h o ws s o m e i nt er v als b et w e e n c h e c ks w er e l o n g er t h a n a n h o ur o n
     t h e d a y t h e i n m at e c o m mitt e d s ui ci d e. A c c or di n g t o a C orr e cti o ns’
     s ui ci d e r e p ort, w h e n st a ﬀ dis c o v er e d t h e i n m at e’s b o d y, m or e t h a n
     5 0 mi n ut es h a d el a ps e d si n c e t h e l ast c h e c k. As t h es e e x a m pl es
     cl e arl y s h o w, w h e n t h e y d o n ot c h e c k o n i n m at es as r e q uir e d,
     pris o n st a ﬀ m a y miss o p p ort u niti es t o pr e v e nt i n m at es fr o m
     i nj uri n g t h e ms el v es or att e m pti n g t o c o m mit s ui ci d e.

     Alt h o u g h C orr e cti o ns h as r e c e ntl y t a k e n st e ps t o e ns ur e t h at
     pris o ns c o m pl y wit h t h e s ui ci d e pr e c a uti o n a n d s e c urit y w elf ar e
     c h e c k p oli ci es, it is t o o s o o n t o d et er mi n e t h e e ﬀ e cti v e n ess of


     4   I n m at es m a y b e r e m o v e d fr o m a pris o n’s g e n er al p o p ul ati o n a n d pl a c e d i n s e gr e g at e d h o usi n g
         f or v ari o us r e as o ns, i n cl u di n g t h at t h e y p os e a n i m m e di at e t hr e at t o t h e s af et y of ot h ers.
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                                                          t h es e a cti o ns. I n p arti c ul ar, t h e s ui ci d e e x p ert r e c o m m e n d e d i n his
                                                          J a n u ar y 2 01 5 r e p ort t h at C orr e cti o ns e nf or c e its p oli ci es r e g ar di n g
                                                          b e h a vi or c h e c ks at st a g g er e d i nt er v als n ot t o e x c e e d 1 5 mi n ut es
                                                          b et w e e n c h e c ks f or i n m at es o n s ui ci d e pr e c a uti o n. I n r es p o ns e
                                                          t o t his r e c o m m e n d ati o n, C orr e cti o ns iss u e d a m e m or a n d u m i n
                                                          M ar c h 2 01 6 r eit er ati n g p oli ci es f or i n m at es pl a c e d i n crisis b e ds,
                                                          i n cl u di n g t h e r e q uir e m e nts f or o bs er vi n g i n m at es o n s ui ci d e
                                                          pr e c a uti o n. A d diti o n all y, C orr e cti o ns’ q u alit y a d mi nistr at or
                                                          e x pl ai n e d t h at it is d e v el o pi n g a n a u dit pr o c ess t h at it pl a ns t o
                                                          i m pl e m e nt st at e wi d e f or r e vi e wi n g pris o ns’ c o m pli a n c e wit h its
                                                          p oli ci es a n d pr o c e d ur es. C orr e cti o ns’ r e gi o n al t e a ms will c o n d u ct
                                                          t his pr o c ess, a n d it will i n cl u d e a r e vi e w of s ui ci d e pr e c a uti o n l o gs
                                                          a n d s e c urit y w elf ar e c h e c k l o gs. We d es cri b e t his a u dit pr o c ess i n
                                                          m or e d et ail i n C h a pt er 3. F urt h er, s h e i n di c at e d t h at as p art of t his
                                                          a u dit pr o c ess, C orr e cti o ns is d e v el o pi n g a ut o m at e d m o nit ori n g
                                                          of s ui ci d e pr e c a uti o n c h e c ks i n its el e ctr o ni c h e alt h r e c or d s yst e m
                                                          t o e ns ur e c o m pli a n c e wit h C orr e cti o ns’ p oli ci es. H o w e v er, si n c e
                                                          C orr e cti o ns h as n ot y et ﬁ n ali z e d its d e v el o p m e nt of t h e a u dit
                                                          pr o c ess, i n cl u di n g t h e a ut o m at e d m o nit ori n g, it is t o o e arl y t o
                                                          d et er mi n e its e ﬀ e cti v e n ess.

     W e f o u n d t h at m e nt al h e alt h st a ﬀ at   Fi n all y, w e f o u n d t h at m e nt al h e alt h st a ﬀ at C C W F, RJ D, a n d CI W
     C C W F, RJ D, a n d CI W di d n ot al w a ys        di d n ot al w a ys m a k e r e q uir e d d ail y pr o gr ess n ot es f or i n m at es i n
     m a k e r e q uir e d d ail y pr o gr ess n ot es    crisis b e ds. C orr e cti o ns’ p oli ci es r e q uir e m e nt al h e alt h st a ﬀ t o
     f or i n m at es i n crisis b e ds.                  ass ess a n d m o nit or o n a d ail y b asis t h e c o n diti o n of i n m at es w h o
                                                          ar e i n crisis b e ds. A c c or di n g t o t h e p oli ci es, m e nt al h e alt h st a ﬀ
                                                          m ust d o c u m e nt t h es e d ail y c o nt a cts wit hi n 2 4 h o urs. H o w e v er,
                                                          f o ur i n m at es w e r e vi e w e d at C C W F, t w o i n m at es at RJ D, a n d
                                                          t w o i n m at es at CI W di d n ot r e c ei v e d ail y pr o gr ess n ot es f or at
                                                          l e ast o n e d a y w hil e i n crisis b e ds. Wit h o ut t h es e n ot es, pris o n
                                                          st a ﬀ ar e hi n d er e d i n t h eir a bilit y t o ass ess i n m at es’ pr o gr ess a n d
                                                          d et er mi n e w h et h er t h e y s h o ul d b e eit h er dis c h ar g e d or r ef err e d
                                                          t o a hi g h er l e v el of c ar e. F or e x a m pl e, a n i n m at e at C C W F s p e nt
                                                          o v er 2 0 d a ys i n a crisis b e d b ef or e s h e w as dis c h ar g e d — m or e t h a n
                                                          t wi c e as l o n g as C orr e cti o ns’ p oli ci es s p e cif y — y et s h e di d n ot
                                                          r e c ei v e pr o gr ess n ot es f or s e v er al of t h e a d diti o n al d a ys. H a d st a ﬀ
                                                          c o m pl et e d t h e d ail y pr o gr ess n ot es, t his i n m at e mi g ht h a v e r e c ei v e d
                                                          t h e tr e at m e nt s h e n e e d e d i n a ti m eli er m a n n er. Th e c hi ef of m e nt al
                                                          h e alt h at C C W F c o ul d n ot e x pl ai n w h y st a ﬀ di d n ot m a k e t h es e
                                                          pr o gr ess n ot es. Th e q u alit y a d mi nistr at or st at e d t h at C orr e cti o ns
                                                          d o es n ot c urr e ntl y m o nit or pris o ns’ c o m pli a n c e wit h r e q uir e m e nts
                                                          f or d ail y pr o gr ess n ot es f or i n m at es i n crisis b e ds b ut is o p e n t o
                                                          i n c or p or ati n g s u c h m o nit ori n g i nt o its a u dit pr o c ess o n c e all
                                                          pris o ns h a v e tr a nsiti o n e d t o t h e el e ctr o ni c h e alt h r e c or d s yst e m i n
                                                          O ct o b er 2 01 7.
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     C orr ecti o ns’ S uici d e R e p orts Ar e N ot Al w a ys Ti m el y a n d H a v e I d e nti ﬁ e d
     V ari o us C o nc er ns R e g ar di n g Pris o ns’ C o m pli a nc e Wit h E m er g e nc y
     R es p o ns e R e q uir e m e nts

     O n e of t h e e x p erts e n g a g e d b y t h e s p e ci al m ast er n ot e d t h at t h e
     s ui ci d e r e vi e w pr o c ess a n d t h e iss u a n c e of s ui ci d e r e p orts o n
     e a c h i n m at e s ui ci d e is o n e of t h e str e n gt hs of C orr e cti o ns’ s ui ci d e
     pr e v e nti o n pr o gr a m. H o w e v er, of t h e 1 6 s ui ci d e r e p orts t h at w e
     r e vi e w e d, C orr e cti o ns c o m pl et e d ni n e l at er t h a n t h e 6 0 d a ys
     f oll o wi n g a s ui ci d e t h at its p oli c y r e q uir es. I n t w o i nst a n c es,
     C orr e cti o ns t o o k 1 3 7 d a ys t o c o m pl et e a r e p ort — m or e t h a n d o u bl e
     t h e ti m eli n e est a blis h e d i n its p oli ci es. C orr e cti o ns’ cli ni c al s u p p ort
     c hi ef attri b ut e d t w o of t h e l at e r e p orts t o a s h ort a g e of r es o ur c es
     c a us e d b y a l ar g e n u m b er of s ui ci d es t h at o c c urr e d o v er a s h ort
     ti m e fr a m e, w hil e s h e e x pl ai n e d t h at s e v er al ot h ers w er e l at e
     d u e t o t h e c o m pl e xiti es of t h e n e c ess ar y r e vi e ws. H o w e v er, s h e
     st at e d t h at d el a ys i n c o m pl eti n g a s ui ci d e r e p ort w o ul d n ot d el a y
     C orr e cti o ns fr o m i nf or mi n g a pris o n of a n ur g e nt pr o bl e m t h at
     n e e d e d i m m e di at e att e nti o n; i n s u c h c as es, w hil e r e vi e w ers ar e still
     o n-sit e, t h e y w o ul d i nf or m t h e pris o n of t h e iss u e. N e v ert h el ess,
     w e b eli e v e t h at it is criti c al t h at C orr e cti o ns c o m pl et e t h es e r e p orts
     as e x p e diti o usl y as p ossi bl e b e c a us e t h e y ar e a cr u ci al t o ol f or
     i d e ntif yi n g pr o bl e ms wit h t h e pris o ns’ cli ni c al c ar e a n d c o m pli a n c e
     wit h p oli ci es a n d pr o c e d ur es, i n cl u di n g t h eir e m er g e n c y r es p o ns es
     t o s ui ci d es.

     I n f a ct, s e v er al s ui ci d e r e p orts w e r e vi e w e d i d e nti ﬁ e d
     t h at pris o n st a ﬀ h a v e n ot al w a ys c o m pli e d wit h                                        C o nt e nts of a C ut- D o w n Kit
     C orr e cti o ns’ r e q uir e m e nts a n d st at e r e g ul ati o ns f or
                                                                                         A c ut- d o w n kit m ust b e k e pt i n a l ock a bl e m et al b ox
     h o w t o r es p o n d t o s ui ci d e att e m pts. F or i nst a n c e,
                                                                                         m ai nt ai n e d wit hi n e ac h h o usi n g u nit a n d m ust c o nt ai n
     st at e r e g ul ati o ns a n d C orr e cti o ns’ p oli c y r e q uir e             t h e f oll o wi n g:
     t h at a c ut- d o w n kit b e i m m e di at el y a c c essi bl e i n
     e a c h h o usi n g u nit of a pris o n a n d t h at st a ﬀ us e t h e                  • A n i n v e nt or y list a ﬃx e d t o t h e i nsi d e of t h e
     kit i n c as es of att e m pt e d h a n gi n gs. Th e t e xt b o x                          b ox d o or.
     lists t h e c ut- d o w n kit’s r e q uir e d c o nt e nts —s e v er al                 • O n e e m er g e nc y c ut- d o w n t o ol.
     of w hi c h c a n b e us e d t o pr o vi d e lif e-s u p p ort c ar e or
                                                                                             • O n e si n gl e p ati e nt us e r es uscit at or.
     cl e ar a n o bstr u cti o n t o a n air w a y — w hi c h
     C orr e cti o ns h as i d e nti ﬁ e d as b ei n g criti c al t o s a vi n g             • O n e C P R m ask.
     t h e lif e of i n m at es w h o att e m pt s ui ci d e b y h a n gi n g.               • A mi ni m u m of 1 0 l at ex gl o v es.
     H o w e v er, of t h e 1 5 s ui ci d es b y h a n gi n g t h at w e
                                                                                             • A dis p os a bl e or al air w ay.
     r e vi e w e d, C orr e cti o ns’ s ui ci d e r e p orts n ot e d
     t hr e e i nst a n c es i n w hi c h r es p o n d ers di d n ot                     S o urc e: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e.
     i n di c at e h a vi n g or usi n g all or p art of a c ut- d o w n
     kit. F or e x a m pl e, o n e s ui ci d e r e p ort f o u n d t h at
     pris o n st a ﬀ i m m e di at el y r es p o n di n g t o t h e h a n gi n g
     di d n ot us e a r es us cit at or at t h e s c e n e of t h e e m er g e n c y. R at h er, t h e
     r e p ort f o u n d t h at pris o n st a ﬀ i n di c at e d t h e r es us cit at or w as us e d
     aft er t h e i n m at e h a d b e e n tr a ns p ort e d a w a y fr o m t h e s c e n e of
     t h e e m er g e n c y.
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                                                            C orr e cti o ns o ﬀ er e d s e v er al p ossi bl e e x pl a n ati o ns f or w h y pris o n
                                                            st a ﬀ m a y n ot h a v e c arri e d or us e d t h e e ntir e kit w h e n r es p o n di n g t o
                                                            s ui ci d e att e m pts. A c c or di n g t o a n ass o ci at e w ar d e n f or t h e Di visi o n
                                                            of A d ult I nstit uti o ns’ m e nt al h e alt h c o m pli a n c e t e a m ( c o m pli a n c e
                                                            t e a m ass o ci at e w ar d e n), st a ﬀ w h o di d n ot bri n g a n e ntir e c ut- d o w n
                                                            kit m a y h a v e h a d a n y missi n g it e ms els e w h er e o n t h eir p ers o ns or
                                                            us e d t h eir r e q uir e d tr ai ni n g t o p erf or m t h e n e c ess ar y lif e-s a vi n g
                                                            m e as ur es. S h e als o n ot e d t h at t h e kits’ st or a g e l o c ati o ns i n s o m e
                                                            u nits m a y h a v e r estri ct e d st a ﬀ’s a c c ess t o t h e m. F or e x a m pl e, s h e
                                                            e x pl ai n e d t h at s o m e h o usi n g u nits st or e kits i n s e c ur e d c o ntr ol
                                                            b o ot hs, e v e n t h o u g h t h e b o ot h wi n d o ws m a y n ot b e l ar g e e n o u g h
                                                            f or t h e r e q uir e d m et al b o x es t o p ass t hr o u g h. A c c or di n g t o t h e
                                                            c o m pli a n c e t e a m ass o ci at e w ar d e n, t his li mit ati o n h as r es ult e d i n
                                                            pris o ns usi n g v ari o us b a gs, b u c k ets, or ot h er st or a g e d e vi c es t o
                                                            st or e c ut- d o w n kits — all of w hi c h d e vi at e fr o m C orr e cti o ns’ p oli c y
                                                            t h at pris o ns st or e kits i n l o c k a bl e m et al b o x es.

                                                            C orr e cti o ns is a w ar e of t h e pr o bl e ms r el at e d t o t h e st or a g e of t h e
                                                            c ut- d o w n kits a n d is i n t h e pr o c ess of t a ki n g st e ps t o a d dr ess t h e m.
                                                            S p e ci ﬁ c all y, t h e cli ni c al s u p p ort c hi ef f or m e nt al h e alt h i n di c at e d
                                                            t h at C orr e cti o ns h a d f or m e d a w or k gr o u p t o a d dr ess k e e pi n g t h e
                                                            kits i n b a gs r at h er t h a n b o x es s o t h at t h e y c o ul d b e m or e e asil y
                                                            st or e d i n s e c ur e d ar e as. Th e c o m pli a n c e t e a m ass o ci at e w ar d e n
                                                            als o e x pl ai n e d t h at h er t e a m is i n t h e pr o c ess of d e v el o pi n g a
                                                            m e m o t o u p d at e C orr e cti o ns’ p oli ci es o n w h e n t o us e c ut- d o w n
                                                            kits a n d h o w pris o n st a ﬀ s h o ul d m ai nt ai n t h e m. A c c or di n g t o t h e
                                                            c o m pli a n c e t e a m ass o ci at e w ar d e n, t h e m e m o will m a k e s o m e
                                                            si g ni ﬁ c a nt c h a n g es t o C orr e cti o ns’ c urr e nt p oli ci es, i n cl u di n g
                                                            r e q uiri n g t h at pris o ns k e e p all c ut- d o w n kit it e ms t o g et h er i n a
                                                            d ur a bl e b a g a n d t h at pris o n st a ﬀ bri n g t h e kits t o s ui ci d e att e m pts
                                                            b y as p h y xi ati o n i n a d diti o n t o h a n gi n gs. It will als o e m p h asi z e t h at
                                                            st a ﬀ m ust tr a ns p ort t h e e ntir e kit t o t h e s c e n e of a n e m er g e n c y.
     Wit h o ut c h a n g es t o its p olici es,            Th e c o m pli a n c e t e a m ass o ci at e w ar d e n e x p e cts t h at C orr e cti o ns
     C orr ecti o ns ris ks a d diti o n al i nst a nc es   will ﬁ nis h a n d i m pl e m e nt t h e m e m o b y A u g ust or S e pt e m b er 2 01 7.
     of pris o n st a ﬀ n ot h a vi n g t h e e ntir e      Wit h o ut s u c h c h a n g es t o its p oli ci es, C orr e cti o ns ris ks a d diti o n al
     kit at a m o m e nt w h e n it c o ul d                i nst a n c es of pris o n st a ﬀ n ot h a vi n g t h e e ntir e kit at a m o m e nt w h e n
     p ot e nti all y s a v e a n i n m at e’s lif e.       it c o ul d p ot e nti all y s a v e a n i n m at e’s lif e.

                                                            C orr e cti o ns’ s ui ci d e r e p orts als o n ot e ot h er iss u es wit h pris o ns’
                                                            e m er g e n c y r es p o ns e, a n d t h e s ui ci d e r e vi e w pr o c ess c a n r es ult
                                                            i n c h a n g es t o e m er g e n c y r es p o ns e pr e p ar e d n ess. F or e x a m pl e,
                                                            t w o s ui ci d e r e p orts i d e nti ﬁ e d iss u es wit h t h e ti mi n g of s u m m o ni n g
                                                            m e di c al r es p o n d ers. C orr e cti o ns a d dr ess es t h es e t y p es of iss u es b y
                                                            i n cl u di n g r e c o m m e n d ati o ns i n its s ui ci d e r e p orts, w hi c h t h e pris o ns
                                                            ar e r es p o nsi bl e f or i m pl e m e nti n g. F urt h er m or e, C orr e cti o ns’ p oli c y
                                                            r e q uir es s p e ci ﬁ c st a ﬀ t o f oll o w u p wit h pris o ns t o e ns ur e t h at t h e y
                                                            i m pl e m e nt t h e r e c o m m e n d ati o ns. To a d dr ess s e v er al iss u es r el at e d
                                                            t o t h eir e m er g e n c y r es p o ns es, t h e pris o ns i n v ol v e d s u b mitt e d t o
                                                            C orr e cti o ns e vi d e n c e t h at t h e y h a d pr o vi d e d a d diti o n al tr ai ni n g
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                                                                                                                                               A u g u st 2 0 1 7




     t o t h eir st a ﬀ, w hi c h w e b eli e v e is a p pr o pri at e. I n a n ot h er e x a m pl e,
     t hr e e s ui ci d e r e p orts i d e nti ﬁ e d c o n c er ns wit h st a ﬀ n ot r eli e vi n g
     pr ess ur e o n a n i n m at e’s air w a y w h e n t h e i n m at e w as dis c o v er e d
     h a n gi n g. H o w e v er, CI W i d e nti ﬁ e d t h at pris o n st a ﬀ i n v ol v e d i n o n e of
     t h es e i n ci d e nts h a d m ost r e c e ntl y r e c ei v e d s ui ci d e pr e v e nti o n tr ai ni n g
     r o u g hl y si x m o nt hs b ef or e t h e s ui ci d e, b ut t h at t h e tr ai ni n g di d n ot
     pr o vi d e s p e ci ﬁ c i nstr u cti o n o n r eli e vi n g t e nsi o n o n t h e i n m at e’s
     b o d y b y usi n g a st a bl e o bj e ct f or s u p p ort. We ﬁ n d it c o n c er ni n g t h at
     C orr e cti o ns o mitt e d t his criti c al i nf or m ati o n fr o m t his tr ai ni n g, as its
     m e nt al h e alt h p oli ci es h a v e s p e ci ﬁ e d si n c e 2 0 0 9 t h at r es p o n di n g pris o n
     st a ﬀ m ust r eli e v e pr ess ur e o n t h e i n m at e’s air w a y. I n 2 01 6 C orr e cti o ns
     u p d at e d its s ui ci d e pr e v e nti o n tr ai ni n g t o i n cl u d e i nstr u cti o n t o
     s u p p ort t h e i n m at e’s air w a y. C orr e cti o ns’ cli ni c al s u p p ort c hi ef st at e d
     t h at t h e i nf or m ati o n s h o ul d h a v e b e e n i n cl u d e d i n pr e vi o us v ersi o ns
     of t h e tr ai ni n g a n d t h at its o missi o n w as a n o v ersi g ht. S h e e x pl ai n e d
     t h at t h e i nf or m ati o n w as li k el y missi n g fr o m pr e vi o us v ersi o ns of t h e
     tr ai ni n g b e c a us e w h e n h er t e a m r e vis e d t h e tr ai ni n g t h e y f o c us e d o n
     a d di n g n e w iss u es r at h er t h a n r e vi e wi n g t h e tr ai ni n g t o e ns ur e t h at all
     of t h e n e c ess ar y i nf or m ati o n w as i n cl u d e d. S h e f urt h er e x pl ai n e d t h at
     s h e w as s ur pris e d t o ﬁ n d t h at t h e i nf or m ati o n w as missi n g, b e c a us e t h e
     s a m e t e a m t h at ass e m bl e d t h e 2 0 0 9 pr o gr a m g ui d e wit h C orr e cti o ns’
     p oli ci es p ut t o g et h er t h e tr ai ni n g.


     R e c o m m e n d ati o ns


     L e gisl at ur e

     T o pr o vi d e a d diti o n al a c c o u nt a bilit y f or C orr e cti o ns’ e ﬀ orts t o
     r es p o n d t o a n d pr e v e nt i n m at e s ui ci d es a n d att e m pt e d s ui ci d es,
     t h e L e gisl at ur e s h o ul d r e q uir e t h at C orr e cti o ns r e p ort t o it i n
     A pril 2 01 8 a n d a n n u all y t h er e aft er o n t h e f oll o wi n g iss u es:

     • Its pr o gr ess t o w ar d m e eti n g its g o als r el at e d t o t h e c o m pl eti o n of
       ris k e v al u ati o ns i n a s u ﬃ ci e nt m a n n er.

     • Its pr o gr ess t o w ar d m e eti n g its g o als r el at e d t o t h e c o m pl eti o n of
       7 2- h o ur tr e at m e nt pl a ns i n a s u ﬃ ci e nt m a n n er.


     C orr ecti o ns

     C orr e cti o ns s h o ul d i m m e di at el y r e q uir e m e nt al h e alt h st a ﬀ t o s c or e
     1 0 0 p er c e nt o n ris k e v al u ati o n a u dits i n or d er t o p ass. If a st a ﬀ
     m e m b er d o es n ot p ass, C orr e cti o ns s h o ul d r e q uir e t h e pris o n t o
     f oll o w its c urr e nt p oli ci es b y r e vi e wi n g a d diti o n al ris k e v al u ati o ns
     t o d et er mi n e w h et h er t h e st a ﬀ m e m b er n e e ds t o u n d er g o
     a d diti o n al m e nt ori n g.
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           or ni a St at2:90-cv-00520-KJM-SCR
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                                                 T o e ns ur e t h at it i d e nti ﬁ es i n m at es w h o ar e at ris k of att e m pti n g
                                                 s ui ci d e a n d d et er mi n es t h e tr e at m e nts n e e d e d t o pr e v e nt t h e m
                                                 fr o m d oi n g s o, C orr e cti o ns s h o ul d i m m e di at el y r e e v al u at e a n d
                                                 r e vis e its g o als f or t h e p er c e nt a g e of ris k e v al u ati o ns t h at m e nt al
                                                 h e alt h st a ﬀ m ust c o m pl et e o n ti m e a n d f or t h e p er c e nt a g e of ris k
                                                 e v al u ati o ns t h at m ust p ass its ris k e v al u ati o n a u dits. It s h o ul d s et
                                                 r e vis e d g o als t h at b ett er t a k e i nt o c o nsi d er ati o n t h e i m p ort a n c e of
                                                 m e nt al h e alt h st a ﬀ c o m pl eti n g a d e q u at e ris k e v al u ati o ns i n a ti m el y
                                                 m att er. C orr e cti o ns s h o ul d r e q uir e pris o ns t h at p erf or m b el o w its
                                                 r e vis e d g o als t o d e v el o p i m pr o v e m e nt pl a ns.

                                                 T o i m pr o v e t h e q u alit y of its ris k e v al u ati o ns, b y D e c e m b er 2 01 7
                                                 C orr e cti o ns s h o ul d d e v el o p a n d i n c or p or at e i nt o its el e ctr o ni c ris k
                                                 e v al u ati o n f or m pr o m pts t o ai d m e nt al h e alt h st a ﬀ i n c o m pl eti n g
                                                 a d e q u at e ris k e v al u ati o ns t h at m e et all a u dit crit eri a.

                                                 To mi ni mi z e t h e n u m b er of i n m at es w h o s p e n d m or e t h a n 2 4 h o urs
                                                 i n alt er n ati v e h o usi n g, C orr e cti o ns s h o ul d us e t h e a u dit pr o c ess it is
                                                 d e v el o pi n g t o m o nit or t h e a m o u nt of ti m e i n m at es s p e n d i n alt er n ati v e
                                                 h o usi n g a n d a n n u all y r e ass ess its n e e d f or a d diti o n al crisis b e ds.

                                                 T o e ns ur e t h at pris o ns d o c u m e nt t h e pri vil e g es, s u c h as y ar d ti m e,
                                                 t h at i n m at es r e c ei v e w hil e i n a crisis b e d, C orr e cti o ns s h o ul d
                                                 i m m e di at el y r e q uir e pris o ns t o d e v el o p a n d f or m ali z e p oli ci es t o
                                                 r e c or d o n t h eir tr e at m e nt pl a ns t h e pri vil e g es i n m at es ar e all o w e d
                                                 a n d r e c ei v e w hil e i n a crisis b e d.

                                                 T o e ns ur e t h at pris o n st a ﬀ c o n d u ct r e q uir e d c h e c ks of i n m at es
                                                 pl a c e d o n s ui ci d e pr e c a uti o n i n a ti m el y m a n n er, C orr e cti o ns
                                                 s h o ul d i m pl e m e nt its a ut o m at e d pr o c ess t o m o nit or s ui ci d e
                                                 pr e c a uti o n c h e c ks i n its el e ctr o ni c h e alt h r e c or d s yst e m b y t h e ti m e
                                                 it is i m pl e m e nt e d s yst e m wi d e i n O ct o b er 2 01 7. F urt h er, C orr e cti o ns
                                                 s h o ul d tr ai n st a ﬀ o n h o w t o pl a n f or a n d c o n d u ct st a g g er e d s ui ci d e
                                                 pr e c a uti o n c h e c ks.

                                                 T o m o nit or pris o ns’ c o m pli a n c e wit h its r e q uir e m e nt t h at i n m at es
                                                 i n crisis b e ds r e c ei v e d ail y pr o gr ess n ot es, C orr e cti o ns s h o ul d
                                                 i m pl e m e nt m o nit ori n g of t h es e n ot es el e ctr o ni c all y i nt o its a u dit
                                                 pr o c ess b y t h e ti m e t h e el e ctr o ni c h e alt h r e c or d s yst e m is i n us e
                                                 s yst e m wi d e i n O ct o b er 2 01 7. C orr e cti o ns s h o ul d r e q uir e pris o ns
                                                 t h at ar e o ut of c o m pli a n c e t o d e v el o p a n d i m pl e m e nt q u alit y
                                                 i m pr o v e m e nt pl a ns, a n d it s h o ul d f oll o w u p o n t h e pris o ns’
                                                 i m pl e m e nt ati o n of t h os e pl a ns.

                                                 T o e ns ur e t h at pris o n st a ﬀ a p pr o pri at el y r es p o n d t o att e m pt e d
                                                 s ui ci d es, C orr e cti o ns s h o ul d i m pl e m e nt its pr o p os e d c h a n g es
                                                 t o its e m er g e n c y r es p o ns e p oli ci es r e g ar di n g c ut- d o w n kits b y
                                                 D e c e m b er 2 01 7 a n d s h o ul d i n cl u d e i n its p oli ci es a m et h o d f or
                                                 m o nit ori n g pris o ns’ c o m pli a n c e.
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     C h a pt er 2
     A N U M B E R O F F A C T O R S H A V E LI K E L Y C O N T RI B U T E D
     T O HI G H R A T E S O F I N M A T E S UI CI D E S A N D S UI CI D E
     A T T E M P T S A T CI W

     Fr o m 2 01 4 t hr o u g h 2 01 6, t h e r at es of i n m at e s ui ci d es a n d s ui ci d e
     att e m pts at CI W w er e si g ni ﬁ c a ntl y hi g h er t h a n t h e r at es at eit h er
     C C W F or C orr e cti o ns’ m e n’s pris o ns. St a ﬀ at C orr e cti o ns a n d
     CI W pr o vi d e d s e v er al r e as o ns f or CI W’s el e v at e d r at es, i n cl u di n g
     i n m at e dr u g i n v ol v e m e nt, d o m esti c vi ol e n c e i n i nt er p ers o n al
     r el ati o ns hi ps b et w e e n f e m al e i n m at es, a n d t h e tr a nsf er of a d diti o n al
     i n m at es t o CI W a n d C C W F f oll o wi n g t h e c o n v ersi o n of a w o m e n’s
     pris o n t o a m e n’s pris o n. B e c a us e s ui ci d e is t h e r es ult of m ulti pl e
     f a ct ors, w e b eli e v e m a n y of t h es e c a us es c o ul d h a v e c o ntri b ut e d t o
     CI W’s hi g h r at es of s ui ci d es a n d s ui ci d e att e m pts. I n a d diti o n, w e
     i d e nti ﬁ e d s e v er al f a ct ors t h at m a n y of C orr e cti o ns’ pris o ns s h ar e
     i n c o m m o n t h at m a y i n ﬂ u e n c e r at es of i n m at e s ui ci d es a n d s ui ci d e
     att e m pts. S p e ci ﬁ c all y, C orr e cti o ns h as n ot est a blis h e d a m e a ns of
     e ns uri n g t h at all st a ﬀ r e c ei v e r e q uir e d tr ai ni n gs r el at e d t o s ui ci d e
     pr e v e nti o n a n d r es p o ns e, a n d as a r es ult, s o m e st a ﬀ m a y n ot h a v e
     t h e k n o wl e d g e n e c ess ar y t o a d dr ess i n m at es’ m e nt al h e alt h n e e ds.
     F urt h er, C orr e cti o ns h as str u g gl e d t o ﬁll c ert ai n m e nt al h e alt h
     st a ﬀ v a c a n ci es, p arti c ul arl y f or ps y c hi atrist p ositi o ns. Fi n all y,
     C orr e cti o ns h as n ot r e c e ntl y u p d at e d its st a ﬃ n g m o d el t o e ns ur e
     t h at t h e pris o ns h a v e a d e q u at e st a ﬀ t o m e et t h eir i n m at es’ m e nt al
     h e alt h n e e ds.


     C orr e cti o ns H as I d e nti ﬁ e d P ossi bl e C a us es f or t h e Hi g h S ui ci d e R at e
     at CI W

     As t h e I ntr o d u cti o n dis c uss es, t h e r at es of s ui ci d es a n d s ui ci d e
     att e m pts at w o m e n’s pris o ns i n C alif or ni a h a v e i n cr e as e d o v er t h e
     l ast s e v er al y e ars. Aft er d e cli ni n g fr o m 2 01 2 t hr o u g h 2 01 3, t h e r at es
     of b ot h s ui ci d es a n d att e m pt e d s ui ci d es at w o m e n’s pris o ns r os e
     dr a m ati c all y, fr o m 3. 7 att e m pts a n d 0. 3 5 s ui ci d es p er 1, 0 0 0 i n m at es
     i n 2 01 4 t o 1 0. 3 att e m pts a n d 0. 6 3 s ui ci d es i n 2 01 6.

     F urt h er, as Ta bl e 6 o n t h e f oll o wi n g p a g e s h o ws, t h e r at es of s ui ci d es
     a n d att e m pt e d s ui ci d es at w o m e n’s pris o ns w er e si g ni ﬁ c a ntl y
     hi g h er a n d l ess st a bl e t h a n t h e r at es at ot h er pris o ns i n C alif or ni a
     d uri n g t his s a m e ti m e p eri o d. Alt h o u g h t h e i n cr e as e i n f e m al e
     i n m at e s ui ci d es is dr a m ati c, C orr e cti o ns’ cli ni c al s u p p ort c hi ef n ot e d
     t h at e v e n o n e s ui ci d e c a n si g ni ﬁ c a ntl y a ﬀ e ct t h e r at e b e c a us e of t h e
     s m all p o p ul ati o n of f e m al e i n m at es. H o w e v er, s h e a c k n o wl e d g e d
     t h at t h er e h a v e b e e n m or e s ui ci d es a m o n g f e m al e i n m at es t h a n s h e
     w o ul d h a v e e x p e ct e d a n d s h e b eli e v es t h at C alif or ni a’s r at es ar e hi g h
     i n c o m p aris o n t o l ar g e pris o n s yst e ms i n ot h er st at es.
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                   or ni a St at2:90-cv-00520-KJM-SCR
                                 e A u dit or R e p ort 2 0 1 6- 1 3 1                                   Document 6768-1                                             Filed 07/15/20                             Page 56 of 113
             A u g u st 2 0 1 7




     T a bl e 6
     S ui ci d es a n d Att e m pt e d S ui ci d es i n A d ult Pris o ns Fr o m 2 0 1 2 T hr o u g h 2 0 1 6

                                                                                                                   A T T E M P T E D S UI CI D E S                                     S UI CI D E S

                                                                   I N M A T E P O P U L A TI O N *
                                                                             T OT ALS                        T OT ALS                 P E R 1, 0 0 0 I N M A T E S      T O T A L S†            P E R 1, 0 0 0 I N M A T E S

                          W o m e n’s pris o ns                                 6, 6 4 3                         30                                  4. 5                      1                          0. 1 5
                          All ot h er pris o ns ‡
               2012




                                                                            1 1 9, 6 3 3                       322                                   2. 7                   24                            0. 2 0
                          All pris o ns                                     1 2 6, 2 7 6                       352                                   2. 8                   25                            0. 2 0
                          W o m e n’s pris o ns                                 5, 6 2 7                         23                                  4. 1                      1                          0. 1 8
                          All ot h er pris o ns ‡
               2013




                                                                            1 1 7, 6 1 1                       351                                   3. 0                   25                            0. 2 1
                          All pris o ns                                     1 2 3, 2 3 8                       374                                   3. 0                   26                            0. 2 1
                          W o m e n’s pris o ns                                 5, 6 4 6                         21                                  3. 7                      2                          0. 3 5
                          All ot h er pris o ns ‡
               2014




                                                                            1 1 7, 0 0 6                       344                                   2. 9                   18                            0. 1 5
                          All pris o ns                                     1 2 2, 6 5 2                       365                                   3. 0                   20                            0. 1 6
                          W o m e n’s pris o ns                                 4, 8 8 7                         45                                  9. 2                      2                          0. 4 1
                          All ot h er pris o ns ‡
               2015




                                                                            1 0 9, 2 4 3                       346                                   3. 2                   17                            0. 1 6
                          All pris o ns                                     1 1 4, 1 3 0                       391                                   3. 4                   19                            0. 1 7
                          W o m e n’s pris o ns                                 4, 7 4 3                         49                             1 0. 3                         3                          0. 6 3
                          All ot h er pris o ns ‡
               2016




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     S o urc es: C alif or ni a St at e A u dit or’s a n al ysis of C orr ecti o ns’ C O M P S T AT m etrics a n d a d diti o n al i nf or m ati o n o n s uici d es pr o vi d e d b y v ari o us pris o ns.
     * I n m at e p o p ul ati o n is t h e a ver a g e of t h e 1 2 m o nt hs i n e a c h y e ar.
     † T h e n u m b ers w e pr es e nt h er e r e ﬂ e ct o ur a m e n d m e nts t o C orr e cti o ns’ C O M P S T AT d at a. As w e dis c uss i n C h a pt er 3, o ur r e vi e w of v ari o us r e c or ds
         fr o m i n di vi d u al pris o ns r e v e al e d t h at C O M P S T AT h as c o nsist e ntl y u n d err e p ort e d t h e n u m b er of s ui ci d es i n C alif or ni a pris o ns. W e h a v e t h er ef or e
         a dj ust e d t h e n u m b er of s ui ci d es i n 2 0 1 3, 2 0 1 5, a n d 2 0 1 6 t o i n cl u d e t hr e e s ui ci d es t h at w e i d e nti ﬁ e d at CI W, RJ D, a n d S A C t h at w er e n ot i n cl u d e d i n
         t h e C O M P S T AT d at a; h o w e v er, w e c a uti o n t h at t h es e n u m b ers m a y still n ot b e a cc ur at e.
     ‡ Acc or di n g t o a C O M P S T AT r es e arc h pr o gr a m s p e ci alist, C orr e cti o ns e x pr ess es its n u m b ers i n C O M P S T AT b y i nstit uti o n a n d n ot b y ge n d er.
         T h us, W o m e n’s pris o ns i n cl u d es C C W F a n d CI W, as w ell as t h e f or m er V all e y St at e Pris o n f or W o m e n ( V S P W) i n 2 0 1 2, a n d C C W F a n d CI W fr o m 2 0 1 3
         t hr o u g h 2 0 1 6. All ot h er pris o ns c o m pris es n e arl y all m al e i n m at es; h o w e v er, it d o es i n cl u d e i n m at es i n ot h er f a ciliti es, i n cl u di n g s o m e t h at h o us e
         b ot h m e n a n d w o m e n, s u c h as c ert ai n m e di c al f a ciliti es, a n d F ols o m St at e Pris o n, w hi c h h as a s m all w o m e n’s f a cilit y.




                                                                                Th e cli ni c al s u p p ort c hi ef o ﬀ er e d t hr e e pri m ar y r e as o ns f or w h y t h e
                                                                                s ui ci d e r at e at w o m e n’s pris o ns h as b e e n hi g h i n r e c e nt y e ars. First,
                                                                                s h e e x pl ai n e d t h at u nli k e m al e i n m at es, f e m al e i n m at es t e n d t o
                                                                                b uil d f a mil y u nits wit hi n pris o ns, a n d C orr e cti o ns h as f o u n d t h at
                                                                                d o m esti c vi ol e n c e c a n o c c ur wit hi n t h es e u nits. S h e b eli e v es
                                                                                t h at t his d o m esti c vi ol e n c e h as c o ntri b ut e d t o t h e hi g h er s ui ci d e
                                                                                r at es at w o m e n’s pris o ns. S h e st at e d t h at i n or d er t o a d dr ess t his
                                                                                iss u e, C orr e cti o ns is pl a n ni n g t o d e v el o p a c urri c ul u m r e g ar di n g
                                                                                s a m e-s e x d o m esti c vi ol e n c e f or f e m al e i n m at es w h o r e c ei v e m e nt al
                                                                                h e alt h s er vi c es.
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    Th e s e c o n d r e as o n t h e cli ni c al s u p p ort c hi ef p oi nt e d t o w as dr u g                        S u bst a nc e a b us e a ﬀ ects
    i n v ol v e m e nt. S p e ci ﬁ c all y, s h e e x pl ai n e d t h at s u bst a n c e a b us e a ﬀ e cts             f e m al e i n m at es di ﬀ er e ntl y t h a n
    f e m al e i n m at es di ﬀ er e ntl y t h a n m al e i n m at es b e c a us e i n c ar c er at e d                  m al e i n m at es b ec a us e i nc arc er at e d
    w o m e n h a v e hi g h l e v els of p ast tr a u m a. Th at tr a u m a, c o m bi n e d wit h                       w o m e n h a v e hi g h l e v els of p ast
    s u bst a n c e a b us e, li k el y i n cr e as es t h e ris k of s ui ci d e. A c c or di n g t o                   tr a u m a t h at, w h e n c o m bi n e d wit h
    t h e cli ni c al s u p p ort c hi ef, dr u gs or dr u g tr a ﬃ c ki n g w er e i n v ol v e d i n                   s u bst a nc e a b us e, li k el y i ncr e as es
    f o ur of t h e si x m ost r e c e nt s ui ci d es i n w o m e n’s pris o ns. S h e st at e d                        t h e ris k of s uici d e.
    t h at i n or d er t o a d dr ess t his iss u e, C orr e cti o ns is h o pi n g t o ﬁ n ali z e
    a c o ntr a ct i n t h e n e ar f ut ur e t o est a blis h a c o- o c c urri n g dis or d ers
    pr o gr a m at CI W a n d at ot h er pris o ns. S h e e x pl ai n e d t h at t his
    pr o gr a m w o ul d b e m o d el e d o n b est pr a cti c es t h at c o m bi n e m e nt al
    h e alt h iss u es wit h tr e at m e nt f or s u bst a n c e a b us e.

    Fi n all y, t h e t hir d r e as o n s h e cit e d w as t h at t h e r e ali g n m e nt of pris o ns
    c h a n g e d t h e c o m p ositi o n of t h e i n m at e p o p ul ati o n i n st at e pris o ns.
    I n 2 011 t h e L e gisl at ur e p ass e d v ari o us l a ws t h at r e ali g n e d t h e cri mi n al
    j usti c e s yst e m b y all o wi n g i n m at es w h o w er e n ot c o n vi ct e d of s eri o us
    or vi ol e nt f el o ni es, or f el o ni es r e q uiri n g r e gistr ati o n as a s e x o ﬀ e n d er,
    t o s er v e t h eir s e nt e n c es i n c o u nt y j ails r at h er t h a n st at e pris o ns.
    S h e e x pl ai n e d t h at as a c o ns e q u e n c e of r e ali g n m e nt a n d l o w er-l e v el
    o ﬀ e n d ers b ei n g s e nt e n c e d t o c o u nt y j ails, i n m at es w h o r e m ai n i n st at e
    pris o ns g e n er all y h a v e m or e s e v er e b e h a vi or al iss u es a n d ar e m or e li k el y
    t o h a v e c o m mitt e d vi ol e nt cri m es. S h e als o s ai d t h at i n m at es w h o h a v e
    c o m mitt e d vi ol e nt cri m es ar e p ot e nti all y m or e li k el y t o c o m mit s ui ci d e
    b e c a us e t h e y h a v e a hist or y of usi n g vi ol e n c e as a r es p o ns e t o v ari o us
    sit u ati o ns, i n cl u di n g s elf- dir e ct e d vi ol e n c e. As a r es ult, f e m al e i n m at es i n
    t h e St at e’s pris o ns m a y b e m or e li k el y t o m a k e l et h al s ui ci d e att e m pts.

    Th es e r e as o ns, h o w e v er, a p pl y t o all f e m al e i n m at es a n d d o n ot
    n e c ess aril y e x pl ai n t h e di ﬀ er e n c e i n t h e r at es of s ui ci d es a n d att e m pts
    b et w e e n CI W a n d C C W F, w hi c h ar e b ot h w o m e n’s pris o ns. As
    Ta bl e 1 i n t h e I ntr o d u cti o n s h o ws, all b ut o n e of t h e s ui ci d es o c c urri n g
    fr o m 2 01 4 t hr o u g h 2 01 6 at t h e t w o w o m e n’s pris o ns w e r e vi e w e d
    o c c urr e d at CI W. D uri n g t his s a m e p eri o d, t h er e w er e als o m or e
    s ui ci d e att e m pts at CI W t h a n at C C W F, d es pit e CI W’s s m all er i n m at e
    p o p ul ati o n. F or e x a m pl e, t h er e w er e 11 att e m pt e d s ui ci d es at C C W F
    i n 2 015, b ut 3 4 att e m pt e d s ui ci d es at CI W. We as k e d t h e cli ni c al
    s u p p ort c hi ef w h y s h e t h o u g ht t h e s ui ci d e a n d s ui ci d e att e m pt r at es
    at CI W w er e hi g h er t h a n t h os e at C C W F fr o m 2 01 4 t hr o u g h 2 01 6
    a n d s h e st at e d t h at s h e di d n ot h a v e a n y e as y h y p ot h es es f or w h y t h e
    r at es w er e hi g h er at CI W. S h e a d diti o n all y d es cri b e d t h at b as e d o n h er
    u n d erst a n di n g, t h e c h ar a ct eristi cs of t h e i n m at es at CI W a n d C C W F
    d o n ot s e e m t o di ﬀ er si g ni ﬁ c a ntl y. M or e o v er, t h e C e nt ers f or Dis e as e
    C o ntr ol a n d Pr e v e nti o n h as i d e nti ﬁ e d t h at s ui ci d al b e h a vi or r es ults
    fr o m a c o m bi n ati o n of m a n y f a ct ors —i n cl u di n g g e n eti c, d e v el o p m e nt al,
    e n vir o n m e nt al, ps y c h ol o gi c al, s o ci al, a n d c ult ur al f a ct ors — o p er ati n g
    t hr o u g h di v ers e a n d c o m pl e x p at h w a ys. It is t h er ef or e li k el y t h at t h er e
    ar e m a n y c o m p o n e nts t o t h e c a us e f or t h e di ﬀ er e n c e i n s ui ci d e a n d
    s ui ci d e att e m pt r at es b et w e e n CI W a n d C C W F.
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                                                            Pris o n o ﬃ ci als at CI W, h o w e v er, di d i d e ntif y o n e ot h er e x pl a n ati o n
                                                            f or w h y t h e s ui ci d e r at e at CI W w as el e v at e d fr o m 2 01 4 t hr o u g h 2 01 6:
                                                            t h e y attri b ut e d t h e i n cr e as e d s ui ci d e r at e at CI W t o t h e c o n v ersi o n
                                                            of V S P W t o a m e n’s pris o n a n d t h e s u bs e q u e nt tr a nsf er of
                                                            hi g h er-s e c urit y-l e v el i n m at es t o CI W t h a n t h e pris o n w as d esi g n e d
                                                            t o h o us e. C orr e cti o ns c o n v ert e d V S P W t o a m e n’s pris o n d u e t o t h e
                                                            d e cli n e i n t h e n u m b er of f e m al e i n m at es i n st at e pris o ns f oll o wi n g
                                                            r e ali g n m e nt. A c c or di n g t o C orr e cti o ns’ a cti n g ass o ci at e w ar d e n
                                                            of f e m al e o ﬀ e n d er pr o gr a ms a n d s er vi c es, C orr e cti o ns tr a nsf err e d
                                                            a b o ut 9 7 0 i n m at es t o C C W F a n d 4 0 0 i n m at es t o CI W fr o m V S P W
     T w o c hi ef ps yc h ol o gists a n d a s e ni or     fr o m S e pt e m b er 2 01 2 t hr o u g h J a n u ar y 2 01 3. T w o c hi ef ps y c h ol o gists
     ps yc h ol o gist at CI W st at e d t h at t h e       a n d a s e ni or ps y c h ol o gist at CI W st at e d t h at t h e tr a nsf er of i n m at es
     tr a nsf er of i n m at es r es ult e d i n a          r es ult e d i n a n u m b er of n e g ati v e e ﬀ e cts, i n cl u di n g i n cr e as es i n g a n g
     n u m b er of n e g ati v e e ﬀ ects, i ncl u di n g   i n ﬂ u e n c es, m or e dr u gs, hi g h er-s e c urit y-l e v el i n m at es, a n d i n cr e as e d
     i ncr e as es i n g a n g i n ﬂ u e nc es, m or e      c o n ﬂi ct i n t h e h o usi n g u nits. Th e c hi ef e x e c uti v e o ﬃ c er at CI W
     dr u gs, hi g h er-s ec urit y-l e v el i n m at es,   e x pl ai n e d t h at CI W w as n ot d esi g n e d t o h o us e hi g h-s e c urit y-l e v el
     a n d i ncr e as e d c o n ﬂict i n t h e              o ﬀ e n d ers, a n d h e a gr e e d t h at t h e c h a n g e i n pris o n c ult ur e f oll o wi n g
     h o usi n g u nits.                                    t h e c o n v ersi o n of V S P W m a y h a v e c o ntri b ut e d t o t h e i n cr e as e i n
                                                            s ui ci d es a n d att e m pt e d s ui ci d es. We att e m pt e d t o v erif y w h et h er
                                                            hi g h-s e c urit y-l e v el i n m at es w er e tr a nsf err e d t o CI W; h o w e v er,
                                                            C orr e cti o ns’ a cti n g ass o ci at e w ar d e n of f e m al e o ﬀ e n d er pr o gr a ms
                                                            a n d s er vi c es e x pl ai n e d t h at C orr e cti o ns d o es n ot h a v e a hist ori c al
                                                            br e a k d o w n of t h at i nf or m ati o n.

                                                            Alt h o u g h C orr e cti o ns a c k n o wl e d g e d at t h e ti m e t h at t h e
                                                            c o n v ersi o n of V S P W t o a m e n’s pris o n mi g ht si g ni ﬁ c a ntl y a ﬀ e ct
                                                            CI W a n d C C W F, it di d littl e t o pr e p ar e t h os e pris o ns. A c c or di n g
                                                            t o d o c u m e nt ati o n C orr e cti o ns pr o vi d e d, b e gi n ni n g i n 2 011,
                                                            C orr e cti o ns d e v el o p e d a cti o n pl a ns f or t h e c o n v ersi o n of V S P W
                                                            a n d h el d m e eti n gs wit h c ert ai n st a k e h ol d ers t o dis c uss t h es e pl a ns.
                                                            H o w e v er, C orr e cti o ns w as u n a bl e t o pr o vi d e e vi d e n c e of s u c h a
                                                            m e eti n g o c c urri n g at CI W. F urt h er, CI W o ﬃ ci als w er e u n a bl e t o
                                                            r e c all t h e o c c urr e n c e of s u c h a m e eti n g. C orr e cti o ns distri b ut e d
                                                            a m e m or a n d u m i n l at e A u g ust 2 01 2 a n n o u n ci n g t h e c o n v ersi o n
                                                            of V S P W a n d t h e r es ulti n g tr a nsf er of its f e m al e i n m at es t o CI W,
                                                            C C W F, a n d c ert ai n ot h er s p e ci al pr o gr a ms b e gi n ni n g t h e n e xt
                                                            m o nt h. H o w e v er, t h e m e m or a n d u m l a c k e d a n y d et ails r e g ar di n g
                                                            t h e st e ps t h e pris o ns s h o ul d t a k e t o pr e p ar e f or t h e n e w i n m at es;
                                                            i nst e a d, it si m pl y st at e d t h at t h e s u p p ort of t h e w ar d e ns i n e ns uri n g
                                                            t h eir pris o ns’ assist a n c e w as a p pr e ci at e d. A c c or di n g t o C orr e cti o ns’
                                                            a cti n g ass o ci at e w ar d e n of f e m al e o ﬀ e n d er pr o gr a ms a n d s er vi c es,
                                                            t h e w ar d e ns at e a c h pris o n w er e r es p o nsi bl e f or pr e p ari n g t h eir
                                                            st a ﬀ f or t h e c o n v ersi o n a n d t h e s u bs e q u e nt i n cr e as es i n t h eir
                                                            i n m at e p o p ul ati o ns. B ot h a n ass o ci at e w ar d e n at CI W a n d its c hi ef
                                                            e x e c uti v e o ﬃ c er c o n ﬁr m e d t h at, b e y o n d t h e st a n d ar d pr e p ar ati o ns
                                                            m a d e f or i n m at e tr a nsf ers, t h e y c o ul d n ot r e m e m b er a n y s p e ci al
                                                            pr e p ar ati o ns or tr ai ni n g t h at CI W pr o vi d e d f or its st a ﬀ.
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     Th e i n m at es w h o tr a nsf err e d fr o m V S P W w er e n ot t h e m aj orit y of
     t h os e att e m pti n g s ui ci d e at eit h er CI W or C C W F. This s u p p orts
     CI W o ﬃ ci als’ p ers p e cti v e t h at t h er e w as a c ult ur al c h a n g e at t h e
     pris o n s u bs e q u e nt t o t h e tr a nsf ers. A c c or di n g t o CI W, i n m at es
     w h o tr a nsf err e d fr o m V S P W c o m mitt e d 8 p er c e nt of t h e s ui ci d es
     a n d s ui ci d e att e m pts at CI W fr o m 2 01 4 t hr o u g h 2 01 6. Si mil arl y,
     C C W F’s d at a s h o w i n m at es w h o tr a nsf err e d fr o m V S P W
     c o m mitt e d 1 2 p er c e nt of t h e s ui ci d e att e m pts at C C W F d uri n g t his
     p eri o d. CI W’s c hi ef e x e c uti v e o ﬃ c er st at e d t h at b ef or e t h e tr a nsf er
     of i n m at es fr o m V S P W, h e w o ul d h a v e d es cri b e d CI W as a pris o n
     t h at h a d r el ati v el y f e w iss u es wit h i n m at es. H e e x pl ai n e d t h at h e
     c o ul d n o l o n g er d es cri b e t h e pris o n i n t his w a y aft er t h e tr a nsf er
     b e c a us e t h e i n m at es fr o m V S P W br o u g ht wit h t h e m a c ult ur e
     of s u bst a n c e a b us e, ill e g al dr u g tr a di n g, a n d vi ol e n c e r el at e d t o
     dr u g tr a ﬃ c ki n g.


     CI W a n d Ot h er Pris o ns H a v e N ot E ns ur e d T h at T h eir St a ﬀ H a v e
     R e c ei v e d R e q uir e d Tr ai ni n g o n S ui ci d e Pr e v e nti o n a n d R es p o ns e

     As w e d es cri b e i n t h e pr e vi o us s e cti o n, C orr e cti o ns a n d CI W w er e
     a bl e t o i d e ntif y c ert ai n f a ct ors t h at ar e u ni q u e t o CI W a n d C C W F
     a n d t h at m a y h a v e c o ntri b ut e d t o CI W’s hi g h r at es of s ui ci d es a n d
     s ui ci d e att e m pts. H o w e v er, w e i d e nti ﬁ e d a d diti o n al f a ct ors t h at
     m a y i n cr e as e t h e ris k of i n m at e s ui ci d es a n d att e m pts at b ot h m e n’s
     a n d w o m e n’s pris o ns t hr o u g h o ut t h e St at e. O n e of t h es e f a ct ors
     is C orr e cti o ns’ f ail ur e t o e ns ur e t h at pris o n st a ﬀ r e c ei v e r e q uir e d
     tr ai ni n g r el at e d t o s ui ci d e pr e v e nti o n a n d r es p o ns e. We b eli e v e t his
     l a c k of tr ai ni n g m a y h a v e c o ntri b ut e d t o s o m e of t h e pr o bl e ms w e
     i d e ntif y i n C h a pt er 1.

     B e c a us e e ﬀ e cti v e s ui ci d e pr e v e nti o n a n d r es p o ns e at pris o ns
     r e q uir es a c oll e cti v e e ﬀ ort, st a ﬀ t h at r o uti n el y i nt er a ct wit h i n m at es
     s h o ul d r e c ei v e tr ai ni n g o n h o w t o i d e ntif y a n d h el p i n m at es at ris k
     of s ui ci d e as w ell as o n h o w t o r es p o n d t o s ui ci d e att e m pts. W h e n
     st a ﬀ f ail t o f ul ﬁll t h eir d uti es as C orr e cti o ns’ p oli ci es r e q uir e, it m a y
     r es ult i n t h e s eri o us i nj ur y or d e at h of i n m at es w h os e li v es d e p e n d
     o n b ot h t h e q u alit y a n d pr o m pt n ess of t h e i nt er v e nti o ns t h at st a ﬀ
     pr o vi d e. Th e J oi nt L e gisl ati v e A u dit C o m mitt e e ( A u dit C o m mitt e e)
     as k e d us t o e v al u at e t h e a d e q u a c y of t h e m e nt al h e alt h a n d s ui ci d e
     pr e v e nti o n tr ai ni n g s p e ci ﬁ c all y f or CI W st a ﬀ, a n d w e f o u n d t h at t h e
     pris o n di d n ot e ns ur e t h at its st a ﬀ r e c ei v e d t h e r e q uir e d tr ai ni n gs.
     We als o i d e nti ﬁ e d si mil ar att e n d a n c e c o n c er ns at t h e t hr e e ot h er
     pris o ns w e r e vi e w e d, a n d w e f o u n d t h at s o m e tr ai ni n gs n e e d
     i m pr o v e m e nt i n t er ms of t h eir c o nt e nt a n d d eli v er y.
                                                                                                                        O ﬃci als at CI W c o ul d n ot
     O ﬃ ci als at CI W c o ul d n ot d e m o nstr at e t h at s o m e st a ﬀ h a d att e n d e d                       d e m o nstr at e t h at s o m e st a ﬀ h a d
     r e q uir e d tr ai ni n g c o urs es r el at e d t o i n m at e s ui ci d e. St at e r e g ul ati o ns            att e n d e d r e q uir e d tr ai ni n g c o urs es
     a n d C orr e cti o ns’ p oli ci es r e q uir e e a c h pris o n t o e ns ur e t h at all st a ﬀ                   r el at e d t o i n m at e s uici d e.
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                                                                                              w h os e assi g n m e nts r o uti n el y i n v ol v e i n m at e c o nt a ct
         S el e ct e d Tr ai ni n g T h at C orr e cti o ns R e q uir es                      c o m pl et e v ari o us tr ai ni n gs r el at e d t o s ui ci d e
         R el at e d t o S ui ci d e Pr e v e nti o n a n d R es p o ns e                     pr e v e nti o n a n d r es p o ns e. Th e t e xt b o x lists s o m e
                                                                                              of t h es e tr ai ni n gs. I n a d diti o n, w e r e vi e w e d a
     A n n u al S ui ci d e Pr e v e nti o n: Pr o vi d es st a ﬀ wit h a b asic
     u n d erst a n di n g of s uici d e pr e v e nti o n a n d t h eir r ol es w h e n
                                                                                              tr ai ni n g o n w or ki n g wit h f e m al e o ﬀ e n d ers, w hi c h
     w orki n g i n a pris o n. T his tr ai ni n g i ncl u d es el e m e nts r el at e d      pr o vi d es i nf or m ati o n a n d s kills t h at s u p p ort
     t o r es p o n di n g t o s uici d e att e m pts.                                        m a n a gi n g f e m al e i n m at es s af el y a n d e ﬀ e cti v el y.
                                                                                              H o w e v er, w h e n w e r e vi e w e d tr ai ni n g r e c or ds f or a
     Ris k E v al u ati o n M e nt ori n g Pr o gr a m: Pr o vi d es
                                                                                              s el e cti o n of st a ﬀ at CI W, w e f o u n d t h at pris o n
     o n e- o n- o n e tr ai ni n g a n d m e nt ori n g o n t h e a d mi nistr ati o n
                                                                                              o ﬃ ci als c o ul d n ot d e m o nstr at e w h et h er s o m e st a ﬀ
     of risk e v al u ati o ns. M e nt ori n g i ncl u d es f e e d b ack o n s uici d e
     ass ess m e nt, risk f or m ul ati o n, a n d crisis i nt er v e nti o n skills.
                                                                                              h a d att e n d e d c ert ai n tr ai ni n gs. S p e ci ﬁ c all y, t h e
                                                                                              i n-s er vi c e tr ai ni n g m a n a g er at CI W c o ul d n ot
     Ris k E v al u ati o n f or M e nt al H e alt h St a ﬀ: F oc us es                       d e m o nstr at e t h at f o ur of t h e 2 0 st a ﬀ m e m b ers
     o n pr actic al m et h o ds t o i m pr o v e t h e acc ur ac y a n d                     att e n d e d a r e q uir e d a n n u al s ui ci d e pr e v e nti o n
     r eli a bilit y of risk ass ess m e nts acr oss st a ﬀ a n d s etti n gs. T his
                                                                                              tr ai ni n g d uri n g 2 01 6. F urt h er, of t h e 1 5 m e nt al
     tr ai ni n g is d esi g n e d t o c o m pl e m e nt t h e risk e v al u ati o n
                                                                                              h e alt h st a ﬀ w e r e vi e w e d w h o w er e r e q uir e d t o
     m e nt ori n g pr o gr a m.
                                                                                              t a k e t h e s a m e c o urs e at CI W i n 2 01 5, t h e pris o n’s
     S af et y/ Tr e at m e nt Pl a n ni n g Wit hi n S ui ci d e Ris k                       d o c u m e nt ati o n s h o ws t h at o nl y ni n e att e n d e d.
     Ass ess m e nt a n d M a n a g e m e nt: H el ps m e nt al h e alt h st a ﬀ
     k n o w w h e n a n d h o w t o cr e at e a d e q u at e tr e at m e nt/s af et y                M or e o v er, s o m e m e nt al h e alt h st a ﬀ at CI W di d
     pl a ns t h at c o nt ai n s p eci ﬁc acti o ns m e nt al h e alt h st a ﬀ a n d
                                                                                                      n ot att e n d a r e q uir e d tr ai ni n g o n c o n d u cti n g ris k
     i n m at es will u n d ert ak e t o r e d uc e risk of s uici d e.
                                                                                                      e v al u ati o ns or r e c ei v e m e nt ori n g. C orr e cti o ns
     S o urc es: St at e r e g ul ati o ns, C orr ecti o ns’ p olici es, 2 0 1 6 l ess o n pl a ns,   r e q uir es st a ﬀ w h o will b e e v al u ati n g w h et h er
     a n d pr es e nt ati o n sli d es f or t h e list e d tr ai ni n gs.
                                                                                                      i n m at es ar e at ris k of s ui ci d e t o att e n d a tr ai ni n g
                                                                                                      o n h o w t o c o m pl et e ris k e v al u ati o ns. We r e vi e w e d
                                                                                                      1 0 ps y c h ol o gists, ps y c hi atrists, or s o ci al w or k ers
                                                                           w h o w er e r e q uir e d t o att e n d t his tr ai ni n g wit hi n 1 8 0 d a ys of hir e;
                                                                           h o w e v er, t h e d o c u m e nts t h e pris o n pr o vi d e d d e m o nstr at e t h at o nl y
                                                                           si x di d s o. F urt h er, w e f o u n d t h at CI W di d n ot a d e q u at el y a u dit ris k
                                                                           e v al u ati o ns f or ﬁ v e of t h e 1 0 m e nt al h e alt h st a ﬀ w e r e vi e w e d, a n d
                                                                           di d n ot pr o vi d e m e nt ori n g f or t w o m e nt al h e alt h st a ﬀ t h at f ail e d
                                                                           t h e a u dit. As C h a pt er 1 e x pl ai ns, t h e c orr e ct c o m pl eti o n of ris k
                                                                           e v al u ati o ns is criti c al b e c a us e t h e y h el p m e nt al h e alt h st a ﬀ i d e ntif y
                                                                           i n m at es w h o ar e li k el y t o att e m pt s ui ci d e as w ell as t h e tr e at m e nts
                                                                           n e e d e d t o pr e v e nt t h e m fr o m d oi n g s o.

                                                                     CI W pr o vi d e d s e v er al r e as o ns f or w h y it w as u n a bl e t o d e m o nstr at e
                                                                     t h at c ert ai n st a ﬀ att e n d e d t h e r e q uir e d tr ai ni n gs. I n p arti c ul ar, t h e
                                                                     i n-s er vi c e tr ai ni n g m a n a g er e x pl ai n e d t h at s o m e of t h e st a ﬀ si m pl y
                                                                     di d n ot att e n d t h e tr ai ni n g. H o w e v er, h e als o st at e d t h at b ef or e
                                                                     M a y 2 01 5, CI W di d n ot e ﬀ e cti v el y tr a c k its tr ai ni n g. F urt h er, h e
                                                                     e x pl ai n e d t h at st a ﬀ i n t h e tr ai ni n g u nits at CI W a n d ot h er pris o ns
                                                                     d o n ot al w a ys r e c or d att e n d a n c e — w hi c h is d e m o nstr at e d b y a
                                                                     si g n-i n s h e et —i n C orr e cti o ns’ tr a c ki n g s yst e m. H e i n di c at e d t h at
                                                                     as a r es ult, w h e n st a ﬀ tr a nsf er t o CI W, CI W m ust dir e ctl y c o nt a ct
                                                                     t h e pris o ns at w hi c h t h e y pr e vi o usl y w or k e d t o d et er mi n e if t h os e
                                                                     pris o ns c a n pr o vi d e t h e si g n-i n s h e ets f or tr ai ni n gs. This sit u ati o n
                                                                     c o ul d l e a d t o st a ﬀ missi n g r e q uir e d tr ai ni n gs. F or e x a m pl e, CI W’s
                                                                     i n-s er vi c e tr ai ni n g m a n a g er st at e d t h at o n e st a ﬀ m e m b er w e
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     r e vi e w e d h a d r e c ei v e d t h e r e q uir e d s ui ci d e pr e v e nti o n tr ai ni n g at
     a di ﬀ er e nt pris o n i n 2 01 6, b ut h e c o ul d n ot pr o vi d e d o c u m e nt ati o n
     t h at t h e st a ﬀ m e m b er h a d a ct u all y r e c ei v e d t his tr ai ni n g.

     S o m e of t h e pr o bl e ms w e f o u n d ar e n ot u ni q u e t o CI W: C orr e cti o ns
     r e p ort e d t h at n ot all st a ﬀ at t h e pris o ns w e r e vi e w e d r e c ei v e d
     r e q uir e d tr ai ni n gs i n 2 01 6. F or e x a m pl e, at S A C, a b o ut h alf of t h e
     r e q uir e d st a ﬀ r e c ei v e d tr ai ni n g o n t h e pri n ci pl es of s af et y pl a n ni n g
     f or s ui ci d al i n m at es. Att e n d a n c e c o m pli a n c e at RJ D, CI W, a n d
     C C W F w as 7 2 p er c e nt, 8 3 p er c e nt, a n d 8 9 p er c e nt, r es p e cti v el y, wit h
     t his tr ai ni n g r e q uir e m e nt, a c c or di n g t o C orr e cti o ns’ r e p orts. St a ﬀ
     att e n d a n c e r at es f or t h e a n n u al s ui ci d e pr e v e nti o n tr ai ni n g r a n g e d
     fr o m 6 8 p er c e nt at CI W t o 9 5 p er c e nt at C C W F. St a ﬀ att e n d a n c e
     w as si mil ar f or t h e s ui ci d e ris k e v al u ati o n m e nt ori n g, wit h r e p ort e d
     att e n d a n c e r at es r a n gi n g fr o m 71 p er c e nt at S A C t o 9 5 p er c e nt at
     C C W F. C orr e cti o ns’ cli ni c al s u p p ort c hi ef st at e d t h at C orr e cti o ns
     h as n ot f oll o w e d u p wit h t h e pris o ns r e g ar di n g t h e r e as o ns f or
     t h e l o w att e n d a n c e r at es. S h e e x pl ai n e d t h at alt h o u g h t h e pris o ns
     pr o vi d e C orr e cti o ns wit h s o m e st a ﬀ att e n d a n c e r at es at tr ai ni n gs,
     C orr e cti o ns d o es n ot r e q u est t h at t h e y e x pl ai n or j ustif y t h os e r at es.
     R at h er, s h e st at e d t h at C orr e cti o ns r eli es o n t h e pris o ns’ i n-s er vi c e
     tr ai ni n g u nits a n d c hi efs of m e nt al h e alt h t o a d dr ess tr ai ni n g
     n o n c o m pli a n c e iss u es. L astl y, alt h o u g h n ot a tr ai ni n g o n s ui ci d e
     pr e v e nti o n, a pr o gr a m r e g ar di n g w or ki n g wit h f e m al e o ﬀ e n d ers
     w as o ﬀ er e d i n 2 01 5 a n d 2 01 6. CI W a n d C C W F r e p ort e d a v er a g e
     st a ﬀ att e n d a n c e r at es of 7 4 p er c e nt a n d 91 p er c e nt, r es p e cti v el y, f or
     t his tr ai ni n g.

     This is n ot a n e w pr o bl e m, n or is it is ol at e d. I n his 2 01 6 r e p ort
     r e g ar di n g s el e ct e d pris o ns’ s ui ci d e pr e v e nti o n pr a cti c es, t h e
     s ui ci d e e x p ert als o i d e nti ﬁ e d c o n c er ns wit h st a ﬀ att e n d a n c e at
     r e q uir e d tr ai ni n gs i n 2 01 4. S p e ci ﬁ c all y, h e f o u n d t h at att e n d a n c e                 T h e s uici d e e x p ert f o u n d t h at
     f or t h e a n n u al s ui ci d e pr e v e nti o n tr ai ni n g a cr oss 1 8 pris o ns v ari e d                   att e n d a nc e f or t h e a n n u al s uici d e
     fr o m 0 p er c e nt t o 1 0 0 p er c e nt d uri n g t h e p eri o d h e r e vi e w e d. H e                       pr e v e nti o n tr ai ni n g acr oss 1 8 pris o ns
     r e p ort e d t h at 9 4 p er c e nt of c ust o d y st a ﬀ, 6 9 p er c e nt of m e di c al                         v ari e d fr o m 0 p erc e nt t o 1 0 0 p erc e nt
     st a ﬀ, a n d 6 3 p er c e nt of m e nt al h e alt h st a ﬀ r e c ei v e d t h e a n n u al                        d uri n g 2 01 4.
     s ui ci d e pr e v e nti o n tr ai ni n g i n t h e 1 8 pris o ns d uri n g 2 01 4. H e
     c o n cl u d e d t h at t h e c o m pli a n c e r at es f or tr ai ni n g b ot h m e di c al a n d
     m e nt al h e alt h st a ﬀ r e m ai n e d pr o bl e m ati c.

     I n a d diti o n, o ur r e vi e w f o u n d t h at CI W’s tr ai n ers t h e ms el v es h a v e
     miss e d r e q uir e d cl ass es. C orr e cti o ns r e q uir es t h at i nstr u ct ors t e a c hi n g
     s ui ci d e pr e v e nti o n a n d ris k e v al u ati o n tr ai ni n gs p arti ci p at e i n s p e ci ﬁ c
     tr ai n-t h e-tr ai n er c o urs es. Alt h o u g h b ot h of CI W’s i nstr u ct ors f or t h e
     s ui ci d e pr e v e nti o n tr ai ni n g a n d t h e i nstr u ct or f or t h e ris k e v al u ati o n
     tr ai ni n g att e n d e d t h e r e q uir e d c o urs es, o nl y o n e of ﬁ v e of its
     m e nt ors h a d r e c ei v e d t h e n e c ess ar y tr ai ni n g. F urt h er, t h e t w o s ui ci d e
     pr e v e nti o n tr ai n ers t a u g ht s e v er al tr ai ni n gs b ef or e t h e y w er e q u ali ﬁ e d
     t o d o s o p er C orr e cti o ns’ r e q uir e m e nts. CI W’s s ui ci d e pr e v e nti o n
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                                                        t e a m c o or di n at or st at e d t h at s h e r e c ei v e d tr ai ni n g fr o m C orr e cti o ns
                                                        a n d t h at s h e s u bs e q u e ntl y pr o vi d e d tr ai ni n g t o all m e nt ors. S h e
                                                        e x pl ai n e d t h at s h e b eli e v e d t h e tr ai ni n g s h e pr o vi d e d w as s u ﬃ ci e nt
                                                        t o f ul ﬁll t h e tr ai ni n g r e q uir e m e nts f or m e nt ors. H o w e v er, t h e cli ni c al
                                                        s u p p ort c hi ef st at e d t h at all m e nt al h e alt h st a ﬀ ar e r e q uir e d t o r e c ei v e
                                                        C orr e cti o ns’ tr ai ni n g b ef or e m e nt ori n g ot h er st a ﬀ. S h e f urt h er
                                                        e x pl ai n e d t h at, at o n e p oi nt, C orr e cti o ns all o w e d pris o ns t o tr ai n
                                                        t h eir o w n m e nt ors, b ut it dis c o nti n u e d t his pr a cti c e ar o u n d 2 01 3 aft er
                                                        r e ali zi n g t h e c o nt e nt w as n ot al w a ys a d e q u at el y c o m m u ni c at e d.

                                                        U nl ess C orr e cti o ns e ns ur es t h at its tr ai n ers h a v e t h e k n o wl e d g e a n d
                                                        t o ols n e c ess ar y t o pr o vi d e i nstr u cti o n i n a n e n g a gi n g a n d e ﬀ e cti v e
                                                        m a n n er, it r e d u c es t h e e ﬀ e cti v e n ess of its tr ai ni n g a b o ut s ui ci d e
                                                        pr e v e nti o n pr a cti c es. I n t h e s ui ci d e e x p ert’s J a n u ar y 2 015 r e p ort, h e
                                                        st at e d t h at h e att e n d e d t h e r e q uir e d o n e- h o ur s ui ci d e pr e v e nti o n
                                                        tr ai ni n gs at s e v e n pris o ns a n d t h at m a n y w er e pr o bl e m ati c. F or
                                                        e x a m pl e, t h e s ui ci d e e x p ert n ot e d t h at at o n e of t h e tr ai ni n gs, t h e
                                                        i nstr u ct or si m pl y r e a d t h e n e arl y 4 0 P o w er P oi nt sli d es at a f airl y
                                                        q ui c k p a c e, e n di n g t h e pr es e nt ati o n aft er a b o ut 2 5 mi n ut es. Th e
                                                        s ui ci d e e x p ert p oi nt e d o ut t h at a n ot h er tr ai ni n g l ast e d r o u g hl y
                                                        4 0 mi n ut es a n d t h at t h e o nl y i nt er a cti o n b et w e e n t h e i nstr u ct or
                                                        a n d t h e p arti ci p a nts o c c urr e d w h e n o n e p arti ci p a nt as k e d a b o ut
                                                        t h e l e n gt h of t h e cl ass. H e als o o bs er v e d t h at o n e pris o n h a d o nl y
                                                        o ﬀ er e d t h e s ui ci d e pr e v e nti o n tr ai ni n g vi a D V D. If C orr e cti o ns
                                                        d o es n ot e ns ur e t h at all tr ai n ers r e c ei v e i nstr u cti o n o n d eli v er y,
                                                        it ris ks its tr ai n ers p o orl y pr es e nti n g i nf or m ati o n a n d f aili n g t o
                                                        cr e at e m e a ni n gf ul dis c ussi o ns r e g ar di n g t h e tr ai ni n g t o pi c, w hi c h
                                                        si g ni ﬁ c a ntl y di mi nis h es t h e v al u e t o t h os e att e n di n g t h e tr ai ni n g.

     W e f o u n d t h at s o m e of C orr ecti o ns’   A d diti o n all y, w e f o u n d t h at s o m e of C orr e cti o ns’ s ui ci d e pr e v e nti o n
     s uici d e pr e v e nti o n tr ai ni n gs w er e   tr ai ni n gs w er e missi n g r e q uir e d c o nt e nt. F or e x a m pl e, C orr e cti o ns’
     missi n g r e q uir e d c o nt e nt.               p oli ci es r e q uir e t h at t h e a n n u al s ui ci d e pr e v e nti o n a n d r es p o ns e
                                                        tr ai ni n g e x pl ai n h o w t o h a n dl e sit u ati o ns i n w hi c h i n m at es wit h
                                                        m e nt al h e alt h c o n c er ns c o m mit vi ol ati o ns of pris o n r ul es. H o w e v er,
                                                        w e di d n ot ﬁ n d s u c h c o nt e nt i n t h e s ui ci d e pr e v e nti o n tr ai ni n g
                                                        fr o m 2 01 4 t hr o u g h 2 01 6. C orr e cti o ns o ﬀ ers a tr ai ni n g t h at f o c us es
                                                        o n sit u ati o ns i n v ol vi n g vi ol ati o ns of pris o n r ul es, b ut t h at tr ai ni n g
                                                        is n ot o ﬀ er e d t o e v er y o n e w h o m C orr e cti o ns r e q uir es t o t a k e t h e
                                                        a n n u al s ui ci d e pr e v e nti o n tr ai ni n g. C orr e cti o ns m ust als o f oll o w a
                                                        2 015 c o urt or d er r e q uiri n g it t o i n c or p or at e i nt o its tr ai ni n gs c ert ai n
                                                        t o pi cs t h at t h e s ui ci d e e x p ert’s J a n u ar y 2 015 r e p ort o utli n es. Th e
                                                        s ui ci d e e x p ert r e c o m m e n d e d t h at C orr e cti o ns e x p a n d t h e l e n gt h
                                                        a n d c o nt e nt of c ert ai n s ui ci d e pr e v e nti o n tr ai ni n gs b y i n cl u di n g
                                                        v ari o us t o pi cs, s u c h as d e ali n g e ﬀ e cti v el y wit h i n m at es p er c ei v e d t o
                                                        b e m a ni p ul ati v e. Alt h o u g h t h e a n n u al s ui ci d e pr e v e nti o n tr ai ni n g,
                                                        ris k e v al u ati o n tr ai ni n g, a n d a tr ai ni n g ai m e d at h el pi n g st a ﬀ i m pr o v e
                                                        t h e a c c ur a c y of di a g n os es c o nt ai n e d dis c ussi o n of s u c h p er c e pti o ns,
                                                        a w e bi n ar o n tr e at m e nt pl a n ni n g i n ris k e v al u ati o ns di d n ot. Wit h o ut
                                                        r e q uir e d c o nt e nt, C orr e cti o ns’ tr ai ni n gs will l a c k e ﬀ e cti v e n ess i n
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     pr e v e nti n g s ui ci d es a n d i m pr o vi n g r es p o ns es t o att e m pt e d s ui ci d es.
     F or e x a m pl e, if C orr e cti o ns’ st a ﬀ ass u m e i n m at es ar e e x pr essi n g
     s ui ci d al t h o u g hts i n or d er t o o bt ai n s o m e b e n e ﬁt —i n ot h er w or ds,
     ar e b ei n g m a ni p ul ati v e —t h e st a ﬀ m a y miss i m p ort a nt w ar ni n g si g ns
     of i m p e n di n g s ui ci d e att e m pts.


     St a ﬀ V a c a n ci es C o nti n u e t o C h all e n g e C orr e cti o ns’ A bilit y t o Pr o vi d e
     S u ﬃ ci e nt M e nt al H e alt h S er vi c es t o I n m at es

     F or m or e t h a n 2 0 y e ars, C orr e cti o ns h as c o nti n u e d t o str u g gl e t o ﬁll
     k e y m e nt al h e alt h p ositi o n v a c a n ci es, cr e ati n g t h e ris k t h at it m a y
     n ot b e a bl e t o a d e q u at el y s er v e i n m at es i n n e e d of m e nt al h e alt h
     s er vi c es. I n a M a y 2 01 6 r e p ort, t h e s p e ci al m ast er r e c o u nts t h at t h e
     c o urt i n C ol e m a n r ul e d i n 1 9 9 5 t h at C orr e cti o ns w as si g ni ﬁ c a ntl y
     a n d c hr o ni c all y u n d erst a ﬀ e d i n t h e ar e a of m e nt al h e alt h c ar e
     s er vi c es a n d di d n ot h a v e s u ﬃ ci e nt st a ﬀ t o tr e at t h e l ar g e n u m b ers
     of m e nt all y ill i n m at es i n its c ust o d y. Th e s p e ci al m ast er r e p ort e d
     t h at d uri n g t h e i nt er v e ni n g 2 0 y e ars, t h e pr o p orti o n of C orr e cti o ns’
     i n m at es r e q uiri n g m e nt al h e alt h c ar e s o ar e d fr o m l ess t h a n
     1 5 p er c e nt t o 2 9 p er c e nt of t h e t ot al i n m at e p o p ul ati o n, f or a t ot al
     of n e arl y 3 7, 0 0 0 i n m at es r e q uiri n g m e nt al h e alt h c ar e. I n 2 0 0 2
     t h e c o urt or d er e d C orr e cti o ns t o m ai nt ai n a v a c a n c y r at e a m o n g
     ps y c hi atrists, ps y c h ol o gists, a n d s o ci al w or k ers of n ot m or e t h a n
     1 0 p er c e nt.

     W h e n w e r e vi e w e d C orr e cti o ns’ d at a o n t hr e e k e y p ositi o ns                             W h e n w e r e vi e w e d C orr ecti o ns’
     t h e c o urt i d e nti ﬁ e d — ps y c hi atrists, ps y c h ol o gists, a n d s o ci al                         d at a o n t hr e e k e y p ositi o ns t h e
     w or k ers — w e f o u n d t h at v a c a n c y r at es w er e hi g h est a m o n g                             c o urt i d e nti ﬁ e d — ps yc hi atrists,
     ps y c hi atrists. A c c or di n g t o o ur a n al ysis of C orr e cti o ns’ d at a, its                        ps yc h ol o gists, a n d s oci al w or k ers —
     pris o ns o v er all h a d a 31 p er c e nt v a c a n c y r at e f or ps y c hi atrists,                        w e f o u n d t h at v ac a nc y r at es w er e
     9 p er c e nt f or ps y c h ol o gists, a n d 2 p er c e nt f or s o ci al w or k ers as of                     hi g h est a m o n g ps yc hi atrists at
     D e c e m b er 2 01 6. E a c h of t h e f o ur pris o ns w e r e vi e w e d h a d v a c a n c y                 31 p erc e nt as of D ec e m b er 2 01 6.
     r at es b el o w 1 0 p er c e nt f or s o ci al w or k ers a n d at or b el o w 1 0 p er c e nt
     f or ps y c h ol o gists. H o w e v er, C C W F, RJ D, a n d S A C h a v e c o nti n u e d
     t o str u g gl e t o ﬁll ps y c hi atrist p ositi o ns, wit h v a c a n c y r at es of a b o ut
     3 2 p er c e nt, 31 p er c e nt, a n d 4 4 p er c e nt, r es p e cti v el y. A c c or di n g
     t o a M ar c h 2 01 7 r e p ort fr o m t h e N ati o n al C o u n cil f or B e h a vi or al
     H e alt h, t h er e is a n ati o n al s h ort a g e of ps y c hi atrists. O nl y CI W h a d
     v a c a n c y r at es b el o w 1 0 p er c e nt f or all t hr e e cl assi ﬁ c ati o ns. W h e n
     pris o ns d o n ot m ai nt ai n a d e q u at e m e nt al h e alt h st a ﬀ, t h eir a bilit y
     t o pr o vi d e q u alit y m e nt al h e alt h c ar e t o i n m at es c a n s u ﬀ er. F or
     e x a m pl e, a c c or di n g t o t h e c o or di n at or of S A C’s s ui ci d e pr e v e nti o n
     t e a m, a s h ort a g e of ps y c hi atrists h as a tri c kl e- d o w n e ﬀ e ct b e c a us e
     if i n m at es d o n ot r e c ei v e t h e pr o p er m e di c ati o n, t h e y m a y a ct o ut
     m or e a n d r e q uir e a d diti o n al att e nti o n or t h er a p y, e x a c er b ati n g
     m e nt al h e alt h st a ﬀ’s alr e a d y h e a v y w or kl o a ds.
48   C alifCase
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                                                 F urt h er m or e, t h e pris o ns’ t ot al a ut h ori z e d m e nt al h e alt h p ositi o ns
                                                 m a y n ot b e e n o u g h t o f ul ﬁll i n m at es’ n e e ds. F or e x a m pl e, CI W’s
                                                 c hi ef of m e nt al h e alt h st at e d t h at e v e n w h e n CI W’s m e nt al h e alt h
                                                 p ositi o ns ar e al m ost f ull y st a ﬀ e d, m e nt al h e alt h st a ﬀ still f e el
                                                 o v er w h el m e d a n d d o n ot h a v e ti m e t o m e et wit h i n m at es as oft e n
                                                 as t h e y b eli e v e is n e e d e d. Si mil arl y, t h e c hi ef of m e nt al h e alt h at
                                                 C C W F st at e d t h at alt h o u g h w or kl o a ds s e e m m a n a g e a bl e b as e d
                                                 o n C orr e cti o ns’ mi ni m u m r e q uir e m e nts f or m e nt al h e alt h c ar e,
                                                 i n m at es s o m eti m es r e q uir e si g ni ﬁ c a ntl y m or e visits t h a n t h e
                                                 mi ni m u m r e q uir e d, e ﬀ e cti v el y i n cr e asi n g st a ﬀ w or kl o a d. S h e
                                                 e x pl ai n e d t h at gi v e n t h e i n cr e as e d w or kl o a d f or s ui ci d e pr e v e nti o n,
                                                 m e nt al h e alt h st a ﬀ m a y n e gl e ct r o uti n e b ut i m p ort a nt t as ks, s u c h
                                                 as c o m pl eti n g f oll o w- u p s ui ci d e ris k e v al u ati o ns, t o f o c us o n ur g e nt
                                                 m att ers, s u c h as r es p o n di n g t o i m mi n e nt s ui ci d e t hr e ats.

                                                 Th e st a ﬃ n g pr o bl e ms t h at t h es e pris o ns n ot e d ar e li k el y i n p art
                                                 d u e t o t h e f a ct t h at C orr e cti o ns h as n ot u p d at e d its st a ﬃ n g m o d el
                                                 si n c e 2 0 0 9. S p e ci ﬁ c all y, t h e c hi efs of m e nt al h e alt h at b ot h CI W
                                                 a n d C C W F e x pr ess e d t h e n e e d f or C orr e cti o ns t o r e visit t h e
                                                 st a ﬃ n g m o d el it us es t o d et er mi n e t h e n u m b er of m e nt al h e alt h
                                                 st a ﬀ n e e d e d p er pris o n. F or e x a m pl e, C C W F’s c hi ef of m e nt al
                                                 h e alt h i n di c at e d t h at t h e st a ﬃ n g r ati os f or w o m e n’s pris o ns is
                                                 2 0 p er c e nt hi g h er t h a n st a ﬃ n g r ati os f or m e n’s pris o ns i n t h e
                                                 m o d el; h o w e v er, t his a dj ust m e nt is n ot e n o u g h t o c o m p e ns at e f or
                                                 t h e i n cr e as e d n u m b er of m e nt al h e alt h cris es a n d r ef err als t h at aris e
                                                 wit h t h e f e m al e i n m at e p o p ul ati o n. C orr e cti o ns’ ass o ci at e dir e ct or
                                                 of p oli c y a n d cli ni c al s u p p ort ( ass o ci at e dir e ct or) a c k n o wl e d g e d
                                                 t h at C orr e cti o ns h as n ot r e vis e d t h e m o d el si n c e 2 0 0 9, ei g ht y e ars
                                                 a g o. S h e e x pl ai n e d t h at w h e n c al c ul ati n g t h e n u m b er of st a ﬀ n e e d e d
                                                 p er pris o n, t h e m o d el d o es n ot t a k e i nt o a c c o u nt t h e f oll o wi n g
                                                 f a ct ors: g e n d er; f a cilit y l a y o ut; s e c urit y l e v el; a n d n u m b er of
                                                 i n m at es i n e a c h s e c urit y l e v el, e x cl u di n g r estri ct e d h o usi n g. Th e
                                                 ass o ci at e dir e ct or e x pl ai n e d t h at s h e b eli e v es C orr e cti o ns n e e ds t o
                                                 r e visit t h e 2 0 0 9 st a ﬃ n g m o d el t o t a k e i nt o a c c o u nt s o m e of t h es e
                                                 f a ct ors as w ell as C orr e cti o ns’ r e vis e d p oli ci es, r e c e nt c o urt or d ers,
                                                 t h e pris o ns’ i m pl e m e nt ati o n of t h e n e w el e ctr o ni c h e alt h r e c or d
                                                 s yst e m, a n d t h e pris o ns’ a d h er e n c e t o r e q uir e m e nts b as e d o n its
                                                 c urr e nt ﬁll e d p ositi o ns.
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     R e c o m m e n d ati o ns


     L e gisl at ur e

     T o pr o vi d e a d diti o n al a c c o u nt a bilit y f or C orr e cti o ns’ e ﬀ orts t o
     r es p o n d t o a n d pr e v e nt i n m at e s ui ci d es a n d att e m pt e d s ui ci d es,
     t h e L e gisl at ur e s h o ul d r e q uir e t h at C orr e cti o ns r e p ort t o it i n
     A pril 2 01 8 a n d a n n u all y t h er e aft er o n t h e f oll o wi n g iss u es:

     •      Th e st at us of its e ﬀ orts t o e ns ur e t h at all m e nt al h e alt h st a ﬀ
         r e c ei v e r e q uir e d tr ai ni n g a n d m e nt ori n g r el at e d t o s ui ci d e
         pr e v e nti o n a n d r es p o ns e.

     •      Th e st at us of its e ﬀ orts t o ﬁll v a c a n ci es i n its m e nt al h e alt h
         tr e at m e nt pr o gr a ms, es p e ci all y its e ﬀ orts t o hir e a n d
         r et ai n ps y c hi atrists.


     C orr ecti o ns

     T o a d dr ess t h e u ni q u e cir c u mst a n c es t h at m a y i n cr e as e its f e m al e
     i n m at es’ r at es of s ui ci d e a n d s ui ci d e att e m pts, C orr e cti o ns s h o ul d
     t a k e t h e f oll o wi n g a cti o ns:

     • I m pl e m e nt its pl a n n e d s a m e-s e x d o m esti c vi ol e n c e c urri c ul u m
       b y D e c e m b er 2 01 7.

     •    C o nti n u e t o e x pl or e a d diti o n al pr o gr a ms t h at c o ul d a d dr ess t h e
         s ui ci d e ris k f a ct ors f or f e m al e i n m at es.

     T o e ns ur e t h at all pris o n st a ﬀ r e c ei v e r e q uir e d tr ai ni n g r el at e d t o
     s ui ci d e pr e v e nti o n a n d r es p o ns e, C orr e cti o ns s h o ul d i m m e di at el y
     i m pl e m e nt a pr o c ess f or i d e ntif yi n g pris o ns w h er e st a ﬀ ar e n ot
     att e n di n g r e q uir e d tr ai ni n gs a n d f or w or ki n g wit h t h e pris o ns t o
     s ol v e t h e iss u es pr e v e nti n g att e n d a n c e.

     T o e ns ur e t h at tr ai n ers a n d ris k e v al u ati o n m e nt ors at all pris o ns
     ar e a bl e t o tr ai n st a ﬀ e ﬀ e cti v el y, C orr e cti o ns s h o ul d i m m e di at el y
     b e gi n r e q uiri n g pris o ns t o r e p ort t h e p er c e nt a g e of t h eir tr ai n ers
     a n d m e nt ors w h o h a v e r e c ei v e d tr ai ni n g o n h o w t o c o n d u ct
     tr ai ni n g a n d m e nt ori n g. It s h o ul d w or k wit h pris o ns t o e ns ur e t h at
     all tr ai n ers a n d m e nt ors r e c ei v e a d e q u at e tr ai ni n g.

     To m a xi mi z e t h e v al u e of its tr ai ni n gs r el at e d t o s ui ci d e pr e v e nti o n
     a n d r es p o ns e, C orr e cti o ns s h o ul d e ns ur e t h at st arti n g i n J a n u ar y 2 01 8,
     its tr ai ni n gs i n cl u d e all c o nt e nt t h at t h e s p e ci al m ast er a n d its o w n
     p oli ci es r e q uir e.
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                                                 T o e ns ur e t h at it h as e n o u g h st a ﬀ t o pr o vi d e m e nt al h e alt h s er vi c es
                                                 t o all i n m at es w h o r e q uir e c ar e, C orr e cti o ns s h o ul d r e vi e w a n d
                                                 r e vis e its m e nt al h e alt h st a ﬃ n g m o d el b y A u g ust 2 01 8.
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     C h a pt er 3
     T O R E D U C E I N M A T E S UI CI D E S A N D A T T E M P T S,
     C O R R E C TI O N S M U S T S T R E N G T H E N I T S O V E R SI G H T A N D
     D E M O N S T R A T E G R E A T E R L E A D E R S HI P

     C orr e cti o ns h as str u g gl e d f or d e c a d es t o a d e q u at el y pr o vi d e m e nt al
     h e alt h s er vi c es t o i n m at es. As a r es ult, m ost of its e ﬀ orts t o r e d u c e
     its i n m at e s ui ci d e r at es i n r e c e nt y e ars h a v e b e e n i n r es p o ns e t o
     c o urt- or d er e d o v ersi g ht. F or e x a m pl e, i n r es p o ns e t o t h e s ui ci d e
     e x p ert’s 2 01 5 r e c o m m e n d ati o ns, it a d o pt e d a n u m b er of p oli ci es,
     i m pl e m e nt e d f a cilit y i m pr o v e m e nts, a n d i m pr o v e d its tr ai ni n g.
     H o w e v er, its p oli ci es ar e u nli k el y t o h a v e si g ni ﬁ c a nt i m p a ct if it
     d o es n ot e ns ur e t h at t h e pris o ns f ull y i m pl e m e nt a n d a d h er e t o
     t h e m — w hi c h it h as y et t o d o. Alt h o u g h C orr e cti o ns st at e d it is
     d e v el o pi n g a n a u dit pr o c ess t o e ns ur e t h at pris o ns c o m pl y wit h
     p oli ci es a n d pr o c e d ur es, it h as k n o w n a b o ut t h eir n o n c o m pli a n c e
     f or y e ars, a n d it is u n c ert ai n as t o w h e n it will f ull y i m pl e m e nt t his
     pr o c ess a cr oss all pris o ns. Si mil arl y, C orr e cti o ns cr e at e d t e a ms at
     e a c h of t h e pris o ns t o s p e ci ﬁ c all y f o c us o n s ui ci d e pr e v e nti o n a n d
     r es p o ns e; h o w e v er, it h as n ot e ns ur e d t h at t h es e t e a ms c o nsist e ntl y
     pr o vi d e l e a d ers hi p o n criti c al iss u es. I n a d diti o n, C orr e cti o ns
     h as n ot al w a ys pr o a cti v el y s o u g ht o p p ort u niti es t o d e m o nstr at e
     l e a d ers hi p i n r e g ar ds t o d o c u m e nti n g a n d diss e mi n ati n g pr o gr a ms
     or b est pr a cti c es f or pr e v e nti n g i n m at e s ui ci d e.


     Alt h o u g h C orr e cti o ns H as D e v el o p e d P oli ci es a n d Tr ai ni n g t o A d dr ess
     P ast R e c o m m e n d ati o ns, It H as N ot E ns ur e d T h at Pris o ns F ull y
     I m pl e m e nt T h es e C h a n g es

     Fr o m N o v e m b er 2 01 3 t hr o u g h J ul y 2 01 4, t h e s ui ci d e e x p ert
     c o n d u ct e d a c o m pr e h e nsi v e a u dit of s ui ci d e pr e v e nti o n pr a cti c es i n
     e a c h of C orr e cti o ns’ pris o ns. This a u dit r es ult e d i n a J a n u ar y 2 01 5
     r e p ort c o nt ai ni n g 3 2 r e c o m m e n d ati o ns. Th e c o urt i n C ol e m a n
     s u bs e q u e ntl y or d er e d C orr e cti o ns t o w or k wit h t h e s p e ci al m ast er
     t o d e v el o p str at e gi es t o i m pl e m e nt t h es e r e c o m m e n d ati o ns,
     a n d it als o or d er e d t h e s ui ci d e e x p ert t o pr o vi d e a n u p d at e d
     r e p ort o n C orr e cti o ns’ pr o gr ess. Th e s ui ci d e e x p ert c o m pl et e d
     t his u p d at e d r e p ort i n J a n u ar y 2 01 6, i n w hi c h h e st at e d t h at
     C orr e cti o ns h a d b e g u n t o i m pl e m e nt c orr e cti v e a cti o ns i n r es p o ns e
     t o his r e c o m m e n d ati o ns. Thr o u g h t h e a d o pti o n of n e w p oli ci es,
     i m pr o v e m e nts t o its f a ciliti es, c h a n g es t o its tr ai ni n gs, a n d ot h er
     a cti o ns, C orr e cti o ns h as n o w a d dr ess e d t h e m aj orit y of t h e
     r e c o m m e n d ati o ns fr o m t h e s ui ci d e e x p ert’s J a n u ar y 2 01 5 r e p ort.
     Ta bl e 7 o n t h e f oll o wi n g p a g e lists s el e ct e d r e c o m m e n d ati o ns fr o m
     t h e s ui ci d e e x p ert’s 2 01 5 r e p ort t o C orr e cti o ns a n d C orr e cti o ns’
     r es p o ns es t o t h os e r e c o m m e n d ati o ns.
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     T a bl e 7
     S el e ct e d R e c o m m e n d ati o ns Fr o m t h e S ui ci d e E x p ert’s 2 0 1 5 R e p ort
                                                                                                                                                                                      I S C O R R E C TI O N S
                                                                                       C O R R E C TI O N S’ A C TI O N                          D AT E                        E N F O R CI N G/ M O NI T O RI N G
                         R E C O M M E N D A TI O N                          I N R E S P O N S E T O R E C O M M E N D A TI O N           A C TI O N T A K E N             C O M P LI A N C E WI T H T HI S P O LI C Y ?

       C orr e cti o ns s h o ul d r e vis e its ris k                Iss u e d m e m or a n d u m t o all pris o ns                       M arc h 2 0 1 6             N o. C orr e cti o ns tr a c ks a g gr e g at e
       e v al u ati o n m e nt ori n g pr o gr a m t o                i m pl e m e nti n g a r e vis e d m e nt ori n g                                                i nf or m ati o n t h e pris o ns r e p ort
       r e q uir e o n g oi n g m e nt ori n g t hr o u g h o ut      pr o gr a m a n d d es cri bi n g r e g ul ar a u dits                                           t o m o nit or c o m pli a n c e, b ut d o es
       t h e y e ar a n d a u dit m e nt al h e alt h                 of ris k e v al u ati o ns.                                                                      n ot f oll o w u p wit h t h e pris o ns.
       st a ﬀ’s ris k e v al u ati o ns o n a r e g ul arl y
       s c h e d ul e d b asis.
       C orr e cti o ns s h o ul d e nf orc e its                     Iss u e d m e m or a n d u m t o all pris o ns                       M arc h 2 0 1 6             N o. Will b e gi n m o nit ori n g
       p oli c y a ut h orizi n g o nl y t w o l e v els of           r eit er ati n g e xisti n g p oli c y t h at t h e o nl y                                       s yst e m wi d e o n c e it ﬁ n aliz es its
       o bs er v ati o n f or s ui ci d al i n m at es:               t w o l e v els of o bs er v ati o n ar e s ui ci d e                                            a u dit pr o c ess, w hi c h d o es n ot
       s uici d e pr ec a uti o n a n d s uici d e w atc h.           pr e c a uti o n a n d s ui ci d e w atc h.                                                      h a v e a n i m pl e m e nt ati o n d at e.
       C orr e cti o ns s h o ul d t a k e a cti o n t o c orr e ct   Iss u e d m e m or a n d u m t o all pris o ns                       M arc h 2 0 1 5             N o. Will b e gi n m o nit ori n g
       i n a cc ur at e d o c u m e nt ati o n o n i n m at e         r eit er ati n g e xisti n g p oli c y r e g ar di n g                                           s yst e m wi d e o n c e it ﬁ n aliz es its
       s ui ci d e pr e c a uti o n o bs er v ati o n f or ms.        d o c u m e nt ati o n o n s ui ci d e pr e c a uti o n                                          a u dit pr o c ess, w hi c h d o es n ot
                                                                      o bs er v ati o n f or ms.                                                                       h a v e a n i m pl e m e nt ati o n d at e.
       C orr ecti o ns s h o ul d e nf orc e its p olic y of          I n cl u d e d r eit er ati o n of t his p oli c y i n its            J ul y 2 0 1 5             N o. Will b e gi n m o nit ori n g
       h o usi n g o nl y n e wl y a d mitt e d i n m at es           a n n u al s ui ci d e pr e v e nti o n tr ai ni n g.                                            s yst e m wi d e o n c e it ﬁ n aliz es its
       i n a d mi nistr ati v e s e gr e g ati o n u nits i n                                                                                                          a u dit pr o c ess, w hi c h d o es n ot
       r etr o ﬁtt e d s uici d e-r esist a nt c ells f or t h eir                                                                                                     h a v e a n i m pl e m e nt ati o n d at e.
       ﬁrst 7 2 h o urs of a d missi o n t o t h e pris o n.
       C orr e cti o ns s h o ul d e ns ur e all crisis b e ds        D e v el o p e d a s c h e d ul e t o b e gi n                    N o v e m b er 2 0 1 5         C orr e cti o ns i n di c at e d o n e pris o n
       ar e s ui ci d e r esist a nt.                                 r etr o ﬁtti n g c ells at i d e nti ﬁ e d pris o ns.                                            r e q uir e d e xt e nsi v e r etr o ﬁtti n g
                                                                                                                                                                       a n d is still i n pr o gr ess.
       C orr e cti o ns s h o ul d r e vis e its p oli c y            Iss u e d r e vis e d p oli c y r e g ar di n g c h e c ks          J a n u ar y 2 0 1 6         N o. Will b e gi n m o nit ori n g
       s o t h at all i n m at es dis c h ar g e d fr o m a           of i n m at es dis c h ar g e d fr o m crisis b e ds,                                            s yst e m wi d e o n c e it ﬁ n aliz es its
       crisis b e d or alt er n ati v e h o usi n g, w h er e         a n d is w or ki n g t o ﬁ n aliz e a p oli c y                                                  a u dit pr o c ess, w hi c h d o es n ot
       t h e y h a d b e e n h o us e d d u e t o s ui ci d al        r e g ar di n g alt er n ati v e h o usi n g.                                                    h a v e a n i m pl e m e nt ati o n d at e.
       b e h a vi or, ar e o bs er v e d at 3 0- mi n ut e
       i nt er v als b y c ust o d y st a ﬀ, r e g ar dl ess
       of t h e h o usi n g u nits t o w hi c h t h e y
       ar e tr a nsf err e d.
       C orr e cti o ns s h o ul d t a k e c orr e cti v e            Iss u e d m e m o r eit er ati n g a n d cl arif yi n g                Ju ne 2016                N o. Will b e gi n m o nit ori n g
       a cti o n t o a d dr ess i n c o nsist e n ci es               p oli c y r e g ar di n g pri vil e g es f or i n m at es    (r e vis e d F e br u ar y 2 0 1 7) s yst e m wi d e o n c e it ﬁ n aliz es its
       b et w e e n pri vil e g es all o w e d f or p ati e nts       i n crisis b e ds.                                                                               a u dit pr o c ess, w hi c h d o es n ot
       i n crisis b e ds.                                                                                                                                              h a v e a n i m pl e m e nt ati o n d at e.


     S o urc es: T h e s ui ci d e e x p ert’s 2 0 1 5 r e p ort, C orr e cti o ns’ m e m or a n d a, a n d i nt er vi e ws wit h C orr e cti o ns’ o ﬃ ci als.



                                                                             S e v er al of t h e r e c o m m e n d ati o ns fr o m t h e s ui ci d e e x p ert’s 2 015 r e p ort
                                                                             dir e ct e d C orr e cti o ns t o r e vis e, e x a mi n e, or e nf or c e e xisti n g p oli ci es.
                                                                             C orr e cti o ns a d dr ess e d s e v er al of t h es e r e c o m m e n d ati o ns b y iss ui n g
                                                                             m e m os t o t h e pris o ns t h at eit h er r eit er at e or r e vis e p oli ci es. F or
                                                                             e x a m pl e, C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e st at es t h at c ust o d y st a ﬀ
                                                                             m ust c o n d u ct h o url y c h e c ks f or t h e ﬁrst 2 4 h o urs aft er dis c h ar g e of
                                                                             i n m at es at ris k of s ui ci d e w h o h a d b e e n a d mitt e d t o a crisis b e d or
                                                                             alt er n ati v e h o usi n g. H o w e v er, t h e s ui ci d e e x p ert r e c o m m e n d e d i n
                                                                             his 2 015 r e p ort t h at t h es e c h e c ks o c c ur at 3 0- mi n ut e i nt er v als.
                                                                             I n r es p o ns e t o t his r e c o m m e n d ati o n, C orr e cti o ns iss u e d a
                                                                             m e m or a n d u m i n J a n u ar y 2 01 6 r e q uiri n g c h e c ks e v er y 3 0 mi n ut es
                                                                             f or t h e ﬁrst 2 4 h o urs t h at i n m at es ar e dis c h ar g e d fr o m crisis b e ds.
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     C orr e cti o ns is w or ki n g t o ﬁ n ali z e a si mil ar p oli c y f or i n m at es r el e as e d
     fr o m alt er n ati v e h o usi n g. F urt h er, C orr e cti o ns m a d e c h a n g es t o its
     s ui ci d e pr e v e nti o n tr ai ni n g a n d ris k e v al u ati o n m e nt ori n g pr o gr a m.

     H o w e v er, C orr e cti o ns h as y et t o f ull y e ns ur e pris o ns’ c o m pli a n c e                   C orr ecti o ns h as y et t o f ull y e ns ur e
     wit h t h e n e w a n d r e vis e d p oli ci es r es ulti n g fr o m t h e s ui ci d e e x p ert’s            pris o ns’ c o m pli a nc e wit h t h e n e w a n d
     r e c o m m e n d ati o ns. F or e x a m pl e, d es pit e t h es e p oli ci es, m a n y of                    r e vis e d p olici es r es ulti n g fr o m t h e
     t h e pr o bl e ms w e i d e ntif y i n C h a pt er 1 r el at e t o t h e c o m pl eti o n                    s uici d e e x p ert’s r ec o m m e n d ati o ns.
     a n d q u alit y of b ot h ris k e v al u ati o ns a n d tr e at m e nt pl a ns. F urt h er,
     t h es e s a m e iss u es h a v e p ersist e d f or y e ars: c o urt- or d er e d r e p orts
     b y t h e s p e ci al m ast er d ati n g b a c k t o 2 0 0 2 i d e nti ﬁ e d si mil ar
     c o n c er ns. I n a d diti o n, C orr e cti o ns h as y et t o e ns ur e att e n d a n c e
     at s ui ci d e pr e v e nti o n t e a m m e eti n gs, as w e d es cri b e l at er i n
     t his c h a pt er. F urt h er, as w e s h o w i n C h a pt er 1, t h e m o nit ori n g it
     c urr e ntl y pr o vi d es d o es n ot r es ult i n si g ni ﬁ c a nt p ositi v e c h a n g e
     at t h e pris o ns. Alt h o u g h r e visi n g p oli ci es a n d h ol di n g tr ai ni n gs
     ar e i m p ort a nt p arts of i m pr o vi n g pris o ns’ a bilit y t o pr e v e nt a n d
     r es p o n d t o s ui ci d es, C orr e cti o ns c a n n ot e ns ur e t h at pris o ns a ct u all y
     c o m pl y wit h its p oli ci es u nl ess it pr o vi d es a d e q u at e m o nit ori n g.

     C orr e cti o ns is still d e v el o pi n g a n a u dit pr o c ess t o, a m o n g ot h er
     t hi n gs, tr a c k i m pl e m e nt ati o n of s e v er al of t h e s ui ci d e e x p ert’s
     r e c o m m e n d ati o ns. A c c or di n g t o C orr e cti o ns’ q u alit y a d mi nistr at or,
     C orr e cti o ns is i nt e gr ati n g c ert ai n r e c o m m e n d ati o ns fr o m t h e
     s ui ci d e e x p ert’s r e p ort i nt o a n a u dit pr o c ess f or c o n d u cti n g
     a u dits of pris o ns’ c o m pli a n c e wit h p oli ci es a n d pr o c e d ur es. Th e
     p orti o n of t h e a u dit pr o c ess c o n d u ct e d o n sit e at t h e pris o ns r at es
     1 2 br o a d ar e as —i n cl u di n g tr e at m e nt pl a n ni n g pr o c ess es, s ui ci d e
     pr e v e nti o n a n d r es p o ns e t o s ui ci d e, l e a d ers hi p, st a ﬃ n g, a n d q u alit y
     m a n a g e m e nt — o n a s c al e r a n gi n g fr o m pr o ﬁ ci e nt t o ur g e nt c o n c er ns .
     Th e r es ulti n g r e p orts i n cl u d e s p e ci ﬁ c r e c o m m e n d ati o ns.

     We r e vi e w e d t h e r e p ort of a pil ot a u dit t h at C orr e cti o ns c o n d u ct e d
     of a c ert ai n pris o n a n d f o u n d t h at t h e a u dit w as t h or o u g h a n d
     criti c al i n its a n al ysis of i d e nti ﬁ e d d e ﬁ ci e n ci es. A c c or di n g t o t h e
     r e p ort, t h e a u dit c o m bi n e d p erf or m a n c e d at a, d o c u m e nt r e vi e ws,
     p ati e nt a n d st a ﬀ i nt er vi e ws, h e alt h c ar e r e c or d r e vi e ws, a n d t h e
     r e gi o n al t e a ms’ o n-sit e o bs er v ati o ns of t h e pris o n’s d a y-t o- d a y
     o p er ati o ns. O ur r e vi e w s u g g ests t h at t h e a u dit pr o c ess m a y
     pr o v e h el pf ul as C orr e cti o ns b e gi ns i m pr o vi n g ar e as i n w hi c h
     it h as c o nsist e ntl y str u g gl e d, p arti c ul arl y b e c a us e it r e q uir es
     m o nit ori n g of s e v er al of t h e s ui ci d e e x p ert’s r e c o m m e n d ati o ns.
     F or e x a m pl e, i n r es p o ns e t o o n e of t h e s ui ci d e pr e v e nti o n e x p ert’s
     r e c o m m e n d ati o ns, C orr e cti o ns iss u e d a m e m o t o pris o ns i n
     M ar c h 2 01 6 t h at e x pli citl y st at es t h at t h e y c a n us e o nl y s ui ci d e
     w at c h or pr e c a uti o n l e v els of o bs er v ati o n f or s ui ci d al i n m at es i n
     crisis b e ds. A c c or di n g t o t h e h e alt h c ar e a d mi nistr at or i n c h ar g e
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                                                        of q u alit y c o ntr ol, C orr e cti o ns a d d e d i nstr u cti o ns o n r e vi e wi n g
                                                        pris o ns’ us e of s ui ci d e w at c h a n d pr e c a uti o n t o t h e a u dit pr o c ess i n
                                                        r es p o ns e t o t h e s ui ci d e e x p ert’s r e c o m m e n d ati o ns.

                                                        N e v ert h el ess, t h e a u dit pr o c ess h as b e e n i n d e v el o p m e nt f or
                                                        s o m e ti m e. A c c or di n g t o C orr e cti o ns’ c hi ef ps y c h ol o gist of t h e
                                                        h e alt h c ar e di visi o n, t h e c o urt i n C ol e m a n i n di c at e d s e v er al ti m es
                                                        t h at C orr e cti o ns n e e ds t o d e m o nstr at e t h at it h as a f ull q u alit y
                                                        i m pr o v e m e nt s yst e m i n pl a c e t h at i n cl u d es pr o c ess es f or c o nti n u all y
                                                        m o nit ori n g, e nf or ci n g, a n d i m pr o vi n g its p oli ci es a n d pr o c e d ur es.
                                                        S h e e x pl ai n e d t h at, t o c o m pl y wit h t his r e q uir e m e nt wit h t h e
                                                        e v e nt u al g o al of r e pl a ci n g t h e c o urt’s m o nit ori n g, C orr e cti o ns
                                                        b e g a n d e v el o pi n g t h e a u dit pr o c ess a n d e x p a n d e d t h e r ol e of
                                                        its r e gi o n al t e a ms, w h o will b e f oll o wi n g it. C orr e cti o ns’ q u alit y
                                                        a d mi nistr at or st at e d t h at C orr e cti o ns ﬁrst b e g a n d e v el o p m e nt of
                                                        t h e a u dit pr o c ess i n 2 01 3, t h at t h e r e gi o n al t e a ms h a v e c o n d u ct e d
                                                        s e v er al i niti al a u dits of s el e ct e d pris o ns, a n d t h at t h e y pl a n t o
                                                        c o nti n u e d e v el o pi n g t h e pr o c ess f or us e s yst e m wi d e i n t h e f ut ur e.
                                                        H o w e v er, t h e q u alit y a d mi nistr at or i n di c at e d t h at C orr e cti o ns h as
                                                        n ot est a blis h e d a c o n cr et e d at e f or i m pl e m e nt ati o n of t h e a u dit
                                                        pr o c ess s yst e m wi d e. C orr e cti o ns’ q u alit y a d mi nistr at or st at e d t h at
                                                        it is c o nti n ui n g t o w or k c oll a b or ati v el y wit h t h e s p e ci al m ast er
                                                        t o ﬁ n ali z e t h e a u dit pr o c ess. U ntil C orr e cti o ns f ull y i m pl e m e nts
                                                        t h e a u dit pr o c ess s yst e m wi d e, it l a c ks ass ur a n c e as t o w h et h er its
                                                        pris o ns ar e a d h eri n g t o t h e p oli ci es it p ut i n pl a c e t o a d dr ess s e v er al
                                                        of t h e s ui ci d e e x p ert’s r e c o m m e n d ati o ns.

     D es pit e iss ui n g a n d r e visi n g           A d diti o n all y, d es pit e iss ui n g a n d r e visi n g n u m er o us p oli ci es,
     n u m er o us p olici es, C orr ecti o ns h as     C orr e cti o ns h as n ot u p d at e d its pr o gr a m g ui d e t o r e ﬂ e ct t h es e
     n ot u p d at e d its pr o gr a m g ui d e t o     c h a n g es si n c e 2 0 0 9, cr e ati n g t h e p ot e nti al f or c o nf usi o n f or t h e
     r e ﬂ ect t h es e c h a n g es si nc e 2 0 0 9.   pris o ns t h at m ust i m pl e m e nt t h os e p oli ci es. C orr e cti o ns’ cli ni c al
                                                        s u p p ort c hi ef st at e d t h at it w o ul d h a v e t o c o or di n at e a n y f or m al
                                                        r e visi o n t o t h e e ntir e pr o gr a m g ui d e wit h t h e s p e ci al m ast er.
                                                        H o w e v er, s h e e x pl ai n e d t h at pris o ns c a n a c c ess all of C orr e cti o ns’
                                                        p oli c y c h a n g es at a c e ntr al l o c ati o n o n its i ntr a n et. F urt h er, i n
                                                        M ar c h 2 01 7 t h e c o urt i n C ol e m a n e n c o ur a g e d C orr e cti o ns t o
                                                        u p d at e its pr o gr a m g ui d e t hr o u g h t h e p u bli c ati o n of a d d e n d a c all e d
                                                        “ p o c k et p arts.” H o w e v er, t h e f a ct t h at pris o n a n d m e nt al h e alt h
                                                        st a ﬀ m ust r ef er b ot h t o t h e pr o gr a m g ui d e a n d t o a n y r el e v a nt
                                                        u p d at e m e m os a n d a d d e n d a w h e n d et er mi ni n g h o w t o i m pl e m e nt
                                                        p oli ci es, is i n e ﬃ ci e nt a n d a d ds n e e dl ess c o nf usi o n t o a n alr e a d y
                                                        c o m pl e x pr o c ess.

                                                        U p d ati n g t h e pr o gr a m g ui d e w o ul d als o h el p C orr e cti o ns t o
                                                        i d e ntif y a n d c orr e ct i n c o nsist e n ci es wit hi n it. F or e x a m pl e, t h e
                                                        pr o gr a m g ui d e st at es t h at i n m at es m ust n ot st a y i n crisis b e ds f or
                                                        m or e t h a n 1 0 d a ys wit h o ut t h e a p pr o v al of a hi g h-r a n ki n g o ﬃ ci al.
                                                        H o w e v er, o n e p art of t h e pr o gr a m g ui d e st at es t h at a p pr o v al m ust
                                                        c o m e fr o m t h e c hi ef of m e nt al h e alt h or t h e a p pr o pri at e d esi g n e e,
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     w h er e as a n ot h er p art st at es t h at a p pr o v al m ust c o m e fr o m t h e
     c hi ef ps y c hi atrist or t h e a p pr o pri at e d esi g n e e. Th es e ar e di ﬀ er e nt
     p ositi o ns at t h e f o ur pris o ns w e r e vi e w e d. Alt h o u g h w e di d n ot
     i d e ntif y s p e ci ﬁ c c o n c er ns r el at e d t o t his dis cr e p a n c y, it is f urt h er
     i n di c ati v e of t h e n e e d f or C orr e cti o ns t o r e vi e w a n d r e vis e its
     pr o gr a m g ui d e. W h e n C orr e cti o ns d o es n ot e ns ur e t h at pris o ns ar e
     i m pl e m e nti n g p oli c y c h a n g es a p pr o pri at el y or d o es n ot d o c u m e nt
     its p oli ci es i n a cl e ar, or g a ni z e d, c o nsist e nt, a n d c o ns oli d at e d f as hi o n,
     it ris ks cr e ati n g c o nf usi o n a n d i n c o nsist e n c y i n t h e tr e at m e nt t h at
     pris o ns pr o vi d e t o i n m at es. A c c or di n g t o C orr e cti o ns’ d e p ut y
     dir e ct or of t h e st at e wi d e m e nt al h e alt h pr o gr a m, C orr e cti o ns
     i nt e n ds t o i n c or p or at e a p pr o pri at e p orti o ns of t h e pr o gr a m g ui d e
     i nt o st at e r e g ul ati o ns, w hi c h will h el p str e n gt h e n C orr e cti o ns’
     m e nt al h e alt h s yst e m. S h e e x pl ai n e d t h at C orr e cti o ns h as b e e n
     w or ki n g o n m e m ori ali zi n g t h e p oli ci es i n r e g ul ati o ns, b ut h as y et t o
     b e gi n t h e f or m al pr o c ess f or pr o m ul g ati n g t h e r e g ul ati o ns a n d d o es
     n ot h a v e a ti m e fr a m e f or w h e n it i nt e n ds t o b e gi n t his pr o c ess.


     C orr e cti o ns H as N ot E ns ur e d T h at Pris o ns’ S ui ci d e Pr e v e nti o n T e a ms
     A d e q u at el y F ul ﬁll t h e P ur p os es f or W hi c h T h e y W er e Cr e at e d

     Alt h o u g h C orr e cti o ns est a blis h e d a st at e wi d e
     s ui ci d e pr e v e nti o n t e a m as w ell as s ui ci d e                         R e q uir e d M e m b ers hi p of S uici d e Pr e v e nti o n Te a ms
     pr e v e nti o n t e a ms at e a c h of t h e pris o ns, it h as
     n ot e ns ur e d t h at t h es e t e a ms e x er cis e s u ﬃ ci e nt                 Pris o ns :
     l e a d ers hi p t o h el p pr e v e nt s ui ci d es. T o r e d u c e                   • S uici d e pr e v e nti o n t e a m c o or di n at or (c h air p ers o n)
     t h e ris k of i n m at e s ui ci d es, C orr e cti o ns’ p oli ci es                   • C hi ef ps yc hi atrist*
     r e q uir e t h e s ui ci d e pr e v e nti o n t e a ms t o pr o vi d e
                                                                                             • C hi ef ps yc h ol o gist*
     st a ﬀ wit h tr ai ni n g a n d g ui d a n c e wit h r e g ar d
                                                                                             • S u p er visi n g r e gist er e d n urs e
     t o s ui ci d e pr e v e nti o n, r es p o ns e, r e p orti n g,
     a n d r e vi e w. C orr e cti o ns’ p oli ci es st at e t h at t h e                    • S e ni or lic e ns e d ps yc hi atric t ec h nici a n or lic e ns e d
     st at e wi d e s ui ci d e pr e v e nti o n t e a m a n d t e a ms                        ps yc hi atric t ec h nici a n
     at e a c h pris o n m ust m e et at l e ast m o nt hl y, a n d                          • C orr ecti o n al h e alt h s er vic es a d mi nistr at or
     r e q uir e t h at i n di vi d u als i n c ert ai n p ositi o ns, as t h e              •     D e p art m e nt of St at e H os pit als’ c o or di n at or
     t e xt b o x s h o ws, att e n d e a c h m e eti n g. H o w e v er,                  St at e wi d e:
     o nl y o n e of t h e f o ur pris o ns w e r e vi e w e d m et
                                                                                             • S uici d e pr e v e nti o n t e a m c o or di n at or (c h air p ers o n)
     C orr e cti o ns’ att e n d a n c e r e q uir e m e nts. F urt h er, t h e
     s ui ci d e pr e v e nti o n t e a ms oft e n f ail e d t o dis c uss                   • C hi ef ps yc hi atrist
     k e y iss u es t h at mi g ht e n a bl e t h e pris o ns t o b ett er                   • C hi ef ps yc h ol o gist
     pr e v e nt s ui ci d es.                                                               •     N urs e c o ns ult a nt
                                                                                             •     D esi g n at e d f acilit y c a pt ai n
     S ui ci d e pr e v e nti o n a n d r es p o ns e i n C alif or ni a’s
                                                                                          S o urc e: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e.
     pris o ns r e q uir es att e nti o n fr o m m ulti pl e cli ni c al                  * A s e ni or ps yc hi atrist or s e ni or ps yc h ol o gist att e n d a n c e m e ets
     dis ci pli n es. If r e q uir e d m e m b ers ar e a bs e nt,                            t h e q u or u m r e q uir e m e nt i n pris o ns wit h o ut a c hi ef ps yc hi atrist
     t h e y a n d t h e st a ﬀ t h e y s u p er vis e ris k missi n g                        or c hi ef ps yc h ol o gist p ositi o n.
     i m p ort a nt i nf or m ati o n, a n d t h e s ui ci d e pr e v e nti o n
     t e a m l a c ks t h e i nsi g ht of t h e missi n g m e m b ers.
     N o n et h el ess, o nl y C C W F m et att e n d a n c e
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                                                                      r e q uir e m e nts f or its t e a m i n 2 01 6. Alt h o u g h e a c h of t h e f o ur pris o ns
                                                                      w e visit e d h el d m o nt hl y s ui ci d e pr e v e nti o n t e a m m e eti n gs
                                                                      d uri n g 2 01 6, t h e mi n ut es of t h es e t e a m m e eti n gs at CI W, S A C,
                                                                      a n d RJ D i n di c at e t h at t h e y di d n ot m e et att e n d a n c e r e q uir e m e nts
                                                                      f or 11, 1 0, a n d ei g ht m o nt hl y m e eti n gs, r es p e cti v el y, i n 2 01 6. We
                                                                      als o f o u n d i nst a n c es i n w hi c h r e q uir e d s ui ci d e pr e v e nti o n t e a m
                                                                      m e m b ers miss e d s e v er al m e eti n gs. F or e x a m pl e, at CI W t h e c hi ef
                                                                      ps y c hi atrist or a d esi g n e e f ail e d t o att e n d ei g ht of 1 2 m e eti n gs, a n d
                                                                      at S A C t h e s u p er visi n g r e gist er e d n urs e miss e d si x of 1 2 m e eti n gs.

                                                                   Th es e att e n d a n c e iss u es h a v e b e e n br o u g ht t o C orr e cti o ns’
                                                                   att e nti o n b ef or e, a n d it h as p oi nt e d t o o bst a cl es t h at m a k e a c hi e vi n g
                                                                   a q u or u m c h all e n gi n g. F or i nst a n c e, t h e s ui ci d e e x p ert st at e d i n his
                                                                   2 01 6 r e p ort t h at h e f o u n d t h at att e n d a n c e b y s o m e r e q uir e d s ui ci d e
                                                                   pr e v e nti o n t e a m m e m b ers, p arti c ul arl y c hi ef ps y c hi atrists or t h eir
                                                                   d esi g n e es, w as i n c o nsist e nt at m a n y pris o ns. S p e ci ﬁ c all y, h e
                                                                   e x pl ai n e d t h at ei g ht of t h e 1 8 s ui ci d e pr e v e nti o n t e a ms h e r e vi e w e d
                                                                   still f ell s h ort of att ai ni n g a q u or u m at t h eir m o nt hl y m e eti n gs.
                                                                   C orr e cti o ns’ cli ni c al s u p p ort c hi ef st at e d t h at pris o n st a ﬀ h a v e
                                                                   m a n y c o m p eti n g d e m a n ds, m a ki n g it di ﬃ c ult f or t e a ms t o
                                                                   c o or di n at e s c h e d ul es a n d a d d e d t h at C orr e cti o ns o v erl o o k e d t h e
                                                                   di ﬃ c ulti es i n ass e m bli n g k e y p arti ci p a nts i n t h es e m e eti n gs at
                                                                   t h e ti m e l e a d ers hi p dr aft e d t h e pr o gr a m g ui d e. S h e f urt h er
                                                                   e x pl ai n e d t h at s o m e el e m e nts r e g ar di n g s ui ci d e pr e v e nti o n t e a m
                                                                   att e n d a n c e ar e n ot cl e ar, s u c h as w h et h er o n e i n di vi d u al m a y ﬁll
                                                                   m ulti pl e r ol es a n d w h o m a y s e n d d esi g n e es. N e v ert h el ess, w e f o u n d
                                                                   t h at C C W F w as a bl e t o m e et t h e att e n d a n c e r e q uir e m e nts e v er y
                                                                                              m o nt h d uri n g 2 01 6. C C W F’s c hi ef of m e nt al h e alt h
                                                                                              e x pl ai n e d t h at its t e a m pl a ns s e v er al w e e ks i n
                     S el e ct e d R es p o nsi biliti es of                                  a d v a n c e of a m e eti n g t o e ns ur e t h at all r e q uir e d
                Pris o ns’ S ui ci d e Pr e v e nti o n T e a ms                              m e m b ers c a n att e n d, r e mi n ds t e a m m e m b ers
        • E ns ur e i m pl e m e nt ati o n of a n d c o m pli a nc e wit h                   a b o ut t h e m e eti n g d uri n g t h e w e e k it is s c h e d ul e d,
          all C orr ecti o ns’ p olici es a n d pr oc e d ur es r el ati n g t o              a n d w aits u ntil all m e m b ers ar e pr es e nt b ef or e
          s uici d e pr e v e nti o n a n d r es p o ns e.                                    st arti n g t h e m e eti n g.
        • I m pl e m e nt tr ai ni n g r el at e d t o s uici d e pr e v e nti o n
                                                                                             F urt h er, t h e s ui ci d e e x p ert r ais e d c o n c er ns
          a n d r es p o ns e.
                                                                                             r e g ar di n g w h et h er t h e pris o ns’ s ui ci d e pr e v e nti o n
        •     U p d at e l oc al o p er ati n g pr oc e d ur es t o e ns ur e                t e a ms h a d f ull y m et t h eir r es p o nsi biliti es, s o m e
             c o nsist e nc y wit h C orr ecti o ns’ p olici es r e g ar di n g              of w hi c h ar e list e d i n t h e t e xt b o x. F or i nst a n c e,
             s uici d e pr e v e nti o n a n d r es p o ns e.                                o n e of t h es e r es p o nsi biliti es is e ns uri n g e a c h
        • R e vi e w all s uici d es a n d s uici d e att e m pts i n r es p o ns e          pris o n’s i m pl e m e nt ati o n of a n d c o m pli a n c e wit h
          t o w hic h st a ﬀ p erf or m e d C P R or ot h er m e dic al                      all of C orr e cti o ns’ p oli ci es a n d pr o c e d ur es r el ati n g
          pr oc e d ur es, as w ell as pris o n st a ﬀ c ell e ntr y a n d                   t o s ui ci d e pr e v e nti o n a n d r es p o ns e. H o w e v er,
          c ut- d o w n pr oc e d ur es.                                                     i n his 2 01 6 r e p ort, t h e s ui ci d e e x p ert f o u n d t h at
        •      M o nit or a n d tr ack all s uici d e g est ur es, s uici d e                t h e s ui ci d e pr e v e nti o n t e a ms h a d n ot a d e q u at el y
             att e m pts, s elf- m util ati o ns, a n d d e at hs.                           m o nit or e d a n d e v al u at e d t h e ris k e v al u ati o ns
                                                                                             c o m pl et e d at t h eir r es p e cti v e pris o ns. S p e ci ﬁ c all y,
     S o urc e: C orr e cti o ns’ 2 0 0 9 pr o gr a m g ui d e.
                                                                                             t h e s ui ci d e e x p ert st at e d t h at t h e pris o ns’
                                                                                             s ui ci d e pr e v e nti o n t e a ms w er e c oll e cti n g o nl y
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     q u a ntit ati v e b ut n ot q u alit ati v e m o nt hl y d at a o n t h e c o m pl eti o n of
     ris k e v al u ati o ns. M or e o v er, i n his 2 01 5 r e p ort, t h e s ui ci d e e x p ert
     e x pl ai n e d t h at h e f o u n d t h at t h e pris o ns e n g a g e d i n littl e dis c ussi o n
     of o v er all s ui ci d e pr e v e nti o n str at e gi es d uri n g t h eir m e eti n gs. H e
     c o m m e nt e d t h at m ost m e eti n g mi n ut es r e ﬂ e ct e d r e cit ati o ns of
     c ert ai n m o nt hl y st atisti cs, b ut i n cl u d e d f e w m e a ni n gf ul dis c ussi o ns
     a b o ut c h all e n gi n g c as es or str u g gl es wit h ris k e v al u ati o ns a n d
     tr e at m e nt pl a n ni n g. I n his J a n u ar y 2 01 6 r e p ort, h e st at e d t h at h e
     f o u n d f e w p ositi v e c h a n g es i n s ui ci d e pr e v e nti o n t e a m pr a cti c es at
     t h e 1 8 pris o ns h e r e vi e w e d.

     We i d e nti ﬁ e d si mil ar c o n c er ns w h e n w e r e vi e w e d t h e mi n ut es f or
     t h e p ast t hr e e y e ars of s ui ci d e pr e v e nti o n t e a ms’ m e eti n gs at t h e
     f o ur pris o ns w e visit e d. S p e ci ﬁ c all y, t h e t e a ms oft e n di d n ot dis c uss
     k e y iss u es, i n cl u di n g s elf- h ar m i n ci d e nts a n d t h e c o m pl eti o n of ris k
     e v al u ati o ns. C C W F’s mi n ut es i n di c at e t h at t h e s ui ci d e pr e v e nti o n
     t e a m’s r e vi e ws of att e m pt e d s ui ci d es w er e m ostl y n arr ati o ns of
     e v e nts or r e cit ati o n of st atisti cs r at h er t h a n a n al yti c al dis c ussi o ns
     f o c us e d o n l ess o ns l e ar n e d a n d pr e v e nti o n. F or e x a m pl e, its
     M a y 2 01 6 mi n ut es d es cri b e t h at t w o i n m at es att e m pt e d s ui ci d e b y
     s w all o wi n g f or ei g n o bj e cts, b ut t h e mi n ut es d o n ot i n di c at e a n y
     a cti o ns r e q uir e d or l ess o ns l e ar n e d as a r es ult of t h es e i n ci d e nts. I n
     t h e s a m e mi n ut es, t h e t e a m r e p ort e d t h at t h e pris o n’s m e nt al h e alt h
     st a ﬀ h a d a 2 9 p er c e nt p assi n g r at e f or ris k e v al u ati o n a u dits, b ut t h e
     mi n ut es d o n ot i n di c at e t h at t h e t e a m dis c uss e d w h at c a us e d t h e l o w
     p assi n g r at e a n d h o w t h e y pl a n n e d t o i m pr o v e st a ﬀ p erf or m a n c e.
     Si mil arl y, at RJ D, dis c ussi o ns a b o ut m e nt ori n g a n d tr ai ni n g pris o n
     st a ﬀ r e g ar di n g t h e c o m pl eti o n of ris k e v al u ati o ns l ar g el y f o c us e d
     o n q u a ntit ati v e d at a, s u c h as att e n d a n c e a n d c o m pl eti o n r at es.
     F urt h er, RJ D’s s ui ci d e pr e v e nti o n t e a m mi n ut es d o n ot i n di c at e t h at
     dis c ussi o ns e xt e n d e d t o t h e q u alit y of t h e tr ai ni n g or m e nt ori n g.
     Wit h o ut s u c h dis c ussi o ns, t h e w or k of t h e s ui ci d e pr e v e nti o n t e a ms
     b e c o m es m or e f o c us e d o n r e p orti n g d at a r at h er t h a n e ns uri n g
     c o m pli a n c e wit h C orr e cti o ns’ p oli ci es a n d pr o c e d ur es r el at e d t o
     s ui ci d e pr e v e nti o n a n d r es p o ns e.


     C orr e cti o ns H as N ot E ns ur e d T h at It R e p orts R eli a bl e D at a o n I n m at e
     S ui ci d e a n d S ui ci d e Att e m pts

     C orr e cti o ns c oll e cts a n d r e p orts d at a r el at e d t o its o p er ati o ns usi n g
     a n or g a ni z ati o n al m a n a g e m e nt t o ol c all e d C O M P S T A T. E a c h
     m o nt h C orr e cti o ns p u blis h es a st atisti c al r e p ort d et aili n g m or e
     t h a n 5 0 0 d at a p oi nts o n its pris o ns’ o p er ati o ns. A c c or di n g t o t h e
     C O M P S T A T o p er ati o ns m a n a g er, C orr e cti o ns’ st a ﬀ c o n d u ct a
     q u alit y c o ntr ol pr o c ess t h at e nt ails r e vi e wi n g t h e d at a t h e y r e c ei v e
     fr o m pris o ns e a c h m o nt h. S h e e x pl ai n e d t h at st a ﬀ l o o k f or o utli ers,
     u n e x p e ct e d p att er ns, a n d s yst e m iss u es. I n a d diti o n, s h e st at e d t h at
     C orr e cti o ns’ st a ﬀ m e et wit h e a c h pris o n’s st a ﬀ a n n u all y t o dis c uss
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                                                          t h e d at a i n d et ail, w hi c h i n cl u d es a j oi nt a n n u al r e vi e w wit h t h e
                                                          pris o n’s l e a d ers hi p t o dis c uss e a c h li n e it e m i n t h e a n n u al r e p ort t o
                                                          e ns ur e t h at t h e C O M P S T A T n u m b ers m at c h t h e pris o n’s n u m b ers.

     W e f o u n d discr e p a nci es i n t h e d at a    N e v ert h el ess, w e f o u n d dis cr e p a n ci es r el at e d t o C O M P S T A T’s
     r el at e d t o C O M P S T A T — C orr ecti o ns’   d at a t h at bri n g i nt o q u esti o n t h e d at a’s a c c ur a c y. F or e x a m pl e, f or
     or g a niz ati o n al m a n a g e m e nt             e a c h of t h e f o ur pris o ns w e r e vi e w e d, w e s el e ct e d f o ur m o nt hs of
     t o ol —t h at bri n g i nt o q u esti o n t h e     C O M P S T A T d at a fr o m 2 01 4 t hr o u g h 2 01 6 a n d c o m p ar e d t h os e
     d at a’s acc ur ac y.                                m o nt hs t o t h e pris o ns’ i n ci d e nt l o gs. We f o u n d t h at C O M P S T A T
                                                          r e p ort e d a gr e at er n u m b er of att e m pt e d s ui ci d es at CI W a n d
                                                          s ui ci d es at C C W F t h a n w er e r e c or d e d i n t h eir i n ci d e nt l o gs,
                                                          a n d t h at it r e p ort e d f e w er att e m pts at S A C a n d RJ D t h a n w er e
                                                          r e c or d e d i n t h eir r es p e cti v e l o gs. F urt h er, w h e n w e r e vi e w e d
                                                          s ui ci d e pr e v e nti o n t e a m m e eti n g mi n ut es, i n ci d e nt r e p orts, a n d
                                                          ot h er r e c or ds, w e f o u n d t h at C O M P S T A T di d n ot i n cl u d e s ui ci d es
                                                          t h at o c c urr e d fr o m 2 01 3 t hr o u g h 2 01 6 at t hr e e of t h e pris o ns w e
                                                          r e vi e w e d. M or e o v er, w e w er e s ur pris e d t o ﬁ n d t h at t h e s p e ci al
                                                          m ast er’s r e p orts i d e ntif y si g ni ﬁ c a ntl y m or e s ui ci d es fr o m 2 01 2
                                                          t hr o u g h 2 01 5 t h a n ar e r e c or d e d i n C O M P S T A T. F or i nst a n c e,
                                                          C O M P S T A T s h o ws 1 8 s ui ci d es i n 2 01 5, w hil e t h e s ui ci d e e x p ert
                                                          r e p ort e d 2 4 — a 3 3 p er c e nt di ﬀ er e n c e.

                                                          C orr e cti o ns’ cli ni c al s u p p ort c hi ef o ﬀ er e d a n u m b er of e x pl a n ati o ns
                                                          f or t h e dis cr e p a n ci es w e i d e nti ﬁ e d. S h e st at e d t h at t h e s p e ci al
                                                          m ast er’s r e p orts us e d d at a fr o m C orr e cti o ns’ m e nt al h e alt h pr o gr a m
                                                          o n s ui ci d es i n pris o ns, w hi c h s h e b eli e v es ar e a c c ur at e b e c a us e it
                                                          is t his pr o gr a m t h at d et er mi n es w h et h er a d e at h is a s ui ci d e. S h e
                                                          e x pl ai n e d t h at t h e n u m b ers i n C O M P S T A T m a y b e u n d erst at e d
                                                          b e c a us e t h e y ar e b as e d o n pris o n st a ﬀ’s i niti al i n ci d e nt r e p orts.
                                                          S h e t ol d us t h at t h e cl assi ﬁ c ati o n of i n ci d e nts m a y n ot b e a c c ur at e
                                                          b e c a us e a n i n m at e m a y di e fr o m a n att e m pt e d s ui ci d e d a ys or w e e ks
                                                          aft er t h e att e m pt o c c urs. F urt h er, s h e n ot e d t h at m e nt al h e alt h st a ﬀ
                                                          h a v e t h e o p p ort u nit y t o m or e t h or o u g hl y r e vi e w t h e cir c u mst a n c es
                                                          of i n ci d e nts, w hi c h m a y c a us e t h e m t o r e a c h di ﬀ er e nt c o n cl usi o ns
                                                          t h a n t h e pris o n st a ﬀ’s i niti al i n ci d e nt r e p orts r e ﬂ e ct. I n t h es e
                                                          i nst a n c es, t h e cli ni c al s u p p ort c hi ef i n di c at e d t h at t h e m e nt al h e alt h
                                                          pr o gr a m’s d at a will r e ﬂ e ct its st a ﬀ ass ess m e nt of t h e i n ci d e nt, b ut
                                                          C O M P S T A T m a y n ot. S p e ci ﬁ c all y, s h e e x pl ai n e d t h at pris o n st a ﬀ ar e
                                                          s u p p os e d t o u p d at e t his i nf or m ati o n i n C O M P S T A T b y pr o vi di n g
                                                          u p d at e d i n ci d e nt r e p orts; h o w e v er, s h e b eli e v es t his st e p m a y
                                                          n ot h a v e al w a ys o c c urr e d gi v e n t h e u n d erst at e d s ui ci d e n u m b ers
                                                          i n C O M P S T A T.

                                                          Th e cli ni c al s u p p ort c hi ef st at e d t h at s h e h as pr e vi o usl y r ais e d
                                                          t h es e c o n c er ns wit h t h e C O M P S T A T t e a m, a n d t h e t e a m w as n ot
                                                          r esist a nt t o a dj usti n g its pr o c ess es i n or d er t o pr es e nt m or e a c c ur at e
                                                          d at a. B e c a us e C O M P S T A T r e pr es e nts C orr e cti o ns’ c o m pr e h e nsi v e
                                                          s o ur c e of d at a it m a k es r e a dil y a v ail a bl e t o t h e p u bli c o n s ui ci d es
                                                          a n d att e m pt e d s ui ci d es f or e a c h of its pris o ns, it m ust t a k e st e ps
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     t o e ns ur e t h at t h e d at a ar e a c c ur at e. Ot h er wis e, t h e p u bli c m a y
     dr a w i n c orr e ct c o n cl usi o ns a b o ut t h e r at e of s ui ci d es a n d s ui ci d e
     att e m pts at a gi v e n pris o n or i n t h e s yst e m as a w h ol e.


     C orr e cti o ns C a n I n cr e as e Its D o c u m e nt ati o n a n d Diss e mi n ati o n t o
     Pris o ns of B est Pr a cti c es R el at e d t o S ui ci d e Pr e v e nti o n

     Alt h o u g h i n n o v ati v e pr o gr a ms a n d b est pr a cti c es r el at e d t o i n m at e
     s ui ci d e pr e v e nti o n e xist, C orr e cti o ns c o ul d i n cr e as e its e ﬀ orts t o
     d o c u m e nt a n d diss e mi n at e t his i nf or m ati o n t o t h e pris o ns, a n d
     t o m o nit or t h e s u c c ess of pr o gr a ms or pr a cti c es t h at c o ul d pr o v e
     b e n e ﬁ ci al. F or e x a m pl e, d uri n g o ur visit t o RJ D, w e n ot e d t h at it                      RJ D i m pl e m e nt e d a pr o gr a m t h at
     h a d i m pl e m e nt e d a pr o gr a m k n o w n as Stri vi n g t o A c hi e v e R e w ar ds                  r e w ar ds p ositi v e b e h a vi or, s uc h as
     ( S T A R) t h at mi g ht b e n e ﬁt c ert ai n i n m at es at ot h er pris o ns as                            att e n di n g m e nt al h e alt h gr o u ps
     w ell. RJ D i m pl e m e nt e d S T A R i n A u g ust 2 01 6 f or i n m at es i n its                          a n d tr e ati n g st a ﬀ a n d p e ers i n a
     e n h a n c e d o ut p ati e nt pr o gr a m, w hi c h pr o vi d es c ar e f or m e nt all y                    r es p ectf ul m a n n er. RJ D st at e d t h at
     dis or d er e d i n m at es i n a str u ct ur e d t h er a p e uti c e n vir o n m e nt                        i nci d e nts of s elf- h ar m a n d r ul es
     t h at is l ess r estri cti v e t h a n i n p ati e nt c ar e. A c c or di n g t o a S T A R                   vi ol ati o ns h a v e d ecr e as e d si nc e t h e
     p a m p hl et, t h e pr o gr a m’s p ur p os e is t o i m pr o v e i n m at e q u alit y of                    pr o gr a m b e g a n.
     lif e b y cr e ati n g a t h er a p e uti c c o m m u nit y w h er e i n m at es h a v e m a n y
     o p p ort u niti es f or p ositi v e e x p eri e n c es. S T A R pr o vi d es r e w ar ds
     t o i n m at es f or e n g a gi n g i n p ositi v e b e h a vi or, s u c h as att e n di n g
     m e nt al h e alt h gr o u ps a n d tr e ati n g m e nt al h e alt h st a ﬀ a n d p e ers i n
     a r es p e ctf ul m a n n er. O v er ti m e, t h e i n m at es a c c u m ul at e p oi nts t h at
     t h e y c a n us e f or di ﬀ er e nt l e v els of r e w ar ds, i n cl u di n g p arti ci p ati n g
     i n dr a m a a n d b o o k cl u bs a n d p ur c h asi n g it e ms, s u c h as h y gi e n e
     pr o d u cts, fr o m t h e S T A R st or e. RJ D’s c hi ef ps y c h ol o gist st at e d t h at
     pr eli mi n ar y d at a, w hil e n ot c o n cl usi v e, h a v e i n di c at e d t h at i n ci d e nts
     of s elf- h ar m a n d r ul es vi ol ati o ns h a v e d e cr e as e d si n c e S T A R b e g a n,
     e v e n t h o u g h RJ D’s i n m at e p o p ul ati o n h as i n cr e as e d.

     We als o n ot e d a n ot h er pr o gr a m t h at RJ D is i n t h e pr o c ess of
     d e v el o pi n g t h at c o ul d pr o v e us ef ul f or st a ﬀ w or ki n g i n ot h er
     pris o ns. S p e ci ﬁ c all y, a c c or di n g t o t h e pr o gr a m-r el at e d m at eri als,
     w or k pl a c e str ess a n d j o b b ur n o ut ar e hi g h a m o n g st a ﬀ w or ki n g
     i n c orr e cti o n al s etti n gs. T o b ett er s u p p ort its st a ﬀ i n m a n a gi n g
     its hi g h-ris k i n m at e p o p ul ati o n, RJ D b e g a n d e v el o pi n g a pr o gr a m
     n a m e d H el pi n g E v er y o n e R e a c h O bj e cti v es. Th e pr o gr a m’s
     d o c u m e nt ati o n i n di c at es t h at RJ D is d esi g ni n g a fr a m e w or k t o
     pr o vi d e a d diti o n al r es o ur c es a n d s u p p ort t o its m ulti dis ci pli n ar y
     tr e at m e nt t e a ms w h o dir e ctl y d e al wit h i n m at e- p ati e nts. Th e
     pr o gr a m ai ms t o e ns ur e t h at RJ D c o nti n u es t o pr o vi d e hi g h- q u alit y
     c ar e t o its i n m at e p o p ul ati o n b y pr o vi di n g st a ﬀ wit h c o ns ult ati o n
     a n d c o a c hi n g, as w ell as f ost eri n g cl os er c oll a b or ati o n b et w e e n
     all pris o n st a ﬀ. A c c or di n g t o RJ D’s c hi ef ps y c h ol o gist, t h e pris o n
     h a d i m pl e m e nt e d as p e cts of t h e pr o gr a m wit h c ert ai n st a ﬀ as of
     M a y 2 01 7. It a nti ci p at es a n i n cr e as e d r oll o ut b y t h e s u m m er of 2 01 7.
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                                                 C orr e cti o ns’ cli ni c al s u p p ort c hi ef a gr e e d t h at RJ D’s pr o gr a ms
                                                 ar e i n n o v ati v e a n d e x pl ai n e d t h at i m pl e m e nti n g t h e m o n a
                                                 s yst e m wi d e b asis mi g ht b e us ef ul at s o m e pris o ns, d e p e n di n g
                                                 o n t h os e pris o ns’ missi o ns, i nfr astr u ct ur es, a n d s e c urit y l e v els.
                                                 N e v ert h el ess, C orr e cti o ns’ d o c u m e nt ati o n r el at e d t o dis c ussi o n
                                                 a n d diss e mi n ati o n of i n n o v ati v e pr o gr a ms a n d b est pr a cti c es
                                                 r el at e d t o s ui ci d e pr e v e nti o n is li mit e d. F or e x a m pl e, t h e d e p ut y
                                                 dir e ct or of C orr e cti o ns’ st at e wi d e m e nt al h e alt h pr o gr a m st at e d
                                                 t h at i n F e br u ar y 2 01 6, C orr e cti o ns’ m e nt al h e alt h pr o gr a m
                                                 h el d a s u m mit r e g ar di n g s ui ci d e pr e v e nti o n at its h e a d q u art ers
                                                 i n N ort h er n C alif or ni a. S h e e x pl ai n e d t h at pris o n l e a d ers hi p,
                                                 i n cl u di n g pris o ns’ s ui ci d e pr e v e nti o n t e a m c o or di n at ors, c hi efs
                                                 of m e nt al h e alt h, a n d s el e ct e d w ar d e ns, att e n d e d t h e s u m mit t o
                                                 dis c uss c h all e n g es wit h s ui ci d e pr e v e nti o n, s h ar e b est pr a cti c es,
                                                 a n d i d e ntif y a d diti o n al i niti ati v es t h at mi g ht h el p i m pr o v e
                                                 t h e s ui ci d e pr e v e nti o n e ﬀ orts alr e a d y i n pl a c e. S h e n ot e d t h at
                                                 C orr e cti o ns h as a n u m b er of pl a ns f or i m pl e m e nti n g i d e as s u c h as
                                                 i n cr e asi n g o utr e a c h t o i n m at es b ot h i nsi d e a n d o utsi d e of m e nt al
                                                 h e alt h c ar e. H o w e v er, s h e c o ul d n ot pr o vi d e d o c u m e nt ati o n of
                                                 t h e b est pr a cti c es dis c uss e d or of t h e o ut c o m es of t h e s u m mit’s
                                                 dis c ussi o ns —s h e c o ul d o nl y pr o vi d e t h e a g e n d a a n d a s pr e a ds h e et
                                                 listi n g C orr e cti o ns’ s ui ci d e pr e v e nti o n t e a m’s J ul y 2 01 7 t as ks
                                                 a n d pri oriti es, w hi c h i n di c at e d t h e s ui ci d e s u m mit o c c urr e d a n d
                                                 a n ot h er o n e w o ul d b e s c h e d ul e d i n t h e n e ar f ut ur e. S h e st at e d
                                                 t h at C orr e cti o ns is t e nt ati v el y pl a n ni n g t o h ol d a n ot h er s u m mit i n
                                                 O ct o b er 2 01 7, a n d a c k n o wl e d g e d t h at h ol di n g t h es e s u m mits
                                                 at l e ast a n n u all y is a g o o d i d e a. We b eli e v e s u c h m e eti n gs s h o ul d
                                                 o c c ur o n a n o n g oi n g b asis, n ot o nl y t o dis c uss a n d d o c u m e nt b est
                                                 pr a cti c es, b ut als o t o m o nit or t h eir e ﬀ e cti v e n ess. This a p pr o a c h
                                                 w o ul d pr o vi d e C orr e cti o ns a n o p p ort u nit y t o f or m all y diss e mi n at e
                                                 i nf or m ati o n r e g ar di n g pr o gr a ms li k e t h os e at RJ D.

                                                 A d diti o n all y, C orr e cti o ns’ cli ni c al s u p p ort c hi ef st at e d t h at it h ol ds
                                                 q u art erl y m e eti n gs at h e a d q u art ers b et w e e n t h e pris o ns’ c hi efs
                                                 of m e nt al h e alt h w h er e i nf or m al dis c ussi o n o n b est pr a cti c es
                                                 m a y o c c ur. S h e f urt h er e x pl ai n e d t h at t h e r e gi o n al t e a ms h ol d
                                                 m o nt hl y c alls f or all pris o ns wit hi n t h eir r es p e cti v e r e gi o ns, w hi c h
                                                 als o all o ws f or t h e s h ari n g of i d e as a n d b est pr a cti c es. H o w e v er,
                                                 b e c a us e t h es e dis c ussi o ns ar e n ot d o c u m e nt e d, t h e cli ni c al s u p p ort
                                                 c hi ef c o ul d n ot pr o vi d e e vi d e n c e of a n y b est pr a cti c es dis c uss e d.
                                                 B e c a us e it h as n ot d o c u m e nt e d t h e dis c ussi o n of b est pr a cti c es
                                                 d uri n g t h es e m e eti n gs a n d c alls, C orr e cti o ns h as li k el y miss e d
                                                 o p p ort u niti es t o f or m all y i d e ntif y a n d diss e mi n at e i n n o v ati v e
                                                 pr o gr a m i d e as s yst e m wi d e, as w ell as t o e v al u at e t h e e ﬀ e cti v e n ess of
                                                 t h es e pr a cti c es.
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     C orr e cti o ns C o ul d D o M or e t o Ass ess W a ys t o R e d u c e S ui ci d e Att e m pts

     C orr e cti o ns’ p oli ci es r e q uir e t h at it r e vi e w e a c h
     s ui ci d e t o d et er mi n e w h et h er st a ﬀ c o m pli e d wit h                            I nf or m ati o n I n cl u d e d i n C orr e cti o ns’
     its p oli ci es a n d pr o c e d ur es, s u c h as t h e pris o n’s                               I n v esti g ati o n of a n I n m at e S ui ci d e
     e m er g e n c y r es p o ns e t o t h e s ui ci d e, c o m pl eti o n of
                                                                                             • E m er g e nc y r es p o ns e t o t h e i nci d e nt.
     s ui ci d e ris k e v al u ati o ns, a n d f oll o w- u p tr e at m e nt
     aft er t h e i n m at e’s dis c h ar g e fr o m a crisis b e d                          •     M e dic al a ut o ps y a n d t oxic ol o g y ﬁ n di n gs.
     pri or t o t h e s ui ci d e. Th e t e xt b o x lists t h e s p e ci ﬁ c                • I n m at e’s b ack gr o u n d.
     i nf or m ati o n C orr e cti o ns r e vi e ws. C orr e cti o ns’
                                                                                             • I n m at e’s a bilit y t o f u ncti o n i n a n i nstit uti o n al s etti n g.
     p oli ci es r e q uir e it t o s u b mit a r e p ort t o t h e pris o n
     wit hi n 6 0 d a ys of t h e i n m at e’s d e at h t h at i n cl u d es                 • I n m at e’s m e nt al h e alt h hist or y.
     r e c o m m e n d e d a cti o ns t o a d dr ess a n y pr o bl e ms it                   • I n m at e’s s uici d e att e m pt hist or y.
     i d e nti ﬁ e d d uri n g its r e vi e w a n d d u e d at es f or t h e
     pris o n t o c o m pl et e t h os e a cti o ns. Pris o ns t h e n                       •     M e nt al h e alt h c ar e t h e i n m at e r ec ei v e d
     h a v e 9 0 d a ys t o s u b mit d o c u m e nt ati o n pr o vi n g                         w hil e i nc arc er at e d.
     t h e y h a v e i m pl e m e nt e d t h e r e c o m m e n d ati o ns.                   • I n m at e’s m e dic al hist or y.
     A c c or di n g t o C orr e cti o ns’ cli ni c al s u p p ort c hi ef,
                                                                                             • Si g ni ﬁc a nt e v e nts pr ec e di n g t h e s uici d e.
     C orr e cti o ns est a blis h e d t h es e ti m eli n es t o e ns ur e
     t h at it pr o m ptl y i d e nti ﬁ es pr o bl e ms a n d t h at                      S o urc e: C alif or ni a St at e A u dit or’s a n al ysis of C orr e cti o ns’ s ui ci d e
                                                                                          r e p ort t e m pl at e.
     pris o ns t a k e q ui c k a cti o n t o c orr e ct t h e m.

     Th e r es ulti n g r e p orts ar e c o m pr e h e nsi v e e n o u g h
     t o pr o vi d e C orr e cti o ns a n d its pris o ns wit h
     i nf or m ati o n criti c al t o i m pr o vi n g s ui ci d e pr e v e nti o n a n d r es p o ns e.
     N o n et h el ess, C orr e cti o ns d o es n ot c o n d u ct si mil arl y d et ail e d
     r e vi e ws of t h e cir c u mst a n c es s urr o u n di n g s ui ci d e att e m pts. As a
     r es ult, it m a y n ot i d e ntif y pr o bl e ms wit h cli ni c al c ar e or pris o ns’
     c o m pli a n c e wit h p oli ci es u ntil t h os e pr o bl e ms h a v e c o ntri b ut e d
     t o a n i n m at e’s d e at h. Alt h o u g h C orr e cti o ns’ p oli ci es r e q uir e
     pris o ns t o m o nit or a n d tr a c k s ui ci d e att e m pts, w e d o n ot b eli e v e
     C orr e cti o ns r e q uir es s u ﬃ ci e nt d et ail i n t h es e r e vi e ws. S p e ci ﬁ c all y,
     as of M ar c h 2 01 7, its p oli ci es r e q uir e t h at pris o ns’ s ui ci d e
     pr e v e nti o n t e a ms r e vi e w t h e a p pr o pri at e n ess of tr e at m e nt pl a ns
     f or t h es e i n m at es a n d t h e d ail y f oll o w- u p c h e c ks t h at m e nt al h e alt h
     st a ﬀ m ust c o m pl et e f or ﬁ v e d a ys f oll o wi n g t h e i n m at es’ dis c h ar g es
     fr o m crisis b e ds. H o w e v er, C orr e cti o ns d o es n ot r e q uir e pris o ns
     t o r e vi e w ot h er i m p ort a nt cir c u mst a n c es s urr o u n di n g s ui ci d e
     att e m pts, s u c h as t h e a cti o ns of st a ﬀ r es p o n di n g t o t h e i n ci d e nts
     a n d t h e a d e q u a c y of t h e ris k e v al u ati o ns t h at m e nt al h e alt h st a ﬀ
     c o m pl et e d b ef or e t h e att e m pts.

     O n e of t h e f o ur pris o ns w e r e vi e w e d h as i m pl e m e nt e d p oli ci es
     r e q uiri n g i n- d e pt h d o c u m e nt e d r e vi e ws of s el e ct e d s elf- h ar m
     i n ci d e nts, i n cl u di n g s ui ci d e att e m pts, at its f a cilit y. S p e ci ﬁ c all y, S A C
     i m pl e m e nt e d a p oli c y r e q uiri n g its s ui ci d e pr e v e nti o n c o or di n at or
     a n d s u p er vis ors i n v ol v e d wit h crisis tri a g e a n d i n p ati e nt c ar e t o
     i d e ntif y s elf- h ar m i n ci d e nts t h at mi g ht r e q uir e d et ail e d r e vi e w,
     s u c h as i n ci d e nts w h er e t h e i n m at es s u ﬀ er e d s eri o us b o dil y i nj ur y.
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                                                 S A C pris o n o ﬃ ci als e x pl ai n e d t h at t h e s ui ci d e pr e v e nti o n t e a m
                                                 assi g ns m e nt al h e alt h st a ﬀ t o c o n d u ct a r e vi e w of t h e i d e nti ﬁ e d
                                                 i n ci d e nt. A c c or di n g t o a pris o n o ﬃ ci al at S A C, si n c e 2 0 0 8 t h e
                                                 pris o n h as c o m pl et e d r o u g hl y 4 5 0 of t h es e s elf- h ar m r e vi e ws,
                                                 b ut h as p erf or m e d a d e cr e asi n g n u m b er b e c a us e of i n cr e asi n g
                                                 w or kl o a ds a n d ti m e c o nstr ai nts. We r e vi e w e d t hr e e of t h es e r e vi e ws
                                                 t h at t h e pris o n c o m pl et e d i n 2 01 6 a n d f o u n d t h at t h e y g e n er all y
                                                 i n cl u d e d a t h or o u g h r e vi e w of t h e i n m at es’ m e nt al h e alt h hist or y,
                                                 m e nt al h e alt h st at us, a n d s ui ci d e ris k. H o w e v er, t h e r e vi e ws di d n ot
                                                 c o nt ai n a n e x a mi n ati o n of t h e a d e q u a c y of t h e i n m at es’ pr e vi o us
                                                 ris k e v al u ati o ns or tr e at m e nt pl a ns, a n d w er e n ot as d et ail e d or
                                                 p oi nt e d i n t h eir criti cis m as C orr e cti o ns’ s ui ci d e r e vi e w pr o c ess.

                                                 C orr e cti o ns pl a ns t o r e q uir e pris o ns t o c o m pl et e m or e d et ail e d
                                                 r e vi e ws of s ui ci d e att e m pts. A c c or di n g t o C orr e cti o ns’ cli ni c al
                                                 s u p p ort c hi ef, C orr e cti o ns will r e q uir e pris o ns t o c o n d u ct d et ail e d
                                                 r e vi e ws of a s el e cti o n of s elf- h ar m i n ci d e nts w h er e t h e i n m at e
                                                 i nt e n d e d t o di e a n d t h er e w as s eri o us b o dil y i nj ur y b e gi n ni n g i n
                                                 J ul y 2 01 7. S h e s ai d t h at t h e pris o ns will n e e d t o r e vi e w all of t h e s a m e
                                                 it e ms t h at ar e i n cl u d e d i n t h e s ui ci d e r e vi e ws, e x c e pt t h os e t h at ar e
                                                 n ot a p pli c a bl e, s u c h as a ut o ps y a n d t o xi c ol o g y r e p orts, or t h os e t h at
                                                 w o ul d b e i n a p pr o pri at e d u e t o t h e n e e d t o pr ot e ct i n m at e pri v a c y,
                                                 s u c h as c ell m at e or p e er i nt er vi e ws. H o w e v er, e v e n if C orr e cti o ns
                                                 r e q uir es pris o ns t o b e m or e d et ail e d i n t h eir e x a mi n ati o n of
                                                 s elf- h ar m i n ci d e nts, pris o n st a ﬀ ar e l ess li k el y t o b e as criti c al of t h eir
                                                 o w n pr o c ess es as a n e xt er n al r e vi e w er fr o m C orr e cti o ns mi g ht b e.
                                                 C orr e cti o ns’ cli ni c al s u p p ort c hi ef st at e d t h at r e q uiri n g C orr e cti o ns
                                                 t o c o n d u ct s u c h r e vi e ws at e a c h pris o n c o ul d b e r es o ur c e i nt e nsi v e,
                                                 b ut t h at p airi n g e a c h pris o n wit h a n ot h er, si mil ar pris o n a n d h a vi n g
                                                 t h e m r e vi e w e a c h ot h er c o ul d h el p t o e ns ur e t h at t h e r e vi e ws ar e
                                                 i m p arti al. A bs e nt a n u n bi as e d, t h or o u g h r e vi e w of t h e f a ct ors
                                                 c o ntri b uti n g t o i n m at e s ui ci d e att e m pts, C orr e cti o ns m a y n ot i d e ntif y
                                                 p ot e nti al pr o bl e ms wit h pris o ns’ s ui ci d e pr e v e nti o n a n d r es p o ns e
                                                 pr a cti c es u ntil aft er i n m at es h a v e alr e a d y di e d.
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     R e c o m m e n d ati o ns


     L e gisl at ur e

     T o pr o vi d e a d diti o n al a c c o u nt a bilit y f or C orr e cti o ns’ e ﬀ orts t o
     r es p o n d t o a n d pr e v e nt i n m at e s ui ci d es a n d att e m pt e d s ui ci d es,
     t h e L e gisl at ur e s h o ul d r e q uir e t h at C orr e cti o ns r e p ort t o it i n
     A pril 2 01 8 a n d a n n u all y t h er e aft er o n t h e f oll o wi n g iss u es:

     • Its pr o gr ess i n i m pl e m e nti n g t h e r e c o m m e n d ati o ns m a d e b y
       t h e s p e ci al m ast er’s e x p erts, t h e c o urt- a p p oi nt e d s ui ci d e e x p ert,
       a n d its o w n r e vi e w ers r e g ar di n g i n m at e s ui ci d es a n d att e m pts.
       C orr e cti o ns s h o ul d i n cl u d e i n its r e p ort t o t h e L e gisl at ur e t h e
       r es ults of a n y a u dits it c o n d u cts as p art of its pl a n n e d a u dit
       pr o c ess t o m e as ur e t h e s u c c ess of c h a n g es it i m pl e m e nts as a
       r es ult of t h es e r e c o m m e n d ati o ns.

     • Its pr o gr ess i n i d e ntif yi n g a n d i m pl e m e nti n g m e nt al h e alt h
       pr o gr a ms t h at m a y a m eli or at e ris k f a ct ors ass o ci at e d wit h
       s ui ci d es at t h e pris o ns.


     C orr ecti o ns

     T o e ns ur e t h at pris o ns c o m pl y wit h its p oli ci es r el at e d t o s ui ci d e
     pr e v e nti o n a n d r es p o ns e, C orr e cti o ns s h o ul d c o nti n u e t o d e v el o p
     its a u dit pr o c ess a n d i m pl e m e nt it at all pris o ns b y F e br u ar y 2 01 8.
     Th e pr o c ess s h o ul d i n cl u d e, b ut n ot b e li mit e d t o, a u dits of t h e
     q u alit y of pris o ns’ ris k e v al u ati o ns a n d tr e at m e nt pl a ns.

     T o e ns ur e t h at pris o ns c a n e asil y a c c ess C orr e cti o ns’ c urr e nt
     p oli ci es r el at e d t o m e nt al h e alt h, C orr e cti o ns s h o ul d e ns ur e
     t h at its pr o gr a m g ui d e is c urr e nt a n d c o m pl et e as it w or ks t o
     i n c or p or at e t h e pr o gr a m g ui d e i nt o r e g ul ati o ns. C orr e cti o ns
     s h o ul d i m m e di at el y b e gi n w or ki n g wit h f e d er al c o urt m o nit ors t o
     dr aft r e g ul ati o ns.

     T o e ns ur e t h at s ui ci d e pr e v e nti o n t e a ms m e et q u or u m r e q uir e m e nts,
     C orr e cti o ns s h o ul d, st arti n g J a n u ar y 2 01 8, w or k wit h pris o ns t h at
     c o nsist e ntl y f ail t o a c hi e v e a q u or u m t o r es ol v e iss u es t h at m a y b e
     pr e v e nti n g t h e t e a ms fr o m h a vi n g all r e q uir e d m e m b ers pr es e nt
     at m e eti n gs.

     To eli mi n at e c o nf usi o n r e g ar di n g s ui ci d e pr e v e nti o n t e a m m e eti n g
     att e n d a n c e, C orr e cti o ns s h o ul d i m m e di at el y u p d at e its pr o gr a m g ui d e
     t o cl arif y w h o is r e q uir e d t o att e n d s ui ci d e pr e v e nti o n t e a m m e eti n gs,
     w hi c h att e n d e es m a y s e n d d esi g n e es, a n d t h e e xt e nt t o w hi c h st a ﬀ
     m a y ﬁll m ulti pl e r ol es w h e n m e eti n g q u or u m r e q uir e m e nts.
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                                                 T o e ns ur e t h at s ui ci d e pr e v e nti o n t e a ms e x er cis e l e a d ers hi p at
                                                 pris o ns, C orr e cti o ns s h o ul d i m m e di at el y r e q uir e t h e m t o us e
                                                 a v ail a bl e i nf or m ati o n a b o ut criti c al f a ct ors —s u c h as t h e n u m b er a n d
                                                 n at ur e of i n m at e s elf- h ar m i n ci d e nts a n d t h e q u alit y a n d c o m pli a n c e
                                                 wit h t h e p oli c y of ris k e v al u ati o ns a n d tr e at m e nt pl a ns —t o i d e ntif y
                                                 s yst e mi c iss u es r el at e d t o s ui ci d e pr e v e nti o n. C orr e cti o ns s h o ul d
                                                 r e q uir e t h e s ui ci d e pr e v e nti o n t e a ms t o ass ess l ess o ns t h e y c a n
                                                 l e ar n, cr e at e pl a ns t o r es ol v e c urr e nt iss u es, a n d pr e v e nt f or es e e a bl e
                                                 pr o bl e ms i n t h e f ut ur e.

                                                 T o pr o vi d e t h e p u bli c a n d r el e v a nt st a k e h ol d ers wit h a c c ur at e
                                                 i nf or m ati o n o n s ui ci d es a n d s ui ci d e att e m pts i n its pris o ns,
                                                 C orr e cti o ns s h o ul d i m m e di at el y r e q uir e pris o n st a ﬀ t o w or k wit h
                                                 m e nt al h e alt h st a ﬀ t o r e c o n cil e a n y dis cr e p a n ci es o n s ui ci d es a n d
                                                 s ui ci d e att e m pts b ef or e s u b mitti n g n u m b ers t o t h e C O M P S T A T u nit.

                                                 T o e ns ur e t h at all its pris o ns pr o vi d e i n m at es wit h e ﬀ e cti v e
                                                 m e nt al h e alt h c ar e, C orr e cti o ns s h o ul d c o nti n u e t o t a k e a r ol e i n
                                                 c o or di n ati n g a n d diss e mi n ati n g b est pr a cti c es r el at e d t o m e nt al
                                                 h e alt h tr e at m e nt b y c o n d u cti n g a b est pr a cti c es s u m mit at l e ast
                                                 a n n u all y. Th e s u m mits s h o ul d f o c us o n all as p e cts of s ui ci d e
                                                 pr e v e nti o n a n d r es p o ns e, i n cl u di n g pr o gr a ms t h at s e e k t o i m pr o v e
                                                 i n m at e m e nt al h e alt h a n d tr e at m e nt of a n d r es p o ns e t o s ui ci d e
                                                 att e m pts. C orr e cti o ns s h o ul d d o c u m e nt a n d diss e mi n at e t his
                                                 i nf or m ati o n a m o n g t h e pris o ns, assist pris o ns i n i m pl e m e nti n g t h e
                                                 b est pr a cti c es t hr o u g h tr ai ni n g a n d c o m m u ni c ati o n w h e n n e e d e d,
                                                 a n d m o nit or a n d r e p ort p u bli cl y o n t h e s u c c ess es a n d c h all e n g es of
                                                 a d o pt e d pr a cti c es.

                                                 I n a n e ﬀ ort t o pr e v e nt f ut ur e i n m at e s ui ci d e att e m pts, C orr e cti o ns
                                                 s h o ul d i m pl e m e nt its pl a n t o r e vi e w att e m pts wit h t h e s a m e l e v el of
                                                 s cr uti n y t h at it us es d uri n g its s ui ci d e r e vi e ws. C orr e cti o ns s h o ul d
                                                 r e q uir e e a c h pris o n’s s ui ci d e pr e v e nti o n t e a m t o i d e ntif y f or r e vi e w
                                                 at l e ast o n e s ui ci d e att e m pt p er y e ar t h at o c c urr e d at its pris o n.
                                                 T o e ns ur e t h at t h e r e vi e ws i n cl u d e criti c al a n d u n bi as e d f e e d b a c k,
                                                 C orr e cti o ns s h o ul d eit h er c o n d u ct t h es e r e vi e ws its elf or r e q uir e
                                                 t h e pris o ns t o r e vi e w e a c h oth er. Th es e r e vi e ws s h o ul d st art i n
                                                 S e pt e m b er 2 01 7 a n d f oll o w t h e s a m e ti m eli n es as t h e s ui ci d e
                                                 r e vi e ws, wit h t h e ti m eli n e b e gi n ni n g o n c e t h e t e a m i d e nti ﬁ es a
                                                 s ui ci d e att e m pt f or r e vi e w.
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     We c o n d u ct e d t his a u dit u n d er t h e a ut h orit y v est e d i n t h e C alif or ni a St at e A u dit or b y S e cti o n 8 5 4 3
     et s e q. of t h e C alif or ni a G o v er n m e nt C o d e a n d a c c or di n g t o g e n er all y a c c e pt e d g o v er n m e nt a u diti n g
     st a n d ar ds. Th os e st a n d ar ds r e q uir e t h at w e pl a n a n d p erf or m t h e a u dit t o o bt ai n s u ﬃ ci e nt, a p pr o pri at e
     e vi d e n c e t o pr o vi d e a r e as o n a bl e b asis f or o ur ﬁ n di n gs a n d c o n cl usi o ns b as e d o n o ur a u dit o bj e cti v es
     s p e ci ﬁ e d i n t h e S c o p e a n d M et h o d ol o g y s e cti o n of t h e r e p ort. We b eli e v e t h at t h e e vi d e n c e o bt ai n e d
     pr o vi d es a r e as o n a bl e b asis f or o ur ﬁ n di n gs a n d c o n cl usi o ns b as e d o n o ur a u dit o bj e cti v es.

     R es p e ctf ull y s u b mitt e d,



     E L AI N E M. H O W L E, C P A
     St at e A u dit or

     D at e:                    A u g ust 1 7, 2 01 7

     St a ﬀ:                    L a ur a G. K e ar n e y, A u dit Pri n ci p al
                                J o h n L e wis, M P A
                                F a h a d Ali, C F E
                                A m a n d a Mill e n, M B A
                                Al ej a n dr o R a y g o z a, M P A
                                K ell y R e e d, M S CJ

     L e g al C o u ns el:       H e at h er K e n dri c k, Sr. St a ﬀ C o u ns el

     F or q u esti o ns r e g ar di n g t h e c o nt e nts of t his r e p ort, pl e as e c o nt a ct
     M ar g arit a F er n á n d e z, C hi ef of P u bli c A ﬀ airs, at 91 6. 4 4 5. 0 2 5 5.
66        C alifCase
                or ni a St at2:90-cv-00520-KJM-SCR
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     Bl a n k p a g e i ns ert e d f or r e pr o d u cti o n p ur p os es o nl y.
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     A p p e n di x A
     R A T E S O F I N M A T E S UI CI D E S A N D S UI CI D E A T T E M P T S I N
     S T A T E P RI S O N S F R O M 2 0 1 2 T H R O U G H 2 0 1 6

     Th e J oi nt L e gisl ati v e A u dit C o m mitt e e ( A u dit C o m mitt e e)
     r e q u est e d t h at w e c o m p ar e t h e r at es of s ui ci d es a n d att e m pt e d
     s ui ci d es f or m al e a n d f e m al e i n m at es i n all st at e pris o ns fr o m 2 01 4
     t hr o u g h 2 01 6. I n or d er t o c al c ul at e t h es e r at es, w e us e d d at a
     fr o m C orr e cti o ns’ C O M P S T A T s yst e m b e c a us e it is t h e m ost
     c o m pr e h e nsi v e s o ur c e of p u bli cl y r e p ort e d d at a f or t h e e ntir e
     c orr e cti o n al s yst e m. B as e d o n o ur a n al ysis of C O M P S T A T d at a,
     Ta bl e A b e gi n ni n g o n t h e f oll o wi n g p a g e pr es e nts t h e r at es a n d
     n u m b er of i n m at e s ui ci d es a n d s ui ci d e att e m pts at e a c h st at e
     pris o n fr o m 2 01 2 t hr o u g h 2 01 6. As w e dis c uss i n C h a pt er 3, t h e
     d at a fr o m C O M P S T A T o n i n m at e s ui ci d es a n d att e m pt e d s ui ci d es
     ar e u nr eli a bl e; h o w e v er, t h e y ar e als o t h e m ost c o m pr e h e nsi v e, as
     w ell as b ei n g t h e d at a C orr e cti o ns m a k es a v ail a bl e t o t h e p u bli c.
     Th er ef or e, w e pr es e nt t h e d at a h er e b ut r e c o m m e n d i n C h a pt er 3
     t h at C orr e cti o ns t a k e st e ps t o e ns ur e its a c c ur a c y i n t h e f ut ur e.
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     T a bl e A
     S ui ci d es a n d S ui ci d e Att e m pts i n E a c h C alif or ni a Pris o n Fr o m 2 0 1 2 T hr o u g h 2 0 1 6

                                                                                                             2012                                                                           2013
                                                                                                     AT T E M P T E D                                                               AT T E M P T E D
                                                                                                      S UI CI D E S                    S UI CI D E S                                 S UI CI D E S                   S UI CI D E S
                                                                                                                  PE R                            PE R                                           PE R                           PE R
                                   P RI S O N                               P O P U L A TI O N   T OT AL         1, 0 0 0    T OT AL             1, 0 0 0   P O P U L A TI O N   T OT AL        1, 0 0 0   T OT AL             1, 0 0 0

     A v e n al St at e Pris o n                                                   5, 0 2 0             5         1. 0 0           1              0. 2 0          4, 4 9 7             3         0. 6 7          0              0. 0 0
     C alif or ni a Cit y C orr e cti o n al F a cilit y                               —            —                   —      —                       —               —           —                   —     —                       —
     C alif or ni a C orr e cti o n al C e nt er                                   4, 6 5 7             2         0. 4 3           0              0. 0 0          4, 9 0 3             2         0. 4 1          0              0. 0 0
     C alif or ni a C orr e cti o n al I nstit uti o n                             4, 6 4 3             5         1. 0 8           1              0. 2 2          4, 5 7 2             5         1. 0 9          1              0. 2 2
     C alif or ni a H e alt h C ar e F a cilit y                                       —            —                   —      —                       —               —           —                   —     —                       —
     C alif or ni a I nstit uti o n f or M e n                                    5, 0 0 2          10            2. 0 0           0              0. 0 0          4, 7 4 7             7         1. 4 7          0              0. 0 0
     C alif or ni a I nstit uti o n f or W o m e n                                 1, 6 3 6         13             7. 9 5          1              0. 6 1           2, 0 9 5         15            7. 1 6         0              0. 0 0
     C alif or ni a M e di c al F a cilit y                                       2, 3 6 3          17            7. 1 9           1              0. 4 2          2, 2 5 0          28         1 2. 4 5          2              0. 8 9
     C alif or ni a M e n’s C ol o n y                                            5, 3 6 8          21            3. 9 1           0              0. 0 0          4, 9 8 3          29           5. 8 2          0              0. 0 0
     C alif or ni a R e h a bilit ati o n C e nt er                                3, 6 9 4             1         0. 2 7           0              0. 0 0          3, 4 3 4             1         0. 2 9          0              0. 0 0
     C alif or ni a St at e Pris o n, C orc or a n                                 4, 6 2 6         20            4. 3 2           1              0. 2 2          4, 4 1 0          16           3. 6 3          1              0. 2 3
     C alif or ni a St at e Pris o n, L os A n g el es C o u nt y                 3, 8 4 8          13            3. 3 8           0             0. 0 0           3, 7 2 3             7         1. 8 8          1             0. 2 7
     C alif or ni a St at e Pris o n, S acr a m e nt o                             2, 6 9 3         22             8. 1 7          1              0. 3 7           2, 2 3 3         32          1 4. 3 3         1              0. 4 5
     C alif or ni a St at e Pris o n, S ol a n o                                   4, 3 1 3             4         0. 9 3           1              0. 2 3          4, 0 0 7             2         0. 5 0          0              0. 0 0
     C alif or ni a S u bst a n c e A b us e Tr e at m e nt F a cilit y            5, 6 8 3         15            2. 6 4           0              0. 0 0          5, 6 0 3          11           1. 9 6          0              0. 0 0
       a n d St at e Pris o n
     C alif or ni a Tr ai ni n g F a cilit y, S ol e d a d                         5, 7 5 9             4         0. 6 9           0              0. 0 0          5, 2 7 9             3         0. 5 7          2              0. 3 8
     C ali p atri a St at e Pris o n                                               3, 8 1 4             0         0. 0 0           0              0. 0 0          3, 6 2 1          12           3. 3 1          0              0. 0 0
     C e nti n el a St at e Pris o n                                               3, 6 5 9             2         0. 5 5           1              0. 2 7          3, 0 2 5             1         0. 3 3          0              0. 0 0
     C e ntr al C alif or ni a W o m e n’s F acilit y                              2, 9 3 4             5          1. 7 0          0              0. 0 0           3, 5 3 2            8          2. 2 7         0              0. 0 0
     C h u c k a w all a V all e y St at e Pris o n                                2, 7 1 2             0         0. 0 0           0              0. 0 0          2, 5 9 4             0         0. 0 0          0              0. 0 0
     D e u el V o c ati o n al I nstit uti o n                                    2, 5 0 4          12            4. 7 9           2              0. 8 0          2, 5 1 5             6         2. 3 9          0              0. 0 0
     F ols o m St at e Pris o n                                                    2, 8 4 0             2         0. 7 0           3              1. 0 6          3, 0 1 7             4         1. 3 3          3              0. 9 9
     Hi g h D es ert St at e Pris o n                                             3, 6 9 5              8         2. 1 7           0              0. 0 0          3, 3 5 9             2         0. 6 0          1              0. 3 0
     Ir o n w o o d St at e Pris o n                                               3, 5 0 3             3         0. 8 6           0              0. 0 0          3, 2 7 3             3         0. 9 2          0              0. 0 0
     K er n V all e y St at e Pris o n                                             4, 1 0 8         10            2. 4 3           0              0. 0 0          3, 7 2 8          20           5. 3 6          1              0. 2 7
     M ul e Cr e e k St at e Pris o n                                              3, 0 2 7         15            4. 9 6           1              0. 3 3          2, 8 2 2          13           4. 6 1          1              0. 3 5
     N ort h K er n St at e Pris o n                                               4, 6 8 0             8         1. 7 1           0              0. 0 0          4, 7 6 1          14           2. 9 4          1              0. 2 1
     P eli c a n B a y St at e Pris o n                                            3, 0 9 1         11            3. 5 6           0              0. 0 0          2, 7 8 5          17           6. 1 0          0              0. 0 0
     Pl e as a nt V all e y St at e Pris o n                                       3, 7 3 7             8         2. 1 4           2              0. 5 4          3, 4 1 2             5         1. 4 7          1              0. 2 9
     Ric h ar d J. D o n o v a n C orr ecti o n al F acilit y                      3, 5 3 7         28             7. 9 2          0              0. 0 0           3, 3 5 5         33            9. 8 4         3              0. 8 9
     Si err a C o ns er v ati o n C e nt er                                        4, 5 5 5             1         0. 2 2           1              0. 2 2          4, 8 5 6             4         0. 8 2          0              0. 0 0
     S a n Q u e nti n St at e Pris o n                                            3, 8 5 3         13            3. 3 7           3              0. 7 8          4, 2 0 6          14           3. 3 3          3              0. 7 1
     S ali n as V all e y St at e Pris o n                                         3, 6 0 7         37          1 0. 2 6           4              1. 1 1          3, 5 0 3          27           7. 7 1          2              0. 5 7
     V all e y St at e Pris o n                                                    2, 0 7 4         12            5. 7 9           0              0. 0 0          3, 0 0 4             3         1. 0 0          0              0. 0 0
     W as c o St at e Pris o n                                                     5, 0 4 3         25            4. 9 6           1              0. 2 0          5, 1 3 4          27           5. 2 6          1              0. 1 9
           T ot als *                                                         1 2 6, 2 7 6        352             2. 7 9       25                0. 2 0       1 2 3, 2 3 8        374            3. 0 3      25                0. 2 0

     S o urc e: C alif or ni a St at e A u dit or’s a n al ysis of C orr e cti o ns’ C O M P S T AT m etri cs.
     N ot es: As w e n ot e i n C h a pt er 3 o n p a g e 5 8, o ur r e vi e w of v ari o us r e c or ds fr o m i n di vi d u al pris o ns r e v e al e d t h at C O M P S T AT h as c o n sist e ntl y
     u n d err e p ort e d t h e n u m b er of s ui ci d es i n C alif or ni a pris o ns. T h e n u m b ers i n t his t a bl e ar e n ot a dj ust e d; w e pr es e nt t h e m as t h e y a p p e ar i n C O M P S T AT.
     It ali ciz e d r o ws r e pr es e nt t h e f o ur pris o ns r e vi e w e d i n t his a u dit.
     * B ec a us e w e c alc ul at e d p o p ul ati o ns b as e d o n a 1 2- m o nt h a v er a g e, a n n u al p o p ul ati o n a m o u nts m a y di ﬀ er fr o m t h e t ot al pris o n p o p u l ati o ns d u e t o r o u n di n g.
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                                     2014                                                                        2015                                                                       2016
                             AT T E M P T E D                                                            AT T E M P T E D                                                           AT T E M P T E D
                              S UI CI D E S                S UI CI D E S                                  S UI CI D E S                S UI CI D E S                                 S UI CI D E S                 S UI CI D E S
                                          PE R                        PE R                                            PE R                        PE R                                           PE R                         PE R
     P O P U L A TI O N   T OT AL        1, 0 0 0   T OT AL          1, 0 0 0    P O P U L A TI O N   T OT AL        1, 0 0 0   T OT AL          1, 0 0 0   P O P U L A TI O N   T OT AL        1, 0 0 0    T OT AL          1, 0 0 0

           4, 0 2 8           4           0. 9 9       0             0. 0 0            3, 3 6 9           3           0. 8 9       0             0. 0 0           3, 2 7 4           2           0. 6 1        0             0. 0 0
           1, 8 2 5           0           0. 0 0       0             0. 0 0                    —          —                 —      —                   —          1, 9 3 3           0           0. 0 0        0             0. 0 0
           4, 9 0 9           0           0. 0 0       1             0. 2 0            4, 1 3 8           1           0. 2 4       0             0. 0 0           3, 9 9 1           0           0. 0 0        1             0. 2 5
           4, 4 0 4           3           0. 6 8       2             0. 4 5            3, 9 4 9          11           2. 7 9       1             0. 2 5           3, 4 3 5          17           4. 9 5        2             0. 5 8
           1, 6 2 6          17         1 0. 4 5       0             0. 0 0                    —          —                 —      —                   —          2, 3 4 2          26         1 1. 1 0        1             0. 4 3
           4, 6 3 6          13           2. 8 0       1             0. 2 2            3, 8 5 9           7           1. 8 1       1             0. 2 6           3, 6 6 9           6           1. 6 4        0             0. 0 0
            1, 9 9 4         15            7. 5 2      2              1. 0 0            1, 8 8 7         34         1 8. 0 2       2              1. 0 6           1, 8 8 2         24         1 2. 7 5        2             1. 0 6
           2, 0 8 2          16           7. 6 9       1             0. 4 8            2, 3 4 2          15           6. 4 1       1             0. 4 3           2, 5 6 3           8           3. 1 2        0             0. 0 0
           4, 3 6 8          18           4. 1 2       0             0. 0 0            3, 9 1 0          15           3. 8 4       2             0. 5 1           4, 1 0 1          12           2. 9 3        3             0. 7 3
           2, 8 2 6           0           0. 0 0       0             0. 0 0            4, 9 4 6           7           1. 4 2       0             0. 0 0           3, 0 0 6           2           0. 6 7        0             0. 0 0
           4, 3 3 5          17           3. 9 2       0             0. 0 0            4, 2 8 0          20           4. 6 7       1             0. 2 3           3, 6 4 0          33           9. 0 7        0             0. 0 0
           3, 5 8 7          22           6. 1 3       0             0. 0 0            3, 5 2 0          11           3. 1 3       0             0. 0 0           3, 4 7 9          19           5. 4 6        2             0. 5 7
            2, 2 1 2         11            4. 9 7      2              0. 9 0            2, 2 4 0         12           5. 3 6       3              1. 3 4           2, 3 3 9          8           3. 4 2        2             0. 8 6
           4, 0 0 5           8           2. 0 0       1             0. 2 5            3, 8 5 8           5           1. 3 0       0             0. 0 0           3, 9 8 3           2           0. 5 0        0             0. 0 0

           5, 4 3 5          16           2. 9 4       1             0. 1 8            5, 4 8 9          19           3. 4 6       0             0. 0 0           5, 2 9 6          32           6. 0 4        0             0. 0 0

           4, 9 6 3           5           1. 0 1       0             0. 0 0            2, 5 3 9           1           0. 3 9       0             0. 0 0           5, 1 8 4           5           0. 9 6        0             0. 0 0
           3, 8 6 3           5           1. 2 9       0             0. 0 0            3, 7 9 2           2           0. 5 3       0             0. 0 0           3, 8 1 9           0           0. 0 0        0             0. 0 0
           2, 8 6 2           0           0. 0 0       0             0. 0 0            3, 2 8 7           4           1. 2 2       0             0. 0 0           3, 6 1 4           4           1. 1 1        0             0. 0 0
            3, 6 5 2           6           1. 6 4      0              0. 0 0            3, 0 0 0         11           3. 6 7       0              0. 0 0           2, 8 6 1         25           8. 7 4        1             0. 3 5
           2, 3 1 5           1           0. 4 3       0             0. 0 0            2, 1 5 0           0           0. 0 0       0             0. 0 0           2, 4 2 5           0           0. 0 0        0             0. 0 0
           2, 5 6 1          14           5. 4 7       0             0. 0 0            2, 3 6 1          10           4. 2 4       3             1. 2 7           2, 3 4 0          14           5. 9 8        0             0. 0 0
           3, 1 0 0           2           0. 6 5       0             0. 0 0            2, 9 1 3           0           0. 0 0       1             0. 3 4           2, 9 7 9           1           0. 3 4        1             0. 3 4
           3, 4 2 1           9           2. 6 3       1             0. 2 9            3, 4 1 6           1           0. 2 9       0             0. 0 0           3, 7 0 2           2           0. 5 4        0             0. 0 0
           3, 0 1 8           5           1. 6 6       0             0. 0 0            3, 3 9 2           1           0. 2 9       0             0. 0 0           3, 2 6 5           1           0. 3 1        0             0. 0 0
           3, 8 0 4          30           7. 8 9       1             0. 2 6            3, 7 5 9          26           6. 9 2       0             0. 0 0           3, 9 1 0          16           4. 0 9        3             0. 7 7
           2, 9 0 8          17           5. 8 5       2             0. 6 9            2, 8 6 9          22           7. 6 7       0             0. 0 0           3, 2 6 6          18           5. 5 1        0             0. 0 0
           4, 5 9 1          18           3. 9 2       0             0. 0 0            4, 2 4 3          11           2. 5 9       0             0. 0 0           4, 3 8 1           5           1. 1 4        1             0. 2 3
           2, 7 7 7           4           1. 4 4       1             0. 3 6            2, 6 4 7          11           4. 1 6       0             0. 0 0           2, 2 4 7          15           6. 6 7        1             0. 4 4
           3, 1 1 3           7           2. 2 5       0             0. 0 0            2, 8 6 8           2           0. 7 0       0             0. 0 0           3, 2 0 6           1           0. 3 1        1             0. 3 1
            3, 0 7 6         22            7. 1 5      1              0. 3 3            3, 1 1 4         51         1 6. 3 8       1              0. 3 2           3, 1 1 2         59         1 8. 9 6        0              0. 0 0
           4, 6 2 8           2           0. 4 3       0             0. 0 0            4, 3 7 7           3           0. 6 9       0             0. 0 0           4, 3 2 9           3           0. 6 9        0             0. 0 0
           3, 9 2 0          12           3. 0 6       2             0. 5 1            3, 7 2 0          14           3. 7 6       2             0. 5 4           3, 9 5 3          10           2. 5 3        0             0. 0 0
           3, 4 1 5          19           5. 5 6       1             0. 2 9            3, 6 6 3          23           6. 2 8       0             0. 0 0           3, 7 1 8          17           4. 5 7        4             1. 0 8
           3, 2 4 3           7           2. 1 6       0             0. 0 0            3, 3 3 9          11           3. 2 9       0             0. 0 0           3, 4 5 5           6           1. 7 4        0             0. 0 0
           5, 1 5 4          20           3. 8 8       0             0. 0 0            4, 8 9 7          27           5. 5 1       0             0. 0 0           4, 9 8 3          26           5. 2 2        0             0. 0 0
       1 2 2, 6 5 2        365            2. 9 8     20              0. 1 6        1 1 4, 1 3 0        391            3. 4 3     18              0. 1 6       1 1 9, 6 8 1       419             3. 5 0      25              0. 2 1
70        C alifCase
                or ni a St at2:90-cv-00520-KJM-SCR
                              e A u dit or R e p ort 2 0 1 6- 1 3 1        Document 6768-1   Filed 07/15/20   Page 86 of 113
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     Bl a n k p a g e i ns ert e d f or r e pr o d u cti o n p ur p os es o nl y.
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                                                                                                                                        C alif or ni a St at Page
                                                                                                                                                             e A u dit or87
                                                                                                                                                                          R e p of
                                                                                                                                                                                ort 2113
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                                                                                                                                                                                             A u g u st 2 0 1 7




     A p p e n di x B
     S C O PE A N D MET H O D OL O G Y

     Th e A u dit C o m mitt e e dir e ct e d t h e C alif or ni a St at e A u dit or
     t o p erf or m a n a u dit of C orr e cti o ns’ p oli ci es, pr o c e d ur es, a n d
     pr a cti c es r el at e d t o s ui ci d e pr e v e nti o n a n d r e d u cti o n. We w er e
     dir e ct e d t o r e vi e w t h e s ui ci d e a n d att e m pt e d s ui ci d e r at es f or m al e
     a n d f e m al e i n m at es i n all st at e pris o ns; C orr e cti o ns’ p oli ci es a n d
     pr o c e d ur es f or i n m at e s ui ci d e pr e v e nti o n a n d r es p o ns e, as w ell as
     t h eir i m pl e m e nt ati o n; a n d CI W’s i m pl e m e nt ati o n of C orr e cti o ns’
     p oli ci es. We w er e als o as k e d t o d et er mi n e ar e as i n w hi c h
     C orr e cti o ns c o ul d i m pr o v e its m e nt al h e alt h s er vi c es, c a us es
     f or CI W’s hi g h s ui ci d e r at es, a n d t h e a d e q u a c y of m e nt al h e alt h
     a n d s ui ci d e pr e v e nti o n tr ai ni n g f or CI W st a ﬀ. Ta bl e B lists t h e
     o bj e cti v es t h at t h e A u dit C o m mitt e e a p pr o v e d a n d s u m m ari z es
     t h e m et h o ds w e us e d t o a d dr ess t h os e o bj e cti v es.


     T a bl e B
     A u dit O bj e cti v es a n d t h e M et h o ds Us e d t o A d dr ess T h e m

                                   A U DI T O BJ E C TI V E                                                                                                MET H O D

      1     R e vi e w a n d e v al u at e t h e l a ws, r ul es, a n d             W e r e vi e w e d r el e v a nt st at e l a ws a n d r e g ul ati o ns.
            r e g ul ati o ns si g ni ﬁ c a nt t o t h e a u dit o bj e cti v es.

      2     E v al u at e C orr e cti o ns’ p oli ci es a n d pr o c e d ur es        • W e j u d g m e nt all y s el e ct e d t hr e e pris o ns t o r e vi e w i n a d diti o n t o CI W b as e d o n a n a n al ysis of t h e
            f or i n m at e s ui ci d e pr e v e nti o n a n d r es p o ns e,          n u m b er of s ui ci d es a n d s ui ci d e att e m pts fr o m 2 0 1 4 t hr o u g h 2 0 1 6 a n d of t h e pris o ns’ missi o ns:
            i n cl u di n g t h os e r el at e d t o i nst a n c es w h e n a n        C C W F, RJ D, a n d S A C.
            i n m at e e x hi bits s ui ci d al b e h a vi or. D et er mi n e         • W e o bt ai n e d C orr e cti o ns’ p oli ci es a n d pr o c e d ur es f or i n m at e s ui ci d e pr e v e nti o n a n d r es p o ns e.
            w h et h er s u c h p oli ci es a n d pr o c e d ur es ar e                F urt h er, w e r e vi e w e d l o c al o p er ati n g pr o c e d ur es at e a c h of t h e f o ur pris o ns.
            i m pl e m e nt e d c o nsist e ntl y t hr o u g h o ut
            C alif or ni a’s st at e pris o ns.                                       • W e r e vi e w e d t h e C ol e m a n s p e ci al m ast er m o nit ori n g r e p orts, C orr e cti o ns’ s ui ci d e r e p orts,
                                                                                       a n d t h e s ui ci d e e x p ert’s a u dits t o i d e ntif y r e c o m m e n d ati o ns m a d e t o CI W, C orr e cti o ns, a n d
                                                                                       t h e ot h er t hr e e pris o ns. W e d et er mi n e d if t h e a p pr o pri at e p oli ci es a n d pr o c e d ur es r e ﬂ e ct e d
                                                                                       t h os e r e c o m m e n d ati o ns. W e als o i nt er vi e w e d r el e v a nt C orr e cti o ns’ st a ﬀ f or p ers p e cti v e o n t h e
                                                                                       i m pl e m e nt ati o n of t h es e r e c o m m e n d ati o ns.
                                                                                      • W e j u d g m e nt all y s el ect e d 1 0 i n m at e s uici d es a n d s uici d e att e m pts fr o m 2 0 1 4 t hr o u g h 2 0 1 6 fr o m
                                                                                       e ac h of t h e f o ur pris o ns. W e r e vi e w e d t h e r ec or ds f or t h e 4 0 i n m at es’ s uici d es a n d s uici d e att e m pts
                                                                                       t o d et er mi n e if t h e pris o ns a d h er e d t o t h eir l oc al o p er ati n g pr oc e d ur es a n d C orr ecti o ns’ p olici es a n d
                                                                                       pr oc e d ur es o n s uici d e pr e v e nti o n a n d r es p o ns e. W e i nt er vi e w e d r el e v a nt st a ﬀ at C orr ecti o ns a n d at
                                                                                       t h e pris o ns t o o bt ai n p ers p ecti v e o n iss u es w e f o u n d p ert ai ni n g t o t h es e r ec or ds.

      3     F or t h e m ost r e c e nt t hr e e- y e ar p eri o d,                   • T o b ett er i d e ntif y tr e n ds, w e r e vi e w e d t h e ﬁ v e- y e ar p eri o d fr o m 2 0 1 2 t hr o u g h 2 0 1 6.
            c o m p ar e t h e s ui ci d e a n d att e m pt e d s ui ci d e           • W e g at h er e d C orr e cti o ns’ st atisti cs o n i n m at e s ui ci d es a n d s ui ci d e att e m pts fr o m 2 0 1 2
            r at es f or m al e a n d f e m al e i n m at es i n all                   t hr o u g h 2 0 1 6 f or all C alif or ni a st at e pris o ns fr o m C orr e cti o ns’ or g a niz ati o n al m a n a g e m e nt
            st at e pris o ns.                                                         t o ol c all e d C O M P S T AT.
                                                                                      • W e a n al yz e d t h e C O M P S T AT d at a t o pr es e nt t h e i n m at e s ui ci d e a n d s ui ci d e att e m pt r at es b y
                                                                                       pris o n i n A p p e n di x A.
                                                                                      • W e o bt ai n e d p ers p e cti v e fr o m C orr e cti o ns’ o ﬃ ci als o n a n y tr e n ds or i n a cc ur a ci es t h at w e
                                                                                       o bs er v e d a n d t h e m et h o ds C orr e cti o ns us e d t o g at h er a n d tr a c k t h es e d at a.
                                                                                      • F or Ta bl e 1 o n p a g e 9 a n d Ta bl e 6 o n p a g e 4 0, w e a dj ust e d t h e C O M P S T AT d at a w e pr es e nt o n
                                                                                        s ui ci d es f or t h e f o ur pris o ns w e r e vi e w e d b as e d o n d o c u m e nt ati o n of s ui ci d es n ot r e c or d e d i n
                                                                                        C O M P S T AT. I n Ta bl e 1, w e als o a dj ust e d t h e pris o n p o p ul ati o ns f or t h e f o ur pris o ns w e r e vi e w e d
                                                                                        b as e d o n a v er a g e d ail y p o p ul ati o ns C orr e cti o ns pr o vi d e d. I n A p p e n di x A, w e di d n ot a dj ust t h e
                                                                                        C O M P S T AT d at a as t h e y ar e t h e d at a C orr e cti o ns m a k es a v ail a bl e t o t h e p u bli c.
                                                                                                                                                                                             c o nti n u e d o n n e xt p a g e . . .
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                   or ni a St at2:90-cv-00520-KJM-SCR
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                                      A U DI T O BJ E C TI V E                                                                                             MET H O D

      4       I d e ntif y ar e as w h er e C orr e cti o ns c a n i m pr o v e        • Usi n g t h e r es ults of t h e t esti n g of p oli ci es a n d r e c o m m e n d ati o ns i n O bj e cti v e 2, w e d et er mi n e d
               its m e nt al h e alt h s er vi c es, p arti c ul arl y wit h             ar e as i n w hi c h C orr e cti o ns c o ul d i m pr o v e its pr a cti c es. W e g at h er e d p ers p e cti v e o n t h es e ar e as of
               r es p e ct t o t h e s af et y a n d c ar e f or i n m at es             i m pr o v e m e nt fr o m r el e v a nt C orr e cti o ns’ st a ﬀ.
               n e e di n g m e nt al h e alt h tr e at m e nt.                        • W e r e vi e w e d t h e m o nt hl y m e eti n g mi n ut es f or t h e st at e wi d e s ui ci d e pr e v e nti o n t e a m a n d t h e
                                                                                        s ui ci d e pr e v e nti o n t e a ms at e a c h of t h e f o ur pris o ns f or 2 0 1 6 t o d et er mi n e t h e m e eti n g att e n d e es
                                                                                        a n d t h e t o pi cs st a ﬀ a d dr ess e d.
                                                                                       • W e i nt er vi e w e d C orr e cti o ns’ o ﬃ ci als a n d r e vi e w e d a v ail a bl e d o c u m e nt ati o n t o i d e ntif y t h e
                                                                                        m et h o ds us e d t o dis c uss, d o c u m e nt, a n d diss e mi n at e b est pr a cti c es t o t h e pris o ns r el at e d t o
                                                                                        s ui ci d e pr e v e nti o n a n d r es p o ns e.
                                                                                       • W e o bt ai n e d C orr ecti o ns’ r e p orts o n p ositi o n v ac a nc y r at es as of D ec e m b er 2 0 1 6 f or s oci al w or k ers,
                                                                                        ps yc hi atrists, a n d ps yc h ol o gists at t h e f o ur pris o ns w e r e vi e w e d a n d f or C orr ecti o ns as a w h ol e.
                                                                                       • W e i nt er vi e w e d k e y st a ﬀ at t h e f o ur pris o ns a n d C orr e cti o ns’ h e a d q u art ers t o g at h er p ers p e cti v e
                                                                                        o n st a ﬀ v a c a n ci es.

      5       I n r e vi e wi n g t h e CI W d o t h e f oll o wi n g:               T h e pr o c e d ur es w e p erf or m e d i n O bj e cti v e 2 als o a d dr ess e d t his o bj e cti v e.
               a. E v al u at e w h et h er CI W a p pr o pri at el y
                  i m pl e m e nt e d C orr e cti o ns’ s ui ci d e
                  pr e v e nti o n p oli ci es.
               b. I d e ntif y a n d a n al yz e CI W’s p olici es a n d               • T h e pr o c e d ur es w e p erf or m e d i n O bj e cti v e 2 als o a d dr ess e d t his o bj e cti v e.
                   pr oc e d ur es i n t h e e v e nt of a s uici d e,                 • W e r e vi e w e d C orr e cti o ns’ pr o c e d ur es f or c o m m u ni c ati n g wit h a d e c e as e d i n m at e’s f a mil y
                   i ncl u di n g a n y e ns ui n g i n v esti g ati o n a n d          f oll o wi n g a d e at h.
                   c o m m u nic ati o n wit h t h e d ec e as e d i n m at e’s
                                                                                       • W e r e vi e w e d r e c or ds f or si x i n m at es w h o c o m mitt e d s ui ci d e fr o m 2 0 1 4 t hr o u g h 2 0 1 6 a n d
                   f a mil y d uri n g a n d aft er s uc h i n v esti g ati o n.
                                                                                        d et er mi n e d t h at CI W c o m pli e d wit h C orr e cti o ns’ p oli ci es f or c o m m u ni c ati n g wit h a d e c e as e d
                                                                                        i n m at e’s f a mil y f oll o wi n g a s ui ci d e.
               c. T o t h e e xt e nt p ossi bl e, i d e ntif y t h e c a us es        • W e i nt er vi e w e d k e y C orr e cti o ns’ h e a d q u art ers st a ﬀ a n d CI W st a ﬀ t o g at h er t h eir p ers p e cti v es o n
                  or f act ors c o ntri b uti n g t o t h e hi g h er r at es           t h e c a us es f or t h e hi g h er r at es of s ui ci d e a n d s ui ci d e att e m pts at CI W fr o m 2 0 1 4 t hr o u g h 2 0 1 6.
                  of s uici d e a n d s uici d e att e m pts at CI W,                  • W e e v al u at e d d at a fr o m CI W a n d C C W F r e g ar di n g t h e s ui ci d e att e m pts b y i n m at es w h o
                  i ncl u di n g a n y s yst e mic pr o bl e ms or f ail ur es.         tr a nsf err e d fr o m V S P W.
                                                                                       • W e r e vi e w e d C orr e cti o ns’ a v ail a bl e d o c u m e nt ati o n of t h e pl a n t o c o n v ert V S P W t o a m e n’s pris o n.
                                                                                       • W e i nt er vi e w e d o ﬃ ci als at CI W a n d C orr e cti o ns t o d et er mi n e if t h e c o n v ersi o n pr o c ess a cc o u nt e d
                                                                                        f or t h e e ﬀ e ct t h e tr a nsf er of i n m at es fr o m V S P W w o ul d h a v e o n CI W.
               d. I d e ntif y a n d a n al yz e CI W’s p oli ci es a n d              • T h e pr o c e d ur es w e p erf or m e d i n O bj e cti v e 2 f or t h e 4 0 i n m at es’ s ui ci d es a n d s ui ci d e att e m pts
                   pr a cti c es i n t h e e v e nt t h at a n i n m at e                als o a d dr ess e d t his o bj e cti v e.
                   dis pl a ys s ui ci d al b e h a vi or. E v al u at e               • W e r e vi e w e d CI W’s p oli ci es a n d d o c u m e nt ati o n f or si x i n m at es r e g ar di n g a cc ess t o y ar d ti m e.
                   CI W’s a bilit y t o a p pr o pri at el y h o us e a n d
                   tr e at i n m at es i d e nti ﬁ e d as s ui ci d al a n d
                   d et er mi n e w h et h er CI W all o ws a cc ess t o
                   i n m at e pr o gr a m a cti viti es or m o v e m e nts
                   s u c h as y ar d ti m e.
               e. E v al u at e t h e a d e q u ac y of t h e m e nt al h e alt h      • Fr o m a list c o nt ai ni n g all e m pl o y e es at CI W, w e r a n d o ml y s el ect e d 2 0 CI W st a ﬀ m e m b ers a n d
                  a n d s uici d e pr e v e nti o n tr ai ni n g f or CI W st a ﬀ.       d et er mi n e d t h e p erc e nt a g e w h o r ec ei v e d a n n u al s uici d e pr e v e nti o n tr ai ni n g i n 2 0 1 4, 2 0 1 5, a n d 2 0 1 6.
                                                                                       • Fr o m a list c o nt ai ni n g all m e nt al h e alt h st a ﬀ at CI W, w e r a n d o ml y s el e ct e d 1 0 ps yc hi atrists,
                                                                                         ps yc h ol o gists, a n d s o ci al w or k ers a n d d et er mi n e d h o w m a n y r e c ei v e d tr ai ni n g o n h o w t o
                                                                                         c o m pl et e s ui ci d e ris k e v al u ati o ns a n d ot h er tr ai ni n gs r e q uir e d f or m e nt al h e alt h st a ﬀ.
                                                                                       • W e r e vi e w e d s e v er al s ui ci d e pr e v e nti o n tr ai ni n gs t h at C orr e cti o ns’ st a ﬀ r e c ei v e d t o d et er mi n e if
                                                                                        t h e tr ai ni n gs c o nt ai n e d t h e c o nt e nt C orr e cti o ns’ p oli ci es r e q uir e a n d a n y a d diti o n al c o nt e nt t h e
                                                                                        s ui ci d e e x p ert h a d r e c o m m e n d e d.
                                                                                       • W e o bt ai n e d s elf-r e p ort e d d at a o n s el e ct e d r e q uir e d tr ai ni n gs fr o m C C W F, CI W, RJ D, a n d S A C
                                                                                        a n d i d e nti ﬁ e d i nst a n c es of l o w c o m pli a n c e.

      6        R e vi e w a n d ass ess a n y ot h er iss u es t h at ar e             • W e i nt er vi e w e d s el ect e d a d v oc ac y gr o u ps t o i d e ntif y t h eir k e y c o nc er ns r el at e d t o o ur a u dit sc o p e.
               si g ni ﬁ c a nt t o t h e a u dit.                                     • W e a d dr ess e d c o nc er ns r el at e d t o d el a ys i n e m er g e nc y r es p o ns e a n d m o nit ori n g i n m at es i n
                                                                                        O bj ecti v e 2.
                                                                                       • W e als o a d dr ess e d c o nc er ns r el at e d t o i d e ntif yi n g a n d diss e mi n ati n g b est pr actic es i n O bj ecti v e 4.


     S o urc es: C alif or ni a St at e A u dit or’s a n al ysis of t h e A u dit C o m mitt e e’s a u dit r e q u est n u m b er 2 0 1 6- 1 3 1, pl a n ni n g d o c u m e nts, a n d a n al ysis of i nf or m ati o n a n d
     d o c u m e nt ati o n i d e nti ﬁ e d i n t h e t a bl e c ol u m n titl e d M et h o d .
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                                                                                                 C alif or ni a St at Page
                                                                                                                      e A u dit or89
                                                                                                                                   R e p of
                                                                                                                                         ort 2113
                                                                                                                                              0 1 6- 1 3 1    73
                                                                                                                                         A u g u st 2 0 1 7




     Ass ess m e nt of D at a R eli a bilit y

     I n p erf or mi n g t his a u dit, w e o bt ai n e d d at a fr o m C orr e cti o ns’
     C O M P S T A T or g a ni z ati o n al m a n a g e m e nt t o ol. Th e
     U. S. G o v er n m e nt A c c o u nt a bilit y O ﬃ c e, w h os e st a n d ar ds w e ar e
     st at ut oril y r e q uir e d t o f oll o w, r e q uir es us t o ass ess t h e s u ﬃ ci e n c y
     a n d a p pr o pri at e n ess of c o m p ut er- pr o c ess e d i nf or m ati o n t h at
     w e us e t o s u p p ort ﬁ n di n gs, c o n cl usi o ns, or r e c o m m e n d ati o ns.
     C orr e cti o ns’ C O M P S T A T t o ol pr o vi d es m o nt hl y d at a t o
     st a k e h ol d ers a n d t h e p u bli c o n a v ari et y of m e as ur es at e a c h of
     C orr e cti o ns’ pris o ns a n d ot h er i nstit uti o ns. We us e d C O M P S T A T
     d at a t o r e p ort o n t h e n u m b er of s ui ci d es a n d att e m pt e d s ui ci d es
     t hr o u g h o ut C alif or ni a’s a d ult pris o ns. We p erf or m e d d at a-s et
     v eri ﬁ c ati o n pr o c e d ur es a n d f o u n d n o err ors. F urt h er, as r e p ort e d
     i n C h a pt er 3, w e ass ess e d t h e a c c ur a c y a n d c o m pl et e n ess of
     C O M P S T A T d at a b y c o m p ari n g t h e d at a o n s ui ci d es a n d att e m pt e d
     s ui ci d es f or s el e ct e d m o nt hs t o i n ci d e nt l o gs fr o m t h e f o ur pris o ns
     w e visit e d a n d i d e nti ﬁ e d s e v er al err ors. We als o c o m p ar e d t h e
     n u m b er of s ui ci d es r e p ort e d i n C O M P S T A T t o t h os e i n r e p orts
     fr o m t h e s p e ci al m ast er’s s ui ci d e e x p erts a n d f o u n d t h e y di d n ot
     a gr e e. Fi n all y, d uri n g t h e c o urs e of o ur a u dit w or k, w e i d e nti ﬁ e d
     o n e s ui ci d e e a c h at t hr e e of t h e f o ur pris o ns w e visit e d t h at w as
     n ot i n cl u d e d i n C O M P S T A T. As a r es ult, w e d et er mi n e d t h at
     C O M P S T A T d at a ar e n ot s u ﬃ ci e ntl y r eli a bl e f or t h e p ur p os es of
     t his a u dit. N e v ert h el ess, w e pr es e nt t h es e d at a i n t h e r e p ort b e c a us e
     C O M P S T A T is C orr e cti o ns’ c o m pr e h e nsi v e s o ur c e of d at a a v ail a bl e
     o n s ui ci d es a n d att e m pt e d s ui ci d es f or e a c h of its pris o ns, a n d it
     c o nt ai ns d at a C orr e cti o ns m a k es p u bli cl y a v ail a bl e. We dis c uss o ur
     ﬁ n di n gs i n m or e d et ail i n C h a pt er 3 a n d m a k e a r e c o m m e n d ati o n
     f or i m pr o vi n g t h e d at a o n p a g e 6 4.

     We als o o bt ai n e d s u m m ar y d at a fr o m C orr e cti o ns o n t h e r at es at
     w hi c h its e m pl o y e es att e n d v ari o us tr ai ni n gs. We t est e d s el e ct e d
     e m pl o y e es at CI W a n d d et er mi n e d t h e y di d n ot all att e n d r e q uir e d
     tr ai ni n gs. We r e q u est e d s elf-r e p ort e d s u m m ar y d at a fr o m
     C orr e cti o ns f or e a c h of t h e f o ur pris o ns w e visit e d t o d et er mi n e
     w h et h er t h er e w as e vi d e n c e at e a c h pris o n t o c orr o b or at e o ur
     ﬁ n di n gs at CI W. B e c a us e t h e d at a c orr o b or at e d o ur ﬁ n di n gs, w e
     d et er mi n e d it w o ul d b e t o o r es o ur c e-i nt e nsi v e t o f urt h er t est t h e
     a c c ur a c y a n d c o m pl et e n ess of t h e pris o ns’ s elf-r e p ort e d d at a.
     I nst e a d, w e cl e arl y attri b ut e t h e d at a i n t h e r e p ort t o C orr e cti o ns.
74        C alifCase
                or ni a St at2:90-cv-00520-KJM-SCR
                              e A u dit or R e p ort 2 0 1 6- 1 3 1        Document 6768-1   Filed 07/15/20   Page 90 of 113
          A u g u st 2 0 1 7




     Bl a n k p a g e i ns ert e d f or r e pr o d u cti o n p ur p os es o nl y.
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                                                        C alif or ni a St at Page
                                                                             e A u dit or91
                                                                                          R e p of
                                                                                                ort 2113
                                                                                                     0 1 6- 1 3 1    75
                                                                                                A u g u st 2 0 1 7
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                         E x hi bit N
                               Case 2:90-cv-00520-KJM-SCR                          Document 6768-1                  Filed 07/15/20           Page 93 of 113




                                            C C C M S Po p ul ati o n if Po p ul ati o n w as 7 4. 3 % of            E O P Po p ul ati o n if Po p ul ati o n w as 4 7. 2 % of
M al e P ati e nts
                                            F e br u ar y 2 0 2 0 Po p ul ati o n                                    F e br u ar y 2 0 2 0 P o p ul ati o n


G e n er al P o p ul ati o n                                                                                16023                                                                 2733
R e c e pti o n C e nt er                                                                                    1716                                                                      76
A S U/ S T R H/ N D S/ C o n d e m n e d                                                                      749                                                                     227
S H U/L T R H/ P S U                                                                                          176                                                                   59
T ot al P o p ul ati o n                                                                                    18663                                                                 6559



                                            C C C M S Po p ul ati o n if Po p ul ati o n w as 7 4. 3 % of            E O P Po p ul ati o n if Po p ul ati o n w as 47. 2 % of
F e m al e P ati e nts
                                            F e br u ar y 2 0 2 0 P o p ul ati o n                                   F e br u ar y 2 0 2 0 P o p ul ati o n


G e n er al P o p ul ati o n                                                                                 1293                                                                      81
R e c e pti o n C e nt er                                                                                     181                                                                       0
A S U/ S T R H/ N D S / C o n d e m n e d                                                                      59                                                                       7
S H U/L T R H/ P S U                                                                                           19                                                                       1
T ot al P o p ul ati o n                                                                                     1551                                                                      89




 ___________________________________________________________________________________________________
 1 G e n er al P o p ul ati o n fi g ur es i n cl u d e all p ati e nts at ot h er l e v els of c ar e b ut a w aiti n g tr a nsf er t o d esi g n at e d l e v el of c ar e, a n d
 all p ati e nts i n s p e ci ali z e d m e di c al b e ds.



 [ 3 5 7 7 8 9 4. 1]
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                         E x hi bit O
                                     Case 2:90-cv-00520-KJM-SCR                          Document 6768-1                    Filed 07/15/20           Page 95 of 113
                                                                                    P A TI E N T B A S E D S T A F FI N G
                                                                                                          M al e                 F e m al e           F T Es 1      F T Es                T O T AL F T E
                                                            P ati e nts
                                               R eli ef                        R ati o as            P o p ul ati o n         P o p ul ati o n      needed       Needed                    B as e d o n
    St aff Ps y c hi atrist ( 9 2 7 2)                          P er
                                               F a ct or                       D e ci m al                Wit h                    Wit h                f or         f or                     2018
                                                            Cli ni ci a n
                                                                                                     R e d u cti o n s        R e d u cti o n s      M al es     F e m al es               N u m b ers
              C C C MS G P                     0. 2 4 3        280          0. 0 0 3 5 7 1 4 2 9         16023                     1293              7 1. 1 3       6. 8 9                    7 8. 0 7
C C C M S R e c e pti o n C e nt er ( R C)     0. 2 4 3        200                0. 0 0 5                1716                      181              1 0. 6 6       1. 3 5                    1 2. 0 1
                C C C MS
                                               0. 2 4 3        125               0. 0 0 8                  749                       59               7. 4 5       0. 7                        8. 1 5
 A S U/ S T R H/ C o n d e m n e d/ N D S
     C C C M S S H U/ L T R H/ P S U           0. 2 4 3        200                0. 0 0 5                176                        19               1. 0 9       0. 1 4                     1. 2 4
                E OP GP                        0. 2 4 3        120          0. 0 0 8 3 3 3 3 3 3          2733                       81              2 8. 3 1      1. 0 1                     29.32
                E OP RC                        0. 2 4 3        120          0. 0 0 8 3 3 3 3 3 3           76                        0                0. 7 9       0. 0 0                     0.79
                   E OP
                                               0. 2 4 3         64            0. 0 1 5 6 2 5               227                        7               4. 4 1       0. 1 6                      4. 5 7
 A S U/ S T R H/ C o n d e m n e d/ N D S
       E O P P S U/ S H U/ L T R H             0. 2 4 3         64            0. 0 1 5 6 2 5               126                      3                 2. 4 5       0. 0 7                      2. 5 2
 P O P U L A TI O N B A S E D T O T A L                                                                  21826                     1643             1 2 6. 2 9    1 0. 3 2                1 3 6. 6 1

                                                                                 U NI T O R B E D B A S E D S T A F FI N G
                                                                                                                                                                                B e ds
                                                               B as e                                                                                                           l ess 5
                                               R eli ef      St affi n g                                                        R ati o A s                                     b e ds
    St aff Ps y c hi atrist ( 9 2 7 2)                                         St aff p er                 Bed                                       U nits        B e ds                 T O T AL F T E
                                               F a ct or   P er M H C B                                                         D e ci m al                                       p er
                                                               U nit                                                                                                           M HCB
                                                                                                                                                                                 U nit
                  M HCB                         0. 7 4                            2. 3 5                    25                    0. 0 9 4             13           227          162          2 6. 5 0
St aff Ps y c hi atrist ( 9 2 7 2) o n c all
                                                                0. 3               0. 3                     50                    0. 0 0 6             13           227         162            4. 8 7
               f or M H C B
                  MOHU                          0. 7 4                               1                       9               0. 1 1 1 1 1 1 1 1 1                    18                        3. 4 8
        D es ert I nstit uti o ns              0. 2 4 3         0. 5                                                                                   5                                        2. 5
        Crisis I nt er v e nti o n              0. 7 4          0. 3                                                                                   35                                      1 0. 5
  U NI T O R B E D B A S E D T O T A L                                                                                                                                                        4 7. 8 5
           G R A N D T O T AL                                                                                                                                                                    1 8 4. 4 6




        1
            F ull- Ti m e E m pl o y e es
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                             E x hi bit P
7/ 1 5/ 2 0 2 0                                                                                  C D C R/ C C H C S C O VI D- 1 9 E m pl o y e e St at us - C O VI D- 1 9 I nf or m ati o n


            C D C R/ C C H C S C O VI D- 1 9 E m pl o y e e St at u s
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            C urr e nt n u m b er of a cti v e st aff c a s e s: 7 5 5

            U p d at e d J ul y 1 4, 2 0 2 0

                  L o c ati o n s                                                                                                          C u m ul ati v e C o n r m e d                 St aff R et ur n e d t o W or k


                  A v e n al St at e Pri s o n ( A S P)                                                                                    81                                             41

                  C alif or ni a Cit y C orr e cti o n al F a cilit y ( C A C)                                                             8                                              3


                  C ali p atri a St at e Pri s o n ( C A L)                                                                                51                                             22


                  C alif or ni a C orr e cti o n al C e nt er ( C C C)                                                                     8                                              0


                  C alif or ni a C orr e cti o n al I n stit uti o n ( C CI)                                                               92                                             10


                  C e ntr al C alif or ni a W o m e n’ s F a cilit y ( C C W F)                                                            9                                              2

                  C e nti n el a St at e Pri s o n ( C E N)                                                                                69                                             22


                  C alif or ni a H e alt h C ar e F a cilit y ( C H C F)                                                                   36                                             9


                  C alif or ni a I n stit uti o n f or M e n ( CI M)                                                                       105                                            67

                  C alif or ni a I n stit uti o n f or W o m e n ( CI W)                                                                   23                                             20


                  C alif or ni a M e n’ s C ol o n y ( C M C)                                                                              6                                              2

                  C alif or ni a M e di c al F a cilit y ( C M F)                                                                          9                                              3


                  C alif or ni a St at e Pri s o n, C or c or a n ( C O R)                                                                 40                                             12

                  C alif or ni a R e h a bilit ati o n C e nt er ( C R C)                                                                  50                                             28


                  Ri c h ar d A. M c G e e C orr e cti o n al Tr ai ni n g C e nt er, G alt ( C T C)                                       5                                              5

                  C orr e cti o n al Tr ai ni n g F a cilit y ( C T F)                                                                     2                                              2


                  C h u c k a w all a V all e y St at e Pri s o n ( C V S P)                                                               64                                             49


                  D e u el V o c ati o n al I n stit uti o n ( D VI)                                                                       5                                              2

                  F ol s o m St at e Pri s o n ( F S P)                                                                                    4                                              4


                  Hi g h D e s ert St at e Pri s o n ( H D S P)                                                                            13                                             3


                  Ir o n w o o d St at e Pri s o n (I S P)                                                                                 95                                             58


                  K er n V all e y St at e Pri s o n ( K V S P)                                                                            24                                             4


                  C alif or ni a St at e Pri s o n, L o s A n g el e s C o u nt y ( L A C)                                                 61                                             46

                  M ul e Cr e e k St at e Pri s o n ( M C S P)                                                                             2                                              2


                  N ort h K er n St at e Pri s o n ( N K S P)                                                                              78                                             11


                  P eli c a n B a y St at e Pri s o n ( P B S P)                                                                           2                                              2


                  Pl e a s a nt V all e y St at e Pri s o n ( P V S P)                                                                     8                                              3

                  Ri c h ar d J. D o n o v a n C orr e cti o n al F a cilit y ( R J D)                                                     20                                             6


                  C alif or ni a St at e Pri s o n, S a cr a m e nt o ( S A C)                                                             9                                              8


                  S u b st a n c e A b u s e Tr e at m e nt F a cilit y ( S A T F)                                                         13                                             8

htt ps:// w w w. c d cr. c a. g o v/ c o vi d 1 9/ c d cr- c c h cs- c o vi d- 1 9-st at us/                                                                                                                                1/ 2
7/ 1 5/ 2 0 2 0                                                                                        C D C R/ C C H C S C O VI D- 1 9 E m pl o y e e St at us - C O VI D- 1 9 I nf or m ati o n
                        Case 2:90-cv-00520-KJM-SCR
                  Si err a C o n s er v ati o n C e nt er ( S C C)                                                     Document 6768-1
                                                                                                                                  1                                            Filed 07/15/20 1 Page 98 of 113
                  C alif or ni a St at e Pri s o n, S ol a n o ( S O L)                                                                                      12                                                         0

                  S a n Q u e nti n St at e Pri s o n ( S Q)                                                                                                 209                                                        53


                  S ali n a s V all e y St at e Pri s o n ( S V S P)                                                                                         6                                                          1


                  V all e y St at e Pri s o n ( V S P)                                                                                                       7                                                          1


                  W a s c o St at e Pri s o n ( W S P)                                                                                                       23                                                         8


                  N ort h er n C alif or ni a Y o ut h C orr e cti o n al C e nt er ( N C Y C C)                                                             4                                                          2

                  O H Cl o s e Y o ut h C orr e cti o n al F a cilit y ( O H Cl o s e)                                                                       4                                                          1


                  N A C h a d erji a n Y o ut h C orr e cti o n al F a cilit y ( N A C)                                                                      2                                                          1


                  V e nt ur a                                                                                                                                1                                                          1


                  C D C R / C C H C S W or k sit e L o c ati o n — L o s A n g el e s C o u nt y                                                             7                                                          4

                  C D C R / C C H C S W or k sit e L o c ati o n — K er n C o u nt y                                                                         1                                                          0


                  C D C R / C C H C S W or k sit e L o c ati o n — S a cr a m e nt o C o u nt y                                                              14                                                         3


                  C D C R / C C H C S W or k sit e L o c ati o n — S a n B er n ar di n o C o u nt y                                                         5                                                          3

                  C D C R / C C H C S W or k sit e L o c ati o n — S a n Di e g o C o u nt y                                                                 1                                                          1


                  C D C R / C C H C S W or k sit e L o c ati o n — S a n J o a q ui n C o u nt y                                                             2                                                          2

                  S T A T E WI D E T O T A L                                                                                                                 1, 2 9 1                                                   536




            T h er e h a v e b e e n t hr e e C O VI D-r el at e d st aff d e at h s:
            M a y 3 0 – ( htt p s: // w w w. c d cr. c a. g o v / n e w s / 2 0 2 0 / 0 5 / 3 1 / c d cr- c orr e cti o n al- o   c er- di e s- aft er-t e sti n g- p o siti v e-f or- c o vi d- 1 9 /) st aff m e m b er fr o m C alif or ni a R e h a bilit ati o n C e nt er
            J u n e 3 – st aff m e m b er fr o m Ir o n w o o d St at e Pri s o n
            J ul y 1 3 – st aff m e m b er fr o m N ort h K er n St at e Pri s o n




htt ps:// w w w. c d cr. c a. g o v/ c o vi d 1 9/ c d cr- c c h cs- c o vi d- 1 9-st at us/                                                                                                                                                                                      2/ 2
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                         E x hi bit Q
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I I H E ALT H C A R E
                           :" ,, 1-.!'i.: ?',i:i 1 q,, 1 , ,         t      . 1.,.::::t J,'it,'-: l-"'t: i,, r,'',:, 1 1.,:


                                                                                     S E R VI C E S
 ME M O RA N D U M
  D at e:            M ar c h 2 5, 2 0 2 0
  T o:               C hi ef E x e c uti v e Offi c er s
                     C hi ef P s y c hi atri st s
                     C hi ef of M e nt a! H e alt h
                     S e ni or                      Su             rs
  Fr o m:



                           E     c.          P h.            P H, M A, C C H P
                    D e p ut y Dir e ct or ( A)
                    St at e wi d e M e nt al H e a          S er vi c e s
  S u bj e ct:       C O VI D-l 9    - M E N T A L H E A T T H D E LI V E R Y O F C A R E G UI D A N C E
l n r e s p o n s e t o t h e c urr e nt c or o n a vir u s di s e a s e 2 0 1 9 ( C O VI D- 1 9) p a n d e mi c a n d o ut of a n
a b u n d a n c e of c a uti o n t h e C alif or ni a D e p art m e nt C orr e cti o n s a n d R e h a bilit ati o n ( C D C R)
St at e wi d e M e nt al H e alt h Pr o gr a m ( S M H P) i s t a ki n g n e c e s s ar y pr e c a uti o n s t o r e d u c e e x p o s ur e t o
C ol e m a n p ati e nt s a n d m e nt a! h e alt h st aff b y a d dr e s si n g e x c e pti o n al all o w a n c e s pr o vi d e d. T hi s
m e m or a n d u m pr o vi d e s g ui d a n c e f or t h e d eli v er y of m e nt al h e alt h c ar e wit h t h e u n d er st a n di n g
t h at n e w c h all e n g e s a n d i m p a ct s of C O VI D- 1 9 m a y p er mit m or e r e stri cti o n s at s o m e i n stit uti o n s
t h a n ot h er s a s w e m o v e t hr o u g h t hi s diffi c ult ti m e a n d m a y li k e wi s e l e a d t o i nt eri m c h a n g e s i n
pr a cti c e a n d/ or p oli c y e x c e pti o n s n ot ot h er wi s e all o w e d b y t h e M e nt ol H e olt h S er vi c e s D eli v er y
S y st e m Pr o gr o m G ui d e 2 0 0 9 R e vi si o n.

Cli ni c al I e a d er s hi p (t o i n cl u d e C hi ef E x e c uti v e Offi c er s, C hi ef s of M e nt al H e alt h, C hi ef N ur s e
E x e c uti v e s, C hi ef M e di c al E x e c uti v e s, a n d t h e C hi ef P s y c hi atri st) s h all a s s e s s pr o gr a m c a p a cit y
a n d m a k e d et er mi n ati o n s o n a d mi s si o n a n d di s c h ar g e pr a cti c e s b a s e d o n f a ct or s t o i n cl u d e
a v ail a bl e w or kf or c e, k n o w n C O VI D- 1 9 e x p o s ur e, et c.. L e a d er s hi p m u st c o n si d er i n di vi d u al p ati e nt
n e e d s, f a cilit y- s y st e m fl o w s, a n d t h e d e gr e e s of ri s k w h e n m a ki n g t h e s e d e ci si o n s.

T o e n s ur e p ati e nt s c o nti n u e t o r e c ei v e t h e m o st a p pr o pri at e a n d eff e cti v e i nt er v e nti o n s
n e c e s s ar y t o m e et t h eir n e e d s, e a c h cli ni c al pr o vi d er s h all a s s e s s t h e p ati e nt' s n e e d s a n d
c o nti n u e t o d eli v er s er vi c e s a s a p pr o pri at e i n p er s o n, or vi a t el e- h e alt h t e c h n ol o g y s u c h a s
W e b E x,   Citri x, a n d ot h er s ol uti o n s.

T h e att a c h e d c h art s er v e s a s a g ui d e a n d pr o vi d e s a ti er e d a p pr o a c h o n t h e d eli v er y of c ar e
d e p e n d e nt u p o n e a c h i n stit uti o n' s st affi n g a n d o p er ati o n al cir c u m st a n c e s. T h e C E O s, i n
c o n s ult ati o n wit h t h e W ar d e n s, will d et er mi n e w hi c h ti er s h all b e a p pli e d e a c h d a y. Ti er O n e


H E ALT H C A R E                        I @                                                                                          r' ( ) !- 1(i.,: 'r:.ll ,illl
                                                                                                                               i lt. i.rti,il, ( A ,l ,l\ 1:l

                        ' E R VI C E S
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r e pr e s e nt s o p er ati n g cl o s e t o Pr o gr a m G ui d e r e q uir e m e nt s, w hil e Ti er F o ur r e pr e s e nt s
dr a m ati c all y d e cr e a s e d r e s o ur c e s. T h e f oll o wi n g f a ct or s s h all b e t a k e n i nt o c o n si d er ati o n w h e n
d et er mi ni n g t h e ti er a n i n stit uti o n wil! o p er at e wit hi n:
      o Cli ni c al a n d c u st o di al st affi n g l e v el s
      o S p a c e a v ail a bilit y
      o S o ci al di st a n ci n g r e q uir e m e nt s
      o L o c al a n d st at e wi d e r e stri cti o n s o n m o v e m e nt
     o     Q u ar a nti n e s   a n d l s ol ati o n s

M e nt al H e alt h P ati e nt s
M e nt al h e alt h p ati e nt s ar e at i n cr e a s e d ri s k f or e s c al ati o n i n d e pr e s si o n, a n xi et y, p a ni c att a c k s,
p s y c h o m ot or a git ati o n, p s y c h oti c s y m pt o m s, d eliri u m, a n d s ui ci d alit y d uri n g t hi s C O VI D- 1 9
p a n d e mi c. S o ur c e s of str e s s i n cl u d e s o ci al i s ol ati o n, d e cr e a s e d s e n s or y sti m ul ati o n, l a c k of a c c e s s
t o st a n d ar d cli ni c al pr o gr a mi n g, di mi ni s h e d c o pi n g str at e gi e s, a n d li mit e d o ut d o or s or o ut- of- c ell
e x er ci s e a n d a cti viti e s. W e ar e f o c u s e d o n t hr e e criti c al ar e a s d uri n g t hi s C O VI D- 1 9 p a n d e mi c: 1)
Pr e s er vi n g lif e; 2) St a bili zi n g of a c ut e m e nt al h e alt h d et eri or ati o n; 3) H el pi n g t h e m e nt al h e alt h
p o p ul ati o n c o p e.

Pr o vi si o n s of Tr e at m e nt
T o t h e e xt e nt p o s si bl e, i n stit uti o n s s h all f oll o w c urr e nt Pr o gr a m G ui d e p oli ci e s a n d pr o c e d ur e s
i n cl u di n g, b ut n ot li mit e d t o: cli ni c al c o nt a ct s, gr o u p a n d tr e at m e nt r e q uir e m e nt s, e m er g e nt a n d
ur g e nt r ef err al pr o c e s s e s, cri si s i nt er v e nti o n, s ui ci d e pr e v e nti o n, a n d i n p ati e nt r ef err al s.
H o w e v er, t o e n s ur e p ati e nt s r e c ei v e t h e e s s e nti al c ar e a n d s u p p ort s er vi c e s d uri n g t hi s ti m e of
f e w er o n sit e st aff a n d v ari o u s r e stri cti o n s o n p ati e nt m o v e m e nt t h e b el o w a n d att a c h e d
g ui d eli n e s pr o vi d e dir e cti o n o n w a y s t o pr o vi d e s er vi c e s a n d mi ni mi z e t h e ri s k t o b ot h p ati e nt s
a n d st aff:

      a     l n di vi d u al cli ni c al c o nt a ct s s h all c o nti n u e w hil e m ai nt ai ni n g s o ci al di st a n ci n g. A s
            i n stit uti o n s m o v e t o w ar d l e s s p ati e nt m o v e m e nt m e a s ur e s a n d st affi n g l e v el s d e cr e a s e,
            i n di vi d u al c o nt a ct s s h o ul d b e tri a g e d b y e m er g e nt r ef err al s, p ati e nt a c uit y a n d l e v el s of
            c ar e.
            l nt er di s ci pli n ar y Tr e at m e nt T e a m s (I D T T) s h all c o nti n u e w hil e m ai nt ai ni n g s o ci al
            di st a n ci n g. l n li e u of t h e tr a diti o n s etti n g, t h e u s e of t e c h n ol o g y s h o ul d b e o pti mi z e d t o
            e n s ur e att e n d a n c e b y all I D T T m e m b er s. T h e b e st s ol uti o n i s t o t ur n t e a m m e eti n g s i nt o
            t el e c o nf er e n c e m e eti n g s, wit h st aff c alli n g i n fr o m t h eir i n di vi d u al offi c e s.
      o     Gr o u p s s h all c o nti n u e b ut m a y b e r e d u c e d i n si z e i n or d er t o a d h er e t o s o ci al di st a n ci n g
            r e q uir e m e nt s. l n a d diti o n, alt er n ati v e l o c ati o n s s h o ul d b e e x pl or e d. L ar g er cl a s sr o o m s
            or v o c ati o n al s p a c e, t e m p or aril y cl o s e d d uri n g t hi s ti m e, c o ul d b e u s e d t o all o w f or s o ci al
            di st a n ci n g f or gr o u p s. D e v el o p i n- c el! R e cr e ati o n a! T h er a p y a n d ot h er gr o u p a cti viti e s
            t h at c a n b e c o n d u ct e d a n d di stri b ut e d.
      a     p ati e nt s i n i s ol ati o n a n d/ or q u ar a nti n e will n ot att e n d gr o u p s b ut s h all b e pr o vi d e d wit h
            t h er a p e uti c tr e at m e nt p a c k et s, w or k b o o k s, a n d ot h er i n c ell a cti viti e s a n d s h all r e c ei v e



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           d ail y r o u n di n g b y at l e a st o n e of t h e f oll o wi n g d e si g n at e d st aff t o i n cl u d e: C N A,
           P s y c h ol o gi st, L V N, R e cr e ati o n al T h er a pi st s, P T s, R N s, or S o ci al W or k er s.

     a     P s y c hi atr y a n d pri m ar y c ar e cli ni ci a n s s h o ul d b e c o n s ult e d ur g e ntl y o n p ati e nt s e x pr e s si n g
           s ui ci d al i d e ati o n or i nt e nt, p s y c h o si s, m e di c ati o n si d e eff e ct s, i n c o m pl et e s y m pt o m
           c o ntr ol, or a c ut e a git ati o n.
           P s y c hi atr y s h o ul d al s o b e c o n s ult e d f or ot h er n o n- ur g e nt si g nifi c a nt p s y c hi atri c s y m pt o m s
           a s u s u al.
     a     l n t h e e v e nt of s e v er e st affi n g s h ort a g e s, fr e q u e nt m e nt al h e alt h                        w ell n e s s a n d
           s ur v eill a n c e r o u n di n g i s r e q uir e d wit h li ai s o n b et w e e n p s y c hi atri st s, p s y c h ol o gi st s, s ui ci d e
           pr e v e nti o n c o or di n at or s a n d r e cr e ati o n al t h er a pi st s t o i d e ntif y si g nifi c a nt c o n c er n f or a
           p ati e nt' s m e nt al h e alt h s e q u el a e. T h e s e r o u n d s ar e t o i d e ntif y a n y ur g e nt/ e m er g e nt
           cli ni c al i s s u e s i n cl u di n g b ut n ot li mit e d t o a c ut e s ui ci d alit y.
     a     l s s u e s i d e ntifi e d t hr o u g h t h e s e r o u n d s ar e t o b e pr o m ptl y br o u g ht t o t h e att e nti o n of t h e
           a s si g n e d p s y c hi atri st.
     a     St aff p erf or mi n g r o u n d s s h all u s e a p pr o pri at e p er s o n al pr ot e cti v e e q ui p m e nt ( P P E) a s
           d et er mi n e d b y p u bli c h e alt h.
     a     P s y c hi atr y e n c o u nt er s m a y b e vi a t el e- p s y c hi atr y d uri n g t h e C O VI D- 1 9 p a n d e mi c a s
           a p pr o v e d b y t h e hiri n g a ut h orit y ( S e e s e cti o n o n t el e- p s y c hi atr y b el o w f or d et ail s).

S ui ci d e Pr e v e nti o n
A s m u c h a s p o s si bl e, all S ui ci d e Ri s k A s s e s s m e nt s s h all c o nti n u e p er p oli c y a n d p ati e nt s i d e ntifi e d
a s a s ui ci d e ri s k will r e c ei v e a n i n- p er s o n m e nt al h e alt h e v al u ati o n. A s o p er ati o n al a biliti e s ar e
i m p a ct e d d u e t o st aff r e d u cti o n s, t h e cli ni ci a n a s s e s si n g t h e p ati e nt f or s ui ci d alit y will c o n d u ct
t h e C ol u m bi a s cr e e n er a n d a f ull m e nt al h e alt h st at u s e x a m a n d d o t h e f oll o wi n g:

           1. lf t h e p ati e nt s cr e e n s p o siti v e, h e/ s h e s h all b e pl a c e d i n alt er n ati v e h o u si n g a n d b e
                 r ef err e d t o a M e nt al H e alt h Cri si s B e d ( M H C B). Wit hi n 2 4 h o ur s of pl a c e m e nt i n t h e
                 M H C B or if t h e p ati e nt r e m ai n s i n alt er n ati v e h o u si n g l o n g er t h a n 2 4 h o ur s, a f ull
                 S ui ci d e- Ri s k a n d S elf- H ar m E v al u ati o n s h al! b e c o m pl et e d.
           2.    lf t h e p ati e nt s cr e e n s n e g ati v e, t h e cli ni ci a n s h all e st a bli s h a s af et y pl a n wit h t h e
                 p ati e nt a n d h e/ s h e c a n b e r et ur n e d t o h o u si n g wit h a c o n s ult or d er f or t h e pri m ar y
                 cli ni ci a n t o s e e t h e p ati e nt wit h a n ur g e nt or r o uti n e r ef err al.
                 - All ( 5) fi v e- d a y f oll o w- u p s will b e c o m pl et e d i n p er s o n, p er p oli c y, w hil e
                        m ai nt ai ni n g s o ci al di st a n ci n g.
                 -     A s t h e o p er ati o n al a biliti e s b e gi n t o li mit cli ni c al c o nt a ct s a n d s er vi c e s,
                       A d mi ni str ati v e S e gr e g at e d U nit w or k b o o k s s h all b e di stri b ut e d t o E n h a n c e d O ut-
                       P ati e nt h o u si n g u nit s a n d t h e C orr e cti o n al Cli ni c al C a s e M a n a g e m e nt S y st e m
                           p o p ul ati o n f or i n- c ell a cti viti e s.
                 -         S ui ci d e Pr e v e nti o n a n d R e s p o n s e F o c u s l m pr o v e m e nt T e a m C o or di n at or s s h all
                           di stri b ut e t h e hi g h ri s k li st t o all pri m ar y cli ni ci a n s a n d p s y c hi atri st s. C ell vi sit
                           c h e c k-i n s wit h t h e s e p ati e nt s s h all b e c o n d u ct e d b y a m e nt al h e alt h pr o vi d er, i n
                           a d diti o n t o t h e r e q uir e d s c h e d ul e d a p p oi nt m e nt s.

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l n p ati e nt R ef err al s a n d S er vi c e s
A s of M ar c h 1 7, 2 O 2 O, t h e D e p art m e nt of St at e H o s pit al s ( D S H) h a s t e m p or aril y s u s p e n d e d
p ati e nt tr a n sf er s t o a n d fr o m C D C R. A s a r e s ult, p ati e nt s r ef err e d t o a hi g h er l e v el of c ar e of at
I e a st a r e stri cti v e h o u si n g of a D S H f a cilit y will r e m ai n at C D C R. T h e b el o w i nf or m ati o n a n d
r e mi n d er s ar e criti c al t o e n s ur e all p ati e nt s c urr e ntl y h o u s e d or a w aiti n g pl a c e m e nt t o a n
i n p ati e nt b e d r e c ei v e t h e a p pr o pri at e c ar e a n d o v er si g ht d uri n g t hi s ti m e.
      o Al! r ef err al s t o hi g h er l e v el s of c ar e s h all c o nti n u e a s cli ni c all y i n di c at e d a n d d et er mi n e d
            b y t h e I D T T.
      o P ati e nt s h o u s e d o ut of t h eir l e a st-r e stri cti v e h o u si n g d u e t o t h e i n a bilit y t o tr a n sf er t o
            D S H, s h all b e pl a c e d i n t h e l e a st r e stri cti v e h o u si n g a v ail a bl e wit hi n C D C R.
      o A s w ait ti m e s i n cr e a s e, e v er y eff ort s h all b e m a d e t o pr o vi d e t h e s e p ati e nt s wit h t h e
            s er vi c e s c o m m e n s ur at e wit h t h eir l e v el of c ar e. T hi s i n cl u d e s pr o vi di n g e n h a n c e d o ut- of-
            c ell ti m e a n d t h er a p e uti c a cti viti e s a s w ell a s d ail y r o u n d s, a s o p er ati o n s all o w, w hil e
            a w aiti n g tr a n sf er.
      o P ati e nt s h o u s e d i n a n M H C B a w aiti n g tr a n sf er t o a hi g h er l e v el of c ar e a n d p ati e nt s i n
            alt er n ati v e h o u si n g a w aiti n g tr a n sf er t o a n M H C B will b e pr o vi d e d e n h a n c e d o ut- of- c ell
            ti m e a n d t h er a p e uti c a cti viti e s a s w ell a s d ail y r o u n d s, a s o p er ati o n s all o w, w hil e a w aiti n g
            tr a n sf er.
      o ! n p ati e nt li c e n s e d b e d s s h all n ot b e cl o s e d t o a d mi s si o n s b y t h e i n stit uti o n s wit h o ut g oi n g
            t hr o u g h t h e pr o p er a ut h ori z ati o n a n d n otifi c ati o n pr o c e s s.

 P ati e nt E d u c ati o n
 Cli ni c al f o c u s s h al! b e o n s u p p orti n g p ati e nt s b y e n c o ur a gi n g q u e sti o n s a n d h el pi n g t h e m
 u n d er st a n d t h e c urr e nt p a n d e mi c sit u ati o n. Cl arif y mi si nf or m ati o n a n d mi s u n d er st a n di n g s
 a b o ut h o w t h e vir u s i s s pr e a d a n d t h at n ot e v er y r e s pir at or y di s e a s e i s C O V T D- 1 9. Pr o vi d e
 c or nf ort a n d e xtr a p ati e n c e. C h e c k b a c k wit h p ati e nt s o n a r e g ul ar b a si s or w h e n t h e sit u ati o n
 c h a n g e s. R e c o g ni z e t h at f e eli n g s s u c h a s l o n eli n e s s, b or e d o m, f e ar of c o ntr a cti n g di s e a s e,
 a n xi et y, str e s s, a n d p a ni c ar e n or m al r e a cti o n s t o a str e s sf ul sit u ati o n s u c h a s a di s e a s e o ut br e a k.
 K e y c o m m u ni c ati o n m e s s a g e st o m e nt al h e alt h p ati e nt s:
      o     T h e i m p ort a n c e of r e p orti n g f e v er a n d/ or c o u g h or s h ort n e s s of br e at h al o n g wit h
            r e p orti n g if a n ot h er p ati e nt i s c o u g hi n g i n or d er t o pr ot e ct t h e m s el v e s. l n di c at e h o w
            t h e s e r e p ort s s h o ul d b e m a d e.
      o     R e mi n d er s a b o ut g o o d- h e alt h h a bit s t o pr ot e ct t h e m s el v e s, e m p h a si zi n g h a n d h y gi e n e.
      o     Pl a n s t o s u p p ort c o m m u ni c ati o n wit h f a mil y m e m b er s if vi sit s ar e c urt ail e d.
      o     Pl a n s t o k e e p p ati e nt s s af e, i n cl u di n g s o ci al di st a n ci n g.


 P ati e nt ! s ol ati o n ( s v m pt o m ati c P ati e nt sl
 A criti c al i nf e cti o n c o ntr ol m e a s ur e f or C O VI D-l 9 i s t o pr o m ptl y s e p ar at e p ati e nt s w h o ar e
 si c k wit h f e v er or r e s pir at or y s y nr pt o m s a w a y fr o m ot h er p ati e nt s i n t h e g e n er al p o p ul ati o n.
 Pr e c a uti o n ar y si g n s s h all b e pl a c e d o ut si d e t h e i s ol ati o n c ell a n d P P E a p pr o pri at e pr ot o c ol s
 s h all b e f oll o w e d.



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Q u ar a nti n e ( A s v m pt o m ati c E x p o s e d P ati e nt sl
T h e p ur p o s e of q u ar a nti n e i s t o a s s ur e t h at p ati e nt s w h o ar e k n o w n t o h a v e b e e n e x p o s e d
t o t h e vir u s ar e k e pt s e p ar at e d fr o m ot h er p ati e nt s wit h r e stri cti o n of m o v e m e nt t o a s s e s s
w h et h er t h e y d e v el o p vir al i nf e cti o n s y m pt o m s.

     o    E x p o s ur e i s d efi n e d a s h a vi n g b e e n i n a s etti n g w h er e t h er e w a s a hi g h li k eli h o o d of
          c o nt a ct wit h r e s pir at or y dr o pl et s a n d/ or b o d y fl ui d s of a p er s o n wit h s u s p e ct e d or
          c o nfir m e d C O VI D 1 9.
     a    E x a m pl e s of cl o s e c o nt a ct i n cl u d e s h ari n g e ati n g or dri n ki n g ut e n sil s, ri di n g i n cl o s e
          pr o xi mit y i n t h e s a m e tr a n s p ort v e hi cl e, or a n y ot h er c o nt a ct b et w e e n p er s o n s li k el y
          t o r e s ult i n e x p o s ur e t o r e s pir at or y dr o pl et s.
     a    T h e d o or t o t h e Q u ar a nti n e U nit s h o ul d r e m ai n cl o s e d. A si g n s h o ul d b e pl a c e d o n
          t h e d o or of t h e r o o m i n di c ati n g t h at it i s a Q u ar a nti n e U nit w hi c h li st s r e c o m m e n d e d
          p er s o n al pr ot e cti v e e q ui p m e nt ( P P E).
     o    M e di c al H ol d s ar e e m pl o y e d f or b ot h i s ol ati o n a n d q u ar a nti n e. A t e m p or ar y
          pr o hi biti o n of t h e tr a n sf er of p ati e nt s wit h t h e e x c e pti o n of l e g al or m e di c al
          n e c e s sit y i s n o w i n pl a c e.

S o ci al Di st a n ci n e
T o st o p t h e s pr e a d of C O VI D- 1 9, s o ci a! di st a n ci n g m u st b e e m pl o y e d. C D C offi ci al s r e c o m m e n d
a v oi di n g l ar g e g at h eri n g s of m or e t h a n 1 0 p e o pl e a n d m ai nt ai ni n g a di st a n c e of 5 f e et fr o m ot h er
p e o pl e. T hi s r e d u c e s t h e c h a n c e of c o nt a ct wit h t h o s e k n o wi n gl y or u n k n o wi n gl y c arr yi n g t h e
i nf e cti o n.

P ati e nt-t o- P ati e nt: P ati e nt-t o- St aff S o ci al Di st a n ci n g
lf gr o u p s p a c e s ar e t o o s m al! t o a c c o m m o d at e t h e 6-f e et r ul e, c o n si d er s m all er gr o u p si z e s i n t h e
i nt eri m. Gr o u p s c a n b e s m all er wit h hi g h er fr e q u e n c y or t hi s m a y m e a n n e e di n g t o d e cr e a s e t h e
n u m b er of tr e at m e nt off eri n g s. S a y t o t h e p ati e nt s t h at b e c a u s e of t h e C O V! D 1 9, " W e h a v e a
p oli c y of k e e pi n g at l e a st 6 f e et of di st a n c e b et w e e n p ati e nt s a n d st aff a n d p ati e nt s a n d e a c h
ot h er, w hi c h i s w h y l' m sitti n g h er e a n d y o u'r e sitti n g t h er e." lf y o u d o n't s a y it, m a n y p ati e nt s
m a y mi si nt er pr et s o ci al di st a n ci n g (i. e. " m y cli ni ci a n i s s c ar e d of m e"). M a xi mi z e di si nf e cti o n of
all ar e a s u s e d f or gr o u p a n d 1:l tr e at m e nt.

T el e- P s v c hi atr v a n d S o ci al Di st a n ci n g
Wit h t h e l at e st e x p a n si o n of t el e- p s y c hi atr y w ai v er s, e x c e pti o n s i s s u e d b y t h e C e nt er f or
M e di c ar e a n d M e di c ai d S er vi c e s ( C M S), t el e- p s y c hi atr y m a y b e u s e d t o mi ni mi z e a n y C O VI D- 1 9
i m p a ct s t h at c o ul d di sr u pt t h e d ail y p s y c hi atri c s er vi c e s t o p ati e nt s. P s y c hi atri st s w h o ar e u n a bl e
t o c o m e i nt o t h e i n stit uti o n b e c a u s e of p er s o n al ri s k f a ct or s ( a g e > 6 5, c hr o ni c m e di c al c o n diti o n,
et c.) or ar e u n d er a p er s o n al q u ar a nti n e w h o ar e ot h er wi s e fit t o w or k c a n b e a ut h ori z e d t o u s e
W e b E x t o c o n d u ct p ati e nt vi sit s fr o m a h o m e c o m p ut er t h at h a s a c a m er a, s p e a k er, a n d
mi cr o p h o n e. A st at e l a pt o p wit h a V P N or a n y h o m e c o m p ut er wit h Citri x c a n a c c e s s t h e E H R S.



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      a     E a c h cli ni ci a n w h o i s pr wi di n g t el e- s ertri c e s * 6. s- g qr dr e a t el e' pr e s e nt er wit hi n t h e
            i n sti hfti o n.
            T el e{r el e nt or s c a n i n c h d e M c di c al A s si stl Rt,r $ A $ft q d N ur si n g r{ s si st a nt, Li c e n s e d
            V s c ati o n al N ur s e, R e gi st er e d H ur s e, or a n y o di q:t e gil S y e m pl o y e e w h o,i s a v all a bl e t o
            ri*i st. T hi s c o ul d l n c h d e s u p p ort st aff rr h o ar c o*' **t tr ati v b Tlr n e Off.
            Pr e s e nt er c s h all b e pr o vi d e d P P E a s n e e d e d b a s c d'. gl o 1 p u bll c h e att h r e a or n m e n d*l o n s.
            S u c e e s sf ul u s e of t el e + s y dri a w wlll r e q uir e cl kr k s p a c e, t el e- h e alt h e q ui Brit e nt, l T
            a s si st a n c e, s c h e d ull n g or g a ni z ati o n, e s c ort s u p p ort, fr e q u e ntl y u p d at e d t el e pilr o n e a n d
            er,r ail c o nt a ct li st s,' a n d l o c al e x e c utl v e l e a d er s hi p s u p p srt,



 e e ' Di a n a T o c h e, D D S, Ufi d er s e cr et ar y
     J o s e p h Bl c k, M D, C C H P, Dir e ct or
     C o n ni e Gi p s o n, Dir e ct or
      R e gl o n al H e alt h C ar e E x e c uti v e s
      D e p ut y Dir e ct or s




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                         Ti er                            I n p ati e nt R ef err als                                    S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                                                                                      M D O)

 Ti er O n e:                                               R ef err als c o nti n u e p er p oli c y.              S ui ci d e Ris k Ass e ss m e nts: C o nti n u e     I D T T: C o nti n u e wit h s o ci al                  Pr e -R el e as e Pl a n ni n g: All r e q uir e d
 D eli v er y of c ar e c o nti n u es wit h                                                                        t o c o m pl et e p er p oli c y .                    dist a n ci n g . O pti miz e us e of                   a cti viti es t o o c c ur w h e n s o ci al
 mi n or m o difi c ati o ns u p t o a n d                  P ati e nts o ut of L R H, d u e t o b e d                                                                    t e c h n ol o g y i n cl u di n g V T C, S K Y P E,    dist a n ci n g c a n b e f oll o w e d.
 i n cl u di n g:                                           u n a v ail a bilit y ( D S H u nl o c k e d d or m)    Fi v e d a y f oll o w u ps : C o m pl et e i n       c o nf er e n c e c alls, or ot h er el e ctr o ni c
         •       P ati e nt m o v e m e nt                  will b e pl a c e d i n t h e l e ast r estri cti v e   p ers o n p er p oli c y, w hil e m ai nt ai ni n g   alt er n ati v es.
                 p er mitt e d b et w e e n a n d           h o usi n g a v ail a bl e wit hi n C D C R.            s o ci al dist a n ci n g.                                                                                    M D O E v al u ati o ns: M D O e v al u ati o ns
                 wit hi n C D C R f a ciliti es.                                                                                                                          Gr o u ps: C o nti n u e b ut m a y b e                 will c o nti n u e a n d p ati e nts m e eti n g
         •       Mi n or m o v e m e nt                                                                             R ef err als: C o nti n u e t o r es p o n d t o      r e d u c e d i n siz e or i n alt er n ati v e n o n   M D O crit eri a will b e a d mitt e d t o
                 r estri cti o ns wit hi n s p e cifi c                                                             r ef err als i n a c c or d a n c e wit h M H P G     c o nfi d e nti al l o c ati o ns ( e. g. d a y         DS H .
                                                                                                                    ti m eli n es.                                        r o o m, cl ass r o o ms) f or s o ci al
                 h o usi n g u nits or y ar ds.
                                                                                                                                                                          dist a n ci n g.                                        If M D O e v al u at or c a n n ot e nt er a
         •       T e m p or ar y s us p e nsi o n of
                                                                                                                                                                                                                                  f a cilit y r e vi e w will o c c ur r e m ot el y
                 tr a nsf ers t o D S H.
                                                                                                                                                                          I n di vi d u al c o nt a cts: Co nti n u e, wit h      a n d t h e e v al u at or will w or k wit h t h e
         •       A d e q u at e cli ni c al st aff ar e
                                                                                                                                                                          s o ci al dist a n ci n g.                              M D O C o or di n at or ( C CI) at t h e
                 o n sit e a n d a v ail a bl e t o
                                                                                                                                                                                                                                  f a cilit y t o arr an g e f or a t el e p h o ni c
                 pr o vi d e s er vi c es                                                                                                                                 P ati e nt s o n is ol ati o n: Pr o vi d e wit h       i nt er vi e w.
         •       S uffi ci e nt b e ds a n d st aff                                                                                                                       tr e at m e nt p a c k ets/t h er a p e uti c
                 ar e a v ail a bl e f or 1: 1 w at c h                                                                                                                   a cti viti es t o c o m pl et e i n c ell.
                 a n d alt er n ati v e h o usi n g.                                                                                                                      Tr e at m e nt t e a m m e m b ers vi sit c ell
         •       S o ci al Dist a n ci n g R e q ui r e d                                                                                                                 d ail y.

                                                                                                                                                                          P er s o n al Pr ot e cti v e E q ui p m e nt:
                                                                                                                                                                          T h os e r o u n di n g i n q u ar a nti n e d a n d
                                                                                                                                                                          is ol at e d ar e a s m ust b e pr o vi d e d
                                                                                                                                                                          a p pr o pri at e p er s o n al pr ot e cti v e
                                                                                                                                                                          e q ui p m e nt ( P P E) b as e d u p o n t h e
                                                                                                                                                                          m ost r e c e nt p u bli c h e alt h
                                                                                                                                                                          r e c o m m e n d ati o ns. All st aff s h all
                                                                                                                                                                          r e c ei v e tr ai ni n g i n t h e a p pr o pri at e
                                                                                                                                                                          us e of P P E.




1 |P a g e
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                       Ti er                            I n p ati e nt R ef err als                                  S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                                                                                  M D O)

 Ti er T w o:                                            R ef err als c o nti n u e p er p oli c y.             S ui ci d e Ris k Ass e ss m e nts: C ol u m bi a       Tr e at m e nt m a y b e tri a g e d as                 Pr e -R el e as e Pl a n ni n g:
 Mi n or m o v e m e nt r estri cti o ns a n d                                                                  S cr e e n er m a y b e us e d wit h a m e nt al        f oll o ws as st affin g s h ort a g e s a n d
 st aff li mit ati o ns i m p a cti n g d ail y          As w ai t ti m es i n cr e as e, p ati e nts           st at us e x a mi n ati o n f or s ui ci d e            s p a c e a c c e ss ar e d e cr e as e d:              Pri oritiz e t h e R OIs t o t h os e
 o p er ati o ns.                                        s h all b e pr o vi d e d e n h a n c e d c ar e ,     s cr e e ni n g w h e n st affi n g s h ort a g es                                                              r el e asi n g o nl y t o L. A. c o u nt y a n d
                                                         w hi c h m a y i n cl u d e, b ut n ot li mit e d      pr e v e nt us e of S R A S H E.                        Tri a g e G ui d eli n e s: I n di vi d u al            S a n Di e g o c o u nt y
        •      P ati e nt m o v e m e nt                 t o, d ail y r o u n ds, o ut of c ell ti m e,                                                                 c o nt a cts as f oll o ws:
               p er mitt e d b et w e e n a n d          a n d t h er a p e uti c a cti viti es as              P ati e nts i d e ntifi e d as s ui ci d e ris k                                                                Pri oritiz e c o m pl eti o n of t h e P R P A
               wit hi n C D C R f a ciliti es            o p er ati o ns all o w, w hil e a w aiti n g          will r e c ei v e i n p ers o n e v al u ati o n.              -       E m er g e nt r ef err al s              f or t h os e r el e a si n g t o L. A. a n d S a n
        •      Mi n or m o v e m e nt                    tr a nsf er.                                                                                                          -       P ati e nts o n hi g h ris k list        Di e g o c o u nti es first.
               r estri cti o ns wit hi n s p e cifi c                                                           Fi v e d a y f oll o w u ps: C o m pl et e i n                 -       P ati e nts i n i n p ati e nt
                                                         P ati e nts a w aiti n g M H C B will b e              p ers o n p er p oli c y, w hil e m ai nt ai ni n g                    f a ciliti es                            T h e assi g n e d ps y c hi atrist will
               h o usi n g u nits a n d/ or                                                                                                                                                                                     c o nti n u e t o b e n otifi e d of t h e
                                                         pl a c e d i n alt er n ati v e h o usi n g o n 1: 1   s o ci al dist a n ci n g.                                     -       P ati e nts a w aiti n g tr a nsf er
               y ar ds                                                                                                                                                                                                          r el e as e d at e.
                                                         st at us p er c urr e nt p oli c y. Tr e at m e nt                                                                            t o i n p ati e nt L O C
        •      T e m p or ar y s us p e nsi o n of                                                              R ef err als: Tri a g e r ef err al s
                                                         fr e q u e n c y s h o ul d b e t h at of M H C B                                                                     -       P ati e nts i n s e gr e g at e d        Pr o vi d e gr o u ps i n a c c or d a n c e wit h
               tr a nsf er s t o D S H.                                                                         r es p o n di n g t o e m er g e nt a n d ur g e nt
                                                         p ati e nts , w h e n o p er ati o ns all o w,                                                                                h o usi n g                              gr o u p g ui d eli n es i n tr e at m e nt
        •      Mi n or cli ni c al st affi n g                                                                  first, a n d tri a g e r o uti n e r ef err al s f or
                                                         w hil e a w aiti n g tr a nsf er .                                                                                    -       P ati e nts i n E O P l e v el of        a cti viti es s e cti o n of t his d o c u m e nt
               s h ort a g es r e q uir es tri a g e                                                            ur g e n c y.
                                                                                                                                                                                       c ar e
               f or s er vi c es
                                                                                                                Pr e v e nti o n:                                              -       P ati e nts i n C C C M S l e v el of    C o m pl et e 5 1 5 0 r e q u ests p er
        •      S uffi ci e nt b e ds a n d st aff
                                                                                                                Distri b ut e A S U W or k b o o ks t o                                c ar e                                   st a n d ar d pr o c ess
               ar e a v ail a bl e f or 1: 1 w at c h
               a n d alt er n ati v e h o usi n g.                                                              o ut p ati e nt h o usi n g u nit s ( E O P) f or
                                                                                                                                                                        I D T T: C o nti n u e wit h s o ci al                  C o m pl et e tr a ns p ort ati o n C hr o n o’s
                                                                                                                i n-c ell a cti viti es.
        •      S o ci al dist a n ci n g r e q uir e d                                                                                                                  dist a n ci n g. O pti miz e us e of                    p er st a n d ar d pr o c ess
                                                                                                                S P R FI T C o or di n at ors distri b ut e t h e       t e c h n ol o g y i n cl u di n g V T C, S K Y P E,
                                                                                                                                                                        c o nf er e n c e c alls, or ot h er el e ctr o ni c    C o n d u ct pr e -r el e a s e C C A T w h e n
                                                                                                                hi g h ris k li st t o all pri m ar y cli ni ci a ns.
                                                                                                                                                                        alt er n ati v es.                                      p ossi bl e ( d e p e n d e nt u p o n o ut si d e
                                                                                                                P Cs t o c o n d u ct c ell visits f or c h e c k -
                                                                                                                i ns wit h i n di vi d u als o n t hi s li st.                                                                  cli ni ci a n a v ail a bilit y)
                                                                                                                T h es e visits s h o ul d b e i n a d diti o n t o     Gr o u ps: C o nti n u e b ut m a y b e
                                                                                                                                                                        r e d u c e d i n siz e or i n alt er n ati v e n o n   M D O E v al u ati o ns: M D O e v al u ati o ns
                                                                                                                r e q uir e d s c h e d ul e d a p p oi nt m e nt s.
                                                                                                                                                                        c o nfi d e nti al l o c ati o ns ( e. g. d a y         will c o nti n u e a n d p ati e nts m e eti n g
                                                                                                                                                                        r o o m, cl ass r o o ms) f or s o ci al                M D O crit eri a will b e a d mitt e d t o
                                                                                                                If d e c o m p e ns ati o n is n ot e d,
                                                                                                                p ati e nts s h o ul d b e br o u g ht o ut f or        dist a n ci n g. M a y b e tri a g e d.                 DS H .
                                                                                                                ass ess m e nt.
                                                                                                                                                                        - C C C M S gr o u ps m a y b e r e d u c e d or        E v al u at ors will b u n dl e e v al u ati o ns
                                                                                                                                                                        c a n c ell e d t o r e dir e ct r es o ur c es t o     f or a si n gl e vi sit t o r e d u c e t h e
                                                                                                                                                                        E O P a n d i n p ati e nt pr o gr a m s.               n u m b er of tri ps t o a f a cilit y.

                                                                                                                                                                        -C o nsi d e r alt eri n g w or k s c h e d ul es       If MD O e v al u at or c a n n ot e nt er a
                                                                                                                                                                        t o st a g g er gr o u ps a n d off er i nt o l at e    f a cilit y r e vi e w will o c c ur r e m ot el y
                                                                                                                                                                        e v e ni n gs a n d w e e k e n ds .                    a n d t h e e v al u at or will w or k wit h t h e
                                                                                                                                                                                                                                M D O C o or di n at or ( C CI) at t h e


2 |P a g e
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             Ti er           I n p ati e nt R ef err als    S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                         M D O)

                                                                                            -D e v el o p i n c ell R T a n d ot h er gr o u p       f a cilit y t o arr a n g e f or a t el e p h o ni c
                                                                                            a cti viti es a n d di stri b ut e w h e n gr o u p      i nt er vi e w.
                                                                                            off eri n gs d e cr e as e.

                                                                                            P ati e nts o n is ol ati o n: Pr o vi d e wit h
                                                                                            tr e at m e nt p a c k ets t o c o m pl et e i n
                                                                                            c ell . Tr e at m e nt t e a m m e m b er s visit
                                                                                            c ell d ail y.

                                                                                            Ps y c hi atr y: Ps y c hi atrists c h e c k i n &
                                                                                            c h e c k o ut d ail y wit h C hi ef
                                                                                            Ps y c hi atrist t o tr a c k a v ail a bilit y a n d
                                                                                            c o v er a g e. U p d at e d c o nt a ct lists a n d
                                                                                            w or kfl o ws will b e d et er mi n e d a n d
                                                                                            pr o vi d e d b y e a c h i nstit uti o n u p t o
                                                                                            a n d i n cl u di n g c o nt a ct list f or :

                                                                                            - N ursi n g
                                                                                            - M H C B/ T T A/ C T C
                                                                                            - I nstit uti o n al l e a d er s hi p
                                                                                              ( C hi ef Ps y c hi atri st, C M H, C E O)
                                                                                            - M e di c al pr o vi d ers
                                                                                            - P h ar m a cists
                                                                                            - C ust o d y c o m m a n d c h ai n
                                                                                            - T el e ps y c hi atr y S e ni ors
                                                                                            - M e di c ati o n li n es

                                                                                            B e gi n t o Tri a g e as f oll o ws :
                                                                                            A d missi o ns a n d dis c h ar g es a n d
                                                                                            r el at e d i n p ati e nt pr o c ess es
                                                                                            S ui ci d e w at c h a ss ess m e nts a n d
                                                                                            or d ers
                                                                                            -       S ui ci d e pr e c a uti o n a ss ess m e nts
                                                                                                    a n d or d er s
                                                                                            -       E m er g e n c y M e di c ati o n or d ers
                                                                                                    d uri n g p ati e nt cri sis, P C 2 6 0 2s
                                                                                            -       S e cl usi o n a n d R estr ai nt s “ F a c e
                                                                                                    t o F a c e ” a ss ess m e nts or
                                                                                                    r e n e w als
                                                                                            -       St at L a bs f or p ati e nts wit h
                                                                                                    s us p e ct e d t o xi cit y e. g. Lit hi u m)


3 |P a g e
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             Ti er           I n p ati e nt R ef err als    S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                         M D O)

                                                                                            -      R e n e wi n g e x piri n g ps y c hi atri c
                                                                                                   m e di c ati o ns
                                                                                            -      M e di c ati o n       c h a n g es        as
                                                                                                   n e c ess ar y
                                                                                            -      C o nfir mi n g l a c k of ps y c hi atri c
                                                                                                   m e di c ati o n -r el at e d        m e di c al
                                                                                                   iss u es
                                                                                            -      I D T T p arti ci p ati o n
                                                                                            -      R o uti n e ps y c hi atri c f oll o w u p

                                                                                            T el e ps y c hi atr y: Ps y c hi atrists w h o
                                                                                            ar e assi g n e d t o w or k o n -sit e w h o
                                                                                            ar e n o l o n g er a bl e t o c o m e i nt o
                                                                                            t h e i nstit uti o n (f or e x a m pl e > 6 5
                                                                                            y e ars ol d, hi g h ris k m e di c al
                                                                                            c o n diti o n, q u ar a nti n e b ut still a bl e
                                                                                            t o w or k) c a n us e W e b E x t o
                                                                                            c o n d u ct p ati e nt visits fr o m a n y
                                                                                            h o m e c o m p ut er wit h a c a m er a/
                                                                                            s p e a k er/ mi cr o p h o n e. A st at e
                                                                                            l a pt o p wit h a V P N ( or a n y h o m e
                                                                                            c o m p ut er wit h Citri x) c a n a c c ess
                                                                                            E H R S.
                                                                                            -       St aff t h at c o ul d b e us e d as
                                                                                                    t el e pr es e nt ers is d e ci d e d b y
                                                                                                    e a c h i nstit uti o n t o i n cl u d e:
                                                                                                    •       M A or C N A
                                                                                                    •       A n y st aff u n a bl e t o
                                                                                                            p erf or m t h eir assi g n e d
                                                                                                            d uti es d uri n g t h e crisis
                                                                                                            ( wit h tr ai ni n g), e. g.
                                                                                                             - D e nt al
                                                                                                             -AT O
                                                                                                             - s u p p ort st aff
                                                                                                            - a n y h e alt h y st at e
                                                                                                              p ers o n n el
                                                                                                            - A n y M e nt al H e alt h
                                                                                                              pr o vi d er ( Gr o u p l e a d er,
                                                                                                              R T, S W, L C S W, P h D/
                                                                                                              Ps y D)
                                                                                                            - L V N, R N


4 |P a g e
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             Ti er           I n p ati e nt R ef err als    S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                         M D O)

                                                                                                          - A n y m e di c al pr o vi d er
                                                                                                          ( P A, N P, M D)

                                                                                            All t el e pr es e nt ers r e q uir e p ers o n al
                                                                                            pr ot e cti v e e q ui p m e nt a s i n Ti er 1

                                                                                            T his will als o r e q uir e: offi c e s p a c e,
                                                                                            t el e-h e alt h e q ui p m e nt, I T
                                                                                            assist a n c e, O T or g a niz ati o n,
                                                                                            C ust o d y es c ort s u p p ort, c o nt a ct lists
                                                                                            as i n ti er 2, a n d l o c al l e a d ers hi p
                                                                                            s u p p ort




5 |P a g e
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                        Ti er                             I n p ati e nt R ef err als                                 S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                                                                                   M D O)

 Ti er T hr e e                                            R ef err als c o nti n u e p er p oli c y .           S ui ci d e Ris k Ass e ss m e nts: S e e Ti er   R o u n di n g: E v er y d a y, e v er y p ati e nt      Pr e -R el e as e Pl a n ni n g:
 M o v e m e nt r estri cti o ns wit hi n                                                                        t wo                                              i n t h e M e nt al H e alt h S er vi c es
 f a ciliti es a n d st affi n g s h ort a g es            If st affi n g a n d s p a c e b e c o m e                                                              D eli v er y S yst e m ( C C C M S, E O P,               R OIs t o t h os e r el e asi n g o nl y t o L. A.
 r e q uir es s u bst a nti al c h a n g e i n             u n a v ail a bl e:                                   Fi v e d a y f oll o w u ps : S e e Ti er T w o   M H C B, I C F, A C U T E) s h all b e                   c o u nt y a n d S a n Di e g o c o u nt y O N L Y.
 st a n d ar d pr a cti c e                                                                                                                                        r o u n d e d o n b y at l e a st o n e of t h e
         •      P ati e nt m o v e m e nt                  Alt H o usi n g L o c ati o n: P ati e nts w h o      R ef err als: S e e Ti er T w o                   f oll o wi n g d esi g n at e d st aff t o               C o m pl et e t h e P R P A f or t h os e
                p er mitt e d b et w e e n m ost           c a n b e s af el y w at c h e d i n t h eir                                                            i n cl u d e: C N A, Ps y c h ol o gist, L V N,          r el e asi n g t o L. A. a n d S a n Di e g o
                C D C R f a ciliti es.                     e xisti n g c ell will b e pl a c e d o n 1: 1        Pr e v e nti o n: S e e Ti er T w o a n d         R e cr e ati o n al T h er a pists, P Ts, R Ns,          c o u nti es . F or r el e as es t o ot h er
         •      M o v e m e nt r estri cti o ns            w at c h ( m ust b e si n gl e c ell st at us,        Pr o visi o n of Tr e at m e nt C ol u m n        or S o ci al W or k ers , b y b uil di n g a n d         c o u nti es, t h e I M H P C or P C or ot h er
                ar e i n eff e ct wit hi n t h e           it e ms r e m o v e d p er w at c h p oli c y).                                                         y ar d. T h e r e vi e w i n cl u d es q u esti o ns     cli ni ci a n w h o k n o ws t h e p ati e nt, will
                                                           T h es e p ati e nt s will b e tr e at e d as                                                           of i m m e di at e, a c ut e s ui ci d alit y            d et er mi n e if e xi g e nt cir c u mst a n c es
                i nstit uti o ns.
                                                                                                                                                                   a n d / or m e di c al c o n c er n s. P ati e nt s      r el at e d t o r el e as e e xist, a n d if s o,
         •      T e m p or ar y s us p e nsi o n of        M H C B p ati e nts f or all cli ni c al
                                                                                                                                                                   w h o a ns w er i n t h e affir m ati v e m ust          will att e m pt t o c o m m u ni c at e t h o s e
                tr a nsf er s t o D S H.                   c o nt a cts as o p er ati o n s all o w .
                                                                                                                                                                   b e br o u g ht t o t h e att e nti o n of t h e         n e e ds t o t h e r es p e cti v e c o m m u nit y
         •      S u bst a nti al cli ni c al st affi n g                                                                                                           assi g n e d ps y c hi atrist at l e ast o n c e a
                                                           1: 1 W at c h: W h e n t h er e ar e n ot                                                                                                                        st a k e h ol d ers vi a e m ail. D o c u m e nt
                s h ort a g es r e q uir es                                                                                                                        d a y ( p r ef er a bl y t wi c e) at fi x e d ti m es
                                                           e n o u g h st aff f or 1: 1 w at c h, p ati e nts                                                                                                               eff orts i n a pr e-r el e as e pl a n ni n g
                i n cr e as e d tri a g e f or                                                                                                                     f or tr e at m e nt.
                                                           i n alt er n ati v e h o usi n g m a y b e                                                                                                                       pr o gr ess n ot e.
                s er vi c es
                                                           pl a c e d o n 2: 1 w at c h if t h e l o c ati o n                                                     W h e n p ati e nt s r es p o n d i n t h e
         •      T h er e m a y b e i ns uffi ci e nt                                                                                                                                                                        T h e assi g n e d ps y c hi atrist will
                                                           all o ws f or g o o d li n e of si g ht a n d                                                           affir m ati v e:
                b e ds a n d / or st aff f or                                                                                                                                                                               c o nti n u e t o b e n otifi e d of t h e
                                                           p ati e nts ar e n e xt d o or t o o n e
                alt er n ati v e h o usi n g a n d                                                                                                                                                                          r el e as e d at e.
                                                           a n ot h er, all o wi n g c o nti n u o us w at c h                                                     -      A c o ns ult or d er s h all b e pl a c e d
                1: 1 w at c h.
                                                           of e a c h. C E O t o d et er mi n e w h e n                                                                   p er c urr e nt p oli c y.                        Pr o vi d e gr o u ps i n a c c or d a n c e wit h
                                                           t his c a n b e a p pli e d a n d will pr o vi d e                                                      -      M H cli ni ci a ns will a d dr ess
                                                                                                                                                                                                                            gr o u p g ui d eli n es i n tr e at m e nt
                                                           t h e dir e cti o n a b o v e wit h o v ersi g ht                                                              e m er g e nt iss u es p er c urr e nt
                                                                                                                                                                                                                            a ct i viti es s e cti o n of t his d o c u m e nt.
                                                           f or s af et y.                                                                                                p oli c y.
                                                                                                                                                                   -      P ati e nts will b e pl a c e d o n a li st       C o m pl et e 5 1 5 0 r e q u ests p er
                                                                                                                                                                          f or dis c ussi o n wit h t h e                   st a n d ar d pr o c ess
                                                                                                                                                                          ps y c hi atri st.
                                                                                                                                                                                                                            C o m pl et e tr a ns p ort ati o n C hr o n o’s
                                                                                                                                                                   R o u n ds s h all b e d o c u m e nt e d i n t h e      p er st a n d ar d pr o c ess
                                                                                                                                                                   h e alt h c ar e r e c or d as f oll o ws:
                                                                                                                                                                                                                            C o n d u ct pr e -r el e a s e C C A T w h e n
                                                                                                                                                                   N ursi n g: I vi e w ps y c h t e c h d ail y            p ossi bl e ( d e p e n d e nt u p o n o ut si d e
                                                                                                                                                                   r o u n ds.                                              cli ni c i a n a v ail a bilit y)

                                                                                                                                                                   M H Cli ni ci a ns: M H P C Pr o gr ess                  M D O E v al u ati o ns: S e e Ti er T w o
                                                                                                                                                                   n ot e.

                                                                                                                                                                   P ers o n al pr ot e cti v e e q ui p m e nt
                                                                                                                                                                   r e q uir e d a s i n ti er 1.


6 |P a g e
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             Ti er           I n p ati e nt R ef err als    S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                         M D O)

                                                                                            As a bilit y t o pr o vi d e o ut of c ell
                                                                                            gr o u ps d e cr e as es :
                                                                                            -      R Ts pl a y m usi c a n d c o n d u ct
                                                                                                   ot h er a cti viti es o n t h e u nit
                                                                                            -      C o nti n u e t o r e pl e nis h s u p pl y of
                                                                                                   i n c ell tr e at m e nt m at eri als.

                                                                                            Dir e ct St aff a n d C ar e as f oll o ws:
                                                                                                    -     E m er g e nt r ef err al s
                                                                                                    -     Fi v e D a y F oll o w U ps
                                                                                                    -     P ati e nts o n hi g h ris k list
                                                                                                    -     P ati e nts i n i n p ati e nt
                                                                                                          f a ciliti es
                                                                                                    -     P ati e nts a w aiti n g tr a nsf er
                                                                                                          t o i n p ati e nt f a cilit y
                                                                                                    -     P ati e nts i n s e gr e g at e d
                                                                                                          h o usi n g
                                                                                                    -     P ati e nts i n E O P l e v el of
                                                                                                          c ar e
                                                                                                    -     P ati e nts i n C C C M S l e v el of
                                                                                                          c ar e

                                                                                                   T el e ps y c hi atr y: As p er ti er 2
                                                                                                   a b ove




7 |P a g e
                                                  Case 2:90-cv-00520-KJM-SCR                Document 6768-1 Filed 07/15/20 Page 113 of 113
                         Ti er                            I n p ati e nt R ef err als        S ui ci d e Pr e v e nti o n Pr o vi si o n of Tr e at m e nt E v al u ati o n s ( Pr e -R el e as e,
                                                                                                                                                                          M D O)

 T i er F o ur                                              S e e Ti er T hr e e        S e e Ti er T hr e e                 S e e Ti er T hr e e                                     Pr e -R el e as e Pl a n ni n g:
 P ati e nt m o v e m e nt r estri cti o ns                                                                                                                                                  -       R OIs wil l n ot b e
 b et w e e n a n d wit hi n f a ciliti es i s                                                                               Ps y c hi atr y S er vi c e s A n y p h ysi ci a n,                     c o m pl et e d
 s us p e n d e d a n d si g nifi c a nt st affi n g                                                                         N P, or P A s er v es as ps y c hi atrists f or                 -       T h e P R P A will n ot b e
 s h ort a g es r e q uir e s u bst a nti al                                                                                 t h e pl a ns i n Ti er 2 a n d 3 a b o v e.                            c o m pl et e d F or r el e as es,
 c h a n g e i n st a n d ar d pr a cti c e                                                                                                                                                          t h e I M H P C or P C or ot h er
         •       P ati e nt m o v e m e nt i s n ot                                                                          L a pt o ps      wit h V P N ( or h o m e                               cli ni ci a n w h o k n o ws t h e
                 p er mitt e d b et w e e n m ost                                                                            c o m p ut ers wit h Citri x) pr o vi d e f or
                                                                                                                                                                                                     p ati e nt, will d et er mi n e if
                 C D C R f a ciliti es.                                                                                      c h art a c c ess fr o m h o m e, f or t h e
                                                                                                                                                                                                     e xi g e nt cir c u m st a n c es
         •       P ati e nt m o v e m e nt                                                                                   e q ui v al e nt of b asi c o n -c all c o v er a g e.
                                                                                                                             L o c al tri a g e ( b y C hi ef Ps y c hi atrist                       r el at e d t o r el e as e e xist,
                 r estri cti o ns i n m ost u nit s                                                                                                                                                  a n d if s o, will att e m pt t o
                                                                                                                             a n d C M H) t o est a blis h r ef err al
                 a n d/ or y ar ds wit hi n                                                                                                                                                          c o m m u ni c at e t h os e n e e ds
                                                                                                                             pri orit y f or t el e -h e alt h.
                 f a ciliti es                                                                                                                                                                       t o t h e r es p e cti ve
         •       T e m p or ar y s us p e nsi o n of                                                                                                                                                 c o m m u nit y vi a e m ail. T h e
                 tr a nsf er s t o D S H.                                                                                                                                                            assi g n e d ps y c hi atrist will
         •       S u bst a nti al cli ni c al st affi n g                                                                                                                                            c o nti n u e t o b e n otifi e d of
                 s h ort a g es r e q uir es f urt h er                                                                                                                                              t h e r el e as e d at e.
                 tri a g e f or s er vi c es                                                                                                                                                 -       C o m pl et e 5 1 5 0 r e q u ests
         •       I ns uffi ci e nt b e ds a n d/ or                                                                                                                                                  p er st a n d ar d pr o c ess
                 st aff a v ail a bl e f or 1: 1                                                                                                                                             -       C o m pl et e tr a ns p ort ati o n
                 w at c h a n d alt er n ati v e                                                                                                                                                     C hr o n o’s p er st a n d ar d
                 h o usi n g.                                                                                                                                                                        pr o c ess
                                                                                                                                                                                             -       C o n d u ct pr e -r el e a s e C C A T
                                                                                                                                                                                                     w h e n p ossi bl e ( d e p e n d e nt
                                                                                                                                                                                                     u p o n o utsi d e cli ni ci a n
                                                                                                                                                                                                     a v ail a bilit y)

                                                                                                                                                                                      M D O E v al u ati o ns: S e e Ti er T w o




8 |P a g e
